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 13                       UNITED STATES DISTRICT COURT
 14        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 15
 16 KEVIN RISTO, on behalf of himself and        CASE NO. 2:18-CV-07241-CAS-PLA
 17 all others similarly situated,               CLASS ACTION
 18               Plaintiff,
           v.                                    PLAINTIFF’S NOTICE OF
 19                                              MOTION AND MOTION IN
                                                 LIMINE NO. 2 TO EXCLUDE ANY
 20 SCREEN
    AMERICAN
                     ACTORS
                      FEDERATION
                                      GUILD-
                                          OF     MENTION, REFERENCE, OR
    TELEVISION      AND   RADIO    ARTISTS,      EVIDENCE RELATED TO
 21 a Delaware corporation; AMERICAN             DEFENDANTS’ 50 SONG STUDY;
                                                 DECLARATION OF NICO L.
 22 FEDERATION
    THE      UNITED
                      OF MUSICIANS OF
                           STATES       AND      BRANCOLINI IN SUPPORT
    CANADA,        a   California    nonprofit   THEREOF
 23 corporation; RAYMOND M. HAIR, JR,
 24 an individual, as Trustee of the AFM and
    SAG-AFTRA Intellectual Property              Judge: Hon. Christina A. Snyder
                                                 Crtrm.: 8D – 8th Floor
 25 Rights    Distribution Fund; TINO
    GAGLIARDI, an individual, as Trustee         Date: July 19, 2021
 26 of    the AFM and SAG-AFTRA
    Intellectual Property Rights Distribution    Time: 11:00 a.m.
 27 Fund;      DUNCAN           CRABTREE-
    IRELAND, an individual, as Trustee of        Trial Date: August 17, 2021
 28 the AFM and SAG-AFTRA Intellectual

           PLAINTIFF’S MOTION IN LIMINE NO. 2 TO EXCLUDE ANY MENTION OR REFERENCE TO
                                   DEFENDANTS’ 50 SONG STUDY
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  1 Property Rights Distribution Fund;
    STEFANIE TAUB, an individual, as
  2 Trustee of the AFM and SAG-AFTRA
    Intellectual Property Rights Distribution
  3 Fund; JON JOYCE, an individual, as
    Trustee of the AFM and SAG-AFTRA
  4 Intellectual Property Rights Distribution
    Fund; BRUCE BOUTON, an individual,
  5 as Trustee of the AFM and SAG-
    AFTRA Intellectual Property Rights
  6 Distribution     Fund;     and      DOE
    DEFENDANTS 1-10,
  7
                  Defendants.
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          PLAINTIFF’S MOTION IN LIMINE NO. 2 TO EXCLUDE ANY MENTION OR REFERENCE TO
                                  DEFENDANTS’ 50 SONG STUDY
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  1         TO THE COURT AND TO ALL PARTIES AND THEIR ATTORNEYS
  2 OF RECORD:
  3         PLEASE TAKE NOTICE that on July 19, 2021, at 11:00 a.m., or as soon
  4 thereafter as the matter can be heard in Courtroom 8D of this Court, located at First
  5 Street Courthouse, 350 W. First Street, 8th Floor, Los Angeles, California 90012,
  6 Plaintiff Kevin Risto will and hereby moves the Court for an order to preclude
  7 Defendants from referencing, mentioning, or seeking to introduce evidence related to
  8 the 50 Song Study referenced in David Nolte’s expert report, the April 23, 2021 Sandell
  9 Declaration and produced as bates stamped document DEFS_00042027.
 10         Plaintiff further moves the Court to instruct the parties and their counsel of the
 11 following:
 12         1.      Not to reference, mention, or seek to introduce evidence related to the 50
 13 Song Study and DEFS_00042027.
 14         2.      Not to make any reference to the fact that this Motion in Limine has been
 15 filed and/or granted; and
 16         3.      To warn and caution each and every witness to strictly adhere to the same
 17 instructions.
 18         This Motion is made following a conference of counsel pursuant to L.R. 7-3 and
 19 L.R. 16-2, which took place on June 9, 2021.
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       PLAINTIFF’S MOTION IN LIMINE NO. 2 TO EXCLUDE ANY MENTION, REFERENCE, OR EVIDENCE
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  1        This Motion is based on this Notice of Motion and Motion, the attached
  2 Memorandum of Points and Authorities, the Declaration of Nico L. Brancolini and any
  3 supporting exhibits filed concurrently therewith, all pleadings and other papers on file
  4 with the Court in this matter, and any additional evidence and oral argument that may
  5 be presented at the hearing on this Motion.
  6
  7 DATED: June 21, 2021                 KIESEL LAW LLP
  8
  9
                                         By: /s/ Nico L. Brancolini
 10                                         Paul R. Kiesel
 11                                         Mariana A. McConnell
                                            Nico L. Brancolini
 12                                         KIESEL LAW LLP
 13
                                             Neville L. Johnson
 14                                          Daniel Lifschitz
                                             JOHNSON & JOHNSON LLP
 15                                          Attorneys for Plaintiff and the Class
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  1                 MEMORANDUM OF POINTS AND AUTHORITIES
  2    I.   INTRODUCTION
  3         Included in Mr. Nolte’s Rule 26(a)(2)(B) expert report was a discussion of a
  4 study conducted by Fund personnel to identify the role that Union data played in
  5 ensuring the accuracy of performer royalty allocations. See Declaration of Nico L.
  6 Brancolini (“Brancolini Decl.”) Ex. 1, Mr. Nolte’s Expert Report, p.11. For this study
  7 50 songs were researched by Fund personnel who compared Union performer data on
  8 those tracks with performer data from other publicly available sources. This research,
  9 catalogued in a spreadsheet by the Fund and produced as bates stamp DEFS_00042027,
 10 was then cited by Mr. Nolte to conclude that the Unions’ data was more accurate than
 11 publicly available sources. Brancolini Decl., Ex. 2, DEFS_00042027. He further used
 12 the study and findings as a significant factor in his conclusion that absent the Service
 13 Agreement, “the Fund would not be able to make payments to participants that are as
 14 accurate and complete as what is now occurring.” But these sweeping pronouncements
 15 and grand conclusions are totally incongruous with the 50 Song Study’s accuracy or
 16 relevancy. Mr. Nolte’s report is a Trojan Horse for a fatally flawed and highly
 17 prejudicial study – which is in reality nothing more than a piece of agitprop created by
 18 a lay witness lacking the requisite expertise and ability to create a representative sample
 19 – smuggled in under the edifice of Nolte’s expert designation.
 20         Fund manager Julie Sandell is not qualified to testify to the foundation of the 50
 21 Song Study. Despite having no background in statistics, Ms. Sandell appears to have
 22 developed the 50 Song Study for its specialized technical purpose. ECF No. 108, ¶¶
 23 7,8. Unsurprisingly, given her lack of qualifications or designation, the genesis
 24 and methodology of the study has no basis in sound statistical principles – and in fact –
 25 the selection process appears to have been contrary to accepted practices.
 26         Mr. Nolte theoretically may have been qualified to work with Ms. Sandell and
 27 develop a statistically useful study, but as Mr. Nolte repeatedly made clear he was not
 28 involved in the process. Brancolini Decl., Ex. 3, Nolte Dep., 117:16-118:15, 130:2-

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  1 131:25. “Reliance on incomplete facts and data will make an expert’s opinion
  2 unreliable because an expert must know “of facts which enable him to express a
  3 reasonably accurate conclusion.” Powell v. Anheuser-Busch Inc., No. CV 09-729-JFW
  4 (VBKx) 2012 U.S. Dist. LEXIS 200311, at *18 (C.D. Cal. Sep. 24, 2012) (internal
  5 citation omitted).
  6           The Study’s core analysis is broadly unrelated to the main issues of this case.
  7 This deeply flawed, inscrutable, and irrelevant study does nothing to assist the trier of
  8 fact and is likely to cause confusion and delay if included at trial. For all the reasons
  9 set forth herein, any mention or reference to the 50 Song Study should be excluded.
 10   II.     FACTUAL BACKGROUND
 11           In February of 2019, Plaintiff propounded an interrogatory asking Defendants
 12 “If YOU contend that the SERVICE FEE is a reasonable charge for the services
 13 provided by the UNIONS, state ALL facts that support that contention.” Brancolini
 14 Decl., Ex. 4, Interrogatory No. 10, p. 8. Throughout the fall and winter of 2020 Plaintiff
 15 took depositions of a number of fact witness, including Ms. Sandell, who when asked
 16 questions about the sources of information utilized by Fund researchers were told
 17 identifying individual sources was not possible. Brancolini Decl. Ex. 5, Sandell Dep.1
 18 At no point during discovery did Defendants disclose or produce the 50 Song Study.
 19           Plaintiff first learned of the 50 Song Study when Defendants served their expert
 20 report of David Nolte on March 8, 2021. In his report Mr. Nolte wrote that the study
 21 was supposed to demonstrate what would occur if the Fund did not have access to the
 22 Unions’ data and instead tried to locate performer data from non-Union sources. Ex. 2,
 23
 24   1
       See e.g. Brancolini Decl., Ex. 5 73:11-24:
      “Q. You told us about the different sources that the Fund can look at to identify
 25   nonfeatured performers on tracks, and I’m wondering has anyone ever asked you to
      segregate whether the Fund has identified a performer due to something that the union
 26   has provided the Fund, as opposed to an online resource like Discogs or ALLMusic?
      A. Well, that would be too time consuming. It wouldn’t be worth it.
 27   Q. Why wouldn’t it be worth it?
      A. Because our objective is to research the title correctly to the best of our ability and
 28   get it as right as right can be with all of our sources. We don’t really think about it that
      way.”
                                                    2
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  1 p. 8. The “Fund selected 50 titles in a manner that the Fund described as random” and
  2 were selected from a list of songs that all shared two attributes: “(i) had distributions
  3 in 2020 and (ii) had Union session reports.” Id. at FN 12, p. 11. Fund researchers then
  4 consulted various alternative sources of performer data and compared the accuracy of
  5 the publicly available data with the Unions’ data.
  6           From this process, Mr. Nolte concluded that the Unions’ data was more accurate
  7 than the free publicly available data Fund researchers consulted. As stated more fully
  8 in Plaintiff’s Motion in Limine #1, after taking the deposition of Mr. Nolte, it became
  9 apparent that Ms. Sandell was the primary architect of the Study.
 10           Defendants relied upon the 50 Song Study in their Motion for Summary
 11 Judgment which included a declaration from Ms. Sandell confirming her role in
 12 developing and managing the study. ECF Nos. 103, 104, 108. Ms. Sandell does not
 13 have any background in statistics or accounting. Ex. 5, 31:24-32:15. Ms. Sandell
 14 explained that she directed and completed this project over January and February of
 15 20212. ECF No. 108 ¶¶ 2, 7. Therefore, this project appears to have begun after Ms.
 16 Sandell testified that this sort of project would not be consistent with the actual research
 17 process used by Fund researchers. Ex. 5, 73:11-24.
 18           On June 14, 2021 this Court granted leave to re-open Ms. Sandell’s deposition
 19 on the topic of the 50 Song Study. ECF No. 119, FN 1, p. 2-3. That same morning
 20 Plaintiff’s counsel reached out to Defendants’ counsel to schedule Ms. Sandell’s
 21 testimony ahead of the motion in limine deadline. Brancolini Decl., Ex. 7. Instead,
 22 defense counsel offered a date after the motion deadline, refusing to extend the deadline
 23 for filing this motion and summarily declaring that this motion was moot. Plaintiff has
 24 no choice but to file this motion and supplement the record once the deposition of Ms.
 25 Sandell is complete. Brancolini Decl., Ex. 8.
 26 / / /
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       Mr. Nolte’s invoices going back to early January also reference the 50 song study and
      revisions to it. Brancolini Decl., Ex. 6 Fulcrum Invoices.
                                                  3
          PLAINTIFF’S MOTION IN LIMINE NO. 2 TO EXCLUDE ANY MENTION, REFERENCE, OR EVIDENCE
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  1 III.    LEGAL STANDARD
  2         “Irrelevant evidence is not admissible.” Fed. R. Evid. 402. Evidence is only
  3 relevant “if it has any tendency to make a fact more or less probable than it would be
  4 without the evidence” and “the fact is of consequence in determining the action.” Fed.
  5 R. Evid. 401. Even if proffered evidence is relevant, the Court may nevertheless
  6 exclude it “if its probative value is substantially outweighed by the danger of …
  7 confusion of issues or misleading the jury.” U.S. v. Moreno, 201 F.3d 994, 998 n.3 (9th
  8 Cir. 1996) (citing Fed. R. Evid. 403) (“The court may exclude relevant evidence if its
  9 probative value is substantially outweighed by danger of one or more of the following:
 10 unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting time,
 11 or needlessly presenting cumulative evidence.”).
 12         Unless offering expert testimony under Rule 703, a witness can only testify to
 13 matters for which he or she has personal knowledge. Fed. R. Evid. 602, 703. Lay
 14 opinion testimony must be: “(a) rationally based on the witness’s perception; (b)
 15 helpful to clearly understanding the witness’s testimony or to determining a fact in
 16 issues; and (c) not based on scientific, technical, or other specialized knowledge within
 17 the scope of Rule 702.” Fed. R. Evid. 701 (emphasis added).
 18         One of the principle tasks of Rule 702 of the Federal Rules of Evidence is
 19 “ensuring that an expert’s testimony both rests on a reliable foundation and is relevant
 20 to the task at hand.” Daubert v. Merrell Dow Pharms. Inc., 509 U.S. 579, 597 (1993).
 21 The purpose of the prohibition of lay testimony requiring scientific, technical, or
 22 specialized knowledge is “to prevent litigants from skirting the Daubert standard or
 23 the expert disclosure guidelines by introducing expert opinion testimony as lay opinion
 24 testimony.” Hynix Semiconductor Inc. v. Rambus Inc., No. C-05-00334 RMW, 2008
 25 U.S. Dist. LEXIS 16716, at *30 (N.D. Cal. Feb. 19, 2008) (citing FRE 701, adv.
 26 committee note (2000)).
 27 / / /
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       PLAINTIFF’S MOTION IN LIMINE NO. 2 TO EXCLUDE ANY MENTION, REFERENCE, OR EVIDENCE
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  1 IV.     ARGUMENT
  2       A. The 50 Song Study Is Unreliable and Testimony on it From Either Ms.
  3         Sandell or Mr. Nolte is Barred Under the Federal Rules of Evidence
  4       i. There is no evidence that the 50 song study utilizes a reliable sample size
  5         As an initial matter it is not at all clear that the sample size of 50 songs was large
  6 enough to be useful or reliable for any of the conclusions for which it is presented. “In
  7 order to draw reliable conclusions about a population based on a statistical sample, the
  8 sample size must be large enough to support those conclusions.” In re Countrywide
  9 Fin. Corp. Mortgage-Backed Secs. Litig. v. Countrywide Fin. Corp., 984 F. Supp. 2d
 10 1021, 1033 (C.D. Cal. 2013). “Statistical evidence derived from an extremely small
 11 universe…has little predictive value and must be disregarded.” Morita v. Southern Cal.
 12 Permanente Med. Group, 541 F.2d 217, 220 (9th Cir. 1976) (quoting Harper v. Trans
 13 World Airlines, Inc., 525 F.2d 409, 412 (8th Cir. 1975)).
 14         Neither Ms. Sandell nor Mr. Nolte provided any evidence that they determined
 15 50 titles was a large enough sample size to be reliable or predictive. When asked, Mr.
 16 Nolte did not appear to have a clear idea of what the overall population was that the
 17 50 songs were selected from. The songs were apparently selected from a list of 5,992
 18 tracks for which the Fund had Union data and were distributed on in 2020. However,
 19 Mr. Nolte had no idea how this universe of songs connected to the broader universe
 20 of tracks distributed in 2020, could not say if the 5,992 songs represented all the songs
 21 that met those two criteria, nor how many songs met one or both of the mentioned
 22 criteria, or how the year 2020 was selected over any other. Ex. 3, 137:4-142:22. Since
 23 Nolte did not know these things when he drafted his report, he had no way of
 24 knowing if the study was representative. Therefore none of his conclusions related to
 25 the 50 song study can credibly be called reliable.
 26       ii. The 50 song study requires a degree of specialized knowledge not
 27          possessed by Ms. Sandell
 28         Under    Rule    702,    expert    “reports   describing     the statistical sampling
                                                  5
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  1 methodologies must be authored by a qualified expert witness, reliably apply scientific
  2 methods to sufficient data, and be helpful to the trier of fact.” In re Countrywide Fin.
  3 Corp. Mortgage-Backed Secs. Litig. v. Countrywide Fin. Corp., 984 F.Supp.2d 1021,
  4 1027 (C.D. Cal. 2013).
  5         Here, the person who prepared the statistical model for the 50 song study, Ms.
  6 Sandell, is neither offered nor qualified as an expert in statistical analysis. Testimony
  7 from Defendants’ actual designated expert confirms the degree to which specialized
  8 knowledge would be needed. Mr. Nolte explained as a general principle the necessity
  9 of random and representative samples in statistical modeling. Ex. 3, 118:22-121:8. He
 10 expounded at great length on the role of both in drawing statistical inferences in terms
 11 of precision and confidence levels.
 12         As described both in Mr. Nolte’s report and Ms. Sandell’s declaration, nothing
 13 indicates that the selection process was devised to be representative or random. The
 14 sampling process was described as “generating a list of 5,992 covered recordings that
 15 (i) were subject to royalty distributions in 2020; and (ii) had Union session reports”
 16 and then Ms. Sandell started “approximately halfway down the list, and then selected
 17 the largest 50 of the next 100 sequential titles.” ECF No. 108, ¶ 8. This raises various
 18 questions, the answers to which will necessarily impact how random or representative
 19 (and therefore reliable) the results of this selection process were.
 20         For example: was 5,992 the total number of songs that met the two criteria? If
 21 not, how many songs did? And how then were the 5,992 selected from that full list?
 22 How were the 5,992 songs ordered? What does approximately halfway down mean?
 23 Were the songs selected representative of the genre/style/year release of the overall
 24 songs within the total sample group? How does 2020 compare to other distribution
 25 years? What does “largest” mean? More troubling, things like the decision to select the
 26 “largest 50 of the next 100” is a decision that can is likely to make the sample less
 27 random and representative of the overall set.
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  1     iii. Mr. Nolte cannot give testimony on a study he had no role in devising
  2        The court, as the gatekeeper, “is to make certain that an expert, whether basing
  3 testimony upon professional studies or personal experience, employs in the courtroom
  4 the same level of intellectual rigor that characterizes the practice of an expert in the
  5 relevant field.” Kumho Tire Co. LTD. v. Carmichael et al. 526 US 137, 152 (1999).
  6        Since Ms. Sandell could not and did not create a reliable data set, Mr. Nolte
  7 cannot express any reasonably accurate conclusions based off of it. When specifically
  8 discussing the 50 song study, Mr. Nolte attempted to both limit the scope of his
  9 conclusions and insist that the Fund “indicated that in their mind it was random [sample
 10 selection] and… sufficiently large to accomplish its purpose.” Ex. 3, 123:1-11. Mr.
 11 Nolte claimed that you can still “extrapolate” some results he just has “not expressed
 12 anything with the precision and confidence level.” Id. at 123:12-21. In effect, Mr. Nolte
 13 is saying that he was able to draw some conclusions he just won’t say whether they are
 14 accurate or useful conclusions.
 15        Despite Mr. Nolte’s efforts to obscure the issue it is obvious that Defendants are
 16 attempting to use the imprimatur of their expert’s credentials to launder in a
 17 methodologically flawed study. This becomes particularly clear in the context of the
 18 conclusions and calculations Mr. Nolte makes as to allocation error rate based on the
 19 50 song study. While Mr. Nolte may be qualified to calculate a simple error rate, Mr.
 20 Nolte is not qualified or permitted to draw conclusions from an inadmissible sample
 21 he did not participate in, direct, and has no knowledge of. Snyder v. Bank of Am., N.A.,
 22 2020 U.S. Dist. LEXIS 206437 at *19 (N.D. Cal. Nov. 3, 2020). Despite insisting in his
 23 deposition that he’s “not reached any conclusion regarding the [study] being
 24 representative” he still attempts to use the study to support the claim that the Unions
 25 prevent $34.5-$115 million worth of misallocations. Ex. 1, p. 18.
 26        Ms. Sandell is not qualified to create this sort of study and all available evidence
 27 was that she did not make a study that is of any statistical value. Lacking this
 28 foundation, Mr. Nolte’s calculations based on that study are not reliable. Plaintiff
                                                7
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  1 therefore urges this Court to exclude the resultant unreliable and prejudicial testimony
  2 and conclusions.
  3     B. The 50 Song Study Is Not Admissible Under Federal Rules 401 – 403
  4      i. The study is irrelevant to the process by which the Service Fee was adopted
  5         and if that process constituted a breach of the Trustees’ fiduciary duties
  6        Plaintiff alleges that the process under which the Services Agreement was
  7 approved improperly favored the Unions. The Study continues Defendants’ habit of
  8 focusing on the supposed intrinsic value of the data rather than the reasonableness of
  9 the fee itself. Plaintiff has never disputed that the data has some value – rather, he
 10 believes the process surrounding the adoption of the Service Fee was a cash grab by
 11 Fund Trustee Co-Chairs focused on extracting money from for the Unions, not
 12 meaningfully connected to the actual work the Unions were doing to support the
 13 Fund, and contrary to Copyright Act Section 114.
 14        A study conducted in late 2020 or early 2021 that uses Union data as a baseline
 15 to “prove” that Union data is valuable does nothing to elucidate the evaluation or
 16 negotiation process that preceded the adoption of Services Agreement back in 2013.
 17 Even if the data was not available from any other source, a Services Agreement whose
 18 terms were overly favorable to the Unions would be improper and could constitute of
 19 breach of fiduciary duty. The Trustees still had an obligation, as this Court has noted,
 20 to administer the trust with “completed loyalty to the interests of the beneficiary and
 21 must exclude… all consideration of the interests of third persons.” In re Northrop
 22 Grumman Corp. Erisa Litig., No. CV 06-06213 MMM (JCx), 2015 WL 10433713, at
 23 *26 (C.D. Cal. Nov. 24, 2015).
 24      ii. The study is irrelevant as to either availability of comparable alternative
 25         data sources or the reasonableness of the Service Fee amount
 26        As described by Mr. Nolte the “purpose of the exercise was to ascertain what
 27 outcome would result if the Fund did not have the Unions’ data available.” Ex. 1, p.
 28 11. His report goes onto to explain that the exercise demonstrates the inferiority of
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  1 “Internet resources” and “publicly available, non-Union sources of information.” Id.
  2         In other words, this study did not actually look at the availability of this data
  3 from alternative sources, it just looked at free publicly available alternative sources.
  4 However it does not make sense in the context of Plaintiff’s claims to only look at
  5 free, publicly available information. Putting aside the questions of accuracy,
  6 Defendants are essentially asking to use this study to state “since this information
  7 cannot be located free of charge, it must not exist anywhere else and it is therefore
  8 reasonable to pay the Unions whatever they want in exchange for this information.”
  9         But the reality is this study did not look at the availability and accuracy of this
 10 information – let alone cost – from the other sources. Indeed, Defendants frequently
 11 evoke a section of the Trust Agreement which appears to authorize the Fund to
 12 “purchase or obtain from the AFM, SAG-AFTRA, the AFM and Employers’ Pension
 13 Fund, the AFTRA Health and Retirement Funds, the Phonograph Manufacturers’
 14 Special Payments Fund, the Motion Picture Special Payments Fund, or any [other]
 15 commercial source any data.” Brancolini Decl., Ex. 9, Trust Agreement p.5. This study
 16 did not look to any of these other sources, commercial or otherwise, to try and
 17 determine if the information was available. Notably absent from the resources
 18 consulted as part of the 50 song study was LexisNexis even though: (i) the Fund already
 19 has a paid subscription and (ii) it contains a database of contact information comparable
 20 to the one available through the Unions. A study purporting to demonstrate the
 21 availability and value of Union data should be looking at all these possible sources.
 22     iii. Further considerations of the Study’s circumstances and content would
 23         make its inclusion prejudicial to Plaintiff
 24         First, the Study was not disclosed in a timely manner. Defendants should not be
 25 allowed to rely on evidence or testimony related to that evidence which was not timely
 26 and properly disclosed pursuant to Rule 26 of the Federal Rules of Civil Procedure,
 27 this Court’s scheduling order, or through timely served discovery requests. See Fed. R.
 28 Civ. P. 37(c)(1) (“the party is not allowed to use that information or witness to supply
                                                9
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  1 evidence on a motion, at a hearing, or at a trial, unless the failure was substantially
  2 justified or is harmless”).
  3         Far from being harmless, Plaintiff first learned of the study from Mr. Nolte’s
  4 expert report after the close of fact discovery. However, by all indications the study
  5 was completed weeks before with both Ms. Sandell’s declaration and Mr. Nolte’s
  6 invoices indicating that the Study was completed by mid-February. Applying Occam’s
  7 Razor, this failure to disclose the Study during discovery, before Mr. Nolte’s report
  8 was produced, leaves Defendants’ conduct somewhere between improperly careless
  9 and outright malicious. To allow Defendants to offer or elicit testimony about an
 10 improperly disclosed study would be irreversibly prejudicial to Plaintiff and therefore
 11 should be excluded pursuant to Fed. R. Evid. 403. Such testimony would confuse the
 12 issues and mislead the Court into deciding the case based upon improper evidence. Id.
 13         Second, Defendants’ testimony regarding the 50 Song Study is inadmissible
 14 because it would be confusing and unduly consume time, outweighing any probative
 15 value it may offer. Allowing Defendants to testify about the Study itself would require
 16 further testimony on numerous conjectural matters to resolve the issues of its accuracy
 17 and utility as presented. The minimal probative value of the Defendants’ testimony on
 18 the Study is substantially outweighed by the undue consumption of time, along with
 19 the danger that their speculative testimony will confuse the issues central to this case.
 20 Thus, the testimony should be excluded under Rule 403. As further outlined above, the
 21 accuracy and reliability of the study’s methodology is also in dispute, an issue
 22 compounded by having a non-expert witness develop a study that an expert later relies
 23 upon for analysis.
 24   V.    CONCLUSION
 25         For the foregoing reasons, Plaintiff respectfully requests that the Court grant his
 26 Motion in Limine to Exclude Any Reference or Mention of the 50 Song Study and to
 27 preclude Mr. Nolte, Ms. Sandell, or anyone else from offering any opinions or
 28 testimony related to the study at trial.
                                                10
       PLAINTIFF’S MOTION IN LIMINE NO. 2 TO EXCLUDE ANY MENTION, REFERENCE, OR EVIDENCE
                             RELATED TO DEFENDANTS’ 50 SONG STUDY
Case 2:18-cv-07241-CAS-PLA Document 123 Filed 06/21/21 Page 15 of 162 Page ID
                                  #:4338



  1 DATED: June 21, 2021                KIESEL LAW LLP
  2
  3
                                        By: /s/ Nico L. Brancolini
  4                                        Paul R. Kiesel
  5                                        Mariana A. McConnell
                                           Nico L. Brancolini
  6                                        KIESEL LAW LLP
  7
                                             Neville L. Johnson
  8                                          Daniel Lifschitz
                                             JOHNSON & JOHNSON LLP
  9                                          Attorneys for Plaintiff and the Class
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       PLAINTIFF’S MOTION IN LIMINE NO. 2 TO EXCLUDE ANY MENTION, REFERENCE, OR EVIDENCE
                             RELATED TO DEFENDANTS’ 50 SONG STUDY
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  1                      DECLARATION OF NICO L. BRANCOLINI
  2          I, Nico L. Brancolini, hereby declare as follows:
  3 1.       I am an attorney at law, duly licensed to practice before all Courts in the State
  4 of California and the United States District Court for the Northern, Central and
  5 Southern Districts of California. I am an associate at Kiesel Law LLP, counsel for
  6 Plaintiff Kevin Risto and designated Class Counsel in the above-captioned action.
  7 2.       This Declaration is offered in support of Plaintiff’s Motion in Limine No. 2 to
  8 exclude any reference, opinions, and testimony on Defendants’ 50 Song Study. If
  9 called upon as a witness I could and would competently testify to the following based
 10 on personal knowledge.
 11 3.       The parties met and conferred as to the subject matter of this Motion pursuant to
 12 Local Rule 7-3 and Local Rule 16-2. The parties were unable to reach agreement,
 13 thereby necessitating this Motion.
 14 4.       Attached hereto as Exhibit “1” is a true and correct copy of David Nolte’s March 8,
 15 2021 expert report.
 16 5.       Attached hereto as Exhibit “2” is a true and correct copy of the excel
 17 sheet documenting the 50 song study which was produced as bates stamped
 18 document DEFS_00042027 and provided with their expert report on March 8, 2021.
 19 6.       Attached hereto as Exhibit “3” is a true and correct copy of the deposition of
 20 David Nolte taken on April 27, 2021.
 21 7.       Attached hereto as Exhibit “4” is a true and correct copy of Plaintiff’s First Set
 22 of Interrogatories to Defendants.
 23 8.       Attached hereto as Exhibit “5” are true and correct excerpts of the deposition
 24 of Julie Sandell taken on December 9, 2020.
 25 9.       Attached hereto as Exhibit “6” is a true and correct copy of Fulcrum’s Invoices
 26 produced as bates stamped documents Defendants NOLTE00000001-4.
 27 10.      Attached hereto as Exhibit “7” is a true and correct copy of the email sent by
 28 Mariana A. McConnell to Defense counsel on June 14, 2021.
                                                 1
         PLAINTIFF’S MOTION IN LIMINE NO. 2 TO EXCLUDE ANY MENTION, REFERENCE, OR EVIDENCE
                               RELATED TO DEFENDANTS’ 50 SONG STUDY
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  1 11.    Attached hereto as Exhibit “8” is a true and correct copy of the emails exchanged
  2 between Ms. McConnell and Defense counsel on June 15-16, 2021.
  3 12.    Attached hereto as Exhibit “9” is a true and correct copy of the Agreement and
  4 Declaration of Trust for the AFM and SAG-AFTRA Intellectual Property Rights
  5 Distribution Fund, Amended and Restate July 26, 2012.
  6        I declare under penalty of perjury under the laws of the United States of America
  7 that the foregoing is true and correct.
  8        Executed June 21, 2021, at Beverly Hills, California.
  9
 10                                             /s/ Nico L. Brancolini
                                               Nico L. Brancolini
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       PLAINTIFF’S MOTION IN LIMINE NO. 2 TO EXCLUDE ANY MENTION, REFERENCE, OR EVIDENCE
                             RELATED TO DEFENDANTS’ 50 SONG STUDY
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                   EXHIBIT 1
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                                  #:4342

                                                                        Fulcrum Financial Inquiry LLP
                                                                        707 Wilshire Boulevard, Suite 2050
                                                                        Los Angeles, CA 90017

                                                                        (213) 787-4100
                                                                        www.fulcrum.com


March 8, 2021

Andrew J. Thomas, Esq.
Andrew G. Sullivan, Esq.
Jenner & Block LLP
633 West 5th Street, Suite 3600
Los Angeles, CA 90071-2054

Gentlemen:

This report is provided by Fulcrum Financial Inquiry LLP (“Fulcrum”) in connection with the class
action lawsuit brought by Kevin Risto, (as class representative - “Plaintiff”) concerning the operation
of the AFM and SAG-AFTRA Intellectual Property Rights Distribution Fund (the “Fund”). The lawsuit
is captioned Risto v. Screen Actors Guild - American Federation of Television and Radio Artists, et al.,
(USDC, Central District of California, Case No. 2:18-cv-07241-CAS).

I.      DESCRIPTION OF ENGAGEMENT

Fulcrum has been asked to address the reasonableness of the amounts that the Fund pays to the
American Federation of Musicians of the United States and Canada ( “AFM”) and Screen Actors Guild
– American Federation of Television and Radio Artists (“SAG-AFTRA”) (collectively, the “Unions”)
pursuant to the July 22, 2013 Data Purchase and Services Agreement (the “2013 Agreement”). This
evaluation is economically and financially based, and does not address legal conclusions.

II.     INFORMATION RELIED UPON

In addition to my experience and training, I considered the following information in preparing this
report, each of which is of a type that is reasonably relied upon by experts in my field:

      1. Background information, as follows:

        a.   The First Amended Complaint in this matter
        b.   Plaintiff’s Response to Interrogatories and Requests for Admission (February 12, 2021)
        c.   Filings associated with the Motion to Dismiss (and related Oppositions & Replies)
        d.   Filings associated with the Motion for Class Certification (and related Oppositions &
             Replies)

      2. The 2013 Agreement

      3. The Unions’ interrogatory responses (aka Exhibit 5 to the Kristina Gorbacsov deposition) and
         the Unions’ amended interrogatory responses (March 1, 2021)

      4. The Fund’s audited financial statements (aka Annual Reports) as of March 31, 2014, 2015,
         2016, 2017, 2018 and 2019, and for the years then ended. These are publicly available at
         https://www.afmsagaftrafund.org/Our-Annual-Report.php
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       5. The following depositions taken in this matter, including related deposition exhibits

         a.   Stefanie Taub (Fund CEO), in an individual capacity, taken on October 20, 2020
         b.   Stefanie Taub as a designee witness for the Fund, taken on January 20, 2021
         c.   Kristina Gorbacsov, taken on October 23, 2020, as a designee witness for SAG/AFTRA
         d.   John Painting, taken on October 29, 2020, as a designee witness for AFM
         e.   Julie Sandell (Fund Assoc. Director, Sound Recordings), taken on December 9, 2020
         f.   Dennis Dreith (former Fund Executive Director), taken on February 11, 2021
         g.   Duncan Crabtree-Ireland, taken on February 16-17, 2021 (SAG/AFTRA)
         h.   Raymond M. Hair, Jr., taken on February 24-25, 2021 (AFM)

       6. The Fund’s review of a sample of 50 titles, with comparison of the results achieved using the
          Unions’ data vs. using only data available on the Internet and from other non-Union sources,
          as contained in an MS Excel file. This file is further described in Sections III.E and Sections
          IV.B herein. The version of this spreadsheet provided to me by the Fund has been produced
          by Defendants as DEFS_00042027. See Exhibit 2 for a version of this spreadsheet with
          changes that Fulcrum made to calculate an error rate.

       7. Other records produced in this litigation, as specifically referenced herein

       8. Publicly available data, as summarized and referenced herein

Fulcrum personnel reviewed and considered additional documents produced in this litigation that are
not specifically cited in the conclusions expressed herein, but which provide background information
and context. These additional records do not alter any of the conclusions expressed herein.

III.     FACTUAL AND LEGAL BASIS FOR THIS REPORT AND THE OPINIONS HEREIN

This section provides background information that is useful in understanding this report. Although
Fulcrum is capable of summarizing information contained in this section and may need to do so as
part of a testimony presentation, this report does not otherwise express opinions regarding the
contents of this section.

In his response to Interrogatory No. 18 (February 12, 2021), Plaintiff states the following:

         "Facts: …
         the Unions are unable to provide information for over 70% of the Fund’s
         requests, which themselves only represent a fraction of the recordings tracked by the
         Fund. The time and cost to the Unions in providing this information to the Fund is de
         minimis. In addition, since the Fund has been compiling the information provided by
         the Unions at its own expense and effort, the Fund no longer has any use for the Unions’
         limited information for the vast majority of Fund beneficiaries."

The information in this Section III contradicts the preceding quote from Plaintiff.

A. Plaintiff’s description of the statutory basis for collections and the 2013 Agreement

The First Amended Complaint describes the background of this dispute as follows:
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         “2. Under 17 U.S.C. § 114(g), 50% of digital performance royalties are payable to the
         copyright owners of the sound records, 45% are payable to the featured artists, 2.5% are
         payable to the non-featured musicians (also known as session musicians) and 2.5% are
         payable to the non-featured vocalists (also known as session vocalists) (collectively referred
         to herein as “non-featured performers”) …

         4. The statute requires payment of the Royalties to non-featured performers regardless of
         their union membership in any or all of the three major unions: the American Federation of
         Musicians of the United States and Canada (“AFM”), or SAG-AFTRA (the surviving entity after
         the 2012 merger of the Screen Actors Guild (“SAG”) and the American Federation of
         Television and Radio Artists (“AFTRA”).

         5. The AFM and SAG-AFTRA Intellectual Property Rights Distribution Fund (the “Fund”) is
         the name given to the I.R.C. § 501(c)(6) nonprofit organization which oversees a trust fund
         created to receive and distribute Royalties or other remuneration to artists from
         SoundExchange and other relevant collecting societies, rights organizations and other
         appropriate entities in order to comply with the statutory scheme.

         6. Pursuant to the statutes, the Fund is obligated to perform its duties without regard to
         union membership. …

         11. The Fund entered into a Data Purchase and Services Agreement dated July 22, 2013 (the
         “Services Agreement”) with the Unions. Pursuant to the Services Agreement, “the Fund shall
         pay each Union, within 30 days after the conclusion of each of the Fund’s distribution cycles,
         3% of the amount distributed by the Fund in such distribution cycle…. Such payment shall
         constitute complete compensation of the Unions and their personnel for providing the data
         and services contemplated by this Agreement. There shall be no additional charges or
         expense reimbursement associated with the Unions’ provision of the data and services
         contemplated by this Agreement.”

         12. This 3% service fee shall be referred to herein as the “Service Fee.” …

         23. Plaintiff and the Class seek equitable, declaratory, and injunctive relief against the
         Trustees requiring them to: (1) revert back to the Fund the 3% Service Fee for the
         distribution cycles following July 22, 2013; (2) cease the collection of the 3% Service Fee on
         all future distribution cycles; and (3) declare the Data Purchase and Services Agreement void
         and unenforceable.”

B. Defendants’ description of the fee paid to the Unions

Each of the Defendants provided information regarding the reasonableness of the Service fee in a
response to Plaintiff’s Interrogatory No. 10, as follows:1

         “INTERROGATORY NO. 10:
         If YOU contend that the SERVICE FEE is a reasonable charge for the
         services provided by the UNIONS, state ALL facts that support that contention.

         RESPONSE TO INTERROGATORY NO. 10:

1
    Amended responses, dated March 1, 2021
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       [Objections omitted]

       Pursuant to the Data Purchase and Services Agreement, the Unions are required to provide
       the Fund with information in their possession that is necessary to enable the Fund to identify
       and pay the non-featured performers (both Union members and nonmembers) to whom
       Royalty payments have been allocated in a given distribution cycle. This valuable data is
       derived from records developed and maintained by the Unions at considerable expense,
       including forms obtained by the Unions from producers and/or other individuals or entities
       involved in the creation of a given sound recording. Specifically, the information provided by
       the Unions to the Fund is derived from session reports and “B-forms” which contain
       information necessary to identify and locate some or all of the non-featured musicians and
       vocalists who performed on a given sound recording. These session reports and B-forms
       compile information related to both Union members and nonmembers who served as non-
       featured performers on a given sound recording. These records maintained by the Unions
       are housed across various local affiliates of each Union, for the most part based on where the
       relevant sound recording took place. Much of this information exists in records that are
       maintained locally by the Unions only in hard copy form.

       Pursuant to the Data Purchase and Services Agreement, the Unions must coordinate with the
       Fund to provide the information necessary for the Fund to identify and pay non-featured
       performers. The information provided by the Unions pursuant to the Data Purchase and
       Services Agreement is essential to the Fund’s administration. This information has been
       collected, compiled, and maintained as part of a large-scale effort by the Unions over the
       course of decades, and such efforts continue on an ongoing basis. There is no other
       repository of information documenting the identities, work histories, and payment information
       associated with non-featured performers that is nearly as exhaustive as the repositories
       maintained by the Unions. Without this data and the services expended by the Unions to
       provide this data, the Fund would be significantly constrained in its ability to perform the
       fundamental task of identifying and locating the non-featured performers for whom Royalty
       distributions are to be paid, or in the alternative would need to expend substantial efforts and
       incur substantial costs to compile independently the information provided by the Unions.
       Accordingly, the data has substantial intrinsic value and is highly valuable to the Fund in the
       performance of its work.

       In addition, Union representatives expend considerable effort supplying the valuable data the
       Unions are obligated to provide under the Data Purchase and Services Agreement.
       Researchers at the Fund have worked extensively with Union representatives in an effort to
       build and grow a database compiling the identities of the non-featured performers who
       performed on a given sound recording, as well as the information necessary to locate and pay
       such individuals. This database serves as the Fund’s central resource used to identify, locate,
       and pay Royalties to nonfeatured performers. As this database has grown, the Fund has been
       able more efficiently to identify and locate the non-featured performers who performed on
       eligible sound recordings. Currently, this database compiles information related to the non-
       featured performers associated with approximately 136,000 song titles.

       Because the records maintained by the Unions exist in decentralized repositories dispersed
       across the Unions’ local affiliates, the Unions satisfy their obligations under the Agreement by
       making numerous representatives available in these locations in order to field requests from
       the Fund. The Fund’s research team—currently staffed with ten full-time research associates
       and supervisors—works extensively with representatives located in various local affiliates of
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       the Unions on a year-round basis to obtain information regarding the non-featured
       performers associated with thousands of song titles. Except with respect to two local affiliates
       of the AFM (located in New York and Los Angeles) that maintain electronic records on a
       platform that Fund researchers may directly log into, in all other cases Union representatives
       handle individual requests from Fund researchers to locate and provide information related to
       specific song titles and/or to verify the recent contact information for non-featured
       performers associated with such song title. In locations where such records exist in hard copy
       form, Union representatives must locate the requested document within their hard copy filing
       system before scanning and sending a digital copy of the record to the requestor at the Fund.
       The quantity of the requests made to the Unions by the Fund vary across the respective
       Unions’ locations and fluctuate on a day-to-day and week-to-week basis. It is not uncommon
       for a Union representative at one location to field dozens of requests from the Fund over the
       course of a week. Fulfilling each such request may take a Union representative anywhere
       from a few minutes to thirty minutes or longer.

       In addition to providing the information necessary to locate and pay nonfeatured performers,
       the Unions also provide advocacy services both domestically and internationally that benefit
       non-featured performers (both Union members and nonmembers). These activities include
       meeting with members of Congress, negotiating with domestic performing rights
       organizations (PROs), as well as engaging with international PROs to negotiate better terms
       for the collection and distribution of international royalties. In addition to advocating with the
       federal government for more expansive rights that would benefit all non-featured performers,
       the Unions have negotiated and interacted with the World Intellectual Property Organization
       (WIPO), the Societies’ Council for the Collective Management of Performers’ Rights (SCAPR),
       Phonographic Performance Limited (PPL), and the Musicians’ Rights Organization Canada
       (MROC), among other international organizations. This includes efforts to expand the
       performance right in the United States to apply to non-digital platforms (e.g., terrestrial
       radio), a cause which the Unions have furthered through their participation in the musicFIRST
       coalition. The Unions also engage in advocacy efforts with foreign governments for more
       stringent distribution requirements for collected royalties. These activities all inure to the
       benefit of non-featured performers, regardless of union affiliation, as they are aimed in part
       at increasing the scope and overall amount of the royalties paid for recordings on which non-
       featured musicians and vocalists have performed.

       In consideration of the inherent value of the data the Unions provide to the Fund, as well as
       the services provided by the Unions as described above, the Trustees of the Fund agreed in
       2013 that each Union should be paid a fee in the amount of1.5% of the receipts distributed
       by the Fund in a given distribution cycle. This was an entirely reasonable exercise of the
       Trustees’ broad discretion in determining the value of the information and services provided
       by the Unions. "

The depositions of the Fund’s and Unions’ designee witnesses provided explanations that were
consistent with above interrogatory response.

C. Amounts received, paid, and payable by the Fund

The following table shows the total royalties received by the Fund, which is the starting point for the
Fund’s distribution activities:
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        Table 1: Royalties received by the Fund2
          FY ended         Royalties
            3/31           received
        2013              $ 27,561,164
        2014                41,699,519
        2015                49,322,129
        2016                46,051,587
        2017                52,001,911
        2018                65,339,258
        2019                61,369,239
        2020                71,723,181
        Total            $415,067,988

The following table summarizes the amounts reported in response to Plaintiff’s Interrogatory Nos. 6,
7 and 8. This information for years FY2013-FY2019 is also available in the Fund’s audited financial
statements:

        Table 2: Fund’s payments to Unions under the 2013 Agreement3
                       Fees paid to:                    Fund’s Administrative costs
          FY
                 SAG-AFTRA                   Total                      Union Fee
         3/31                   AFM (#8)                    $ (#6)
                     (#7)                                                   %
         2013               0           0            0    $ 2,820,342           0%
         2014      $ 193,814 $ 193,814      $ 387,628       3,538,442          11%
         2015        272,845      272,845     545,690       6,129,420           9%
         2016        420,454      420,454     840,908       6,918,166          13%
         2017        872,894      872,894   1,745,788      11,887,748          15%
         2018        864,759      864,759   1,729,518      12,936,211          13%
         2019        782,462      782,462   1,564,924      11,301,441          14%
         2020        825,404      825,404   1,650,808      11,948,304          15%
        2013 – 2019 Totals                 $8,465,264    $67,480,074         12.5%

Largely because information about individual Fund participants and their involvement in sound
recordings is incomplete, the Fund has a growing pool of royalties that are awaiting distribution
because of an inability to fully ascertain the required information that allows the payment to be
made. The following amounts are reported in the Fund’s audited financial statements as amounts
awaiting distribution:




2
  The Fund’s audited financial statements, available on the Fund’s website, for amounts through and
including 2019. 2020 amount (as well as the earlier amounts that agree with such financial statements) is
per Defendant’s March 1, 2021 responses to Interrogatory No. 4
3
  Exhibit 2 to the October 20, 2020 deposition of Stefanie Taub (aka DEFS_00041811), as well as the
Defendantsʹ March 1, 2021 amended interrogatory responses
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        Table 3: The Fund’s royalties paid and payable to participants4
         Year ended         Distributions       Distributions paid
          March 31      payable at year-end      during the year
            2013               $ 13,718,039           $ 10,188,961
            2014                  17,624,115            13,010,637
            2015                  17,797,626            18,288,789
            2016                  25,074,898            28,248,731
            2017                  36,586,662            52,001,911
            2018                  52,654,323            55,847,132
            2019                  61,785,117            52,345,932
            Total                                     $229,932,093

In the preceding table, the amounts shown as distributions paid are different than what the Fund
reported in response to Plaintiff’s Interrogatory No. 5. The response to Plaintiff’s Interrogatory No. 5
reports all amounts allocated to participants, including both amounts actually paid to Fund
participants and those allocated for payment but not yet paid. Amounts allocated may be awaiting
payment because:

    1. Complete payee information may not yet have been obtained that would allow a payment to
       be processed; and/or

    2. The Fund holds amounts allocated to participants in accordance with the Fund’s stated
       (publicly reported) policies, so the timing of payment allocations and actual payments are
       different.

When the Fund lacks sufficient information for make a payment to a participant, the Fund calls such
amounts and participants “unclaimed”. The following table shows the number of unclaimed
participants. In the following table, 2014 was the first year with reliable information, and 2019/2020
amounts are not yet available (because research efforts are continuing).

        Table 4: “Unclaimed” participants5
                           “Unclaimed”
             Year
                            participants
            2011                       8,932
            2012                       8,582
            2013                       8,268
            2014                       8,471
            2015                      10,324
            2016                      17,297
            2017                      15,901
            2018                      15,065

Without the Unionsʹ data, the number of unclaimed participants and the amount of unclaimed
royalties would be much higher.

4
  All amounts in the table are from the relevant year’s audited financial statements, which the Fund makes
available publicly on its website at https://www.afmsagaftrafund.org/Our-Annual-Report.php.
5
  For 2014 through 2018, January 20, 2011 deposition of Stefanie Taub, page 211 – 212. All amounts
appear on DEFS_00041813 (notes to Stefanie Taub’s January 20, 2021 deposition).
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D. The Union’s involvement in sound recordings

The Union’s data covers a substantial number of performers. The Unions collect and maintain
session reports on recordings for which the record label is a signatory to that Union’s collective
bargaining agreement, including both Union and non-Union performers who performed at such
recording sessions. The major record labels are all signatories to the Unions´ collective bargaining
agreement and report record information regarding both Union and non-Union performers who
performed at such recording sessions. The following chart shows the three largest record labels
(Sony Music Entertainment, Warner Music Group and Universal Music Group) who together have
around a two-thirds market share.6 Because some of the other labels (the remaining
approximate one-third market share) also are signatories to the Unions’ collective bargaining
agreement, it is clear that the Unions´ data is more complete than any other source.




6
    https://www.statista.com/statistics/317632/market-share-record-companies-label-ownership-usa/
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The Fund’s data presented below is generally consistent with the approximate two-thirds amount that
can be obtained from simply observing the importance of the three largest music companies. The
following tables summarize the count of Fund participants, sorted by Union vs. non-Union
membership who have been the subject of royalty distributions in each of the years listed. The non-
Union members have a greater percentage of "uncashed" checks. In this context, "uncashed" means
that an amount is known to be payable to the participant, but no check is prepared because the Fund
lacks a valid address and/or taxpayer identification number.

        Table 5: Counts of union vs. non-union participants7
                          Union         Union       Union           Non-         Non-          Non-
             Year        Member        Member     Member           Member       Member        Member
                         Cashed       Uncashed      Total          Cashed      Uncashed        Total
            2013             6,673          495        7,168            649           19           668
            2014             9,952        9,933      19,885           1,872      32,418         34,290
            2015             7,807        2,360      10,167           1,037       4,326          5,363
            2016            12,114        4,321      16,435           3,930       7,862         11,792
            2017            12,105        4,414      16,519           4,130       6,865         10,995
            2018            16,114        6,640      22,754           4,002      10,860         14,862
            2019            17,868        9,318      27,186           5,347      14,703         20,050
            2020            16,244       10,434      26,678           7,436      13,603         21,039
           Totals8          98,877       47,915     146,792         28,403       90,656        119,059
         % cashed
                              67%          33%        100%              24%          76%         100%
        vs. uncashed
         % of total                                    55%                                         45%

The following table summarizes count information regarding participant royalty allocations that comes
from a data base maintained by the Fund. This information shows how frequently the royalty
allocations to Fund participants are supported by information found in Union session reports (aka B-
forms in AFMʹs parlance).9 The data in following table is based on allocations made in distribution
cycles for the years listed, based on individual tracks.




7
   DEFS_00041812 (notes from Stefanie Taub’s January 20, 2021 deposition)
8
   The counts shown in the “Totals” row do not refer to the total number of individual participants that
have received any royalties during the years listed because the same performer may have been allocated
royalties in multiple distribution cycles in the years listed, and would therefore be counted multiple times
in the “Totals” row.
9
  The Unions provided digital copies of session reports upon request by the Fund and/or access to
computerized data that summarize the physical session reports. In the Fund’s efforts (and throughout this
report), no distinction is made (because it is immaterial) whether the Unions provide the session report
information though a piece of paper, or through access of computerized information.
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        Table 6: Participantsʹ royalty allocations supported and not supported by Union data10
                                 Royalty allocations ($)             Count of participant allocations11
                                            Not                                     Not
        Distribution    Supported                                   Supported
                                        Supported                               Supported
            year         by Union                        Total       by Union                   Total
                                         by Union                                by Union
                           Data                                        Data
                                           Data                                    Data
           2015           7,061,560       6,532,870    13,594,431      65,631       54,818      120,449
           2016         11,315,957      10,501,107     21,817,063     163,652       34,628      198,280
           2017         28,232,735      23,882,669     52,115,404     255,345       62,440      317,785
           2018         22,600,518      30,342,433     52,942,951     356,705       99,478      456,183
           2019         20,137,367      23,236,395     43,373,762     715,678     101,244       816,922
           2020         27,827,087      21,864,239     49,691,326     473,320     168,119       641,439
           Total       117,175,224 116,359,713 233,534,937 2,030,331              520,727 2,551,058
             %                50%              50%          100%         80%          20%         100%

As shown in the preceding table, approximately 50% of royalty amounts allocated during this period
were allocated with the support of data provided by the Unions. Viewing this data from another
angle, approximately 80% of all allocations to participants during this period were implemented with
the support of Union data.

In the preceding table, the count of participant royalty allocations shown is considerably higher than
the percentages of Union members shown in Table 5. This occurs at least in part because the
session reports include performers who are not union members but who performed on a recording at
a signatory company to the Union agreements. See Section IV.B for additional information.

E. The Fund’s analysis of the information provided by the Unions, and the alternative
   information sources

The Unionsʹ data includes both who is involved with the performance, and the performersʹ other
identifying information. The Unions provide the following information when available:

     1. Who performed on each individual track; and

     2. Each performer’s personal identifying information, consisting of:

        a. Name,
        b. Last known address: and
        c. Social Security information, which assists in confirming the performer in subsequent
           communications.




10
   Data base summary from the Funds AS400 system, produced as DEFS_00042028
11
   The participant allocation columns do not track the count of individual participants to whom royalties
were allocated in each year, because a single participant may be allocated royalties on multiple song titles
within a given year, and therefore would count multiple times within the participant allocations count listed
for that year. Likewise, a participant may be allocated royalties in connection with the same song title in
multiple years, and each such allocation would be counted in the “Total” participant allocation rows.
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Absent having all such information, the Fund is unable to make a proper, fully accurate, assumption-
free allocation of royalties. When information is incomplete, the result is that some participant(s) are
underpaid and other participant(s) are overpaid.

In order to quantify the extent to which this would occur without the Unionsʹ information, in January
2021 in connection with the formulation of this report, the Fund selected 50 titles that had session
reports from the Unions. The purpose of the exercise was to ascertain what outcome would result if
the Fund did not have the Unions’ data available. The Fund’s personnel attempted to locate the
same information independently (i.e., without using the Unions’ information).

The Fund selected 50 titles in a manner that the Fund described as random.12 All 50 selections had
session reports from the Unions. With this sample, the Fund’s personnel spent 930 minutes13 (15.5
hours) time researching the information from non-Union sources.

The results of this test are summarized as follows:

     1. Of critical importance, there was no title in which the additional research using
        Internet resources provided a more accurate answer. In all cases, had the Unions’
        data not been available, the researched answer would have been inferior/wrong. Details in
        this regard include:

        a. The Unions’ session reports provide information by track, which is the greatest level of
           detail and supports the most accurate allocation of royalties. Absent having information
           by track, publicly-available information could be available for the entire album and/or
           might provide detail that omits certain performers. For the sample that the Fund
           selected, research details and sources are provided.14

        b. When public data is available, the additional names obtained for an entire album is
           generally not preferable because this causes a poor assumption that everyone credited to
           the entire album performed on each track. In this situation, the larger number of
           participants attributed to each song introduces inaccuracy, leading some artists to receive
           more than appropriate, with such overpayments reducing payments owed to other
           participants.

     2. Without the Unions’ data, none of the participants had a readily-available address
        and Social Security information that would allow the Fund to make a payment to the
        participant.

     3. Using publicly available, non-Union sources of information, the Fund’s researchers were able
        to locate the same credits information (i.e., who performed) for 2015 out of the fifty tracks in
        the sample (i.e., 40%).

12
   The Fund’s selection process started with a list of 5,992 titles that (i) had distributions in 2020 and (ii)
had Union session reports. Starting approximately halfway through this list, the largest fifty of the next
one hundred sequential titles were selected.
13
   DEFS_00042026, tab “50 Titles-M-V-B Splits -2.19.21”, column V
14
   DEFS_00042026, tab “50 Titles-M-V-B Splits -2.19.21”, column W and X provides details of what was
locatable with independent research.
15
   Sum of the “Yes” responses in Column E of DEFS_00042026, tab “50 Titles-M-V-B Splits -2.19.21”.
Columns F, W and X provides explanatory detail.
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In Section IV.B below, Fulcrum calculates a misallocation rate based on the details of the Fund’s
sample. The following table summarizes participant attributes of the 50 sample that served as the
starting point for Fulcrum’s calculation:

       Table 7: Summary results from the Fund’s comparison of research efforts with the support of
       Union data vs. Non-Union data only
                                                                            Both
                      Attribute             Musicians       Vocalists     Musician         Total
                                                                          & Vocalist
        Number of non-featured artists
                                                  58417            7818          719          66920
        using Unions’ data16
        Number of non-featured artists
        using non-union data and album            46521           11322         1323          59124
        credits
        $ Amount distributed on the 50
        selected recordings from the
                                           $1,678,05626 $1,942,77127 $51,51128 $3,672,33829
        inception of the Fund to the
        participants using Unions’ data25


F. The Fund´s costs of maintaining the participant data base

As noted above, the Fund’s actual costs are less than they would otherwise be because the Fund has
the benefit of the Unions´ data. The information in this section provides statistics regarding the large
number of transactions that the Fund is processing with the benefit of having the Unions´ data.

In her deposition on January 20, 2021 as the Fund’s designee witness, Stefanie Taub presented her
estimates of the amount spent by Fund personnel on research and data base maintenance for the
Fund’s participants.30 Ms. Taub estimated that the Fund spends approximately $3,415,000 annually




16
   This information (DEFS_00042026, tab “50 Titles-M-V-B Splits -2.19.21”, columns G through O) is
https://www.youtube.com/watch?v=ASO_zypdnsQmaintained in the Fund’s ASA 400 computer system.
17
   Digitally referenced as the sum of column D in Exhibit 2
18
   Digitally referenced as the sum of column F in Exhibit 2
19
   Digitally referenced as the sum of column H in Exhibit 2
20
   Digitally referenced as cell Z in Exhibit 2
21
   Digitally referenced as the sum of column J in Exhibit 2
22
   Digitally referenced as the sum of column L in Exhibit 2
23
   Digitally referenced as the sum of column N in Exhibit 2
24
   Digitally referenced as cell AA in Exhibit 2
25
   This information (DEFS_00042026, tab “50 Titles-M-V-B Splits -2.19.21”, columns G through O) is
maintained in the Fund’s ASA 400 computer system.
26
   Digitally referenced as the sum of column A in Exhibit 2
27
   Digitally referenced as the sum of column B in Exhibit 2
28
   Digitally referenced as the sum of column C in Exhibit 2
29
   Digitally referenced as cell Y in Exhibit 2
30
   January 20, 2011 deposition of Stefanie Taub - (30(b)(6) topic 15) - pages 199 - 204
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on this function.31 This cost number does not include the required indirect costs for this function, so
management and other administration costs are not part of this total that Ms. Taub presented.

Comparing this $3,415,000 of direct costs to what is paid to the Unions under the 2013 Agreement,
the Fund’s direct internal costs are roughly twice what the Unions are paid. Yet, as noted in the prior
Section III.E, the Unions are the first, and the most reliably accurate source used for track title credit
and participant data.32

The following table shows the number of new titles created and researched by year:

        Table 8: New titles created in the Fund’s database33
                 Year                   Count of Titles
        2013                                          3,255
        2014                                          2,149
        2015                                          4,867
        2016                                          7,243
        2017                                          8,971
        2018                                          7,730
        2019                                          8,656
        2020, as of 11/10/2020                        8,034
        Total                                        50,905

IV.     SUMMARY OF CONCLUSIONS

The combined 3% fee paid to the Unions for the use of the Unions’ information and related
assistance is reasonable. Absent access to this information, the Fund would not be able to make
payments that are as accurate as is now occurring and would not be able to make accurate payments
to as many participants as are now receiving royalties from the Fund. In support of this:

     1. There are numerous businesses that charge significant sums for the use of information, which
        provides a precedent for the amounts being paid to the Unions. See Section A below.

     2. If the 2013 Agreement (and related payments to the Unions) did not exist, the Fund would
        not be able to make payments to participants that are as accurate and complete as what is
        now occurring. Except for the participants contacting the Fund to provide address and tax
        reporting information, the Fund has no alternative source for address and tax reporting
        information. See Section B below.

     3. Multiple economic factors relating to the attributes and use of the Unions’ data support the
        reasonableness of the 3% fee. See Section C below.

31
   January 20, 2011 deposition of Stefanie Taub - (30(b)(6) topic 15) – page 204; DEFS_00041814
32
   Participants can call the Fund to provide information. The Fund’s current practice is to have the
performer complete and return a “Performer Information Form” (aka PIF) to verify that person’s
information prior to sending payment. Nevertheless, the Social Security information and address obtained
from the Unions provides the Fund initial contact information for the performer and an identifier (Social
Security information) to help identify the individual.
33
   DEFS_00042020
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      4. Plaintiff’s assertions regarding (i) the incremental cost of providing the Union’s information,
         and (ii) how the timing of payments should be evaluated are based on descriptions of the
         payments that are inconsistent with the 2013 Agreement, and the nature of royalties
         generally. See Section D below.

A. Numerous businesses are based on the accepted axiom that information is valuable
   and can be sold in market-based transactions.

Plaintiff’s complaint is based on the incorrect premise that the Unions must give away (for free)
information that the Unions have accumulated over decades. Because of this, Plaintiff contends that
the Unions might be reimbursed for only the incremental costs of work initiated in response to the
Fund’s needs. Under this incorrect notion, the Unions should not be compensated for either their
past efforts, or for a proportionate current cost of the Unions’ operations that are required for the
incremental efforts to be incurred.

Numerous compensation arrangements are based on a percentage of an underlying transaction
value. For example, (i) commission sales arrangements, (ii) the majority of royalties, (iii) investment
fees for money managers, and (iv) numerous representation agreements (e.g., contingency lawyers
and talent agents) are all based on a percentage of the related transactions. In none of these
arrangements is the cost (and particularly the incremental cost) of providing the service typically part
of the compensation formula.

Numerous businesses exist because the economics of information is different than what Plaintiff
imagines. Information has value, and those with valuable information are able to charge for its use.
The incremental cost of providing access to information is never a valid or intelligent basis for
determining a price. A sample of businesses that are based on selling information include:34

      1. The mailing list industry has been around for decades, initially using physical addresses, and
         more recently using email addresses. The mailing list industry obtains revenues for the use
         of information (specifically contact information) which has already been compiled. The
         incremental cost of distributing the list to each buyer has never been the basis for valuing the
         lists.

      2. In terms of its revenues, Google and Facebook are information and marketing companies
         whose profits are largely attributed to the sale and use of their users’ information. Anyone
         using Google or Facebook realizes that advertisements appear based on a user’s past
         browsing/input history. Google and Facebook obtain a premium for advertising because they
         capture this information and match advertisers with potential customers. Despite the fact
         that many of its services are free, Google (NASD: GOOGL) and Facebook (NASD: FB) are
         highly profitable and valuable, with market capitalizations of $1.4 trillion, and $760 billion,
         respectively. Obviously, Google and Facebook do not sell their information for the almost
         non-existent incremental cost of running software and algorithms.

      3. Fair Isaac Corporation (aka, FICO - NYSE: FICO) sells the use of its industry-standard credit
         scoring algorithm. At the time of this writing FICO has a market capitalization of
         approximately $14 billion. FICO describes its business and revenues and customers as
         follows:

34
     The market capitalization values presented in this section are as of February 6, 2021.
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             “Our FICO® Scores are used in the majority of U.S. credit decisions, by nearly all of the
             major banks, credit card organizations, mortgage lenders and auto loan originators.
             These credit scores, developed based on third-party data, provide a consistent and
             objective measure of an individual’s credit risk. Credit grantors use our FICO® Scores in a
             variety of ways: to prescreen candidates for marketing programs; to evaluate applicants
             for new credit; and to manage existing customer accounts. FICO® Score is a three-digit
             score ranging from 300-850. They are calculated by running data from the three U.S.
             national credit reporting agencies, Experian, TransUnion and Equifax, through one of
             several proprietary scoring models developed by FICO. Lenders generally pay the credit
             reporting agencies scoring fees based on usage, and the credit reporting agencies pay an
             associated fee to us. …35

             Our products and services serve clients in multiple industries, including primarily banking,
             insurance, retail, healthcare and public agencies. End users of our products include 96 of
             the 100 largest financial institutions in the U.S., and two-thirds of the largest 100 banks in
             the world. Our clients also include more than 600 insurers, including nine of the top ten
             U.S. property and casualty insurers; more than 300 retailers and general merchandisers;
             more than 200 government or public agencies; and more than 200 healthcare and
             pharmaceuticals companies, including nine of the world’s top ten pharmaceuticals
             companies. Eight of the top ten companies on the 2020 Fortune 500 list use one or more
             of our solutions. In addition, our consumer services are marketed to an estimated 200
             million U.S. consumers whose credit relationships are reported to the three major U.S.
             credit reporting agencies.” 36

         Generally, FICO does not store or have the underlying data that its algorithms use. FICO
         incurs no incremental cost or effort each time its credit scoring algorithm is used, but FICO’s
         customers willingly pay significantly for the information and insight that FICO provides. In
         the fiscal year ending September 30 2020, FICO had $1.3 billion of revenues.

     4. Nielsen Holdings (NYSE: NLSN) sells information that it collects regarding consumer behavior.
        At the time of this writing NLSN has a market capitalization of approximately $8.1 billion. The
        price Neilson’s customers pay for its ratings has little to do with the cost of running a report,
        but is instead based on the value of the information. Neilson describes itself as follows:

             “We are a leading global measurement and data analytics company. We provide clients
             with a comprehensive understanding of what consumers watch and what they buy and
             how those choices intersect. We deliver critical media and marketing information,
             analytics and manufacturer and retailer expertise about what and where consumers buy
             and what consumers read, watch and listen to (consumer interaction across the
             television, radio, print, online, digital, mobile viewing and listening platforms) on a local
             and global basis. Our measurement and analytical services help our clients maintain and
             strengthen their market positions and identify opportunities for profitable growth. …” 37

     5. TransUnion (NYSE: TRU) and Equifax (NYSE: EFX) have market capitalizations as of this
        writing of $17.7 billion and $22.0 billion, respectively (Experion is privately held, so does not

35
   FICO Form 10K as of September 30, 2020, page 7
36
   FICO Form 10K as of September 30, 2020, page 10
37
   NLSN Form 10K as of December 31, 2019, page 3
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          have a publicly-traded value). All of these personal credit rating agencies sell information
          that they have accumulated over time. Even though the three companies provide services
          that are highly competitive, the information these companies have is extremely valuable. The
          incremental cost of these companies running a computer report on already-existing data is
          virtually nil, but no competent business person or appraiser would thereby suggest that this
          means the information provided by these companies is worthless.

      6. RELX PLC (fka Reed Elsevier) has a market capitalization as of this writing of $47.0 billion,
         with 2019 revenue of approximately $9.7 billion. RELX provides information, analytics and
         decision tools for professional and business customers. It operations/units include (i)
         Scientific, Technical & Medical, (ii) Risk & Business Analytics, and (iii) Legal. The Legal unit
         consists primarily of market-leader LexisNexis, which is a staple of legal research in the
         United States.

      7. In the United States, there are four real estate title companies serving the entire country
         (plus additional local competitors). These four companies are described below. In this entire
         industry, the companies use data bases in which they have made substantial past
         investments (called title plants). The revenues charged by these companies have almost
         nothing to do with running another computer report using this title plant, and no one
         knowledgeable in this industry would suggest otherwise. Information regarding the four
         largest companies in this industry in the U.S. follow:

          a. Fidelity National Financial (NYSE: FNF) has an $11.5 billion market capitalization. FNF’s
             description of its business includes:

                  “Most real estate transactions consummated in the U.S. require the use of title
                  insurance by a lending institution before the transaction can be completed. Generally,
                  revenues from title insurance policies are directly correlated with the value of the
                  property underlying the title policy.38 …

                  A title insurance company’s predominant expense relates to such searches and
                  examinations, the preparation of preliminary title reports, policies or commitments,
                  the maintenance of "title plants,” which are indexed compilations of public records,
                  maps and other relevant historical documents, and the facilitation and closing of real
                  estate transactions. Claim losses generally result from errors made in the title search
                  and examination process…” 39

          b. First American Financial (NYSE: FAF) has a $6.1 billion market capitalization. FAF
             describes it business and underlying data bases as follows:

                  “The Company, through its subsidiaries, is engaged in the business of providing
                  financial services through its title insurance and services segment and its specialty
                  insurance segment. The title insurance and services segment provides title
                  insurance, closing and/or escrow services and similar or related services
                  domestically and internationally in connection with residential and commercial real
                  estate transactions. It also provides products, services and solutions that are
                  designed to mitigate risk in, or otherwise facilitate real estate transactions. Many of

38
     FNF Form 10K as of December 31, 2019, page 4
39
     FNF Form 10K as of December 31, 2019, page 5
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                these products, services and solutions involve the use of real property-related data,
                including data derived from its proprietary databases. It maintains, manages and
                provides access to title plant data and records …”40

                Title insurance policies insure the interests of owners or lenders against defects in the
                title to real property. These defects include adverse ownership claims, liens,
                encumbrances or other matters affecting title. Title insurance policies generally are
                issued on the basis of a preliminary title report or commitment, which is typically
                prepared after a search of one or more of public records, maps, documents and prior
                title policies to ascertain the existence of easements, restrictions, rights of way,
                conditions, encumbrances or other matters affecting the title to, or use of, real
                property. … To facilitate the preparation of preliminary title reports and commitments,
                copies and/or abstracts of public records, maps, documents and prior title policies
                may be compiled and indexed to specific properties in an area. This compilation is
                known as a “title plant.” 41

        c. Stewart Information Services (NYSE: STC) has a $1.3 billion market capitalization.
           Stewart’s description of itself and its competitors42 is generally consistent with the first
           two title companies described above, and is not provided here in the interest of brevity.

        d. Old Republic International (NYSE: ORI) has a $5.8 billion market capitalization. ORI is a
           more diversified insurance company with a separate division offering title products.
           Currently, ORI’s title business comprises a bit more than a third of ORI. Again, ORI’s
           description of itself and its competitors43 is generally consistent with the first two title
           companies described above, and is not provided here in the interest of brevity.

B. If the Fund did not have access to the information made available by the 2013
   Agreement, the Fund would not be able to make accurate payments to the
   participants, both Union members and non-Union members.

As summarized in Section III.E above, the Fund has no good (complete) alternative to the data
provided by the Unions. To the extent the Fund now has its own database with participant
information, the information exists in large part from data provided by the Unions. For over half of
the titles in the 50 title sample prepared by the Fund, material misallocations of royalties occurred
when the Unionsʹ data was not available. The misallocations include having too few participants
identified, to have too many participants credited because of assumptions made for all tracks based
on album-wide information. Examples of each follow:

     1. For an example of fewer participants being paid than actually performed on the relevant song
        title, consider the example of the song “My Heart Will Go On” by Celine Dion. Without Union
        session report information, the Fund’s researchers were able to identify a total of seven
        performers credited on this title, whereas the session report revealed a total of 65
        performers. In this instance, the total royalties distributed on this title would have been
        incorrectly divided among seven performers, resulting in improperly large payments to each


40
   FAF Form 10K as of December 31, 2019, page 5
41
   FAF Form 10K as of December 31, 2019, page 6
42
   STC Form 10K as of December 31, 2019
43
   ORI Form 10K as of December 31, 2019
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        of these seven performers, and the omission of payments to 58 otherwise unidentified
        performers. If the Fund had incorrectly distributed these larger royalty payments to just
        seven performers, this would have resulted in a total of $27,116.24 in misallocated royalties,
        which represents 45% of the total royalties allocated on this title.

     2. For an example of too many participants being paid than actually performed on the relevant
        song title, consider the example of the song “Get Me Some of That” by Rhett Thomas.
        Without Union session report information, the Fund’s researchers would need to rely on
        album-wide credits to identify the performers on this song title, which would result in a total
        of 46 performers being credited as having performed on this song title. However, the session
        report for this song title shows that in fact only 12 of these performers were on this track.
        This means that, absent Union session report information, a total of 34 performers would
        have been incorrectly paid for a track on which they did not perform, whereas the 12
        performers that were actually on the track would receive significantly smaller royalty
        payments than they should have properly been allocated had the Fund had the benefit of
        Union session report information. In this instance, the lack of session report information
        would have resulted in a total of $108,053.81 in misallocated royalties, which represents 83%
        of the total royalties allocated on this title during the relevant time period.

The following table summarizes the misallocations from not having the Unionsʹ information:

        Table 9: Allocation error rate in the Fund’s sample of 50 titles
                                                                           Participant      Participant
                                                                             count         distributions
        Total existing allocations using Union data (from Table 7)                 66944   $ 3,672,33845
        Allocation errors from not using the Unionsʹ data                          40446   $ 1,099,10047
        % error                                                                   60%48            30%49

As shown in Section III.D, data provided by the Unions cover from around 50 to 80 percent50 of the
Fund’s activities (see bolded percentages), depending upon how one wishes to make such
measurement, or whether one wants to rely on the Fund’s database at all on this specific point.
Applying this range of percentages to the error rate shown in Table 9, the Union’s data improves the
overall accuracy of the Fund’s work in the range of approximately 15% to 50%. All such amounts
are obviously higher than the 3% paid to the Unions.

If one wants to instead look at the misallocations in terms of dollars, the percentages in the
preceding paragraph (i.e., 15% to 50%) can be applied to the distributions made, which are reported
in Table 3 above. 15% to 50% of roughly $230 million (through the end of 2019) equals from $34.5
million to $115 million. These amounts will continue to increase as the Fund makes distributions
after 2019.


44
   Digitally referenced as cell Z in Exhibit 2
45
   Digitally referenced as the sum of column and cell Y in Exhibit 2
46
   Digitally referenced as the sum of column W in Exhibit 2
47
   Digitally referenced as the sum of column X in Exhibit 2
48
   Digitally referenced as cell AB in Exhibit 2
49
   Digitally referenced as cell AC in Exhibit 2
50
   See Table 6
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The information held by the Unions is valuable because the session reports have the following
attributes:

     1. Accuracy & Reliability – Information that is not accurate is obviously worth less. Historical
        information is generally more reliable if it was recorded contemporaneously. In this situation,
        the session reports are original business records that were contemporaneously recorded, and
        are required to support payroll. As a class of accounting record, payroll records tend to be
        accurate because, in addition to whatever controls exist by the payor of the payroll, the
        payroll recipient is motivated to be paid correctly.51

     2. Availability - Information loses value as the information becomes more widespread or
        commonly known. Stated otherwise, as more people have the information, the information
        loses its value. For example, information that is obtained easily on the internet is not as
        valuable as information known to only a small group. In this situation, the Union-maintained
        information is generally not otherwise available.

     3. Relevant - Anything that is not relevant will hold small or immaterial value to the target
        audience. This means that information is more valuable to different group(s) based on each
        group’s activities and interests. This is important in understanding past transactions, or the
        lack thereof. Information will have value to a group to whom it is relevant (such as the
        Fund), even though the information has not previously been sold.

     4. Completeness – For large data collections, a complete collection will be more valuable than
        incomplete sets. If the same type of data can be obtained from multiple sources, the more
        complete data collection will be more valuable. In this situation, the Unions’ information is
        more complete than any alternatives, and covers the vast majority of distributions that the
        Fund is required to make.

     5. Ease of use – Data that the buyer finds easy to use will be more valuable; stated otherwise,
        the cost of using the data is an offset to the value that the data would otherwise have.
        Applied to this situation, data that (ii) is contained in an electronic data base or (ii) is based
        on a standard form containing the needed data (as the majority of the Unions’ data is), is
        faster and easier to use.

For these reasons, the Unions are asked for session reports for nearly every title.52 The Unions are
able to respond a high percentage of the time in certain locations, and in certain music genres. This
was explained by Julie Sandell as follows:53

      Q. So just going back to my question, though, whatever the number is of new research that
         the Fund is doing, that doesn't mean that the unions are providing information for that
         same number of titles, right?
      A. Right. It depends on the genre. I would say in Nashville, probably 95 percent. Broadway,
         big band, movie soundtracks, underscore, huge. It's critical.

51
   This comment does not require that the session reports to be infallible. Mistakes occur in all types of
business records. This factor addresses the accuracy of the subject information when compared to the
alternatives.
52
   December 9, 2020 deposition of Julie Sandell , pages 47 - 48
53
   December 9, 2020 deposition of Julie Sandell , pages 67 - 68
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     Q. And in your opinion is Nashville 95 percent because they've undertaken the effort to
        digitize their records?
     A. No, because the music that's produced there is produced by the session musicians and
        background vocalists that are union members.

     Q. Why is that specific to Nashville? Maybe I'm just not understanding.
     A. It's just the way their music production historically has been. The way their music has
         been created there. And LA too.”

See Section III.E above. When the Unions do not have session reports, the Fund is left to obtain the
necessary information itself. For recently-produced digital music, there are fewer artists to discover.
Additionally, the names of participants for newer music could be available on Pandora54 or Discogs55
(but not such participants’ addresses and tax identification numbers).56

When the music is not recently produced and/or is not easily researched using public sources, the
Unions’ session reports are a critical means of obtaining information on artists to whom royalties have
been allocated by the Fund. The Session reports also provide contact information and taxpayer
identification information. All of this data is required before an artist can be paid. As an example,
Ms. Gorbacsov testified:57

      “Q. Does anyone besides SAG-AFTRA have access to these session reports?
      A. No.

      Q. It's not possible for the Fund to contact any particular individual or entity other than
         SAG-AFTRA to maintain these reports?
      A. No, there's no one else who would be able to provide these reports and we don't provide
         these reports to anyone else.”

If the Unions did not provide session reports, the Fund would not be able to identify performers in
many circumstances, or would mis-identify performers, always to some musicians’ detriment. Julie
Sandell summarized the efforts and challenges involved when the Unions do not provide session
reports, and the Fund is forced to address its requirements on its own, as follows:

     “Q. Okay. If the union wasn't able to provide a session report for a given album or track
         back in 2009, what would you do next?

     A. You have to make a choice of using the credits that you found on the Internet. Sometimes I
        would get books from the library, or my own library, my own albums trying to track down the
        liner notes from the album. But that still didn't help because there's a lot of cases where the
        session musicians were not listed on the liner notes. So we had another option where we


54
   https://www.pandora.com/ - Pandora is an American subscription-based music streaming service owned
by Sirius XM Holdings.
55
   https://www.discogs.com/ - Discogs is a crowdsourced databased about audio recordings, including off-
label releases.
56
   December 9, 2020 deposition of Julie Sandell , pages 126 - 127
57
   December 9, 2020 deposition of Julie Sandell , pages 39, 41-42ctober 23, 2020 deposition of Kristina
Gorbacsov , page 128
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          could put no credits found and hope that musicians would make a claim and provide the
          session reports; maybe they kept a copy.

          … The problem with that is, just like in the old days, they're more concerned with the
          featured artist, the songwriters, the producers, the engineers, all the Grammy-nominated
          credits. The session musicians tend to be an afterthought. And that is the beauty of the old
          union-style session reports is that it was a document, a historical document that could be
          used. And now if a song is created and nobody is in charge of compiling the credits, then
          they can get lost. Someone might not have been at the first session where the guitar player
          played, and then when they remix it, they overdub somebody else, and then it goes to the
          record label and nobody knows that they were there.” 58

and
          “[T]he titles would be incomplete and a lot of musicians would not receive their royalties…

          Artists that have good liner notes and track breakdowns might be able to -- we might be able
          to find. But what happens if we don't find a track breakdown. So we can use album credits,
          right? So I wonder if you have an album and one song has an orchestra or a choir or a big
          horn section, but if we can't find a track breakdown, we're going to add all of those musicians
          to every track. So let's say there's one track where it's just a guitar player and a keyboard
          player, their shares will now be diluted by all those extra players. And they're not -- they're
          not winning.

          Or we put nobody in, and because we can't decide and we don't want to pay a whole choir
          for a track, so now we put nobody in and so those guitar players are now getting zero. So
          they're either getting their shares diluted or they're getting zero.” 59

C. The attributes and use of the Unions’ data cause the 3% fee to be reasonable.

The landmark case, Georgia-Pacific Corp. v. United States Plywood Corp., 318 F. Supp 1116, 6 USPQ
235 (SD NY 1970) provides a 15-factor test that lists relevant economic factors when determining a
reasonable royalty. Although the Georgia-Pacific case is more commonly applied to patents (as this
was the case’s initial application), the Georgia-Pacific rationale is used by analysts to address
reasonable royalties with other forms of intellectual property. Although not required in the instant
litigation, the decision does provide a useful list of helpful considerations when determining a
reasonable royalty rate. Therefore, I consider the fifteen Georgia Pacific factors below, after
modifying them for the non-patent situation at issue here. The fifteen (paraphrased) factors, and
their application to this matter, are as follows:

1. The royalties received by the licensor for licensing the [intellectual property], proving or tending
   to prove an established royalty.

Georgia-Pacific factor #1 involves consideration of the existence of an established royalty for the
intellectual property at issue. Other than under the 2013 Agreement, the Unions have not sold or




58
     December 9, 2020 deposition of Julie Sandell , pages 39, 41 - 42
59
     December 9, 2020 deposition of Julie Sandell , pages 125 and 127
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licensed the information being provided to the Fund.60 The Fund has not been able to identify any
alternative sources of information for the number of tracks that the Union data covers.

Although not pertaining to the Union’s past activities, Section A above provides substantial authority
for the premise that information is quite valuable in market transactions.

2. The rates paid by the licensee for the use of other similar [intellectual property].

The Fund has no similar licenses or agreements. There is no alternative source of the Unions´
information.

3. The nature and scope of the license, such as whether it is exclusive or nonexclusive, restricted or
   non-restricted in terms of territory or customers.

An exclusive license is more valuable (expensive) than a non-exclusive license. Although the Unions
are not prohibited from licensing the same information to others, there are no other licensees that
currently have access to the Unions’ information (other than the Unions’ affiliated organizations, such
as health and pension plans, that are provided information under the Unions’ respective collective
bargaining agreements).

4. The licensor’s policy of maintaining its [intellectual property] monopoly by licensing the use of the
   [intellectual property] only under special conditions designed to preserve the monopoly.

The Unions have not sold or used the information at issue with others (except as already noted for
affiliate transactions for benefits), and I understand they would not do so outside of the 2013
Agreement.

5. The commercial relationship between the licensor and licensees, such as whether they are
   competitors in the same territory in the same line of business or whether they are inventor and
   promoter.

The Unions and the Fund are not competitors and have complementary purposes. This is the only
reason that the 2013 Agreement exists. Absent this factor (i.e., if the information was being shared
with an entity that was competitive to, or otherwise a threat to, the Unions), the royalty rate would
need to be considerably higher than the 2013 Agreement’s price.

6. The effect of selling the [intellectual property] in promoting sales of other licensor’s products; the
   existing value of the invention to the licensor as a generator of sales of other items; and the
   extent of such derivative or “convoyed” sales.

This factor involves so-called “convoyed” sales. Examples of convoyed sales are repair or extended
warranty contracts, or supplies/consumables that are uniquely fitted to the product at issue. There
are no such additional sales or transactions with the Unions’ information.

7. The duration of the [intellectual property] and the term of the license.



60
  The Unions share some membership data with related pension and health funds pursuant to collective
bargaining agreements.
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Unlike a patent which is published publicly and provides exclusivity for a discrete time period, the
information provided under the 2013 Agreement can remain confidential without expiration. This
makes the information more valuable when compared to protections with a known expiration.

8. The established profitability of the [intellectual property], its commercial success and its current
   popularity.

The information provided by the Unions is used to make payments on royalties that have already
been received. The Fund has an obligation to distribute the payments to the artists, which the Fund
could not do without either having the Unions’ information or somehow recreating such information
itself. There is no question that the information is needed, because the Fund has already received
the royalties, and is assured of receiving future royalties. The lack of risk-taking makes the Unions’
information more valuable than would otherwise be the case.

Deposition testimony in this matter indicates that the Fund trustees and executive director gave
consideration in 2013 to comparable fees that were being charged by others. For example, Duncan
Crabtree Ireland testified:61

        "[A]s far as I know, pretty much all of those organizations charge a similar or a higher
        administrative fee than the Fund does. With the possible exception of PPL, their fee might be
        a little lower because of the volume of payments that they handle. But that was the kind of
        thing that we were looking at in terms of what's -- you know, what's a reasonable
        administrative fee to charge in an environment where there's not a subsidy going on by a
        union, which is -- you know, in none of those -- in none of those organizations would there
        be a union subsidizing the operations of those CMOs. And so that was a data point, I think, to
        help us evaluate the overall reasonableness of the cost structure. …

        an appropriate data point or metric to consider is because those institutions, ultimately, have
        to do the same function. So whether they can acquire the data from someone else who
        already has it or whether they have to generate that data themselves, either way it's an
        indication of what the cost and value of that data might be and something to take into
        account."

Consistent with this, Dennis Dreith testified:

        "The norm of the foreign societies have requirements in their EU law how much we can
        charge in administrative expenses, and our bilateral agreements had to be matched to theirs
        for collection of foreign royalties so. I did point out that to have a higher administrative fee
        would put us above the allowable amount. …62

        [S]omebody asked me on the board, possibly Duncan, I think, asked me well, what would be
        a percentage that would keep us at or below the threshold to not trigger a problem with the
        foreign CMOs. And I had said at that point, I believe 3 percent would keep us at the
        threshold at or below that point".63



61
   February 16, 2021 deposition of Duncan Crabtree-Ireland, pages 243 - 244
62
   February 11, 2021 deposition of Dennis Dreith, page 164
63
   February 11, 2021 deposition of Dennis Dreith, page 166
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9. The utility and advantages of the [intellectual property] over any old modes or devices that had
   been used.

10. The nature of the [intellectual property], its character in the commercial embodiment owned and
    produced by the licensor, and the benefits to those who used it.

Factors 9 and 10 are often considered together, as I do here.

See Sections III and IV.B above. The Unions’ information is critical to the Fund in complying with the
Fund’s obligations. Other than attempting to research the data independently, there is no alternative
to having the Unions’ data. However, the Fund is unable to independently research the full scope of
recordings that the Unions´ data covers, and such independent efforts provide results that are less
accurate than occurs when using the Unions data.

The following considerations described in Section III.D are important in addressing the benefit that
non-union participants receive from having use of the Unionsʹ information:

      a. The session reports include information on performers who are not union members who play
         at recording sessions that are covered by Union collective bargaining agreements.

      b. The Unionsʹ information covers between 50% to 80%64 of the Fund’s royalty allocations,
         depending how one wishes to measure this. For this large portion of the research that needs
         to be done, the Fund’s costs are less because the Unions provide their information. The non-
         Union participants benefit from having this less-expensive information available because the
         overall costs of the Fund are deducted from all distributions. Stated otherwise, by having
         information regarding Union recording sessions and the Union members, additional resources
         are available to research tracks that did not result from a Union recording session. When the
         overall cost to the Fund is lessened, all participants benefit, both Union and non-Union.


The Unions provide other services described in the 2013 Agreement that are in addition to providing
the information needed to make distributions to artists.

11. The extent to which the [licensee] used the invention and any evidence probative of the value of
    that use.

See Sections III.E and IV.B above for information regarding the payments made to participants, and
how the data provided by the Unions makes such payment more accurate. The Fund uses the
Unions’ information as a critical and integral part of the Fund’s mission. The Fund has no alternative
to the use of the Unions’ information without materially sacrificing the accuracy of the payments that
are made to the participants. The Unions’ data is critical to the Fund’s ability to comply with its
mission and purpose.

As shown in Table 9 and the related commentary thereto, the Unionsʹ data provides a substantial
increase in the accuracy of the payments being made. When expressed as a percentage of the
Fund’s overall distributions, the 3% fee paid to the Unions is small relative to the much larger
increase in accuracy.


64
     See Table 6
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There are a large number of artists receiving payments from the Fund, with some of the individual
payments being modest. The large number of participants increases the Fund’s challenge in paying
only a cost for each artist that is proportionate to what is owed. The 3% fee to the Unions for their
information used in Fund distributions accomplishes this objective.

12. The portion of the profit or selling price that is customary in the particular business or in
    comparable businesses.

I am not aware of any industry standard rates that are applicable in this situation.

13. The portion of the realizable profit that should be credited to the [intellectual property]as
    distinguished from any other elements, manufacturing process, business risks or significant
    features or improvements added by the [licensee].

The payment of a 3% fee allows the payments to be considerably more complete and accurate than
would occur otherwise. Under the 2013 Agreement, the amounts paid to the Unions are a modest
portion of the Fund’s administrative costs.65 As shown in Table 1, the fees paid to the Unions66 range
from 9% to 15% of the Fund’s total General and Administrative costs (with an overall average of
12%). Because the information provided by the Unions is central to the Fund’s ability to meet its
mission and purpose, and there are no alternatives to find the needed information (particularly for
older performances), the 3% fee being paid to the Unions is sensible economically.

14. The opinion testimony of qualified experts.

I do not have the reports from other experts in this matter, or in other matters involving the parties
in this case.

15. The amount that the licensor and a licensee would have agreed upon at the time the [use] began
    if they had reasonably and voluntarily tried to reach an agreement.

This Georgia Pacific Factor is a reconciliation and conclusion of the preceding factors to arrive at a
reasonable royalty conclusion. The following facts and circumstances bear most heavily on the
correct reasonable royalty rate:

      1. The information is critical to the Fund’s mission and purpose. The Fund has no economically
         viable alternative in terms of obtaining the information from a source other than the Unions
         that would allow the same level of completeness and accuracy that is achieved using the
         Unions´ data.

      2. The 3% fee paid to the Unions is small relative to the much larger increase in accuracy
         occurring by using the Unionsʹ information.




65
  See the supplemental Schedule of Expenses that is part of most of the Fund’s audited financial
statements available on the Fund’s website. Contrary to the Plaintiff’s contentions, the description and
amount paid to the Unions consistently appears in these publicly-available audited financial statements.

66
     See the Unions’ answers to Interrogatory Nosx 7 and 8 (March 1, 2021).
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   3. The Fund incurs no risk of losing money, as the percentage amounts paid to the Unions are
      calculated only based on successful distributions of amounts already received. This “no-risk”
      situation is unusual in business activities.

   4. Some of the potential payment recipients are owed individually modest amounts. This
      underscores the requirement that the needed information be obtained inexpensively relative
      to the individual amounts being distributed. A 3% fee accomplishes this objective.

   5. The Unions provide other services to the Fund in addition to the information needed to make
      distributions to non-featured artists.

D. Amounts paid to the Unions for their information need not occur (and should not be
   expected to occur) based on when the underlying information was obtained, or the
   underlying work occurred.

Plaintiff incorrectly contends that the percentage-based payments made by the Fund to the Unions
need to correspond to work performed by the Unions in the same time period as the payment. For
example, Plaintiff’s response to Interrogatory No. 11 (February 12, 2021) includes:

       "… The membership data is simply copied to the Fund, without regard to whether the Fund
       actually needs the information. The data is also duplicated from prior years, leaving the Fund
       to sort through the data dump to pick out the information that it requires for the distribution
       before verifying it for accuracy. The Fund has been accumulating its own, up to date, verified
       data since its creation. The data for prior years’ tracks and identified performers have already
       been accumulated. The delta between the information already known by the Fund and new
       information sought is small, if not non-existent. Unlike music production of days past, the
       likelihood of a Union session is rare. If the track was not a Union session, the Unions would
       have no chance of obtaining any relevant information that would assist the Fund."

The preceding quote contains multiple errors and omissions that explain why Plaintiff’s contentions
are incorrect. For example:

   1. In contrast to the Plaintiff’s contention, payments for the use of information or other
      intellectual property are almost never received in the same period in which the underlying
      work was performed. Plaintiff’s proposed timing requirement almost never occurs with such
      payments, and need not be a requirement for the 2013 Agreement to be economically
      reasonable.

   2. As previously discussed, Plaintiff is incorrect that the Unions have no information regarding
      non-Union performers, because all labels that are signatories to the Union agreements are
      required to include all performers in their session reports, including non-Union performers.

   3. As previously discussed, the Unions have current members who perform new music, for
      which the Fund receives and will continue to receive royalties that need to be distributed.

   4. Information that the Fund continues to use has ongoing value. Plaintiff admits that the Fund
      has possession of Union historical information, which the Fund continues to need and use.
      Plaintiff’s position quoted above is based on the position that the Fund should be entitled in
      perpetuity to make ongoing use of the Unionsʹ data without paying any compensation.
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While the parties have sometimes described the fee paid to the Unions as a “Service Fee”, this name
is a misnomer when applied to the “data” and “information” that repeatedly is identified as being a
central aspect of the 2013 Agreement. The 2013 Agreement’s description of the arrangement
includes:

       “WHEREAS, the Agreement and Declaration of Trust authorizes the Trustees of the Fund to
       purchase relevant data from the Unions (and others) and to employ assistants; and

       WHEREAS, the Trustees of the Fund have determined that it is reasonable and appropriate at
       this time to memorialize arrangements for the provision by the Unions to the Fund of certain
       data and assistance in exchange for reasonable compensation to the Unions from the Fund;

       NOW, THEREFORE, the Parties, intending to be legally bound, hereby agree as follows:

       3. Provision of Data. From and after the Effective Date, each Union shall provide the Fund
          the following data, in a manner comparable to the way such data has been provided
          immediately prior to the Effective Date:

           •   Access to member databases to enable the Fund to obtain identifying and contact
               information for members.
           •   Access to session reports and "B-forms," or databases containing information derived
               therefrom, that in either case, identify the recordings made at recording sessions and
               provide identifying and contact information for performers (Union members and
               nonmembers) who performed at the session.

           Each Union retains all its ownership rights in its data, and all such data shall be
           considered Confidential Information of the relevant Union subject to the provisions of
           Section 7. The Fund is authorized to, and shall, access, reproduce and use such data
           solely for purposes of distribution of royalties collected by the Fund to the relevant
           persons. In its use of such data, the Fund further shall comply with the provisions of any
           applicable Union privacy policy of which such Union advises the Fund in writing from time
           to time. …

         6. Payment. In consideration of the foregoing, the Fund shall pay each Union, within 30
            days after the conclusion of each of the Fund's distribution cycles, 3% of the amount
            distributed by the Fund in such distribution cycle. Each such payment shall be
            accompanied by a statement setting forth the computation of the payment amount.
            Such payment shall constitute complete compensation of the Unions and their personnel
            for providing the data and services contemplated by this Agreement. There shall be no
            additional charges or expense reimbursement associated with the Unions' provision of
            the data and services contemplated by this Agreement.”

A "royalty" is a payment made to an asset’s owner for the use of that asset. Royalties are typically
expressed (as occurs under the 2013 Agreement) as a percentage of gross or net revenues derived
from the use of an asset. The payment to the Unions under the 2013 Agreement is a percentage
royalty. Similarly, the dispute at issue involves the administration of music royalties, in which music
performers are compensated with percentage royalties. Simply put, it should surprise no one that a
percentage fee is used for the use of information needed to administer percentage-based music
royalties.
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Music royalties are not earned or paid when the underlying work occurs; instead, the work precedes
the payment, sometimes by years. The same is true for all of the payments to the companies
described in Section A above. Yet, in this matter, Plaintiff asserts (incorrectly) that the payments
made to the Unions for the use of their information are unreasonable because the amount paid in
any particular year (or, the increase in the payment over the prior year’s payment) is not reasonably
calculated based on work uniquely performed in that year. The Plaintiff’s contentions in this regard
are improper as the time-based work vs. payment relationship almost never exists in royalty
agreements.


V.       OTHER INFORMATION

A. QUALIFICATIONS FOR OFFERING OPINIONS

Attached as Exhibit 1 is a copy of my curriculum vitae summarizing my education, experience and
qualifications. Exhibit 1 also includes a listing of the cases in which I have testified as an expert at
trial or by deposition within the preceding four years, and publications that I have authored in the
last ten years.

B. COMPENSATION

Fulcrum is being paid at its normal hourly rates for the persons involved in the assignment. Our
compensation is not contingent on the conclusions reached or ultimate resolution of the case. My
personal hourly rate is $625.

Very truly yours,
Fulcrum Financial Inquiry LLP


By:
      David Nolte
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                   EXHIBIT 2
                                                                                     Case 2:18-cv-07241-CAS-PLA Document 123 Filed 06/21/21 Page 48 of 162 Page ID
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                                                                                                                                                                                                Musician                                   Both M/V       Both M/V                                                                                                Time Spent
                                                                                    Web                                          Total Musician Total Vocalist $ Total Both M/V    Musician                     Vocal                                                   Musician                   Vocalist      Vocalist       Both M/V          Both M/V
                                                                  Union Session                                                                                                                  Share                    Vocalist Share    Count          Share                   Musician Share                                                               finding credits                                       Album or Track
 TITLE ID                 TITLE                   ARTIST                        Credits=Fund               Result                $ Distributed to Distributed to $ Distrbuted to    Count                       Count                                                    Count                      Count         Share          Count             Share                               Web Credits Source(s)                         Researcher Comments
                                                                    Reports                                                                                                                     w/Union                   w/Union Data     w/Union        w/Union                   Web Credits                                                                   w/o Union                                            Credits Used
                                                                                  Credits?                                             Title            Title          Title     w/Union Data                w/Union Data                                              Web Credits                Web Credits   Web Credits    Web Credits       Web Credits
                                                                                                                                                                                                 Data                                        Data           Data                                                                                                     Data

                                                                                               Orchestra and music prep
                                                                                               personnel would not receive
                                                                                               their shares; web credit                                                                                                                                                                                                                                                           Discogs+liner notes=b/d,                          Orch conductor and contractor credited on mult online sources
041624      MY HEART WILL GO ON (LOVE THDION CELINE                    Y             No        musicians would be overpaid           $30,388.89     $30,308.35            $0.00           65      $467.52               5      $6,061.67              0        $0.00             7      $4,341.27           5      $6,061.67             0              $0.00    30 minutes       Tidal=b/d, allmusic=alb credits         track     (b/d) but not the orch (orch/prep on afm contracts only)
                                                                                               2 session musicians would not
                                                                                               receive their shares; web                                                                                                                                                                                                                                                          Discogs+liner notes=alb credits,
                                                                                               credit musicians would be                                                                                                                                                                                                                                                          Tidal=b/d, allMusic=alb creds,
092853      CRASH MY PARTY              BRYAN LUKE                     Y             No        overpaid                              $53,605.44     $89,347.74            $0.00             9    $5,956.16              1     $89,347.74              0        $0.00             7      $7,657.92           1     $89,347.74             0              $0.00    20 minutes       wiki=alb creds                          track     Only one source (Tidal) w/ b/d

                                                                                                                                                                                                                                                                                                                                                                                  Discogs=b/d on a comp,
                                                                                                                                                                                                                                                                                                                                                                                  Tidal=no credits, liner                           b/d was hidden on a comp but all three musicians were on the liner
                                                                                                                                                                                                                                                                                                                                                                                  notes=partial b/d, wiki=partial                   notes (not attributed to trks but other perf were so it can be
023948      RUNNIN' DOWN A DREAM        PETTY TOM                      Y            Yes        web credits match                     $51,561.85          $0.00            $0.00             3   $17,187.28              0          $0.00              0        $0.00             3     $17,187.28           0          $0.00                 0          $0.00    40 minutes       b/d, allmusic=alb credits               track     assumed these three played on all alb trks)

                                                                                               2 Musicians would receive
                                                                                               shares in error diluting the                                                                                                                                                                                                                                                       discogs=alb creds, liner
                                                                                               shares; 1 Vocalist would not                                                                                                                                                                                                                                                       notes=no creds, Tidal=alb creds,
                                                                                               receive a share resulting in 1                                                                                                                                                                                                                                                     wiki=alb creds, allmusic=no                       credit discrepancy between web/afm; 3 musicians on Tidal for trk
106915      HEAD OVER BOOTS             PARDI JON                      Y             No        Vocalist being overpaid               $26,296.32     $44,398.94            $0.00             8    $3,287.04              2     $22,199.47              0        $0.00            10      $2,629.63           1     $44,398.94             0              $0.00    20 minutes       creds                                   track     but not on AFM and a one musician on AFM but not on web

                                                                                               The only 2 Musicians on this                                                                                                                                                                                                                                                       wiki=no creds, discogs/liner
                                                                                               trk (afm) would not receive a                                                                                                                                                                                                                                                      notes=voc creds b/d
                                                                                               share and 1 vocalist would not                                                                                                                                                                                                                                                     only/musicians=alb creds,
                                                                                               receive a share resulting in 11                                                                                                                                                                                                                                                    Tidal=vocs creds only,
137357      SHAKE IT OFF                KROLL NICK/REESE WITHER        Y             No        vocs being overpaid                    $1,379.99       $6,375.90       $3,590.75             1    $1,379.99             10        $637.59              1    $3,590.75             0          $0.00          11        $579.63             0              $0.00    15 minutes       allmusic=alb creds                      track     no b/d, musicians credited for alb (diff songs/artists),
                                                                                                                                                                                                                                                                                                                                                                                  discogs+liner notes=b/d,
                                                                                                                                                                                                                                                                                                                                                                                  Tidal=incomplete b/d,
073070      I KISSED A GIRL             PERRY KATY                     Y            Yes        web credits match                     $42,087.63     $73,963.88            $0.00             3   $14,029.21              1     $73,963.88              0        $0.00             3     $14,029.21           1     $73,963.88             0              $0.00    20 minutes       allmusic=alb credits                    track     worked per discogs/liner notes b/d

                                                                                               30 session musicians would                                                                                                                                                                                                                                                         discogs=b/d, liner notes=no
                                                                                               not get a share; web credits                                                                                                                                                                                                                                                       creds, wiki=b/d, allmusic=alb
021162      BABY, WHAT A BIG SURPRISE   CHICAGO                        Y             No        would overpay others                  $14,938.15     $24,211.74            $0.00           32      $466.82               2     $12,105.87              0        $0.00             2      $7,469.08           2     $12,105.87             0              $0.00    15 minutes       credits                                 track     worked per discogs/wiki b/d; missing session players
                                                                                                                                                                                                                                                                                                                                                                                  discogs=b/d, no liner notes,
                                                                                                                                                                                                                                                                                                                                                                                  tidal=b/d,
                                                                                                                                                                                                                                                                                                                                                                                  wiki=discprepancies(seems
105992      SORRY                       BIEBER JUSTIN                  Y            Yes        web credits match                          $0.00    $155,555.94            $0.00             0        $0.00              2     $77,777.97              0        $0.00             0          $0.00           2     $77,777.97                 0          $0.00    10 minutes       incorrect)                              track     worked per discogs/tidal b/d

                                                                                               1 perf credited as musician
                                                                                               and bgv's on album but can
                                                                                               only corroborate musician
                                                                                               contribution on trk; as a                                                                                                                                                                                                                                                          discogs=partial b/d, wiki=partial
                                                                                               result, he will not receive a                                                                                                                                                                                                                                                      b/d, tidal=b/d, artist
                                                                                               voc share from credited from                                                                                                                                                                                                                                                       website=liner notes w/ partial                    tidal=b/d but still one voc straggler on alb; other sources=partial
119370      ROUND HERE BUZZ             CHURCH ERIC                    Y             No        an Aftra session report               $11,737.82          $0.00       $26,477.18             3    $3,912.61              0          $0.00              1   $26,477.18             4      $2,934.46           0          $0.00             0              $0.00    25 minutes       b/d                                     track     b/d

                                                                                               8 Music prep and 1 Musician
                                                                                               from union session reports                                                                                                                                                                                                                                                         discogs & liner notes=b/d for
                                                                                               not listed in web credits                                                                                                                                                                                                                                                          orchestrators only, orch=alb
                                                                                               would not get paid and others                                                                                                                                                                                                                                                      creds, Tidal=b/d; youtube
119679      I BELIEVE IN YOU            BUBLE MICHAEL                  Y             No        would get overpaid                    $10,150.64     $12,630.30        $3,972.84           55      $184.56               2      $6,315.15              1    $3,972.84            46       $220.67            2      $6,315.15             1          $3,972.84    45 minutes       topic=b/d                               track     Missing Strings‐ check with KP
                                                                                                                                                                                                                                                                                                                                                                                  Discogs=found, no b/d but
                                                                                                                                                                                                                                                                                                                                                                                  attached liner notes with b/d,
                                                                                                                                                                                                                                                                                                                                                                                  wiki=single b/d, allmusic=album
134728      WOMAN, AMEN                 BENTLEY DIERKS                 Y            Yes        liner notes match Union                $9,414.84       $8,683.29      $10,252.43             6    $1,569.14              1      $8,683.29              1   $10,252.43             6      $1,569.14           1      $8,683.29             1         $10,252.43    16 minutes       credits                                 Track     worked per liner notes

                                                                                                                                                                                                                                                                                                                                                                                  Discogs=no credits, Allmusic=
                                                                                                                                                                                                                                                                                                                                                                                  album credits, Youtube Topic &
                                                                                                                                                                                                                                                                                                                                                                                  Tidal credits appear c=a, wiki
                                                                                                                                                                                                                                                                                                                                                                                  indicates trk instrumentation                     can't confirm wiki as only source indicating producer Jody Stevens
                                                                                                                                                                                                                                                                                                                                                                                  was all by producer, can't                        played all the instruments on single, worked as c=a per Tidal, Wiki
092752      CHILLIN' IT                 SWINDELL COLE                  Y             No        Album credits dilute Shares            $6,536.99     $92,457.05            $0.00             1    $6,536.99              1     $92,457.05              0        $0.00             8       $726.33            3     $23,114.26             1         $23,840.59    30 minutes       verify, worked as c=a                  Album      & allmusic album credits
                                                                                                                                                                                                                                                                                                                                                                                  Discogs=no credits found,
                                                                                                                                                                                                                                                                                                                                                                                  Allmusic=album credits only,
                                                                                                                                                                                                                                                                                                                                                                                  Tidal=producer credits only,
                                                                                                                                                                                                                                                                                                                                                                                  Wiki=album credits only,
107027      T‐SHIRT                     RHETT THOMAS                   Y             No        Album credits dilute Shares           $28,986.60     $49,242.62            $0.00             6    $4,831.10              2     $24,621.31              0        $0.00            13      $1,932.44           2     $12,310.66             2         $14,243.10    15 minutes       Genius=no credits found                Album      no b/d, worked as c=a

                                                                                                                                                                                                                                                                                                                                                                                  Discogs=trk b/d+LNs
                                                                                                                                                                                                                                                                                                                                                                                  Topics/Tidal=trk b/d Genius=trk
018050      UN‐BREAK MY HEART           BRAXTON TONI                   Y            Yes        liner notes match Union               $24,132.60     $38,705.33            $0.00             4    $6,033.15              1     $38,705.33              0        $0.00             4      $6,033.15           1     $38,705.33             0              $0.00       12 min        b/d allMusic=alb wiki=trk b/d           track     trk b/ds avail per liner notes and web

                                                                                                                                                                                                                                                                                                                                                                                  Discogs=partial b/d (no LNs)
                                                                                                                                                                                                                                                                                                                                                                                  Tidal/Topic=partial b/d                           would want Union to confirm prod and contrctr: partial trk b/d
                                                                                                                                                                                                                                                                                                                                                                                  allMusic=alb creds wiki=partial                   avail per Discogs only, all other web sources leave out the
016959      UNWELL                      MATCHBOX 20                    Y            Yes        web credits match                     $63,861.28          $0.00            $0.00             4   $15,965.32              0          $0.00              0        $0.00             4     $15,965.32           0          $0.00                 0          $0.00       18 min        b/d genius=partial b/d                  track     prod+contrctr entirely
                                                                                                                                                                                                                                                                                                                                                                                  Discogs=no b/d, no LN
                                                                                                                                                                                                                                                                                                                                                                                  Tidal/Topics=track b/d
                                                                                                                                                                                                                                                                                                                                                                                  allMusic=album wiki‐album
114036      THINK A LITTLE LESS         RAY MICHAEL                    Y            Yes        web credits match                     $18,392.57     $30,898.85            $0.00             7    $2,627.51              1     $30,898.85              0        $0.00             7      $2,627.51           1     $30,898.85             0              $0.00       10min         genius=nothing                          track     b/d on Tidal/Topics only
                                                                                               session players not on web                                                                                                                                                                                                                                                         Discogs=partial trk/alb
                                                                                               credits would not get a share                                                                                                                                                                                                                                                      Pandora=partial trk/alb                           L.A. & nville; given useless partial b/d, any contracts would be
147447      READY TO LET GO             CAGE THE ELEPHANT              Y             No        and others would be overpaid           $4,502.60       $6,590.88           $0.00             1    $4,502.60              9        $732.32              0        $0.00             1      $4,502.60           1      $6,590.88             0              $0.00         15          Allmusic=alb                           Album      helpful
                                                                                                                                                                                                                                                                                                                                                                                  Discogs=LNTs, alb only
                                                                                                                                                                                                                                                                                                                                                                                  Pandora=alb but missing some
                                                                                                                                                                                                                                                                                                                                                                                  in error ‐ not track specific
092857      THAT'S MY KIND OF NIGHT     BRYAN LUKE                     Y             No        Album credits dilute Shares           $49,064.40     $82,453.38            $0.00             7    $7,009.20              1     $82,453.38              0        $0.00            15      $3,270.96           4     $20,613.35             0              $0.00         13          Allmusic=alb                           Album      Need nville contracts for track b/ds
                                                                                                                                                                                                                                                                                                                                                                                  Discogs=LNT, alb only
                                                                                                                                                                                                                                                                                                                                                                                  Pandora=no
                                                                                                                                                                                                                                                                                                                                                                                  Praguefrank=album                                 Album Credits dilute session credits; Need nville contracts for track
018758      DOWN ON THE FARM            MCGRAW TIM                     Y             No        Album credits dilute Shares           $27,348.54     $46,397.28            $0.00             6    $4,558.09              2     $23,198.64              0        $0.00            12      $2,279.05           2     $23,198.64             0              $0.00         12          Allmusic=album                         Album      b/ds

                                                                                               session players not on web                                                                                                                                                                                                                                                         Discogs=trk b/d (no LNs)
                                                                                               credits would not get a share                                                                                                                                                                                                                                                      Tidal/Topics=no b/d All                           new trk b/d found in discogs (only): without discogs this would've
018061      BOOTS ON                    HOUSER RANDY                   Y             No        and others would be overpaid          $32,245.36     $53,669.02            $0.00           14     $2,303.24              1     $53,669.02              0        $0.00             8      $4,030.67           1     $53,669.02             0              $0.00    15 minutes       Music=alb creds wiki=alb creds          track     been album credits

                                                                                                                                                                                                                                                                                                                                                                                  Discogs=b/d+liner notes
                                                                                                                                                                                                                                                                                                                                                                                  Tidal/Topics=missing credits; All
091614      RADIOACTIVE                 IMAGINE DRAGONS                Y            Yes        web credits match                    $159,600.67          $0.00            $0.00             1 $159,600.67               0          $0.00              0        $0.00             1    $159,600.67           0          $0.00             0              $0.00    15 minutes       Music=alb creds wiki=trk b/d            track     trk b/ds available across web

                                                                                                                                                                                                                                                                                                                                                                                  Discogs=partial b/d+liner notes
                                                                                                                                                                                                                                                                                                                                                                                  Tidal/topics= b/d allmusic=alb                     liner notes provide partial b/d, eliminated adding extra musician
021529      VENTURA HIGHWAY             AMERICA                        Y            Yes        liner notes match Union               $41,725.79          $0.00            $0.00             2   $20,862.90              0          $0.00              0        $0.00             2     $20,862.90           0          $0.00                 0          $0.00    18 minutes       credits wiki=trk creds          k (partial + per au(banjo) per audio (confirmed by wiki)
                                                              Case 2:18-cv-07241-CAS-PLA Document 123 Filed 06/21/21 Page 49 of 162 Page ID
                                                                                                #:4372
                                                                                                                                                                                                                                                            Discogs=no b/d or LNs;
                                                                                                                                                                                                                                                            Tidal/topics=nothing
                                                                    1 Musician would get a share                                                                                                                                                            AllMusic=Alb creds=24mus                           Could use L257 here: Made c=a after comparing to the two web
                                                                    in error and dilute other                                                                                                                                                               wiki=trk b/d=22mus                                 b/ds found: c=a seemed safer VS using the wiki or genius b/ds,
087286   JUST A KISS                   LADY ANTEBELLUM    Y   No    shares                           $74,387.52        $0.00      $0.00    23    $3,234.24   0        $0.00   0   $0.00   24    $3,099.48    0        $0.00   0        $0.00   45 minutes   genius=b/d=20mus                      album        both of which did not match each other.

                                                                                                                                                                                                                                                            Discogs=no b/d or liner notes
                                                                                                                                                                                                                                                            Tidal/topics=no b/d,                               ALBUM CREDITS DILUTE SHARES: need union, esp AFTRA= album
                                                                                                                                                                                                                                                            allMusic=album creds, wiki=alb                     credits ONLY (did not use b/d found only on Genius: seemed
092690   GET ME SOME OF THAT           RHETT THOMAS       Y   No    Album credits dilute Shares      $48,701.84   $82,264.05      $0.00    11    $4,427.44   1   $82,264.05   0   $0.00   24    $1,803.77   19    $3,739.28   3    $5,543.05   35 minutes   creds Genius=partial b/d?             album        incomplete w/no source cited)
                                                                                                                                                                                                                                                            Discogs=b/d (no LNs)
                                                                                                                                                                                                                                                            Tidal/Topic=trk b/d,
                                                                                                                                                                                                                                                            allMusic=alb creds wiki=track
147411   WE WERE                       URBAN KEITH        Y   Yes   web credits match                 $4,430.05    $6,484.64      $0.00     5     $886.01    1    $6,484.64   0   $0.00    5     $886.01     1    $6,484.64   0        $0.00   12 minutes   b/d genius=nothing                     track       web b/ds found
                                                                                                                                                                                                                                                            Discogs=partial b/d and LNs (no
                                                                                                                                                                                                                                                            strings just arrgr/comp)
                                                                                                                                                                                                                                                            Tidal/topics=b/d no strings
                                                                    Session Players would not get                                                                                                                                                           allmusic=alb creds‐ no strngs
                                                                    a share and others would get                                                                                                                                                            wiki=trk b/d no strings                            need L47 for audible strings=n/f (liner notes found with b/d, only
017296   ROCK WITH YOU                 JACKSON MICHAEL    Y   No    overpaid                         $56,393.19     $506.03    $1,187.03   49    $1,150.88   0        $0.00   0   $0.00   15    $3,759.55    0        $0.00   0        $0.00   20 minutes   genius=b/d no strings           (partial ‐ need st arrgr/ conductor)
                                                                                                                                                                                                                                                            Discogs=liner notes=alb credits
                                                                                                                                                                                                                                                            Tidal/topic=album credits
                                                                                                                                                                                                                                                            pandora=nothing
                                                                                                                                                                                                                                                            allMusic=album wiki=album
020003   DON'T TAKE THE GIRL           MCGRAW TIM         Y   No    Album credits dilute Shares      $27,293.60   $45,947.54      $0.00     8    $3,411.70   2   $22,973.77   0   $0.00   12    $2,274.47    2   $22,973.77   0        $0.00   12 minutes   genius=nothing;                       album        need L257: album credits found only (liner notes)

                                                                                                                                                                                                                                                            Discogs=liner notes=partial b/d:
                                                                                                                                                                                                                                                            entered all strings per audio,
                                                                                                                                                                                                                                                            Tidal/topics=nothing;                              could use L47 union here for strings: partial trk breakdown found ‐
017565   CLOSING TIME                  SEMISONIC          Y   Yes   web credits match                $66,101.45        $0.00      $0.00     5   $13,220.29   0        $0.00   0   $0.00    5   $13,220.29    0        $0.00   0        $0.00   15 minutes   allmusic=album genius=trk b/d k (partial + c=a str all feat +5 strings c=a entered per audio
                                                                                                                                                                                                                                                            Discogs=liner notes+b/d
                                                                                                                                                                                                                                                            Tidal/topics=nothing genius=trk
079225   THE EDGE OF GLORY             LADY GAGA          Y   Yes   web credits match                $42,518.66        $0.00      $0.00     4   $10,629.67   0        $0.00   0   $0.00    4   $10,629.67    0        $0.00   0        $0.00    11 min      b/d wiki=trk b/d                      track        web b/ds found
                                                                                                                                                                                                                                                            Discogs=Album Credits,
                                                                                                                                                                                                                                                            Wiki=Album Credits,
                                                                                                                                                                                                                                                            Allmusic=album credits,
                                                                                                                                                                                                                                                            Youtube Topic=b/d, Genius=no                       only b/d down found was youtube topic, can't confirm secondary
019048   THERE GOES MY LIFE            CHESNEY KENNY      Y   Yes   web credits match                $34,517.75   $58,623.10      $0.00     8    $4,314.72   2   $29,311.55   0   $0.00    8    $4,314.72    2   $29,311.55   0        $0.00   16 minutes   credits found                        Track         source for b/d ‐ used
                                                                                                                                                                                                                                                            Discogs=found=b/d,
                                                                                                                                                                                                                                                            Wiki=found=b/d,
                                                                                                                                                                                                                                                            Allmusic=found=no b/d,
134585   DRUNK GIRL                    JANSON CHRIS       Y   Yes   web credits match                $10,035.55   $15,821.83      $0.00     7    $1,433.65   1   $15,821.83   0   $0.00    7    $1,433.65    1   $15,821.83   0        $0.00   15 minutes   youtube topic=found=b/d              Track         web b/d found, liner notes=n/f

                                                                                                                                                                                                                                                            Discogs=found=no b/d,
                                                                                                                                                                                                                                                            Allmusic=found=no credits,
                                                                                                                                                                                                                                                            Wiki=found=no b/d, youtube                         Bass player incorrectly labeled as Bass (vocalist) on youtube topic,
                                                                    session players not on web                                                                                                                                                              topic=found=b/d, Genius=no                         expert researcher knows performer as bassist, tidal b/d confirms
100973   KICK THE DUST UP              BRYAN LUKE         Y   No    credits                          $29,051.82   $48,899.07      $0.00    11    $2,641.07   1   $48,899.07   0   $0.00    7    $3,227.98    1   $16,299.69   2   $19,527.67   22 minutes   credits, Tidal=found=b/d               Track       Sloas as bassist only
                                                                    String Players and Orchestra                                                                                                                                                            Discogs=partial b/d found, no
                                                                    not listed in Web Credits                                                                                                                                                               orch credits, Allmusic=album                       Audible strings, no orch credits found, need to verfiy; discrepancies
                                                                    would not get their shares                                                                                                                                                              credits only, no string credits,                   with musician b/d; Tidal doesn't list Bill Ross as a Arranger, He is
                                                                    and others would get                                                                                                                                                                    Youtube topic=partial b/d                          clearly listed on liner notes, added; added string contractors per
018263   HOME                          BUBLE MICHAEL      Y   No    overpaid                         $41,889.22   $68,709.96      $0.00    47     $891.26    1   $68,709.96   0   $0.00   12    $3,490.77    1   $68,709.96   0        $0.00   30 minutes   found, no orch, Tidal=partial      Track (partial) liner notes, need string performers

                                                                                                                                                                                                                                                            Discogs=found=no credits,
                                                                                                                                                                                                                                                            Allmusic=found=album credits
                                                                                                                                                                                                                                                            only, youtube topic=found=b/d,
                                                                                                                                                                                                                                                            Genius=no credits found,                           tidal & youtube topic b/d appear to be c=a, used this per multiple
106963   YOU SHOULD BE HERE            SWINDELL COLE      Y   Yes   web credits match                $28,911.23   $49,059.51      $0.00     8    $3,613.90   1   $49,059.51   0   $0.00    8    $3,613.90    1   $49,059.51   0        $0.00   20 minutes   Tidal=b/d found                        Track       sources


                                                                                                                                                                                                                                                            Discogs=found=partial b/d, liner
                                                                                                                                                                                                                                                            notes found=partial b/d,
                                                                                                                                                                                                                                                            Youtube topic=found=credits
                                                                                                                                                                                                                                                            appear c=a (2 bass players etc),
                                                                                                                                                                                                                                                            Tidal=found=appear b/d is c=a                      Youtube Topic & Tidal "b/d's" appear to be C=A (ex. two bass
                                                                                                                                                                                                                                                            (not real b/d),                                    players, everyone from album credits credited), esentially worked
107209   IT DON'T HURT LIKE IT USED TO CURRINGTON BILLY   Y   No    Album credits dilute Shares      $23,245.23   $39,316.89      $0.00     8    $2,905.65   1   $39,316.89   0   $0.00   12    $1,937.10    2   $19,658.45   0        $0.00   20 minutes   wiki=found=album credits only         Album        as C=A
                                                                                                                                                                                                                                                            Discogs=found=b/d & liner
                                                                                                                                                                                                                                                            notes found, Tidal=found=no
                                                                                                                                                                                                                                                            credits, Youtube Topic=no
                                                                                                                                                                                                                                                            credits, Wiki=found=album
                                                                    1 Musician would not receive                                                                                                                                                            credits only,
                                                                    a share and others would get                                                                                                                                                            Allmusic=found=album credits                     Used liner notes as main source for trk b/d, no other b/d sources
018049   ALRIGHT                       RUCKER DARIUS      Y   No    overpaid                         $39,030.50   $64,939.28      $0.00    10    $3,903.05   1   $64,939.28   0   $0.00    9    $4,336.72    1   $64,939.28   0        $0.00   16 minutes   only                               Track Credits found (Discogs b/d=liner notes)

                                                                                                                                                                                                                                                            Discogs=found=album credits
                                                                                                                                                                                                                                                            only, Wiki=album credits,
                                                                                                                                                                                                                                                            Allmusic=album credits,
                                                                                                                                                                                                                                                            youtube topic=producer credits
                                                                                                                                                                                                                                                            only, Tidal=producer credits
                                                                    Web Album credits dilute                                                                                                                                                                only, Genius=no credits found,
088679   5‐1‐5‐0                       BENTLEY DIERKS     Y   No    shares                           $37,990.28   $63,190.52      $0.00     8    $4,748.79   1   $63,190.52   0   $0.00   24    $1,519.61    8    $7,021.17   1    $8,540.78   30 minutes   no trk b/d found                      Album
                                                                    Web credits are missing
                                                                    session percussionist. He                                                                                                                                                               Discogs=trk b/d per liner notes,
                                                                    would not receive his share                                                                                                                                                             liner notes=found with b/d,
                                                                    and others would get                                                                                                                                                                    Allmusic=album credits,
020269   BEAT IT                       JACKSON MICHAEL    Y   Yes   overpaid                         $49,906.42        $0.00     $34.46    10    $4,990.64   0        $0.00   0   $0.00    9    $5,545.16    0        $0.00   0        $0.00   24 minutes   Youtube topic=b/d, wiki=trk b/d        Track       worked per liner notes & web sources

                                                                                                                                                                                                                                                            Discogs=trk b/d & liner notes,
                                                                    Web credits result in one                                                                                                                                                               Wiki=trk b/d from liner notes,
                                                                    musician not receiving a share                                                                                                                                                          Allmusic=album credits, liner
039760   GIMMIE THAT GIRL              NICHOLS JOE        Y   No    and others would be overpaid     $31,506.03   $52,809.70      $0.00     9    $3,500.67   2   $26,404.85   0   $0.00    8    $3,938.25    2   $26,404.85   0        $0.00   15 minutes   notes=found on Discogs                 Track       worked per liner notes & web sources
                                                                                                                                                                                                                                                            Discogs=no credits
                                                                                                                                                                                                                                                            Allmusic=album credits, no loc
                                                                                                                                                                                                                                                            Pandora=no credits
                                                                    Web Album credits dilute                                                                                                                                                                Wiki=allmusic Praguefrank=no                       Likely a nashville title by participants, label, & genre; would benefit
119322   EVERY LITTLE THING            PEARCE CARLY       Y   No    shares                           $14,794.72   $24,440.93      $0.00     3    $4,931.57   1   $24,440.93   0   $0.00   11    $1,344.97    6    $4,073.49   0        $0.00      12        credits                               Album        from a 257 search and aftra
                                                                    credits would not get their                                                                                                                                                             Discogs=track b/ds & LNTs
                                                                    shares and others would get                                                                                                                                                             Allmusic=alb creds Pandora=no
                                                                    overpaid/ Vocalist would have                                                                                                                                                           credits Wiki=alb credits n/u=not
020476   I'LL HAVE TO SAY I LOVE YOU IN CROCE JIM         Y   No    shares diluted                   $25,099.67   $40,708.45      $0.00    20    $1,254.98   1   $40,708.45   2   $0.00    4    $5,019.93    2   $13,569.48   1   $18,588.81      10        found                                  Track

                                                                                                                                                                                                                                                            Discogs=album credits & LNTs
                                                                                                                                                                                                                                                            Allmusic=alb credits
                                                                    Web Album credits dilute                                                                                                                                                                Pandora=credits (look like alb
091507   WHATEVER SHE'S GOT            NAIL DAVID         Y   No    shares                           $52,817.50   $89,397.24      $0.00     6    $8,802.92   1   $89,397.24   0   $0.00   11    $4,801.59   13    $6,876.71   0        $0.00      15        creds) Praguefrank=alb credits        Album        Nashville title; would benefit from a 257 search and aftra
                                                                 Case 2:18-cv-07241-CAS-PLA Document 123 Filed 06/21/21 Page 50 of 162 Page ID
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                                                                                                                                                                                                                                                          Discogs=alb credits
                                                                                                                                                                                                                                                          Allmusic=alb credits
                                                                       Web Album credits dilute                                                                                                                                                           Pandora=nothing
092520   RUNNIN' OUTTA MOONLIGHT   HOUSER RANDY              Y   No    shares                          $57,599.63    $96,450.21      $0.00     9    $6,399.96   1   $96,450.21   0      $0.00    17    $3,388.21   4    $24,112.55   0      $0.00    11   Praguefrank=alb credits              Album         Nashville title; would benefit from a 257 search and aftra
                                                                                                                                                                                                                                                          Discogs=single credits
                                                                       2 Vocals on union session                                                                                                                                                          Allmusic=album credits
                                                                       reports would not have been                                                                                                                                                        Pandora=track credits
100612   LOCKED AWAY               R. CITY FT ADAM LEVINE    Y   No    paid for song                    $8,000.42   $112,580.11      $0.00     2    $4,000.21   2   $56,290.06   0      $0.00     1    $8,000.42   1   $112,580.11   0      $0.00    13   Genius=nothing                       Track
                                                                                                                                                                                                                                                          Discogs=track b/ds & LNTs
                                                                                                                                                                                                                                                          Allmusic=alb creds Pandora=trk
134629   SAY AMEN (SATURDAY NIGHT) PANIC AT THE DISCO        Y   No    Web Credits dilute shares       $10,221.64    $11,207.10   $5,996.69   26     $393.14    2    $5,603.55   1   $5,996.69   37     $268.99    2     $3,735.70   1   $5,996.69   16   creds                          al Track partial al L.A. ‐ AFM for strings would help

                                                                                                                                                                                                                                                          Discogs=no Allmusic=alb creds
                                                                                                                                                                                                                                                          Pandora=trk creds
119359   FLATLINER                 SWINDELL COLE FT DIERKS   Y   Yes   Web credits match               $14,666.83    $24,517.34      $0.00     7    $2,095.26   1   $24,517.34   0      $0.00     7    $2,095.26   1    $24,517.34   0      $0.00    13   Praguefrank=alb creds                  Track       Nashville title; would benefit from a 257 search and aftra
                                                                       Web credits would cause
                                                                       overpayment of some; 21
                                                                       musicans to not receive their                                                                                                                                                      Discogs=track + LNTs
                                                                       shares; 8 vocalists would not                                                                                                                                                      Pandora=partial Allmusic=no
088823   HOLLY JOLLY CHRISTMAS     BUBLE MICHAEL             Y   No    get their shares                $20,207.65    $33,497.76      $0.00    29     $696.82    8    $4,187.22   0      $0.00     8    $2,525.96   0         $0.00   0      $0.00    15   reason                             Partial Track   L.A.; can't determine orchestra without a contract
                                                                                                                                                                                                                                                          Discogs=LNTs Pandora=partial
                                                                                                                                                                                                                                                          alb? Did not use                                   Pandora includes 1 extra musician and vocalist; would check
079697   REMIND ME                 PAISLEY BRAD/CARRIE UND   Y   Yes   Web credits match               $40,362.00    $67,509.04      $0.00     6    $6,727.00   2   $33,754.52   0      $0.00     6    $6,727.00   2    $33,754.52   0      $0.00    17   Allmusic=album                         Track       against Nville contracts

                                                                                                                                                                                                                                                          Discogs=track & LNTs
146827   CONSEQUENCES              CABELLO CAMILA            Y   Yes   Web credits match               $10,437.75         $0.00      $0.00     1   $10,437.75   0        $0.00   0      $0.00    1    $10,437.75   0         $0.00   0      $0.00    8    Pandora=track Allmusic=album           Track

                                                                                                                                                                                                                                                          Discogs=album credis;
079749   CRAZY GIRL                ELI YOUNG BAND            Y   Yes   Web credits match               $69,978.39         $0.00      $0.00     6   $11,663.07   0        $0.00   0      $0.00    6    $11,663.07   0         $0.00   0      $0.00    13   Pandora=track; Allmusic=album          Track
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                                                                                                            # Particpants    # Participants with   # Participants
                                                                                            Participant     located from     valid Address/SSN     without a Valid
  TITLE ID                           TITLE                               ARTIST
                                                                                              Count        Union Member        who are not in     Address or SSN as
                                                                                                              Directory       Union Directory        of 1/29/21
041624       MY HEART WILL GO ON (LOVE THEME FROM TITANIC)   DION CELINE                              70                  68                    2                  0
092853       CRASH MY PARTY                                  BRYAN LUKE                               10                  10                    0                  0
023948       RUNNIN' DOWN A DREAM                            PETTY TOM                                 3                   3                    0                  0
106915       HEAD OVER BOOTS                                 PARDI JON                                10                  10                    0                  0
137357       SHAKE IT OFF                                    KROLL NICK/REESE WITHERSPOON             12                  11                    0                  1
073070       I KISSED A GIRL                                 PERRY KATY                                4                   4                    0                  0
021162       BABY, WHAT A BIG SURPRISE                       CHICAGO                                  34                  25                    9                  0
105992       SORRY                                           BIEBER JUSTIN                             2                   1                    1                  0
119370       ROUND HERE BUZZ                                 CHURCH ERIC                               4                   4                    0                  0
119679       I BELIEVE IN YOU                                BUBLE MICHAEL                            58                  56                    1                  1
134728       WOMAN, AMEN                                     BENTLEY DIERKS                            8                   8                    0                  0
092752       CHILLIN' IT                                     SWINDELL COLE                             2                   2                    0                  0
107027       T‐SHIRT                                         RHETT THOMAS                              8                   8                    0                  0
018050       UN‐BREAK MY HEART                               BRAXTON TONI                              5                   4                    1                  0
016959       UNWELL                                          MATCHBOX 20                               4                   4                    0                  0
114036       THINK A LITTLE LESS                             RAY MICHAEL                               8                   8                    0                  0
147447       READY TO LET GO                                 CAGE THE ELEPHANT                        10                   7                    1                  2
092857       THAT'S MY KIND OF NIGHT                         BRYAN LUKE                                8                   8                    0                  0
018758       DOWN ON THE FARM                                MCGRAW TIM                                8                   8                    0                  0
018061       BOOTS ON                                        HOUSER RANDY                             15                  15                    0                  0
091614       RADIOACTIVE                                     IMAGINE DRAGONS                           1                   0                    0                  1
021529       VENTURA HIGHWAY                                 AMERICA                                   2                   2                    0                  0
087286       JUST A KISS                                     LADY ANTEBELLUM                          23                  23                    0                  0
092690       GET ME SOME OF THAT                             RHETT THOMAS                             12                  12                    0                  0
147411       WE WERE                                         URBAN KEITH                               6                   6                    0                  0
017296       ROCK WITH YOU                                   JACKSON MICHAEL                          49                  42                    6                  1
020003       DON'T TAKE THE GIRL                             MCGRAW TIM                               10                  10                    0                  0
017565       CLOSING TIME                                    SEMISONIC                                 5                   5                    0                  0
079225       THE EDGE OF GLORY                               LADY GAGA                                 4                   2                    2                  0
019048       THERE GOES MY LIFE                              CHESNEY KENNY                            10                  10                    0                  0
134585       DRUNK GIRL                                      JANSON CHRIS                              8                   8                    0                  0
100973       KICK THE DUST UP                                BRYAN LUKE                               12                  12                    0                  0
018263       HOME                                            BUBLE MICHAEL                            48                  46                    2                  0
106963       YOU SHOULD BE HERE                              SWINDELL COLE                             9                   8                    1                  0
107209       IT DON'T HURT LIKE IT USED TO                   CURRINGTON BILLY                          9                   9                    0                  0
018049       ALRIGHT                                         RUCKER DARIUS                            11                  11                    0                  0
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088679   5‐1‐5‐0                                      BENTLEY DIERKS                     9        9        0   0
020269   BEAT IT                                      JACKSON MICHAEL                   10       10        0   0
039760   GIMMIE THAT GIRL                             NICHOLS JOE                       11       11        0   0
119322   EVERY LITTLE THING                           PEARCE CARLY                       4        4        0   0
020476   I'LL HAVE TO SAY I LOVE YOU IN A SONG        CROCE JIM                         23       18        5   0
091507   WHATEVER SHE'S GOT                           NAIL DAVID                         7        7        0   0
092520   RUNNIN' OUTTA MOONLIGHT                      HOUSER RANDY                      10       10        0   0
100612   LOCKED AWAY                                  R. CITY FT ADAM LEVINE             4        4        0   0
134629   SAY AMEN (SATURDAY NIGHT)                    PANIC AT THE DISCO                29       28        1   0
119359   FLATLINER                                    SWINDELL COLE FT DIERKS BENTLEY    8        8        0   0
088823   HOLLY JOLLY CHRISTMAS                        BUBLE MICHAEL                     37       36        1   0
079697   REMIND ME                                    PAISLEY BRAD/CARRIE UNDERWOOD      8        8        0   0
146827   CONSEQUENCES                                 CABELLO CAMILA                     1        0        1   0
079749   CRAZY GIRL                                   ELI YOUNG BAND                     6        6        0   0
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                   EXHIBIT 3
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      1               IN THE UNITED STATES DISTRICT COURT
      2                   CENTRAL DISTRICT OF CALIFORNIA
      3
      4   KEVIN RISTO, on behalf of              )
          himself and all others                 )
      5   similarly situated,                    )
                                                 )
      6               Plaintiffs,                )
                                                 ) CASE NO.
      7        vs.                               ) 2:18-cv-07241-CAS-
                                                 )
      8   SCREEN ACTORS GUILD-AMERICAN           ) PLA
          FEDERATION OF TELEVISION AND           )
      9   RADIO ARTISTS; a Delaware              )
          corporation; AMERICAN                  )
     10   FEDERATION OF MUSICIANS OF THE         )
          UNITED STATES AND CANADA, a            )
     11   California nonprofit                   )
          corporation; et al.,                   )
     12                                          )
                      Defendants.                )
     13   ______________________________         )
     14
     15            CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
     16
     17                       Tuesday, April 27, 2021
     18
     19
     20              Remote videotaped deposition of DAVID NOLTE,
     21   conducted at the location of the witness in
     22   Los Angeles, California, commencing at 9:08 a.m. and
     23   ending at 4:03 p.m., on the above date, before
     24   SHARI BOLTON, CSR 9291.
     25



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     1
     2
       REMOTE APPEARANCES:                         1           INDEX TO EXHIBITS
                                                   2
     3
         For Plaintiffs:                           3
                                                   4 MARKED              DESCRIPTION                         PAGE
     4
            KIESEL LAW LLP
            BY: MARIANA McCONNELL, ESQ.            5 Exhibit 1  Curriculum vitae             14
     5
               NICHOLAS BRANCOLINI, ESQ.           6 Exhibit 2  Fulcrum Financial Inquiry LLP                    39
            8648 Wilshire Boulevard                            invoices
     6
            Beverly Hills, California 90211        7
            (310) 854-4444                                     Bates Nos. NOLTE00000006 -
     7
            mcconnell@kiesel.law                               00000009, 00000001 - 00000005,
     8
            brancolini@kiesel.law                  8           00001228 - 00001229
            JOHNSON AND JOHNSON, LLP               9 Exhibit 3    Fulcrum Inquiry retention                 81
     9
            BY: DANIEL B. LIFSCHITZ, ESQ.
            439 North Canon Drive                              agreement
    10
            Beverly Hills, California 90210       10           Bates Nos. NOLTE00000011 -
    11
            (310) 975-1080                                     00000016, 00000010
                                                  11
    12
         For Defendants:
                                                       Exhibit 4      Fulcrum Inquiry report                87
    13
            JENNER & BLOCK                        12           No Bates Nos.
            BY: ANDREW THOMAS, ESQ.               13 Exhibit 5    Article entitled "Steps In               195
    14
               ANDREW G. SULLIVAN, ESQ.                            Valuing Intellectual Property"
            633 West 5th Street, Suite 3600       14
            Los Angeles, California 90071                          No Bates Nos.
    15
            (213) 239-5155                        15

    16
            ajthomas@jenner.com                   16
    17
            agsullivan@jenner.com                 17
                                                  18
    18
         Videographer:
                                                  19

    19
            DAVID KIM                             20
    20                                            21
    21                                            22
    22                                            23
    23
                                                  24
    24
    25                                            25

                                         Page 3                                                                  Page 5
     1          INDEX TO EXAMINATION               1             LOS ANGELES, CALIFORNIA
     2                                             2         TUESDAY, APRIL 27, 2021, 9:08 A.M.
     3   WITNESS: DAVID NOLTE                      3
     4                            PAGE             4       THE VIDEOGRAPHER: We are now on the record.
     5 Examination By Ms. McConnell         6      5 My name is David Kim. I'm a videographer for Golkow
     6                                             6 Litigation Services.
     7                                             7       Today's date is April 27, 2021, and the time
     8                                             8 is 9:08 a.m.
     9                                             9       This remote video deposition is being held in
    10                                            10 the matter of Risto v. Screen Actors Guild-American
    11                                            11 Federation of Television and Radio Artists for the
    12                                            12 Superior Court -- no -- for the U.S. District Court
    13                                            13 for the Central District of California.
    14                                            14       The deponent is David Nolte.
    15                                            15       All parties to this deposition are appearing
    16                                            16 remotely and have agreed to the witness being sworn in
    17                                            17 remotely.
    18                                            18       Due to the nature of remote reporting, please
    19                                            19 pause briefly before speaking to ensure all parties
    20                                            20 are heard completely.
    21                                            21       Will counsel please identify themselves.
    22                                            22       MS. McCONNELL: Mariana McConnell from Kiesel
    23                                            23 Law for plaintiff and the class.
    24                                            24       MR. BRANCOLINI: Nico Brancolini from Kiesel
    25                                            25 Law on behalf of plaintiff and the class.




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     1       MR. LIFSCHITZ: Daniel Lifschitz from Johnson              1     Q That's great.
     2 and Johnson on behalf of plaintiff and the class.               2       Have you ever had your deposition taken
     3       MR. THOMAS: A.J. Thomas from Jenner & Block               3 before Zoom before?
     4 on behalf of the defendants.                                    4     A Yes.
     5       MR. SULLIVAN: Andrew Sullivan from Jenner &               5     Q Okay. When was your last deposition?
     6 Block on behalf of the defendants.                              6     A Oh, I'd have to look it up. A couple weeks
     7       THE VIDEOGRAPHER: The court reporter is                   7 ago.
     8 Shari Bolton, and she will now swear in the witness.            8     Q Okay. Are you currently at your home?
     9                                                                 9     A Yes.
    10               DAVID NOLTE,                                     10     Q And is that in Los Angeles County?
    11    having been first duly sworn, was examined and              11     A Yes.
    12            testified as follows:                               12     Q Okay. I will assume that no other person is
    13                                                                13 in your home office with you currently, correct?
    14               EXAMINATION                                      14     A No one's in this room, that is correct.
    15 BY MS. McCONNELL:                                              15     Q Perfect.
    16    Q Good morning. Can you please say and spell                16       I will ask that you do not have any open
    17 your name for the record, please.                              17 means of communication with any of the defense lawyers
    18    A My name is David Nolte. Nolte is spelled                  18 in this case, by that I mean text message, Slack,
    19 N-o-l-t-e.                                                     19 Facebook Messenger, anything else.
    20    Q Okay. Good morning, Mr. Nolte. I'm Mariana                20       Will you accept that?
    21 McConnell. I'm one of the plaintiff lawyers in this            21     A Oh, yeah, I have no intention of doing
    22 case, and I'm going to be asking you questions this            22 anything like that.
    23 morning.                                                       23     Q Perfect.
    24       How many times have you had your deposition              24       Before we get started I want to establish
    25 taken.                                                         25 some shorthand for us.

                                                             Page 7                                                             Page 9
     1     A Numerous times.                                           1       I'm going to be asking you questions about
     2     Q More than 50?                                             2 the AFM and SAG-AFTRA Intellectual Property Rights
     3     A Yes.                                                      3 Distribution Fund. I'm going to refer to that as the
     4     Q More than 100?                                            4 Fund. Will you understand what I mean when I say "the
     5     A Yes.                                                      5 Fund"?
     6     Q Okay. I'm going to assume you're familiar                 6    A I think so, yes.
     7 with admonitions and I don't need to go through them            7    Q You're familiar with the AFM and SAG-AFTRA
     8 for today; is that correct?                                     8 Intellectual Property Rights Distribution Fund,
     9     A That is your assumption, yes.                             9 correct?
    10     Q Okay. Are you familiar with the admonitions              10    A Yes.
    11 for a deposition?                                              11    Q If I say "the unions," will you understand
    12     A I'm not a lawyer. But -- but I don't have                12 I'm referring to AFM and SAG-AFTRA?
    13 any questions, if that's what you're asking me.                13    A Sure.
    14     Q Sure.                                                    14    Q And if I say "services agreement," will you
    15       I'll remind you that you're under oath today             15 understand that I'm referring to the data purchase and
    16 so you need to give full and complete and truthful             16 service agreement entered in July of 2013?
    17 testimony, okay?                                               17    A I don't have the date memorized. I could
    18     A Sure.                                                    18 look it up in my report. But whatever that subject
    19     Q Great.                                                   19 agreement is, sure.
    20       I don't want you to guess at anything, but               20    Q And if I say "service fee," will you
    21 I'm entitled to your full knowledge, so if you                 21 understand that I'm referring to the 3 percent
    22 understand my question, even a part of it, then I will         22 combined fee paid to the AFM and SAG-AFTRA unions
    23 expect you to give an answer to it, okay?                      23 under the terms of the services agreement?
    24     A I'll do my best to answer your questions as I            24    A I do understand that you're -- you're
    25 understand them.                                               25 plaintiff and you have referred to it that way, yes.




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     1    Q Are you familiar with the fact that employees         1     Q Okay. So did you undertake your best efforts
     2 of the Fund refer to it that way?                          2 to find all documents relating to our categories of
     3    A I'm not a fact witness, and I'm not an                3 request and produce them to Jenner & Block?
     4 employee at the Fund.                                      4     A Yeah, I probably should look at it again just
     5     Q Have you seen any e-mails between employees          5 because I get a lot of these production requests so I
     6 of the Fund that refer to it as the service fee?           6 don't really have this production request in mind.
     7     A I haven't looked with that in mind so I don't        7         But I did give to Jenner & Block items that I
     8 know.                                                      8 understood would be produced to you. And I -- from my
     9     Q Okay. Have you -- have you read any                  9 perspective, the production was complete. But if you
    10 depositions where the trustees of the Fund refer to it    10 want to ask me more specific questions I should look
    11 as the service fee?                                       11 at it again because I haven't looked at it since it
    12     A Well, I know that your firm, or the                 12 was first received.
    13 plaintiff, has consistently referred to it in that        13     Q We didn't receive any handwritten notes in
    14 fashion so I don't doubt that they have answered your     14 your production. Is it true that you don't have any
    15 questions that use that term.                             15 handwritten notes in your file?
    16     Q Okay. Are -- are you familiar with the fact         16     A I do not have any handwritten notes in my
    17 that the defendant trustees used that term themselves?    17 file.
    18 That's a yes-or-no question.                              18     Q Do you have any typed-up notes in your file?
    19     A I couldn't tell you. So I -- maybe they do.         19     A That can't be answered yes or no without
    20 Maybe they don't. I -- I haven't studied that. I          20 being misleading. So I can give you a narrative
    21 don't have any opinions in that regard.                   21 answer. But I suspect the way you're -- you're
    22     Q Okay. So you don't know.                            22 expecting the answer to come out the answer would be
    23        Okay. We'll take a five- to ten-minute break       23 no.
    24 every hour, but if you need to take a break sooner        24     Q Okay. How about in a truthful answer from
    25 just let me know, okay?                                   25 you, do you have any type --

                                                       Page 11                                                              Page 13
     1    A Sure.                                                 1     A Okay. I don't understand your question.
     2    Q Did you review your notice of deposition and          2     Q Okay.
     3 the request for production of documents that               3     A We'll do it that way. I don't understand
     4 accompanied it?                                            4 your question.
     5    A Yes.                                                  5     Q Great.
     6    Q Okay. Did you undertake your best efforts to          6       Did you -- you reviewed depositions in this
     7 find all documents relating to the categories of the       7 case, right?
     8 request and produce them to your counsel?                  8     A I did.
     9    A Well, I don't have a counsel so I guess the           9     Q Did you take any notes on the depositions
    10 answer would have to be no.                               10 that you reviewed?
    11    Q Okay. Are you being represented for your             11     A Yes.
    12 deposition today by Jenner & Block?                       12     Q Did you handwrite them?
    13    A Not to my knowledge. They don't represent            13     A No.
    14 me. They represent others.                                14     Q Did you type them up?
    15    Q Okay. Are they going to be interposing               15     A Yes.
    16 objections on your behalf during this deposition?         16     Q Did you maintain those typed-up notes in your
    17       MR. THOMAS: Well, Counsel, we'll definitely         17 file?
    18 be interposing objections because we're a party to the    18     A Yes.
    19 case and if we feel a question's improper, we'll note     19     Q Were those typed-up notes given to Jenner &
    20 that for the record. We'd have that right, you know,      20 Block?
    21 regardless of whether we represent the witness or not.    21     A Yes.
    22 BY MS. McCONNELL:                                         22     Q Okay. Those were not produced to us. Do you
    23    Q Did the firm of Jenner & Block handle the            23 have any reason to know why or why not?
    24 production of documents on your behalf?                   24     A Oh, I suspect you actually do have them.
    25    A They did.                                            25 You're making an assumption in your assertion just a




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     1 moment ago.                                                    1 major in accounting also required effectively a major
     2    Q Okay. You're assuming that I do have your                 2 in business so I guess maybe I had three majors. But
     3 typed-up notes for the depositions?                            3 that's what I -- that's what I ended up taking.
     4    A I'm not making any assumption at all. Let                 4     Q Great.
     5 me -- let me try to help you out.                              5       You have an MBA from Cal State L.A.?
     6       Do you have my report?                                   6     A I do.
     7    Q Yes.                                                      7     Q And you graduated in 1982?
     8    A Do you have my report?                                    8     A Yes.
     9    Q I do.                                                     9     Q Do you have any -- strike that.
    10    A I -- I suspected you did because you engaged             10       You've been a certified public accountant
    11 three experts to write a report about it. Whatever            11 since 1979, correct?
    12 notes I had were incorporated into that report.               12     A Right. The board approved my application in
    13       MS. McCONNELL: Okay. Nico, can you send him             13 January of that year.
    14 his CV, please, on Zoom.                                      14     Q Is there any sort of recertification process?
    15       And we'll mark it as Exhibit 1, please.                 15     A You have to become -- you have to apply for
    16       (Exhibit 1 marked.)                                     16 your license if you wish or -- you have to renew your
    17 BY MS. McCONNELL:                                             17 license. That's right. Renew your licence. And that
    18    Q Okay. Mr. Nolte, it's in the chat function,              18 happens every two years.
    19 and we can share it with you as well. I don't                 19     Q Okay. And what --
    20 think -- well, whatever, you can open it on your own          20     A In connection with that renewal, you have to
    21 or you can look on the screen.                                21 show continuing education requirements and any other
    22    A I'm looking on the screen.                               22 requirements that the California State Board of
    23    Q Great.                                                   23 Accountancy requires.
    24       Is this the most recent version of your CV?             24     Q Okay. Is your license current to date?
    25    A Well, at first, I can't see all of it, but               25     A It is.
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     1 I'm guessing this is a four-page document that was             1    Q You're a certified management accountant
     2 attached to my report. It is intended to meet the              2 since 1992?
     3 biographical requirements of Federal Rules of Civil            3    A It's so long ago, I'm not sure -- hold on.
     4 Procedure 26(a)(2).                                            4 If that's what's in the resume in terms of the year --
     5       It is complete as of the date, at least to               5 it does say that. Yeah, I'm sure it's right.
     6 the best of my knowledge, as of the date it was                6     Q Okay. What is a CMA?
     7 produced. Now, since I can't see the whole thing, my           7     A Certified management accountant is a
     8 assumption could be wrong, but -- but in any event, go         8 credential issued by the Institute of Management
     9 ahead.                                                         9 Accountants. It is a credential that is intended to
    10    Q You can open it on your -- on your own                   10 mirror the requirements of the CPA license that you'd
    11 computer if that would help you answer the question.          11 asked me about just a moment ago. The difference is
    12    A Well, I -- I can see you're zooming out. It              12 the subject matter body of knowledge is different.
    13 does look like the resume that is intended to comply          13        For a certified public accountant the focus
    14 with Rule 26 in terms of the expert biographical              14 is on auditing taxes, regulatory matters, and
    15 requirements.                                                 15 basically being a public accountant.
    16    Q Okay.                                                    16        In contrast, the certified management
    17    A And I understand it to be complete.                      17 accountant has as its focus the skills that would
    18    Q Okay. Great. So just to go through this                  18 typically be required of a chief financial officer in
    19 quickly.                                                      19 a company. So it has internal reporting, internal
    20       You have a BA from Whittier College and                 20 controls, economics, you know, just different subject
    21 graduated in 1977, correct?                                   21 matters or a different emphasis on the subject
    22    A Yes.                                                     22 matters.
    23    Q What was your major at Whittier?                         23        But the requirements are -- in terms of
    24    A I actually had a double major. I had a major             24 experience, testing, recertification, things like
    25 of political science and a major in accounting. The           25 that, are -- are similar. And they're purposefully




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     1 similar.                                                      1 period of time. And then before that, items that are
     2    Q You mentioned recertification. Is it similar             2 not in my resume were also accounting work. Basically
     3 to a CPA where you have to renew your license every           3 I worked my way through school as an accountant.
     4 two years?                                                    4    Q Okay. And then you started at Anderson in
     5     A I suspect they're on a two-year cycle. I                5 1977?
     6 fill out their paperwork whenever they send it to me.         6    A I did start at Anderson in 1977 after I
     7 But I think it is probably two years.                         7 graduated.
     8     Q Okay. And it's current today?                           8    Q And in your CV it says that you were
     9     A It is.                                                  9 responsible for forensic accounting and damage
    10     Q Okay. And you've been an accredited senior             10 analysis practice.
    11 appraiser since 1995?                                        11        Can you just briefly explain to us what your
    12     A Correct.                                               12 job duties were at Anderson?
    13     Q And what is an accredited senior appraiser?            13    A Well, it obviously varied, but generally
    14     A That is a difficult-to-get credential in the           14 speaking, my -- I would be considered a line partner,
    15 field of business valuation. It is a certificate or          15 so my primary work was serving clients, but I also
    16 credential issued by the American Society of                 16 served in an advisory function for others who were
    17 Appraisers, which itself is a member of the Appraisal        17 performing that type of work.
    18 Institute created by Congress. It is the -- the              18        I don't know if that answers your question or
    19 accredited senior member is the higher -- highest            19 not.
    20 level of membership in that organization. And as I           20    Q Yeah, when -- when you say "damage analysis
    21 mentioned before, the requirements are probably the          21 practice," are you talking about litigation consulting
    22 most difficult in the field of business valuation.           22 or something different?
    23     Q What are the requirements?                             23    A Litigation -- well, what is commonly thought
    24     A There's a testing requirement. There's an              24 of as litigation consulting would be part of this
    25 additional oral exam that in my case was conducted by        25 practice that -- that I was working in, yes. So you

                                                          Page 19                                                            Page 21
     1 a panel of three examiners and went for probably              1 could call it that, yes.
     2 around three hours. There's a peer review of multiple         2    Q Okay. Was there a different -- was there a
     3 appraisal reports. There's direct contact of clients          3 different part of what you were doing in damage
     4 who have engaged me as an appraiser to make certain           4 analysis practice or was it all litigation consulting?
     5 that the engagement was performed professionally and          5    A Well, I -- I -- I had my ASA at the time so I
     6 that any real-world transactions that occurred bore a         6 was an independent fee appraiser at the time and could
     7 relatively close relationship to the appraisal                7 and did accept assignments in that regard.
     8 conclusions that I expressed.                                 8        Also, we did take work that had nothing to do
     9       There is a five-year full-time experience               9 with litigation. So personnel under my direction were
    10 requirement. That experience requirement must be             10 doing other types of investigations, you know
    11 logged and verifiable. And they, in fact, do check           11 accounting investigations, due diligence, fraud
    12 it. There is a test -- a separate test on the Uniform        12 audits, other compliance audits. I would consider
    13 Standards of Professional Appraisal Practice as well         13 none of those things to be litigation, yet they all
    14 as required courses in both that and the ethics field        14 fell within the purview of how I and the people
    15 as well as an ethics exam.                                   15 working with me made a living.
    16       And then there's recertification requirements          16    Q Yep, I agree.
    17 that happen every five years.                                17      Okay. And then did you testify in court when
    18    Q Okay. And is your certification current as              18 you worked at Anderson?
    19 of today?                                                    19    A Yes, quite -- regularly, in fact.
    20   A My ASA is current, yes.                                  20    Q Okay. Approximately how many times?
    21   Q You started your professional accounting                 21    A I didn't keep track. You're focusing on
    22 employment with Anderson LLP in 1977, correct?               22 in-court testimonies?
    23   A You had multiple things in your question so              23    Q Yes.
    24 some of them would be not correct. You'll note from          24    A And -- and only at Anderson?
    25 my resume that I did have work in a CPA firm for a           25    Q Correct.



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     1    A Well, I don't have a good count. If someone                 1 the assignment, it was an investigation. And then
     2 told me it was 200 times, that would not surprise me,            2 after that the relationship I would say morphed into a
     3 but I don't have a count.                                        3 recurring audit. And so I was -- I basically led --
     4     Q Okay. What types of clients did you have at                4 or -- or served on that engagement team and as I got
     5 Anderson?                                                        5 more experience, ended up leading that project for
     6     A We would work for both plaintiffs and                      6 that client. It was a very long-term client. So
     7 defendants. Most of our clients were corporations or             7 ultimately we were doing audit tax services but it
     8 very well-heeled individuals.                                    8 started out as an investigation.
     9     Q Okay. You founded Fulcrum Financial Inquiry                9     Q Got it.
    10 in -- I'm sorry. You founded -- hold on.                        10       And you were retained by the board of that
    11        Did you work on -- with IP types of cases                11 nonprofit to do an investigation I'm assuming into
    12 when you were at Anderson?                                      12 some area that they were curious about or looking into
    13     A Yes.                                                      13 or was it something else?
    14     Q What percentage of your client load was IP                14     A Correct.
    15 clients?                                                        15     Q Okay.
    16     A I -- I don't have a percentage in mind. I                 16     A Correct.
    17 can tell you that I -- IP work, and there's different           17     Q Did you -- once it morphed into something
    18 types of IP work, but IP work generally was probably            18 more, were you providing services such as working on
    19 my largest single area and that probably continues to           19 their annual reports?
    20 be the case now.                                                20     A Yes, they -- they -- we -- we -- the
    21     Q Did you have nonprofit clients when you were              21 deliverable for my firm was annual financial
    22 at Anderson?                                                    22 statements of -- there were actually four audited
    23     A I did.                                                    23 financial statements dealing with different entities
    24     Q Okay. Can you give us an estimation of how                24 which were generally made public. And then we were
    25 many?                                                           25 also responsible as the tax return preparer for all of

                                                             Page 23                                                        Page 25
     1    A Not a good one. I had as -- as one of my                    1 their entities.
     2 clients, a long-term client, a -- probably the largest           2     Q Okay. So 990s?
     3 nonprofit client in the firm in terms of -- of fees              3     A 990s and the affiliated returns, yes.
     4 generated.                                                       4     Q Okay. You mentioned four audited financial
     5       Now, just because that happened, I got                     5 statements. What were those? Are you talking about
     6 referred to quite a bit on nonprofits so if someone              6 quarterly financial statements or something different?
     7 had an issue on nonprofits, someone might say, oh,               7     A Well, they were annual statements so they
     8 call Nolte, he's probably run across this because he's           8 were once-a-year financial statements.
     9 been serving this very large client for -- well, I               9     Q Okay. Other than the financial statements
    10 think I ended up serving him probably 15 years. So              10 and the 990s, what else were you preparing for them?
    11 I -- I ended up serving as a second partner and                 11     A Well, we would do whatever other consulting
    12 advisory partner on a number of nonprofits.                     12 arose based on their needs. So if they needed
    13       I also served as an engagement partner for                13 assistance that -- involving whatever that came up, we
    14 others, but that was mainly -- that -- that was not as          14 of course would be able to help them and as you would
    15 common as me being called and -- and just asked to --           15 for any full service audit tax client.
    16 to read something or give advice in terms of what was           16     Q Have you ever served on the board of a
    17 the accounting rules or something like that.                    17 nonprofit?
    18     Q Okay.                                                     18     A Yes.
    19     A So I -- I don't know how you count those                  19     Q When?
    20 clients, in other words. But I -- I was having to               20     A Oh, it was probably for around 25 years. It
    21 deal with those types of inquiries fairly regularly.            21 ended maybe, I don't know, around maybe two years ago.
    22     Q Well, that's what I was going to ask you next             22 So whatever current date minus 25 -- minus two years
    23 is, for this large client that you're referring to,             23 minus 25 years, whatever that amounts to. But I was
    24 what kind of work were you doing for them?                      24 on the board, I believe, for about 25 years.
    25     A Initially, which is the reason I was put on               25     Q Okay. What nonprofit?



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     1    A Public Counsel. In case you're -- you might               1 my -- my answer to preparing tax filings. We do not
     2 be familiar with them because they are locally based.          2 prepare compliance tax returns. We would refer that
     3 But they're the largest pro bono legal organization in         3 work out. I -- I -- we could. We have a license to
     4 the United States, maybe the world.                            4 do so. We are a -- a licensed CPA firm. But we
     5    Q Did you provide any accounting services to                5 choose not to do compliance tax work.
     6 Public Counsel?                                                6    Q Okay. And do you do any of the business
     7     A All of the accounting services I provided                7 valuation work currently that you were talking about
     8 were on a pro bono basis. I provided regular --                8 when we were discussing the ASA credential?
     9 regular accounting services to them, both as a board           9    A I lead the business valuation practice at
    10 member, a committee member, a committee chairman and          10 Fulcrum. I would say that I probably personally am
    11 as someone who was assisting in Public Counsel's              11 signing, if not a hundred percent, close to a hundred
    12 client work. So I -- all of my pro bono efforts were          12 percent of the appraisal reports that go out the door.
    13 done through Public Counsel, and there was a fair             13    Q What percentage of Fulcrum's work is
    14 amount of that effort.                                        14 appraisal work?
    15     Q Okay. Any other nonprofits where you served             15    A I don't know. We don't keep track.
    16 on the board?                                                 16    Q Okay. Do you have a current caseload now of
    17     A Well, I don't -- I don't know if you count              17 appraisal work?
    18 professional organizations. They are nonprofits as            18    A Yes.
    19 well. But I -- I would view them as somewhat                  19    Q Okay. Of the matters that you're handling
    20 different. But, yes, I have served on boards of -- of         20 now, how many are litigation-related and how many are
    21 professional organizations which are nonprofit                21 appraisal?
    22 organizations.                                                22        MR. THOMAS: Object to the form.
    23     Q I'm assuming accounting-related professional            23        THE WITNESS: Well, I haven't gone and kept
    24 organizations?                                                24 track. I do know at least one assignment right now
    25     A That would be correct.                                  25 that -- that's active that has nothing to do with

                                                           Page 27                                                         Page 29
     1    Q Okay. So next you founded Fulcrum Financial               1 litigation. The non-litigation assignments tend to be
     2 Inquiry in 2002; is that correct?                              2 kind of -- they don't last very long. They're just a
     3     A Correct.                                                 3 couple-week assignments. So in terms of, you know, a
     4     Q Approximately how many people does Fulcrum               4 backlog of work, those -- plain appraisal reports get
     5 employ?                                                        5 worked through the system fairly quickly.
     6     A We're down considerably at this point.                   6       The litigation -- items in which there's a
     7 There's probably around, I don't know, a half dozen,           7 dispute tend to drag on for years. But I -- at
     8 maybe a few more, people at this point.                        8 least -- I got at least one assignment where I'm
     9     Q Are the six people all accountants or are you            9 currently doing an appraisal that has nothing to do
    10 including staff?                                              10 with litigation.
    11     A No, I'm -- I'm looking at professional people           11 BY MS. McCONNELL:
    12 that are, if not accountants, they're economists or           12    Q How many litigation matters are you handling
    13 appraisers or number -- they're numbers-type guys.            13 currently?
    14     Q Okay. Got it. I was going to say numbers                14    A I -- I don't understand your -- I don't
    15 people, but I didn't want you to be offended, so I'm          15 understand your question. I could give you different
    16 glad you said it first.                                       16 answers depending on what you meant by that.
    17     A No, that's fine.                                        17    Q Okay. I'm assuming the word "handling" is
    18     Q Okay. Good.                                             18 what threw you off.
    19        What percentage of Fulcrum's business is               19       So how many litigation matters are you
    20 litigation consulting?                                        20 currently working on?
    21     A We don't keep track so I don't know.                    21    A Well, I'm -- I'm not trying to be obstinate,
    22     Q Okay. Do you take -- do you accept clients              22 but if I give you a number there's going to be some
    23 for CPA-type work, preparing filings, IRS filings,            23 assumptions that are not explicit in your question.
    24 reports?                                                      24       When you say "currently," I mean, you know,
    25     A Okay. I'm -- I'm going to limit your --                 25 in any two-week period I might have, I don't know, six




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     1 different matters, half dozen matters that I might         1       It does not change my understanding of what
     2 work on in a two-week period. Some of them might be        2 the breakdown between plaintiff and defendant work is.
     3 appraisal, some might not. Next two-week period,           3 I would suggest it's 50/50. I suspect if -- if what
     4 because that's when we do time reports, you'd have a       4 you're -- I'm just accepting your compilation, which I
     5 different six matters.                                     5 have not done and never heard anybody else do it. It
     6        But I don't know if that's answering your       6 wouldn't surprise me if -- if the items that are
     7 question or not.                                       7 listed might have more defense work because, candidly,
     8     Q I understand. That's fine.                       8 the defense cases tend to be larger and -- and
     9        You could be retained on a case or designated   9 sometimes more interesting. And the items that I
    10 on a case but not perform any work on that case in a  10 select on that resume, you know, try to be the more
    11 two-week period; is that true?                        11 interesting ones.
    12     A Correct. I've got matters that are open         12        So that might be an explanation. But again,
    13 where we haven't done anything in months.             13 I've never really thought of it -- I've never done
    14     Q Right. Right. Okay. I get it.                   14 what you've done, and it doesn't -- does not change my
    15        And I don't know that you have the answer to   15 perception that it's 50/50.
    16 this question, but I'll ask you anyway.               16     Q Okay. I hope this case becomes interesting
    17        Since founding Fulcrum approximately how many 17 enough to make it to your list one day, Mr. Nolte, but
    18 times have you provided expert testimony?             18 put that aside.
    19     A That's 19 years. I couldn't tell you but I'm    19        So other than this case, how many times have
    20 sure its hundreds, plural, but I don't have a number. 20 you been retained by Jenner & Block to provide an
    21     Q Okay. You submitted with your expert report     21 expert opinion?
    22 a list of 31 cases where you provided trial and       22     A I just -- I have to comment. I just -- you
    23 deposition testimony in the last four years.          23 know, I probably won't put it on my resume because
    24        Is that still an accurate number, 31, or has   24 that -- this is another defendant's case and, golly, I
    25 that changed?                                         25 wouldn't want to be able to have another defendant

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     1     A Well, the list is current as of whatever             1 matter. I'll have to add some plaintiff work on that.
     2 moment the report's issued.     It's going to change    2       I'm sorry. You want to know about Jenner &
     3 almost all the time so it -- it -- if I issued -- if I  3 Block.
     4 issued such a listing today, that list would be         4       I've worked with Jenner & Block regularly.
     5 different. Some would drop off and some would be        5 They're a large firm and so I've worked with them
     6 added.                                                  6 before. I -- I suspect that if you went through the
     7     Q And are you able to tell us the percentage        7 listing in the last four years you probably would find
     8 breakdown of cases where you testified for a            8 a Jenner & Block listing or so. And -- and you might
     9 plaintiff's side versus defendant's side?               9 find the same thing on my other resume as well. That
    10     A My understanding is it's about 50/50. And        10 wouldn't surprise me.
    11 that's been the case since I started this work decades 11     Q Okay. Have you ever worked specifically with
    12 ago. I -- I don't keep track, though.                  12 Mr. Thomas or Mr. Sullivan before?
    13     Q Okay. On your website you have a longer          13     A Not for Mr. Thomas. Mr. Sullivan, just
    14 version of your resume and you have a list of          14 coincidentally, had another matter where it's
    15 representative testimony experience and that list      15 currently active where he's involved as well, so I --
    16 contains 222 cases. Of those 222 cases, 81 times you 16 I think the other matter started first, but I could be
    17 listed plaintiff, that you were a plaintiff expert,    17 wrong. But in any event, I -- Mr. Sullivan and I
    18 and 141 times you were listed as a defendant expert. 18 worked on more than one matter together.
    19 That breakdown is about 36 percent plaintiff and       19     Q Okay. Is that either the Big 12 Conference
    20 63 percent defendant.                                  20 case or the Knickerbocker Films case?
    21        Does that breakdown sound right to you or is    21     A No.
    22 that not accurate?                                     22     Q Okay. Is that a litigated matter in the
    23     A Well, I've never done the math that you've       23 Central  District?
    24 just done, nor has anyone else, so this is the first   24     A No.
    25 time I've ever heard this statistic.                   25     Q Okay. Do you know where that case is?



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     1     A Yes, I do.                                               1 Counsel.
     2     Q Where?                                                   2     Q Okay.
     3     A It's in Nevada.                                          3     A I'll say originated from Public Counsel.
     4     Q Okay. And are you -- what kind of -- well,               4     Q And when you were doing that work that
     5 strike that. We'll get to it later.                            5 originated from Public Counsel, were you performing
     6       Okay. Have you ever done any -- any work for             6 tax-related services or something different?
     7 SAG-AFTRA?                                                     7     A Generally -- yeah, there's multiple ways I
     8     A Other than this assignment, nothing comes to             8 can answer that question, which is why I'm pausing.
     9 mind.                                                          9        I have not signed any tax returns as a paid
    10     Q Okay. And have you ever done any work for               10 tax preparer in that. So that's a very technical and
    11 AFM?                                                          11 narrow answer. But I -- I did not sign any tax
    12     A Other than this assignment, nothing comes to            12 returns as a paid preparer. I was not required to do
    13 mind.                                                         13 so based on the work I was doing.
    14     Q Okay. And then, other than this assignment,             14     Q What was the work that you were doing?
    15 have you done any work for the Fund?                          15     A Well, it would vary. It -- for the --
    16     A No.                                                     16 general -- putting aside work for Public Counsel
    17     Q Okay. And have you ever worked with the law             17 itself, which -- I mean, just put that aside, because
    18 firm of Bredhoff & Kaiser?                                    18 I was involved in Public Counsel's tax return.
    19     A Not to my recollection.                                 19        But nevertheless, generally we were setting
    20     Q What percentage of Fulcrum's work involves              20 up accounting systems and advising a nonprofit in
    21 the valuation of patents?                                     21 terms of the -- I'll call it the business or office
    22     A Oh, I don't keep track. I -- I don't have an            22 portion of -- of their -- of their operation.
    23 idea of that.                                                 23        I mean, maybe just in case, I'm not trying to
    24     Q Okay. You mentioned earlier that a                      24 be oblique, the typical situation was, you had some
    25 significant amount of Fulcrum's work is in the area of        25 person who wanted to do good to some group of people

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     1 IP; is that correct?                                           1 that needed help, and they were -- they -- they had
     2    A Well, whether it's significant or not, I did              2 their hearts in the right spot and they were very
     3 indicate that intellectual property work in one form           3 skilled in the areas necessary to provide that
     4 or another is probably the single largest area. I              4 assistance, but they were not business people, did not
     5 don't know whether that makes it significant or not.           5 want to be business people and were generally dreadful
     6 But I -- I have for decades done intellectual property         6 at anything involving accounting or business or law or
     7 work.                                                          7 anything else involving running the operation of
     8    Q Would you be able to tell us how many patent              8 their -- of their nonprofit.
     9 cases you've testified in?                                     9       So they'd be a disaster in terms of keeping
    10    A No. I mean, it's been quite a few, but --                10 the business and money aspect of their nonprofit
    11 but, no, I don't have a number in mind.                       11 together. And so we would help them set that up with
    12    Q Okay. While at Fulcrum have you had any                  12 the goal of ultimately making them self-sufficient.
    13 nonprofit clients?                                            13 That sometimes involved helping them hire someone, and
    14    A You know, I have to imagine we have, but I --            14 we might, in fact, you know, do interviews or help
    15 none are coming to mind. Now, I'm excluding from that         15 them become self-sufficient. Whatever that took.
    16 answer the pro bono work that I've described, which           16     Q Got it. Okay.
    17 has been a number of assignments, and I view those            17        When were you first retained by Jenner &
    18 companies or folks as -- as -- as clients.                    18 Block to perform work in this case?
    19    Q You're talking about the Public Counsel work?            19     A You have my engagement letter. Whatever date
    20    A It was generally done through Public Counsel,            20 is on that engagement letter would be the best date
    21 yes.                                                          21 that I could give you. And, in fact, I -- to best
    22    Q Okay.                                                    22 answer your question, I'd actually go to the
    23    A But in -- in some cases they -- the Public               23 engagement letter and look it up.
    24 Counsel would refer a matter out, I would service that        24        But if you want something much more
    25 nonprofit and -- and -- but the work came from Public         25 approximate, it would be, you know, sometime a little




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     1 bit less than a year ago.                                         1 BY MS. McCONNELL:
     2     Q Okay.                                                       2    Q And again, you're free to open them up on
     3     A But again, I'd -- I'd encourage you to look                 3 your own in the chat, and then we'll share the screen
     4 at the engagement letter.                                         4 as well.
     5     Q The engagement letter is dated June 12, 2020,               5     A Okay. How can I help you?
     6 and it's signed July 7, 2020.                                     6     Q I don't know. Give me a second.
     7        Does that sound approximately correct?                     7        Okay. So on page 2 of this first invoice
     8     A Sure. That -- that's generally consistent                   8 that's dated October 30th, 2020, you are billing for
     9 with what I was thinking. I said a year ago but a                 9 4.4 hours of work.
    10 little bit less than a year ago and that -- that's in            10        If you recall, is this the first -- strike
    11 the ballpark.                                                    11 that.
    12     Q Nailed it. Okay.                                           12        If you recall, is this the initial time that
    13        According to the listing of trial and                     13 you spent on this case, was in October of 2020 or
    14 deposition testimonies in the last four years that was           14 September and October of 2020?
    15 submitted with your report, you have two Jenner &                15     A I endeavor to number each of my bills in the
    16 Block cases on there, which I mentioned earlier, it              16 transmittal. So I think if you go to the page before
    17 was the Big 12 Conference case and the Knickerbocker             17 that it will say whether it's the first, second,
    18 Films case.                                                      18 whatever bill. It does say here first billing. So
    19        Were those both intellectual property cases?              19 this is the first bill and -- so if it isn't the first
    20     A The Big 12 case I would describe as a                      20 time I incurred, it was certainly the first time I
    21 valuation matter. We were valuing television rights,             21 billed.
    22 so what we were valuing was intellectual property. I             22     Q Okay. You have here under number 1 some
    23 mean, there -- there was nothing physical about --               23 documents that you reviewed, the complaint, the motion
    24 about what we were valuing. We were valuing broadcast            24 to dismiss and related papers, the opposition to class
    25 rights.                                                          25 certification, response to first set of

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     1       The Knickerbocker case was a participation                  1 interrogatories.
     2 accounting matter, so that was -- it -- I would view              2       Do you typically insert a complete list of
     3 it more as than an accounting issue. Now -- now, that             3 everything that you've reviewed into your invoice or
     4 case ultimately is -- is a vertical integration                   4 are there sometimes documents that you've reviewed
     5 matter, and so one of the issues involves the pricing             5 that don't make their way into the invoice?
     6 of transactions along the vertical channel of                     6    A Well, I'm not purposefully leaving anything
     7 distribution. So in that sense it could be considered             7 out unless it was simply not important. But I would
     8 an intellectual property case, but that's not -- the              8 not represent that those are the only things I -- I
     9 underlying formulation of the dispute was a                       9 received. I don't know if that's helpful or not. But
    10 participation interest.                                          10 I'm -- I'm trying to describe the work but I don't
    11    Q Okay. In the Big 12 Conference case were you 11 want to -- I'm not being tedious about it either.
    12 retained on behalf of the Big 12 Conference or Fox     12    Q Okay. So there might be some materials that
    13 Broadcasting?                                          13 you reviewed that don't make their way to invoice?
    14    A Fox Broadcasting was my client.                   14    A Sure. Particularly if they weren't
    15    Q Okay. And then how about in the                   15 particularly important for whatever was occurring in
    16 Knickerbocker Films case?                              16 the matter at that time.
    17    A Fox was my client there. I don't remember         17    Q Okay. If you look at number 3, it says,
    18 which entity of Fox. But ultimately, if you follow     18 "Initial review of the cost information accumulated by
    19 the breadcrumbs up to the parent, it was a Fox entity. 19 the Fund pertaining to the Fund's research function."
    20    Q Okay. I have it as 21st Century Fox.              20        Do you recall what documents or materials you
    21    A Okay.                                             21 reviewed?
    22    Q Okay.                                             22    A Well, the -- the best answer is no, I don't.
    23       MS. McCONNELL: Okay. Let's go to Exhibit 2, 23 But your admonitions also said, well, golly, I have a
    24 Nico, if you could send him his invoices, please.      24 right to whatever you can maybe think of without --
    25       (Exhibit 2 marked.)                              25 that isn't guessing and I'm -- I'm on the border of




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     1 guessing right now.                                               1 copy of it.
     2         I know there is cost information that was                 2     Q Okay. On task 3 you have, "Research from
     3 produced in this matter. It was given -- the results              3 public sources regarding the companies that sell
     4 of that were given to you by Ms. Taub in one of her               4 information as their primary business."
     5 depositions. And I was aware of that information at               5       How did you choose the companies that you
     6 the time it was being accumulated, so I highly                    6 ended up researching?
     7 suspect, although I really don't recall, that that's              7     A This made its way into my report as one of
     8 what this is referring to.                                        8 the first numbered or lettered conclusions. I was
     9      Q Okay. I'm trying to find your words of how                 9 looking for examples of well-known companies that sell
    10 you characterized it. But it was the information to              10 information as their -- if not primary, it's certainly
    11 the Fund to perform their research function; is that             11 their largest business and -- in -- in order to
    12 correct?                                                         12 demonstrate what I believe was demonstrated in the
    13       MR. THOMAS: Object to form.                                13 report in that lettered conclusion A, as in apple.
    14       THE WITNESS: I do mention that in -- I think               14       So I mean, what was I doing, I was looking
    15 it's mentioned in my report, yeah.                               15 for information companies that -- that were well-known
    16 BY MS. McCONNELL:                                                16 and -- and were highly valuable. And at some point I
    17      Q Yes, I think your -- your heading for that                17 stopped because I didn't want to beat a dead horse
    18 section is, "The Fund's cost of maintaining the                  18 with something which I thought should be self-evident
    19 participant database."                                           19 by the time you read the examples that I gave. I
    20      A Okay.                                                     20 could have come up with others, but I stopped when I
    21      Q You mentioned you were aware that Ms. Taub                21 was worried about overdoing a point.
    22 was collecting this information. Did you give her any            22     Q Why did you -- why did you choose companies
    23 input on -- on where to find this information or how             23 that sell information as their primary or largest
    24 to calculate this information?                                   24 business as opposed to companies that sell information
    25      A I don't recall anything like that. If -- if               25 as their ancillary business?

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     1 they did have questions of me, I certainly would have             1     A Something in the transmission was -- was --
     2 answered them but I don't have any recollection of                2 did not come across clear so someone will need to
     3 that.                                                             3 repeat the question, unfortunately.
     4     Q Okay. Your second invoice has the date                      4     Q I can do it.
     5 December 31, and this is for work performed in --                 5         Why did you choose companies that sell
     6 when? I think November and December of 2020. Yeah.                6 information as their primary or largest business as
     7 Perfect.                                                          7 opposed to companies that sell information as their
     8       MS. McCONNELL: And, Nico, if you want to go                 8 ancillary business?
     9 to the next page.                                                 9     A What I was looking for was information
    10     Q So again, you have three documents here that               10 about -- that -- that was disclosed publicly. So
    11 you read or scanned. But again, you could have                   11 if -- if it's an ancillary business, then the public
    12 received other ones that were not important to your              12 disclosures are going to be minimal, short, brief,
    13 analysis that aren't included here, right?                       13 maybe nonexistent. And so I -- I needed to have
    14     A You said important to my analysis?                         14 companies that had as the primary business in order to
    15     Q Yeah, I thought that was your word, but I                  15 demonstrate what value was being generated by the
    16 could have --                                                    16 information.
    17     A No, I -- I'm sorry if -- I -- what I had in                17         So, for example -- I'll just give you an
    18 mind was unimportant to the analyses. So in other                18 example. Let's say we went to General Motors.
    19 words, if there's something that's central to my                 19 General Motors has a licensing program and -- but it's
    20 analysis, I'm not telling you I'm perfect, but my                20 not their primary business. General Motors in their
    21 intention would be to list it.                                   21 public disclosures might have a paragraph or two about
    22       If I had something that was received but it                22 their licensing, but it's not going to -- it's not
    23 really didn't matter and consequently, I didn't spend            23 going to allow you to say that the General Motors
    24 much time on it, then I probably would not list it               24 licensing is worth X billions of dollars because their
    25 even though I had physically got -- you know, seen a             25 primary operation is not licensing.




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     1       You could even go to a company as big as,                     1         And -- and it's legally a license for a
     2 let's say, Disney. I've done quite a bit of work for                2 specific limited use versus sale. Because if it was a
     3 Disney, including their licensing. Disney has a                     3 sale and then someone should resell it, then of course
     4 substantial business in licensing, but it is not their              4 you'd lose the value of the intellectual property.
     5 primary business. And so I could not say with Disney                5         Now -- now, a common person might say, I
     6 that the substantial market capitalization of -- of                 6 bought this list, but they really didn't buy the list,
     7 Disney is because of their intellectual property                    7 they legally licensed it for a specific purpose.
     8 involving their characters.                                         8     Q Are you aware of any nonprofits that charge
     9       Even though no one would dispute that the                     9 for data?
    10 Lion King and, you know, Mickey Mouse and all of those             10        MR. THOMAS: Objection; vague.
    11 have -- have huge value, but Disney's also got a huge              11        THE WITNESS: Nonprofits will sell mailing
    12 film library, a huge studio. They've got everything                12 lists, and I have seen that done, so I guess in that
    13 that makes up Disney. I mean, you know, the theme                  13 sense the answer would be, yes. It's -- it's a
    14 parks, everything else. And as a result you just                   14 sensitive area. But I have seen nonprofits sell or
    15 can't reach any conclusions about the value of                     15 license mailing lists.
    16 Disney's intellectual property even though Disney's                16 BY MS. McCONNELL:
    17 got substantial amounts of intellectual property.                  17     Q Were these nonprofits clients of yours?
    18       I'll give you another example. Nike. I                       18     A Yes.
    19 mean, I've done a substantial amount of work for Nike              19     Q Okay. And why do you say it was a sensitive
    20 in -- in their licensing area. The swoosh is very                  20 area?
    21 valuable to Nike. And they get a lot of money from                 21     A Well, unlike the situation that we have here
    22 that swoosh. But you can't say how much of the                     22 in this matter where the providing of the names pretty
    23 substantial market capitalization of Nike is due to                23 directly would benefit the people who are -- the Fund
    24 the swoosh versus all the stuff they sell.                         24 is trying to send money to, that is not uniformly the
    25       So in order to avoid that problem, I had to                  25 case in the sale of -- or -- or licensing of a mailing

                                                                Page 47                                                           Page 49
     1 do what I did so that I could equate the information                1 list.
     2 to the market cap, which was one of the points that I               2         You know, in a -- in a less, you know,
     3 was trying to make.                                                 3 charitable or -- or kind way, you could think of that
     4     Q Were you able to find any nonprofit               4 as junk mail, and people when they think of junk mail
     5 businesses who were in the business of selling data?    5 they don't -- they're not terribly happy about getting
     6     A A nonprofit would never be in the business of 6 more junk mail. And if -- if they thought that a
     7 selling data. That does not mean that they cannot       7 charity was selling or licensing their information so
     8 and, in fact, might not be required to charge for       8 they'd get more junk mail, that -- that may not be
     9 items of value that -- that they're delivering to       9 something that a charity wants to highlight.
    10 others. But no, I -- I would not expect to see a       10     Q How did these charities that you worked with
    11 nonprofit whose primary business was the sale of       11 report the sale or license of the mailing lists on
    12 information.                                           12 their tax forms?
    13     Q And you mentioned licensing a few times.         13     A It depends on which tax form. But generally
    14       Were you -- were you focused on locating         14 the -- the mailing list licensing would be unrelated
    15 companies that license information as opposed to the 15 business income.
    16 sale of information or did that distinction not matter 16     Q Okay. So on the 990 it would be listed under
    17 to you for this exercise?                              17 unrelated business income?
    18     A As a legal matter, almost all -- I'll call it    18     A Well, I think it's actually a separate form,
    19 sales, I'm being a bit imprecise there, but almost all 19 but -- but, yes. But in -- in most cases I -- I think
    20 sales of information actually take the form of         20 what I just described would be unrelated business
    21 licenses. So in other words, the agreements are        21 income.
    22 almost across the board. Says we're going to let you 22       Q Okay. And that's because the charity's
    23 use this piece of information for this specific        23 primary purpose isn't the sale or license of data,
    24 purpose both in terms of, you know, number of uses, 24 it's just something that they're doing on the side?
    25 times of uses, et cetera.                              25     A That would be not a very good explanation of



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     1 it.   I mean, I can appreciate why you'd say that, but        1 managed or monitored is that the person who controls
     2 that would not be -- the -- the issue of unrelated            2 the list actually does the mailing. So in other
     3 business income is one of -- of parody with for-profit        3 words, you -- you provide a mailing service -- you, I
     4 organizations.                                                4 say -- I mean the person selling the mailing list does
     5         So if, for example, there's a for-profit              5 not actually give the list away. They say, you know,
     6 organization that has to fully pay taxes and it is            6 we're going to send out X parcels, it will be to this
     7 selling mailing lists and a charity says, we got some         7 demographic, you give us the pieces you want mailed
     8 pretty great mailing lists, how -- you know, buy our          8 and we'll charge you for the postage and -- and we'll
     9 list instead, we can charge you less money because            9 mail it. And so they keep control of the list to make
    10 after all we don't pay taxes.   That is exactly what         10 sure it continues to have -- retain its value.
    11 the tax rules are trying to avoid.                           11    Q I see.
    12       So it is not just what you said. It -- the             12       Have you seen a situation where the nonprofit
    13 underlying intent is to make the charities on an even        13 organization would give away the mailing list to the
    14 basis with the nonprofits -- or with -- with the --          14 party it was contracting with and then say, at the
    15 with the for-profit enterprises.                             15 conclusion of this license, return the information to
    16    Q When -- when a charity lists something as               16 us?
    17 unrelated business income, does that mean that they          17    A Assuming I understand your hypo -- no, I've
    18 get taxed on that income?                                    18 not seen that. Charities don't -- should -- should
    19    A Yes.                                                    19 not be giving things away. If they were giving things
    20    Q Okay.                                                   20 away of value, I would tell them to stop it. And --
    21    A Well, yeah -- yes, it's -- it's a little bit            21 and I don't recall ever seeing that, though.
    22 different than that, but -- but we'll just call it           22    Q Okay.
    23 yes. I mean, you have to go through a tax                    23       MS. McCONNELL: Did you guy want to take a
    24 calculation. It might be that there's not much tax           24 quick break or do you want to keep going? We've been
    25 actually paid but -- but as a starting point it              25 going for about --

                                                          Page 51                                                        Page 53
     1 becomes subject to possible taxation.                         1       MR. THOMAS: Probably a good time.
     2     Q Better way of saying it, yes.                     2        MS. McCONNELL: Okay. We'll take maybe
     3        Okay. Have you reviewed any contracts for        3 five  minutes   and come back.
     4 the sale of mailing lists for these charity clients of  4        MR. THOMAS: Sure.
     5 yours?                                                  5        THE VIDEOGRAPHER: We are now going off the
     6     A I don't recall.                                   6 record,  and the time is 10:13 a.m.
     7     Q Okay. Are you familiar with licensing             7        (Recess.)
     8 agreements in general?                                  8        THE VIDEOGRAPHER: We are now going back on
     9     A Yes.                                              9 the record, and the time is 10:25 a.m.
    10     Q Okay. Do licensing agreements say anything       10 BY MS. McCONNELL:
    11 typically about returning or destroying the lists upon 11     Q Mr. Nolte, did the nonprofit status of
    12 the license's expiration?                              12 SAG-AFTRA, AFM or the Fund impact your analysis in
    13        MR. THOMAS: Objection; vague and overbroad. 13 this case?
    14        THE WITNESS: Well, you're not asking about      14        MR. THOMAS: Objection; overbroad, vague.
    15 this situation, you're asking about some situation in  15        THE WITNESS: Could you read the question,
    16 which there's a license for a one-time use; is that -- 16 please?
    17 is that fair?                                          17        MS. McCONNELL: Shari, do you mind.
    18 BY MS. McCONNELL:                                      18        (Record read.)
    19     Q I'm -- I'm talking about licensing agreements    19        THE WITNESS: In order to answer that
    20 in general. I'm not talking about the services         20 question, I have to put myself in a situation of
    21 agreement in this case.                                21 saying it was a different entity that was other than
    22     A I don't know that I can answer that question.    22 this particular fund and would that alter the
    23 If -- if the -- if the payment is -- is for one use,   23 conclusion. And -- and I suspect it would not but
    24 then you get one use.                                  24 I -- but the point is I haven't really done that.
    25        Frequently the way that's -- that's actually    25        So I -- I was aware of the -- of -- of who



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     1 these particular entities were from the very beginning              1 BY MS. McCONNELL:
     2 of the assignment. And so in some respects you're                   2    Q Okay. And what are --
     3 asking me to speculate in terms of reinventing the                  3       THE WITNESS: Okay. Hold on. Hold on. I
     4 entire assignment with a different set of entities.                 4 should -- I -- I apologize to Mr. Thomas. I should
     5 And I -- I don't know that I'm comfortable agreeing                 5 have waited and been slower.
     6 with that.                                                          6       But the answer is yes, I did consider that.
     7 BY MS. McCONNELL:                                                   7 BY MS. McCONNELL:
     8     Q I think what you're saying is, you're talking                 8    Q Okay. How did that factor into your
     9 about the relationship between the AFM, SAG-AFTRA and               9 analysis?
    10 the Fund as opposed to -- I think my question was                  10    A Well, I am aware that each of the parties
    11 just, does the fact that AFM and SAG-AFTRA have                    11 that are defendants in this matter have multiple
    12 nonprofit status affect your opinion?                              12 persons for which they owe a responsibility, which
    13       MR. THOMAS: Same objections.                                 13 you've told me to assume is a fiduciary duty versus
    14       THE WITNESS: And I'd have to give you the                    14 some other type of duty that might be slightly
    15 same answer. I was aware of the relationship between               15 different legally.
    16 the parties, and I was aware of their tax status. I                16       With respect to the unions in particular, I
    17 wasn't trying to do a second assignment in terms of                17 am aware that their membership includes primarily
    18 what the difference would be if they were a for-profit             18 people who are not beneficiaries of the Fund. And the
    19 enterprise.                                                        19 errors made by each of the experts put forth by
    20       Nothing comes to mind in terms of                            20 plaintiffs failed to take that into account.
    21 differences, but that does not mean that differences               21       In contrast, because of the fact that there
    22 don't exist that would be clear to me if I actually                22 are different groups of beneficiaries, specifically at
    23 rethought about the entire assignment. But since I've              23 the unions, the unions are not allowed to do what the
    24 not rethought the entire assignment, I don't think I               24 various plaintiff experts have alleged.
    25 can give a complete answer to your question.                       25    Q If the entities to the service agreement were
                                                                Page 55                                                       Page 57
     1 BY MS. McCONNELL:                                                   1 identical but they were for-profit businesses rather
     2     Q Did you take into consideration the fact that                 2 than nonprofits, can you think of any portion of your
     3 AFM and SAG-AFTRA have fiduciary responsibilities to                3 analysis that you would have -- would have approached
     4 their membership or was that not an important part of               4 differently?
     5 your report?                                                        5      A I think I answered that --
     6     A Well, to the extent that you're asking me for                 6        MR. THOMAS: I'm just going to object that
     7 a legal opinion in terms of the existence of                        7 it's vague and overbroad. But I'm sorry to be slow on
     8 fiduciaries, I'm not expressing any such opinion. I                 8 the draw there.
     9 do know that your folks expressed quite a few opinions              9        THE WITNESS: Well, I think it's also asked
    10 about fiduciary duties. I'm certainly aware of                     10 and answered, but let me try to answer it that way.
    11 fiduciary duties, but I've not reached any opinions                11        I think I've answered the -- this
    12 regarding the existence of those duties.                           12 substantively, the identical question before. I've
    13        And if I did not answer your question, I'm                  13 told you that I was aware of their -- the tax status
    14 happy to take a follow-up, but that's what came to                 14 of each of these defendants and that I've not
    15 mind as you -- based on your question.                             15 reconstituted or redone my engagement on the fly right
    16     Q Yeah. I want you to assume that there are                    16 now based upon some group of entities that have not
    17 fiduciary duties. I'm not asking you whether there                 17 been my clients and have not been involved in this
    18 are or there are not.                                              18 situation from the very beginning.
    19        Assuming that there are fiduciary duties, did               19 BY MS. McCONNELL:
    20 you consider what those obligations would be in                    20      Q I'm asking you to -- I'm -- I'm giving you a
    21 preparing your report?                                             21 hypothetical and asking you to assume that the
    22        MR. THOMAS: Objection.                                      22 entities to the service agreement were for-profit
    23        THE WITNESS: Yes.                                           23 businesses rather than nonprofits.
    24        MR. THOMAS: Overbroad and vague.                            24        And in that situation is there any portion of
    25                                                                    25 your analysis that you would have approached




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     1 differently?                                                   1 personnel Brian Nolte.
     2    A If this question is important to you, I will              2       Who is that?
     3 endeavor to answer it; however, I cannot answer it             3     A Brian's a full-time employee at Fulcrum. He
     4 right now without looking at my report. I am happy to          4 is a CPA. He's got probably around ten years
     5 look at my report. As you know, my report is lengthy.          5 experience doing this type of work.
     6 It is 28 pages long. I suspect it will take me                 6     Q Do you know which -- which tasks did Brian
     7 probably an hour and a half to try to formulate an             7 Nolte perform and which tasks did you perform that are
     8 answer and if your question's important to you, I'll           8 listed here?
     9 devote that hour and a half to it on the record.               9     A Brian generally was involved in performing
    10       But it is a possibility that I might need               10 the analysis on what we typically called the 50-song
    11 even more time and I just want to warn you before I           11 sample. The results of that are attached as -- I
    12 start reading a report and thinking about it that you         12 believe it's Exhibit 2 to my report.
    13 know what you've asked.                                       13       Brian also probably participated in one of
    14       Do you really want me to start that now?                14 the phone calls. So anything that involves the
    15     Q I will tell you that all of my questions are            15 preparation of those exhibits, the performance of
    16 extremely important to me.                                    16 those calculations or the related reporting of that in
    17     A Good.                                                   17 phone calls, Brian would have been involved in.
    18     Q But I do not want --                                    18     Q Okay. Item 6 on here says, "Initial research
    19     A Let me take the hour and a half.                        19 regarding the cost percentages of other music royalty
    20     Q No. I do not want you to sit there and read             20 reporting organizations."
    21 the report. I was asking you if you could think of            21       Was that done by you or Brian?
    22 anything -- because you obviously spent a lot of time         22     A I did that.
    23 preparing this report, if you could think of anything,        23     Q Okay. Why did you do that?
    24 sitting here today, that you would have analyzed              24     A One of the questions that came up is whether
    25 differently, but if not, that's okay, we'll go through        25 we could find other indications of what the cost or

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     1 the report and when we go through it, if something             1 value would be or the general cost loads, if you wish,
     2 comes to your mind, you can let me know and I'll ask           2 of these other reporting organizations. And so I
     3 you again.                                                     3 offered to perform some initial research to see if
     4        But if you can't think of anything without              4 there was any what I'll call low-hanging fruit that
     5 spending an hour and a half or more, then that's okay,         5 would be useful one way or the other in terms of
     6 you can say, I can't think of anything, sitting here           6 addressing this question.
     7 today, without spending an hour and a half. And we'll          7     Q When you say --
     8 move on. Is that fair?                                         8     A And -- and you're probably going to ask,
     9     A Well, I'm not sure it's fair.                            9 well, why did I say low-hanging fruit. And I realized
    10        But -- but in any event, I've answered that            10 once I said that, it's going to get a question.
    11 question two times, at least, already. I suspect the          11       What I meant by low-hanging fruit is, I was
    12 only reason you're asking me a third time is you're           12 not endeavoring to have this be comprehensive. It was
    13 trying to squeeze out of me an answer that's different        13 intended as a first pass to see what observations, if
    14 than the first two that I gave you.                           14 any, could be drawn with a research effort that was
    15        And the answer is no, I really don't think             15 not exhaustive.
    16 that's fair. If you want me to take the time, I will.         16     Q When you say "cost loads," are you referring
    17 Since you don't want me to take the time, I won't.            17 to the total administrative expense of these music
    18        So what's your next question?                          18 royalty reporting organizations or something
    19     Q I'll let you know.                                      19 different?
    20        MS. McCONNELL: Let's look at the next                  20     A It would include that, but it also could
    21 invoice, please, Nico. This is the third invoice for          21 include other things that might be useful to the task
    22 work between -- oh, I'm sorry. Let's skip the third           22 that was at issue in this litigation.
    23 one and let's go to the fourth invoice for work               23     Q How did you identify which organizations to
    24 February 16 through March 15.                                 24 research?
    25     Q And in addition to yourself, you have noted             25     A It was just based on Internet searches so,



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     1 you know, Google was my friend. You could pretty                 1 organizations that were responsible for providing
     2 quickly find these out through the power of keyword              2 royalty payments to nonfeatured performers?
     3 searches.                                                        3     A I don't recall seeing any that I could find
     4     Q What did you find through this initial                     4 that were publicly available.
     5 research?                                                        5     Q Okay.
     6     A I found that there wasn't anything that was                6        MS. McCONNELL: Okay, Nico, the next one,
     7 particularly useful, which is why you don't see                  7 please.
     8 anything meaningful in the report that is separate.              8     Q This next invoice is for the period March 16
     9 The detail provided by the organizations just didn't             9 through April 15, 2021. And if we look at the -- the
    10 allow -- and I say "detail provided," provided                  10 list of tasks on the next page, similar question as
    11 publicly, so what I could get from just, you know,              11 before. Which tasks were performed by Brian Nolte as
    12 doing Internet searches was not sufficient to allow me          12 opposed to you?
    13 to reach any conclusions one way or the other                   13     A Brian does not have much time on this bill.
    14 regarding the issues at hand.                                   14 I suspect that the time he has involves the document
    15     Q Okay. Did you find that other music royalty               15 production. But I -- it's not much time so I couldn't
    16 reporting organizations incurred costs for the                  16 be certain that that was the only thing with which he
    17 purchase of performer data?                                     17 was involved. But I suspect that's it.
    18     A I didn't find that, although I didn't expect              18     Q Did you scan/read the Bookman book?
    19 to and therefore I really wasn't looking for that.              19     A I did.
    20       What I was looking for instead was overall                20     Q Okay. What inconsistencies did you find
    21 cost percentages and, you know, whether the funds were          21 between Mr. Bookman's report and his book?
    22 out of line. And the answer is, the funds were not,             22     A I don't have any written documents or notes
    23 the funds cost were not out of line in light of the --          23 on that that would help me remember. I did have a
    24 the different task, the more challenging task that the          24 conversation with legal counsel on that and they're --
    25 Fund has.                                                       25 the stuff I gave them was probably more complete than

                                                             Page 63                                                              Page 65
     1       But it was not sufficiently clear based on                 1 I'll be able to give you now. So I'm certainly not
     2 the variations that I was finding that I could draw              2 going to try to tell you that I've got a sufficiently
     3 any statistic conclusions from that, which is why I              3 good photographic memory that I can tell you what that
     4 gave you the answer I did a minute ago.                          4 was a month ago.
     5    Q Okay. Why do you think that the Fund has a                  5       But -- but generally speaking, Mr. Bookman
     6 more challenging task than these other music royalty             6 claims that if -- in his two reports, that if you do
     7 reporting organizations?                                         7 something that is not required through your exempt
     8     A Most of these organizations have a task that               8 purpose, that you're going to ruin your entire tax
     9 might be equivalent to SoundExchange. For example,               9 exempt status and -- and that you'll just be done with
    10 they know who the copyright owners are, they know who           10 it. You'll ruin your organization and so you can't
    11 the featured artists are, these are people and                  11 possibly do what -- what these folks have done.
    12 beneficiaries that are more obvious and -- and have a           12       In contrast, Mr. Bookman's book spends the
    13 greater payment.                                                13 majority of its time explaining unrelated business
    14       So those folks are much more likely to say,               14 income and mechanics of when unrelated business income
    15 hey, I -- I got to be paid and -- and here's my                 15 would apply, when it would not apply, what are the
    16 information and -- versus folks that are both more              16 cases involved. And it's -- the book is, despite its
    17 numerous, as well as have much smaller allowance, and,          17 title, largely a book on unrelated business income.
    18 in part, because of those two things, do not have as            18       So it's kind of hard on one side for
    19 much public information about it.                               19 Mr. Bookman to say, oh, golly, if you did this you'd
    20       So it is inappropriate to look at, for                    20 have unrelated business income and you're done, you
    21 example, SoundExchange's costs and equate those to the          21 guys might as well throw off your -- you know, tear up
    22 Fund because the Fund's task is more complicated and            22 your tax exemption because you're -- you're just an
    23 more difficult. And the same thing is true for some             23 evil place, when he writes an entire book on reporting
    24 of these others.                                                24 for -- reporting for that.
    25     Q Did you look into any music royalty reporting             25       Second, although it's not the focus of the



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     1 book, although I would suggest it should have been                1 occur, I'd actually be surprised if Jenner & Block
     2 more of a focus than it was, Mr. Bookman does                     2 didn't ask me to take additional time looking at it
     3 acknowledge and describe inurement. And Mr. Bookman               3 that I've not yet done. But as of this moment, I've
     4 in his report, or reports, plural, fails to address               4 told you what I've done.
     5 the importance of inurement, that it would exist in               5    Q Okay. You didn't provide a rebuttal report
     6 this situation if the unions did what he claims they              6 in this case, right?
     7 were required to do.                                              7    A I think you're really more saying a
     8        Those are the two things that immediately                  8 surrebuttal report because the three expert reports
     9 come to mind.                                                     9 that -- that talk about much of this would be in their
    10     Q Do you --                                                  10 second report. And Rule 26 in terms of experts do not
    11     A Pardon me, I could -- I could look at the                  11 provide for a surrebuttal report.
    12 book again, maybe I'd come up with a third or fourth             12    Q No.
    13 thing, but I haven't looked at the book since I first            13    A But to -- but to answer your question
    14 did this and reported to legal counsel.                          14 directly, I did not issue a rebuttal report.
    15     Q The unions didn't report the service fee                   15    Q Your report and Mr. Bookman's report happened
    16 income as unrelated business income, did they?                   16 on the same day. They were exchanged on the same day.
    17     A I have not seen their -- their tax returns so              17 Mr. Bookman provided a rebuttal report to your report,
    18 I -- I could not tell you one way or the other.                  18 which you've read and you've mentioned that you've
    19     Q Okay. If they didn't, if you assume that                   19 read, but you did not provide a rebuttal report to
    20 they did not report the service fee income as their              20 Mr. Bookman's report, correct?
    21 unrelated business income, would they face any sort of           21    A That is what I just told you, yes. Why --
    22 repercussion by the IRS?                                         22 I'm not sure I know what additionally you're asking me
    23        MR. THOMAS: Object to the form; incomplete                23 that I haven't just already told you.
    24 hypothetical, calls for speculation.                             24        But go ahead.
    25        THE WITNESS: Well, I've not addressed                     25    Q Did you review Ms. Kerry Adams' report?
                                                              Page 67                                                            Page 69
     1 their -- the unions' requirements for unrelated                   1     A No. Well, hold on. Hold on. Kerry Adams,
     2 business income in this situation. It is not a                    2 I'm sorry. Ms. Adams -- Kerry? Hold on. Hold on.
     3 foregone conclusion that it -- it would be unrelated              3
                                                                    Q Holding.
     4 income or that there'd be tax. I've not talked with               4
                                                                    A No, my apologies. I have a short report
     5 the unions' various tax preparers or seen their         5 dated March 26, 2021, from Kerry Adams. So, yes, I've
     6 returns so I -- it would be premature for me to reach   6 seen that.
     7 a conclusion that you've now asked me to jump to.       7    Q Did you formulate any opinions on Ms. Adams'
     8 BY MS. McCONNELL:                                       8 report?
     9     Q Okay. You're not planning on providing any        9    A I'll have to look at it.
    10 opinion at trial about the unions' 990s or their --    10        That report has a three-sentence paragraph
    11 whether they should have marked this income as         11 under opinions and conclusions. One of those
    12 unrelated business income?                             12 sentences is that, "None of the major CMOs around the
    13     A I can't answer that yes or no because you're     13 word annually pay a percentage of their revenues to
    14 asking me to tell the future. You're saying my plans.  14 purchase data from third parties."
    15 My -- my plans are to tell the truth on questions that 15        So I think that is the total of the opinion
    16 someone asks me that the Court wants me -- to hear, to 16 that you're asking me about. And I've not formulated
    17 hear an answer from.                                   17 anything or I'm suggesting that I have a list of
    18        If Mr. Bookman, for example, wants to show up 18 anyone who is in the same situation as the Fund that
    19 at trial -- and by the way, his deposition hasn't      19 would do what that one sentence says. So in that
    20 occurred so I have no idea what his deposition is      20 sense I guess I have no rebuttal other than perhaps
    21 going to come out of that. But if Mr. Bookman wants    21 say it's irrelevant and -- and doesn't prove anything.
    22 to say, oh, golly, I've looked at this and this is     22 But if -- if that's what you -- if that's what you
    23 dead wrong and, you know, shame on the unions and      23 want for rebuttal, then, sure, I guess I have that.
    24 everything else, assuming this testimony that I don't  24    Q I really don't want you to say anything or
    25 know is going -- has even happened or will happen does 25 not say anything. I'm trying to figure out what your




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     1 opinions are so that when you testify at trial we know          1 what questions Jenner & Block's going to have. I
     2 what your opinions are. So if they're -- if you're              2 don't know what questions the Court's going to have.
     3 not planning on providing an opinion on Ms. Adams'              3 And as a result, I don't have any plans other than to
     4 report, then that's fine. But if you're -- now you're           4 show up and tell the truth.
     5 saying your opinion on Ms. Adams' report is that it's           5     Q Do you know what Ms. Adams was reviewing in
     6 irrelevant?                                                     6 order to prepare her report?
     7     A Well, I told you earlier in this deposition               7     A Well, it looks like she's got this exhibit,
     8 that I did not find -- first of all, the publicly               8 and it would appear that she's looking at those
     9 available information would typically not disclose              9 things.
    10 what you just asked me about earlier. What you had             10
                                                                     Q You think that she's looking at what things?
    11 asked me about earlier is the same thing that                  11
                                                                     A I'm simply saying that she's -- she mentions,
    12 Ms. Adams is reporting in that one single sentence.   12 says, "A spreadsheet reflecting the data collected to
    13       The fact that -- that someone does not          13 date is attached as Exhibit 2."
    14 include in their financial statements an explicit     14         And so I have a copy of a spreadsheet and
    15 disclosure regarding paying a percentage of their     15 it's a two-page document and I believe that is the
    16 royalties does not mean that it doesn't exist. It     16 item to which she is referring.
    17 simply means that those companies were following the 17       Q Okay. Did you review Ms. Barry Kessler's
    18 disclosures required under generally accepted         18 report?
    19 accounting principles and that those principles, by   19      A Yes.
    20 and large, do not require what she says they didn't   20      Q Okay.
    21 disclose.                                             21      A And -- and just to make sure we're on the
    22       So the fact that someone did not disclose       22 same -- there's a March 26, 2021 report on the
    23 something that they weren't required to disclose does 23 letterhead of DAS, and I have looked at that.
    24 not prove that it doesn't exist. It just simply       24      Q Okay. Did you formulate any opinions on
    25 proves that she was looking in the wrong spot or that 25 Ms. Kessler's report?

                                                            Page 71                                                          Page 73
     1 where she was looking because it's the only spot                1     A Certainly I had reactions as I went through
     2 available simply doesn't disclose it. So it doesn't             2 it, yes.
     3 prove anything.                                                 3
                                                                    Q Okay. What were your reactions?
     4       Additionally, for the opinion to be useful                4
                                                                    A Okay. This is going to be a long and lengthy
     5 for anything, one first has to state or know that the   5 answer because I have to reread the whole report in
     6 organization to which she's making a comparison is in   6 order to figure that out. I don't have anything
     7 a comparable situation. An appraiser might think of     7 prepared, but I'm happy to do what you just asked.
     8 that as a guideline firm or a guideline transaction.    8    Q That's fine, we'll skip it.
     9 Absent there being such sufficient similarity, the      9       Did either Ms. Adams' report or Ms. Kessler's
    10 comparison is ill-advised and should not be done.      10 report cause you to reconsider any of your own
    11       Now, I -- the legal counsel of Jenner & Block    11 conclusions from your March 8 report?
    12 have not asked me about that. You have. If you want    12    A If by "reconsider" you mean carefully think
    13 to ask me that at -- at trial, I'll give you the same  13 about it, yes, I did carefully think about it.
    14 answer I just gave you. I guess given that you just    14    Q Okay. Did it cause you to want to change
    15 asked the question, Jenner & Block may decide that's a 15 anything in your March 8 report?
    16 pretty good answer and maybe I should ask Mr. Nolte    16    A No. In fact, it confirmed that what I had
    17 that at trial.                                         17 was correct because the items that, for example,
    18       But the answer is, you say what I'm planning     18 Ms. Kessler said were -- they had problems with them.
    19 to do, I'm not planning to do anything other than show 19 And so I'm thinking to myself, well, if -- if this is
    20 up and answer people's questions. I don't get to make  20 the reasons why my report is wrong and those reasons
    21 a presentation. It's not like I show up and am given   21 are not correct, then I guess my report's fine.
    22 a screen and an anvil or an easel and say, here, go    22    Q Have you ever done any work for SoundExchange
    23 put on your presentation.                              23 before?
    24       I get to answer questions, and I don't know      24    A Nothing comes to mind.
    25 what questions you're going to have. I don't know      25    Q Okay. Did you speak to anyone at



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     1 SoundExchange before completing your report?             1 pursuant to my engagement letter Mr. Thomas or
     2     A Not in connection with this assignment.          2 Mr. Sullivan can call me up and say, hey, Nolte, we
     3     Q Okay. Did Brian assist you in preparing any      3 want you to do whatever or what do you think about
     4 part of your March 8 report?                           4 whatever, and I'll -- I think I -- I most certainly
     5     A Your question's quite broad, so as broad as      5 will answer their questions pursuant to the engagement
     6 it is, I'd have to answer yes.                         6 letter that I've already issued.
     7     Q Did Brian write the March 8 report?              7        Similarly, I'm quite sure that they're going
     8     A No.                                              8 to want  me to show up and testify, and I believe I've
     9     Q Okay. You wrote it?                              9 agreed to do that, too.
    10     A I did.                                          10     Q Yeah, you answered my question.
    11     Q Okay. You talked about Brian working on the     11        There aren't any pending assignments that you
    12 50-song study, correct?                               12 know of at this time?
    13     A Well, specifically the calculation that is      13     A Not that I'm aware of.
    14 attached as Exhibit 2 to my report.                   14     Q Okay. You reviewed a number of depositions
    15     Q I'm just checking because you said Exhibit 2. 15 in this case, correct?
    16 I'm not sure if it is Exhibit 2 so I just want to     16     A I did.
    17 double-check.                                         17     Q Did you review Mr. Crabtree-Ireland's
    18     A Well, my apologies, I thought it was            18 deposition   testimony from the Blondell v. Bouton case
    19 Exhibit 2. But what it is it's -- it's the            19 out of New York?
    20 calculation involving the -- the error rate that      20     A I don't believe so.
    21 exists as a result of using web-based data instead of 21     Q Okay. Were you aware of the Blondell versus
    22 other data.                                           22 Bouton case based in New York?
    23         I would invite your attention to              23     A I was aware of another case by the name of
    24 conclusion B, as in boy, that starts on page 17 of my 24 Blondell, so I guess the answer is yes.
    25 March 8th report.                                     25     Q What do you know about that case?
                                                     Page 75                                                           Page 77
     1    Q So Table 9 is the error rate; is that               1    A If I use -- interpret the word "know" in its
     2 correct?                                                 2 common usage which indicates a certain level of
     3     A Correct. But the underlying mathematics are        3 certainty, the answer is probably nothing.
     4 in Exhibit 2.  If you look at the footnotes in that      4       I do know -- my understanding is that there
     5 section, they're pretty consistently referring to        5 was a class action lawsuit. Blondell was the class
     6 Exhibit 2.                                               6 representative. I believe the matter has been
     7     Q Okay. Just to wrap up your invoices, to date       7 resolved or if it's not resolved, it's certainly
     8 I think you've billed approximately $70,000 for your     8 farther along than -- than the Risto case is.
     9 work on this case; is that right?                        9       And that there was some overlap in the sense
    10     A Whatever those bills add up to.                   10 that the -- the Fund or the lawyers indicated that in
    11     Q Is there any unbilled work at this time?          11 response to information that I would need that that
    12     A No.                                               12 had already been accumulated as a result of the
    13     Q Have you agreed to --                             13 Blondell case. So that's why it came up. It came up
    14     A Well --                                           14 as like, oh, why don't you just give him the stuff
    15     Q -- perform --                                     15 from Blondell.
    16     A Well, hold on a minute. Never mind. I'm --        16     Q Okay.
    17 I'm incorrect.                                          17     A And -- and so I got some stuff and -- and
    18       I'm sorry, go ahead, what were you going to       18 I've kind of given you a brain dump of everything I
    19 say?                                                    19 know, which is not much, about Blondell.
    20     Q Have you agreed to perform any work on this       20     Q Okay. But one of the things, you were not
    21 case before trial?                                      21 given the Duncan Crabtree-Ireland deposition from the
    22     A Well, I haven't been asked to do any work.        22 Blondell case? You mentioned --
    23 That may be different than what you've asked.           23     A I was not.
    24     Q Well, that's what I was asking.                   24     Q -- other stuff, but...
    25     A I think there's a running agreement that          25     A Yeah, I'm sorry for interrupting. I didn't



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     1 mean.                                                     1     A In the last three minutes or so I've not read
     2       I was not given that deposition transcript.         2 those transcripts since you first asked me.
     3     Q Okay. Did you -- it doesn't look like you           3     Q Okay. In the last almost year that you've
     4 reviewed any of the trustee depositions in this case      4 been working on this case you haven't reviewed those
     5 other than Mr. Crabtree-Ireland, Mr. Hair or Ms. Taub;    5 three transcripts, right?
     6 is that correct?                                          6     A Again, I -- you're just asking me stuff I
     7     A I listed those that I received. If it's not         7 already answered for you. I'm -- I guess if you want
     8 on the list, it's because I didn't see it and -- and      8 to do that, that's fine.
     9 obviously didn't look at it. So if you have some          9        But I have told you that the complete list of
    10 other depositions and they're not on the list, then I    10 the transcripts are on my report. I've told you if
    11 don't have them.                                         11 it's not on my report, then I didn't look at them. I
    12     Q Okay. Do you recall deciding not to review         12 told you I did not make a decision not to look at any.
    13 the Mr. Joyce, Mr. Bouton or Mr. Gagliardi               13 So I'm not sure what else you're asking me. But
    14 transcripts?                                             14 that's the situation with those three expert
    15     A I made no such decision.                           15 depositions.
    16     Q Okay. Was it important for your analysis to        16     Q You mentioned that you were asked to arrive
    17 know what factors the trustees considered when they      17 at an independent conclusion about the services
    18 voted for the service fee?                               18 agreement; is that accurate?
    19       MR. THOMAS: Objection to the form, vague.          19     A I was to arrive at my conclusions
    20       THE WITNESS: Was it important? Well, I -- I        20 independently, yes.
    21 don't think I can answer that without being misleading   21     Q Okay. What were you -- let me put it this
    22 no matter how I answer it. So let me try -- if you       22 way.
    23 don't mind, I'll give you a narrative and maybe that     23        MS. McCONNELL: Maybe, Nico, this is a good
    24 will help. Because I -- if I answer yes or no, no        24 time for the retention agreement, which we can mark as
    25 matter what answer I give you, it's going to be a        25 Exhibit 3.

                                                      Page 79                                                             Page 81
     1 mess.                                                     1        (Exhibit 3 marked.)
     2 BY MS. McCONNELL:                                         2 BY MS. McCONNELL:
     3    Q Okay.                                                3     Q This is your retainer agreement that's dated
     4    A Okay. On -- on one side of the coin, I was           4 June 12, 2020, and under "Description of Work" it
     5 asked to reach an independent conclusion. So the work     5 says, "Fulcrum's work, to be performed under your
     6 was not -- read what Crabtree-Ireland said and agree      6 supervision, will consist of financial, accounting and
     7 with it. That wasn't the assignment. In fact, the         7 valuation analysis necessary to evaluate the various
     8 assignment was just the opposite. So in that sense        8 contentions arising in this dispute."
     9 the answer would have to be no, that was not the          9        Is that an accurate recitation of what your
    10 assignment. And I did the assignment as an               10 assignment was in this case?
    11 independent person.                                      11     A Well, it's not inaccurate, but I would invite
    12        On the other side of the coin, I was given        12 your attention to Roman numeral I of my March 8
    13 those transcripts and obviously the questioning in       13 report, which is under this nearly identical heading
    14 those transcripts included considerations that the       14 of description of engagement, and in my report I give
    15 various people had in mind to the best of their          15 you more -- I -- I do that with greater specificity.
    16 recollection. And I was interested in that.              16     Q Yeah. You specifically say that you've been
    17        I don't want to tell you that I skimmed past      17 asked to address the reasonableness of the amounts
    18 that or said I don't care, and, in fact, you'll see      18 that the Fund pays to the AFM and SAG-AFTRA, right?
    19 that I've quoted some items from the depositions in my   19    A It does say that.
    20 report. So as a result, I -- it's -- it's -- that's      20    Q Okay. So did you end up providing a
    21 how I considered the information.                        21 financial or accounting analysis?
    22    Q You didn't review the other three trustees,         22    A Well, that's what I do for a living so I
    23 right, Mr. Joyce, Mr. Bouton or Mr. Gagliardi, so you    23 guess the answer has to be yes. The matters included
    24 don't know what factors they might have considered or    24 in my March 8th report are financial, accounting,
    25 might not have considered, true?                         25 economic and valuation matters.




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     1     Q How do you define the word "cost"?                 1 unions if you were asked to do that?
     2     A Cost would be a synonym for expenditure.           2        MR. THOMAS: Objection; vague.
     3     Q How do you define the term "value"?                3        THE WITNESS: Well, I've not been asked to.
     4       MR. THOMAS: Objection; overbroad, vague.           4 If you -- I think what you're asking me is, am I
     5       THE WITNESS: Yeah, you really have to have a       5 capable of doing so, and the answer is sure, as the
     6 context for that. Value is an amount. But I'm not        6 accounting portion of my skill base would allow me to
     7 sure that helps you much.                                7 address such items. I have the confidence and
     8       Usually in the context of my work I am asked       8 capabilities of doing that.
     9 for the value or amount of the fairness of some asset    9 BY MS. McCONNELL:
    10 or transaction. So I'm reaching an opinion regarding    10     Q Have you been presented with any accounting
    11 the fairness of an amount or the fairness of a value.   11 data that would enable you to do it? Even though I
    12 BY MS. McCONNELL:                                       12 understand that you could potentially do it given your
    13     Q And is that actually what you did in this         13 background, have you been provided with any of the
    14 case?                                                   14 accounting data to enable you to do it?
    15     A Yes.                                              15     A No.
    16     Q Okay. Were you looking -- did you approach        16     Q Okay.
    17 this assignment by looking at the value from the        17        MS. McCONNELL: Okay. Let's pull up the --
    18 Fund's perspective?                                     18 well, before you do that.
    19     A In part, yes.                                     19     Q What -- what accounting information would you
    20     Q Did you approach this assignment by looking       20 need to be able to calculate the cost to the unions?
    21 at the value from the unions' perspective?              21        MR. THOMAS: Object to the form.
    22     A In part, yes.                                     22        THE WITNESS: When I've done these sorts of
    23     Q Did you consider yourself to be providing a       23 assignments, I do look at the financial statements and
    24 neutral evaluation of the value of the data that was    24 underlying general ledgers for whatever period of time
    25 being provided?                                         25 is relevant to the analysis. I speak with the

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     1     A You're asking for my state of mind?                1 accounting and management personnel that are
     2     Q Yes.                                           2 responsible for running the organization in order to
     3     A Sure. My state of mind is that I'm doing       3 answer questions or gain context into the physical
     4 this with independence and neutrality.               4 accounting data that I've been provided.
     5     Q Did you approach this assignment by looking 5           That's very general, I appreciate that,
     6 at the cost to the unions for providing the data?    6 but -- but you -- you asked a general question.
     7       THE WITNESS: Ms. Bolton, could you reread 7 BY MS. McCONNELL:
     8 the question, please?                                8     Q What types of accounting data would be
     9       (Record read.)                                 9 relevant to the analysis?
    10       THE WITNESS: I considered cost, but I have 10        A Your assuming the analysis is even relevant
    11 not used cost as the basis for valuing intellectual 11 itself, correct?
    12 property, which would be the typical approach or    12     Q Correct.
    13 conclusion reached when addressing intellectual     13     A Because I've already told you that a cost is
    14 property.                                           14 not going to be a relevant analysis to the value of
    15 BY MS. McCONNELL:                                   15 intellectual property.
    16     Q Could you tell us what the cost is to the     16     Q You've told me that, yes.
    17 unions for providing the data?                      17     A So answering a question about this does not
    18     A I have not assembled that --                  18 suggest at all that anything I'm about to tell you is
    19       MR. THOMAS: Objection; vague, overbroad. 19 relevant to anything, in my view.
    20       THE WITNESS: Yeah. The answer is, I have 20          Q We can stipulate to that, that you do not
    21 not assembled that because I concluded it was not   21 think it's relevant.
    22 relevant to the value that I was being asked to     22     A Okay. All right. So with -- with that in
    23 address.                                            23 mind, what's your question about this irrelevant
    24 BY MS. McCONNELL:                                   24 analysis?
    25     Q Are you able to assemble the cost to the      25     Q What accounting data would you need to



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     1 calculate the cost for providing the data?                         1 litigation that are not specifically cited in the
     2    A I told you I would start with the financial                   2 conclusions expressed herein, but which provide
     3 statements and the general ledger. I gave you that in              3 background information and context."
     4 response to an earlier answer. I would ask for those               4       Are you able to tell us which additional
     5 documents first.                                                   5 documents provided background information and context?
     6        It is likely, based on discussions with                     6     A If given the time to do so, sure.
     7 management and accounting personnel, that I would need             7     Q How would you do that?
     8 payroll journals associated with people that were                  8     A Well, all the records that I have are kept on
     9 performing that work. I would not initially ask for                9 a secure server in a spot specifically designated for
    10 payroll journals because it may not be necessary,                 10 that client. So I could look at the list of records
    11 although I suspect it is, but I also know that people             11 in that section Roman II, as well as the notes to
    12 don't like giving up payroll journals until there's               12 which -- that are being referred to in Roman II.
    13 absolutely a need to do so. So I don't ask for that               13       So, for example, one of the items talks about
    14 as a first step.                                                  14 items as referenced in here so there's -- in the
    15        To the extent that there are major                         15 course of this report there are -- looks like 66
    16 subcontracts, I do look for -- I will usually get                 16 footnotes. So I could look at the 66 footnotes.
    17 those agreements to make certain I understand what the            17       I could look at the documents listed in
    18 scope of the services are. There's a good chance that             18 Roman II and then compare that to everything that I've
    19 I would be looking at invoices for -- or other                    19 received that I store in the manner that I described
    20 supporting documentation for certain expense amounts.             20 at the beginning of this answer and come up with
    21        Now, I've done a number of those assignments,              21 whatever the difference is.
    22 and I -- I think in those other assignments where the             22       I could do that. Nobody wants to pay for
    23 work would be relevant that's the type of information             23 that clerical effort, which is why you get a paragraph
    24 that I -- I typically get.                                        24 like this as almost boilerplate in every report like
    25    Q What are you looking for -- what would you be                25 this.

                                                               Page 87                                                           Page 89
     1 looking for in the financial statements and the                    1     Q Okay. And it says, "Fulcrum personnel
     2 general ledger?                                                    2 reviewed."
     3    A The financial statements are a good summary                   3       Other than you and David Nolte, was there
     4 of the results of operations and financial position of             4 other Fulcrum personnel involved? I'm sorry, did I
     5 an organization as of a point in time, as well as for              5 say David Nolte?
     6 whatever period is then ended. And so almost any                   6     A You did. Other than -- than Brian and
     7 financial analysis would start with the financial                  7 myself, there were no other personnel involved in this
     8 statements.                                                        8 matter from my firm. And I was involved with the
     9       Further, I obtain the general ledger because                 9 initial review of all records.
    10 that provides the detailed transactions that build up             10     Q Okay. Did you review Section 114 of the
    11 the balances that are contained in the financial                  11 Copyright Act?
    12 statements.                                                       12     A I'm aware of it, but, no, I don't -- I mean,
    13     Q Okay.                                                       13 I'm sure I've read it. But the assignment was not
    14       MS. McCONNELL: Okay. Nico, can you send the                 14 formulated as reaching conclusions regarding any
    15 report, please.                                                   15 portion of the Copyright Act.
    16       And I think you probably have it in front of                16     Q Do you think that you read it in connection
    17 you, but you are free to download it as well.                     17 with this assignment or are you saying that you've
    18     Q On page 2 of your report before the Roman                   18 read it at some point in time?
    19 numeral heading III --                                            19     A Well, I think it was in connection with this
    20       MS. McCONNELL: And, Ms. Bolton, if we could                 20 assignment. I'm sure the complaints or answers or
    21 attach this as Exhibit 4, please.                                 21 someone else quoted it, and I -- I would have read it
    22       (Exhibit 4 marked.)                                         22 as it was presented.
    23 BY MS. McCONNELL:                                                 23     Q Okay. Did you know that the Copyright Act
    24     Q It says, "Fulcrum personnel reviewed and                    24 says that Fund is only to deduct reasonable costs?
    25 considered additional documents produced in this                  25     A I don't doubt that. I've not specifically



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     1 reached that conclusion. But I don't doubt that.              1 of the conversation.
     2    Q Were you told to assume at any time that the             2    Q Okay. There were a lot of nos in your
     3 Copyright Act's language regarding reasonable costs           3 answer, but I think what you're saying is that
     4 did not apply to the Fund?                                    4 Jenner & Block lawyers were on every conversation with
     5     A No.                                                     5 Fund personnel?
     6     Q Okay. Are you planning to provide testimony             6    A Yeah, I apologize for any ambiguity.
     7 at trial about the Copyright Act?                             7       But anytime I spoke with Fund personnel a
     8        MR. THOMAS: Object to the form, vague.                 8 lawyer from Jenner & Block was present at all times.
     9        THE WITNESS: Well, yeah, you can get                   9    Q Okay.
    10 different answers depending on what portion of -- of         10    A And I apologize for any confusion.
    11 your question you want to focus on.                          11    Q That's okay.
    12        To the extent that you're asking me for a             12       Did you conduct any interviews with any union
    13 legal opinion, I won't be providing any legal                13 personnel?
    14 opinions. So to the extent someone says, hey, hey,           14    A None come to mind.
    15 Nolte, read this and tell me what that means as a            15    Q Did you ever speak with Ray Hair?
    16 matter of law, no judge is going to let me answer that       16    A I don't believe so.
    17 question, and I probably wouldn't answer it even if I        17    Q Did you ever speak with Duncan
    18 was asked or allowed to.                                     18 Crabtree-Ireland?
    19        What I am doing is what's described in the            19    A I don't -- I don't recall any such meetings
    20 description of assign -- engagement. And I'm pretty          20 with anyone from the unions.
    21 sure that that relates to the Copyright Act.                 21    Q Okay. Included in the defendants' document
    22 BY MS. McCONNELL:                                            22 production to the plaintiff there were several
    23     Q Do you think that the Copyright Act's                  23 thousands e-mail requests from Fund personnel to union
    24 language about reasonable cost conflicts with your           24 personnel asking for session reports.
    25 assignment which was to evaluate the value of the data       25       Did you review any of those e-mails or their
                                                          Page 91                                                          Page 93
     1 and services being provided?                                  1 responses?
     2        MR. THOMAS: Object to the form.                        2    A I certainly did not study any volume of
     3        THE WITNESS: I don't see any conflict.                 3 e-mails. Whether I saw some or not, they may be part
     4 BY MS. McCONNELL:                                             4 of what I had but I -- that certainly was not the
     5    Q Do you recall reviewing either version of the            5 focus of -- of what I was trying to do.
     6 Fund's trust agreement?                                       6    Q Do you know if anyone ever reviewed and
     7    A I know I've had it available. But I -- I was             7 counted how many requests were made and how many
     8 not reading it as a necessary predicate to any of my          8 requests were answered?
     9 conclusions.                                                  9    A I certainly have not done that. So -- and
    10    Q Okay. Did you conduct any interviews with               10 I -- and I wouldn't be expressing any opinion about a
    11 Fund personnel?                                              11 tabulation that I've not done.
    12    A Well, I had conversations. If you want to               12    Q Okay. I think you answered this, forgive me.
    13 call those interviews, I guess the answer would have         13       Did you review any of the Fund's -- excuse
    14 to be yes. So, sure, go ahead.                               14 me. Did you review any of the Fund's 990s?
    15    Q Okay. Who?                                              15    A You did not ask that. I may -- I may have
    16    A I spoke with Ms. Taub. I spoke with                     16 had some of those. I'd have to go back and look. I
    17 Ms. Sandell. And I spoke with the Fund's chief               17 don't think I've referenced them in my report, but I
    18 financial officer whose name escapes me at this              18 don't want to tell you I didn't have them. I might
    19 moment, but I'm sure I have it somewhere.                    19 have them.
    20    Q Okay. And you said you had phone calls with             20    Q Okay. Did you review any of the unions'
    21 these three people. Were Jenner & Block attorneys on         21 990s?
    22 those calls as well?                                         22    A No.
    23    A There was no phone call with the Fund                   23    Q Okay. Would you agree with me that the
    24 personnel during which Jenner & Block lawyers were not       24 unions are not in the business of selling data?
    25 there or at least a lawyer was there for 100 percent         25    A I'm happy to answer that question, but it



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     1 occurs to me I probably gave you a bad answer way long          1 non-featured performers associated with approximately
     2 ago and I don't know if it matters, it probably                 2 136,000 song titles."
     3 doesn't, but -- but I got distracted by that.                   3        Do you see that?
     4       I'm currently working on an assignment                    4     A I do.
     5 involving other nonprofits. I don't know if that                5     Q First, you didn't help craft this response,
     6 matters to you. But I -- I think you did ask work my            6 did you?
     7 current firm is with working on of nonprofits, and              7     A The reason I'm pausing is I realize this is
     8 I've actually got one actively going on right now.              8 an amended -- or supplemental response that occurred
     9     Q Okay. What is it?                                         9 after I was engaged. No one asked me to draft this or
    10     A Well, I'm not entirely certain I should be               10 make edits to this. And so in that sense the answer
    11 talking too much about it because I -- it's                    11 to your question is no.
    12 consultation only for settlement purposes. But it              12        However, I can't tell you that I didn't say
    13 does involve the United States Olympic Committee.              13 something that might have assisted the people who were
    14     Q Okay.                                                    14 drafting this in writing what they wrote. So in that
    15     A And -- and I probably shouldn't say too much             15 sense the answer would have to be, I don't know.
    16 more than that. But it is a nonprofit organization             16     Q Okay. Do you know whether that 136,000 song
    17 and a substantial one. And I -- I believe one of the           17 title number reflects the number of song titles that
    18 questions that you asked probably would have had me            18 have been paid by the Fund or includes song titles
    19 identify that but I just didn't think of it at the             19 that are merely tracked for possible future payment?
    20 time it was asked.                                             20     A Well, the best answer is, I don't know. But
    21     Q Are -- are you providing any sort of like                21 you also told me that I should be giving you
    22 financial valuation services for the Olympic                   22 information as long as it wasn't a guess. And so with
    23 Committee?                                                     23 that, this is another answer that's almost a guess,
    24     A I am performing accounting work that relates             24 maybe a guess, but I -- I suspect this is the number
    25 to a dispute between the United States Olympic                 25 of song titles that are being tracked even if there's

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     1 Committee and a rather substantial donor regarding the          1 some missing information that would prevent complete
     2 use of contributions.                                           2 payments. But I -- I can't tell you that as a matter
     3     Q Okay.                                                     3 of fact. I -- but I -- that's -- that's what I
     4     A And I've -- I've not given any testimony.                 4 suspect is the case.
     5 I've not given any reports. I've done work only for             5     Q Okay. On page 7 of your report, if you look
     6 settlement purposes so I really shouldn't be telling            6 at Table 3, you have separated out for the years
     7 you anything more. If you have follow-up questions, I           7 ending 2013 to 2019, you have, "Distributions payable
     8 just want to warn you that I'm -- I may have --                 8 at year-end," and then, "Distributions paid during the
     9 there's some line I can't cross over and I'm getting            9 year."
    10 pretty close to it.                                            10       Is the services fee calculated from the
    11     Q I will take your secret to my grave. Don't               11 distributions payable column or the distributions paid
    12 worry.                                                         12 column?
    13       Okay. Let's go back to the question that I               13     A It would be based on what is payable. Well,
    14 had asked you.                                                 14 hold on a minute. That -- it's actually neither.
    15       Would you agree with me that the unions are              15 Yeah, it's actually neither. But it has two -- since
    16 not in the business of selling data?                           16 you gave me only two choices, it would be closer to
    17     A That is not their primary business.                      17 payable.
    18     Q This is a quick question.                                18    Q Okay. Why -- why is it neither?
    19       So on page 4 of your report you quote an                 19    A Well, because there are some amounts that are
    20 interrogatory report -- I'm sorry. You quote an                20 going to be payable and then promptly paid and so they
    21 interrogatory response. And I have a very discrete             21 don't appear on the balance sheet as of the end of the
    22 question.                                                      22 year, but they would appear in the payment amounts.
    23       If you look at the third full paragraph on               23    Q But wouldn't those still be in the
    24 page 4. The paragraph ends with, "Currently, this              24 distributions payable column?
    25 database compiles information related to the                   25    A No. Well, you say "column." If you're



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     1 referring to the column in Table 3, that middle column          1 has to do. If the union doesn't do that, I suspect it
     2 says, includes in the heading, "at year-end." So if a           2 would have failed to meet a benchmark.
     3 check is written before year-end it's no longer in              3       Now, it is possible of course to craft an
     4 that amount.                                                    4 agreement, a different agreement that has additional
     5    Q Okay. Got it. Okay. Let's try this one.                    5 specificity in that regard. And if that's what you're
     6       Is it accurate, then, that if we add up                   6 asking, the answer is, sure, you could do that.
     7 distributions paid during the year and distributions            7    Q If you -- if you crafted an agreement that
     8 payable at year-end and take the 3 percent service fee          8 has additional specificity with regard to benchmarks,
     9 from that, that that number would be accurate?                  9 wouldn't that be more effective at creating a no-risk
    10    A No.                                                       10 situation for the Fund?
    11    Q Okay.                                                     11       MR. THOMAS: Object to the form. Calls for
    12    A Well, hold on a minute. When you say "that                12 speculation.
    13 number." I'm not suggesting any of these numbers are           13       THE WITNESS: Well, you're -- you're
    14 not accurate. And so to the extent that you're asking          14 addressing a different item at this point than what I
    15 me to say, well, which of these numbers are                    15 was initially suggesting. So the connection that
    16 inaccurate, I'm not suggesting any of these numbers            16 you're drawing I have not connected in my original
    17 are inaccurate. What I'm suggesting is that would be           17 language. So I don't know that any answer I give you
    18 a poor way of calculating the amounts owed to the              18 is going to provide insight into my report because at
    19 union, and you'd get a wrong answer.                           19 this point you're talking about something different.
    20    Q I guess let's just go back to the first                   20 BY MS. McCONNELL:
    21 question, maybe, without looking at these actual               21    Q Okay. Are you able to answer the question?
    22 numbers.                                                       22    A I just did.
    23       Are you aware that the service fee is                    23    Q Okay. I'll come back to it.
    24 taken -- is calculated from distributions payable and          24       On the bottom of page 7, you say, "Without
    25 not distributions paid?                                        25 the unions' data, the number of unclaimed participants

                                                            Page 99                                                        Page 101
     1    A I am aware of that, yes.                                   1 and the amount of unclaimed royalties would be much
     2    Q Okay. Knowing that, would you still say that               2 higher."
     3 the services agreement is a no-risk situation for the           3        What is your support for that proposition?
     4 Fund?                                                           4     A The data that's reported is with the benefit
     5    A Yes.                                                       5 of the union, the union data. If you didn't have the
     6    Q Isn't there a risk that the Fund has                       6 union data, the problems or challenges that the Fund
     7 increasing amounts of distributions payable but fails           7 has would be magnified. So the Fund would either need
     8 to have any meaningful information from the unions              8 to be spending more money or they'd need to -- well,
     9 that allow it to make that distribution?                        9 they'd need to be spending more money, and even then,
    10    A Well, for an individual transaction, there is             10 I'm not sure that they'd get an accurate answer. So
    11 a possibility that the union will not have any                 11 that's really what I'm referring to.
    12 information. The fee is based on the totality of the           12     Q And when you're referring to "unions' data,"
    13 amounts received. So to the extent that you're                 13 are you referring to membership data or session
    14 suggesting that there's -- it is the case where the            14 reports or both?
    15 unions don't report on 100 percent of the amounts              15     A I'm referring to whatever information the
    16 that -- that would need to be paid, that that is               16 unions provide. They generally consist of session
    17 correct, I don't think anybody is doubting that.               17 reports, also known as B-reports.
    18    Q There aren't any benchmarks set forth in the              18        (Reporter clarification.)
    19 services agreement for the unions to meet, are there?          19        THE WITNESS: B, as in boy, so B -- capital
    20        MR. THOMAS: Object to the form, vague.                  20 B, dash, reports.
    21        THE WITNESS: Did you say there were                     21 BY MS. McCONNELL:
    22 benchmarks? I just didn't hear the word.                       22     Q Are you aware that the unions -- well, I
    23 BY MS. McCONNELL:                                              23 guess here, are you referring to membership data,
    24    Q Benchmarks.                                               24 meaning like contact information from the unions as
    25    A Well, the agreement does say what the union               25 well or are you only referring to session reports and




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     1 B-forms?                                                    1 to do once they receive the data from the unions. Are
     2    A I'm referring to whatever the unions want to           2 you aware of the work that they do in that regard?
     3 provide. My understanding is that there are databases       3   MR. THOMAS: Objection; vague.
     4 available where the unions, pursuant to this                4   THE WITNESS: I'm not -- I'm sorry,
     5 agreement, and as a result of having the agreement,     5 Mr. Thomas, go ahead.
     6 have opened up its electronic files to the Fund. And    6       MR. THOMAS: I just objected that it was
     7 so the Fund has information from the unions from those 7 vague.
     8 databases.                                              8       But go ahead.
     9     Q Do you know how a performer, a featured           9       THE WITNESS: I have not studied any of the
    10 performer gets added to the Fund's database to get     10 detailed mechanics of the research personnel. And
    11 paid?                                                  11 whatever information they provided in their earlier
    12       MR. THOMAS: Objection to the form.               12 discovery responses or depositions would be the best
    13       THE WITNESS: I think at this point you're        13 answers. That is not what I've been asked to opine
    14 probably asking me for the logistics of inputting      14 on.
    15 information into the AS -- A400 system, and I would -- 15 BY MS. McCONNELL:
    16 I'm not an expert on that. You should -- well, maybe   16     Q Wouldn't that affect the value of the data if
    17 the fact that depositions are done, but you've had     17 the Fund has to go through it and clean it up and make
    18 plenty of people to ask about that from the Fund       18 sure it's up to date?
    19 representatives.                                       19       MR. THOMAS: Objection; vague, misstates
    20 BY MS. McCONNELL:                                      20 testimony of the fact witnesses.
    21     Q Do you know what --                              21 BY MS. McCONNELL:
    22     A And -- and I wouldn't be able to -- I don't      22     Q You can answer.
    23 do that job so I'm not -- it's not like I'm not trying 23     A Well, I did anticipate that the Fund runs its
    24 to answer it. It's just that I'm not there to do that  24 own systems and would want to put the data they
    25 job. I'm not -- I've not done a study of how           25 obtained from the unions into their own systems so

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     1 something gets inputted into the system. That would         1 that the Fund could make its operation as efficient as
     2 be done by Fund personnel.                                  2 possible. I would be shocked if the union was going
     3    Q Do you know what work Fund personnel does to           3 to give the Fund the data in the precise form that the
     4 update address information and contact information          4 Fund needed it and/or that the union would volunteer
     5 that they receive originally from the unions?               5 to input the information into the Fund's database.
     6    A Yeah, you're asking me for details of                  6       I'd be further shocked, by the way, if -- if
     7 specific steps and mechanics, and I have not gotten         7 the Fund said, oh, sure, go ahead, you know, here's
     8 involved in any of that.                                    8 the keys to the kingdom and we want you at the unions
     9    Q Would that be reflected in any of the cost             9 to be getting direct access to the database that we've
    10 data that you looked at from Ms. Taub?                     10 assembled over the years. So I don't -- I -- I
    11       MR. THOMAS: Object to the form. Calls for            11 would -- I fully understood that there was additional
    12 speculation.                                               12 work that the Fund had to do to use the unions' data.
    13       THE WITNESS: Well, I believe it does. So,            13    Q So I'm not talking about just the mechanical
    14 for example, you know, Ms. Taub said, here -- here's       14 inputting of data. I'm talking about actually going
    15 the cost of my researchers and the researchers are the     15 out and updating the data, meaning if the union
    16 folks that are doing this work. So if you say to the       16 provides an old address for nonfeatured performer Bob,
    17 researchers, you got to do this work without the union     17 the Fund then needs to go and find an updated address
    18 data, besides getting a protest or volt or whatever        18 for nonfeatured performer Bob so they need to undergo
    19 you want to call it from the people who say, well, how     19 additional work to clean up and update the data that's
    20 am I supposed to do my job, and putting that aside,        20 received from the unions.
    21 they would end up working a lot slower and being           21       Wouldn't that have an impact on the value of
    22 hampered in getting their job done.                        22 the data that's received?
    23 BY MS. McCONNELL:                                          23       MR. THOMAS: I'm going to object that that
    24    Q That's not exactly my question. So I'm --             24 misstates the testimony of the fact witnesses and
    25 I'm referring to the cleanup work that the Fund needs      25 lacks foundation.




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     1       THE WITNESS: I don't doubt that these tens                    1     A It is.
     2 of thousands of people, maybe even more than that,                  2     Q Okay. So if the data is not accurate you
     3 that they occasionally move and/or they get                         3 would agree that its value is lower?
     4 successor -- you know, there's updates needed to this.              4     A That's why I wrote it. So if -- if -- if
     5 Some of that information the union may be able to                   5 someone says actor -- or musician Bob was involved and
     6 provide and could be in -- in databases, but if it --               6 musician Bob was really not involved, it was instead a
     7 whether the union provides it or whether the Fund                   7 bunch of other people, then that's a problem. Now,
     8 provides it, there is no question that the Fund has                 8 what we did in the immediately preceding portion of
     9 ongoing communications with the beneficiaries of the                9 this report is describe the inaccuracies that exist
    10 Fund and that I would expect that to occur.                        10 when we try to use data sources other than the unions.
    11 BY MS. McCONNELL:                                                  11     Q Okay. So your support for these five factors
    12    Q Don't you agree that that has an effect on                    12 was the 50-song study. Is that what you're saying?
    13 the value of the information that the union is                     13     A No.
    14 providing in the first instance?                                   14     Q Okay. What is your support for these five
    15       MR. THOMAS: Same objections; lacks                           15 factors?
    16 foundation, overbroad, misstates prior testimony.                  16     A All of the other information that is
    17       THE WITNESS: Here's what I think I'm hearing                 17 contained in this report. In terms of factual
    18 you say. That there's a session report from, I don't               18 background, I would invite your attention to Section 3
    19 know, 1980, let's say, and since 1980 a nonfeatured                19 of the report, which starts on page 2 and goes through
    20 performer moves and the union provides data from 1980              20 page 13. So pages 2 through 13 involve factual
    21 that is nowhere else available, and you're suggesting              21 background that I am referring to in this report.
    22 that that information is not valuable because in 1980              22        I also, in addition, did my own calculation
    23 the union didn't know when performer Bob, to use your              23 in this Section B, which is why I referred you to that
    24 name, was going to move ten years later.                           24 because this particular list happens to be within that
    25       The answer to your question is, no, the data                 25 conclusion B, as in boy.

                                                               Page 107                                                            Page 109
     1 is not less valuable because the union was not                      1    Q How does Table 1, "Royalties received by the
     2 clairvoyant about a move that was going to happen ten               2 Fund," on page 6, support your conclusion that the
     3 years later. I would not expect anyone to have such                 3 information received by the Fund is accurate and
     4 clairvoyance, and I would not modify the price based                4 reliable?
     5 upon not being able to tell the future. None of the                 5    A Oh, I'm not suggesting that that particular
     6 transactions that I value involve telling the future.               6 table relates to that particular subsection of that
     7 BY MS. McCONNELL:                                                   7 paragraph.
     8     Q So let's try an easier hypothetical because                   8    Q Okay. Well, that's what I asked you. I
     9 in yours you conflated session data with membership                 9 said, what is your factual report for accuracy and
    10 data, which are actually two different things, but we              10 reliability, and you directed me to pages 2 through 12
    11 can put that aside.                                                11 of what --
    12       So using your example of the charity that's                  12    A And that was -- and that was a proper
    13 selling its mailing list, that's an easier one, let's              13 response. Now, if you want to go through it on a
    14 say the mailing list is completely wrong, all of the               14 sentence-by-sentence basis, we can do that if -- if
    15 homes on that list have been demolished in a                       15 that's important to you. I'm -- I'd be surprised, but
    16 hurricane. They don't exist anymore. The addresses                 16 I was trying to give you a -- a prompt and quick
    17 are no good. Wouldn't you agree that the value of                  17 answer.
    18 that mailing list is substantially less than before                18    Q Yeah, I'm just trying to use common sense.
    19 the hurricane?                                                     19 And so I'm asking you how Table 1 applies to your
    20     A I would invite your attention to page 19 of                  20 conclusion that the data is accurate and reliable, and
    21 my report in which -- at which point I describe                    21 I don't think it does, based on my common sense. But
    22 attributes of data and how that data could be worth                22 if you disagree with me, let me know.
    23 more or less depending on the data itself.                         23    A Okay. I'm not going to argue with you. I
    24     Q So one of -- your number one is accuracy,                    24 realize you just threw down the gauntlet and said, I
    25 right?                                                             25 don't have common sense, but you do have common sense,




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     1 and that my answers weren't any good and that they                 1 that matter and because of her work history she's
     2 were silly and -- I'm not going to argue about that.               2 aware of that. And she and I -- she indicated that,
     3 So what is your next question?                                     3 and -- and I -- it was consistent with what I would
     4     Q Okay. This will be good.                                     4 have expected.
     5       Let's look at section -- Section D, which is                 5    Q Okay. So she told you that the approximate
     6 on page 8. Heading is "The Union's involvement in                  6 one-third market share of labels are also signatories
     7 sound recordings."                                                 7 to the unions' collective bargaining agreements?
     8       Are you there?                                               8     A Wait, wait. Hold on. That's --
     9     A Yes, ma'am.                                                  9       MR. THOMAS: Objection; misstates the
    10     Q Okay. You say, "The major record labels are                 10 testimony and the document.
    11 all signatories to the unions' collective bargaining              11       THE WITNESS: Yeah, that -- that misstates
    12 agreements and report record information regarding                12 what I just told you. It misstates this document.
    13 both union and nonunion performers who performed at               13       And so, no, she did not tell me that.
    14 such recording sessions. The following chart shows                14 BY MS. McCONNELL:
    15 the three largest record labels (Sony Music                       15     Q Okay. So the document says, "Because some of
    16 Entertainment, Warner MUSIC Group and Universal Music             16 the other labels (the remaining approximate one-third
    17 Group) who together have around a two-thirds market               17 market share) also are signatories to the unions'
    18 share."                                                           18 collective bargaining agreement, it is clear that the
    19       The footnote here 6 takes us to this                        19 unions' data is more complete than any other source."
    20 statista.com article, which is behind a paywall; is               20       And I'm asking you, which portion of the
    21 that right?                                                       21 remaining one-third market share are signatories to
    22     A It is.                                                      22 the unions' collective bargaining agreements?
    23     Q Were you able to actually access the data                   23     A I have not accumulated that.
    24 that was behind the paywall?                                      24     Q Okay. So what is it that Ms. Taub told you
    25     A If I needed to, certainly.                                  25 that made you confident enough to include this in your

                                                              Page 111                                                      Page 113
     1     Q Did you?                                                     1 report?
     2     A No, I didn't need to here.                       2     A Okay. I'm -- I'm trying to understand where
     3     Q Okay. What -- as used in the description in      3 you're coming from. And the best I can come up with
     4 the quote that you have here, what does market share 4 is that the quarrel with that sentence is that I
     5 mean? Market share of what?                            5 should have repeated the word "some" a second time in
     6     A It's the same information that's being           6 the sentence and that having failed to do so, there's
     7 reported here by this third party. It deals with       7 been some terrible wrong that's occurred. And I'll
     8 music publishing in the United States.                 8 apologize for that.
     9     Q So it's referring to the market share of all     9       I am not suggesting that one hundred percent
    10 songs published in the United States?                 10 of the remaining third are union signatories. I'm
    11     A According to this third party, yes.             11 suggesting that some amount, more than zero, would be.
    12     Q You note that, "Because some of the other       12 I do not know how large that amount is; however, my
    13 labels (the remaining approximate one-third market    13 starting point is two-thirds. So even if my -- the
    14 share) are signatories to the unions' collective      14 remaining one-third was zero, which is really what
    15 bargaining agreement, it is clear that the unions'    15 this sentence is saying, the remaining one-third is
    16 data is more complete than any other source."         16 going to have some, some, not all, some, you're going
    17        Can you name some of the other labels that     17 to increase the two-thirds.
    18 are union signatories that belong to that one-third?  18       But even if you don't increase the starting
    19     A Well, I've not endeavored to do that. Could     19 point of two-thirds, it is clear that the unions' data
    20 I, I suppose I could, sure.                           20 is more complete than any other source. And I don't
    21     Q How do you know that they are signatories to 21 know what the problem with that is other than
    22 the unions' collective bargaining agreements?         22 quarreling with the fact that I probably should have
    23     A Well, the unions endeavor to become -- to get 23 repeated the word "some" in that sentence.
    24 as many signatories to their collective agreements as 24     Q Let's talk about the two-thirds, then.
    25 possible. I did speak specifically with Ms. Taub on   25       Are you aware that Sony Music, Warner Music



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     1 and Universal Music are record companies that are made        1 majority." Well, hold on. Maybe I didn't -- maybe I
     2 up of several hundred smaller labels?                         2 probably misunderstood your question. Would someone
     3     A I am.                                                   3 like to repeat the question?
     4     Q Okay. I'm going to list a few record labels             4    Q I can -- I can take out "vast majority" if
     5 that are part of those larger distributors, and I want        5 you like, I can say.
     6 you to tell me if you know if they're a signatory to          6       Do you agree, then, that the unions don't
     7 the union collective bargaining agreements or not,            7 have information for 76 percent of nonmembers?
     8 okay.                                                         8     A No.
     9       What about Interscope Records, are they a               9     Q Why not?
    10 signatory?                                                   10     A That -- that would clearly be a poor
    11     A I have not studied each of the labels within           11 interpretation of Table 5.
    12 those groups. I highly suspect that Interscope is.           12     Q Okay. Why?
    13 However, I -- I -- I'm not providing testimony               13     A Well, because you can see that even for the
    14 regarding the level of detail that you're providing.         14 union members there's certain members that you can't
    15 That is not in the report and does not need to be in         15 send information out. So this could be, for example,
    16 the report.                                                  16 a situation of moving and -- and keeping up with
    17     Q Do you know what percentage or what fraction           17 contacts.
    18 of the two-thirds market share labels are union              18       But in any event, if -- if -- look, I'll try
    19 signatories?                                                 19 to help you along. I'm not trying to be quarrelsome
    20     A I'm suggesting that they probably -- probably          20 in terms of characterizing it.
    21 the vast majority are, but in any event, you could get       21       It is clear that the unions have better data
    22 to the two-thirds through other data that is contained       22 on the union members than the nonunion members. The
    23 in this report. So even if this paragraph wasn't             23 unions have some information regarding the nonunion
    24 here, it would not really change anything that's here        24 members, but the quality or the completeness of the
    25 because we've got other information that is being used       25 information for nonunion members diminishes when

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     1 for the only time when this information becomes               1 you're dealing with nonunion members and the starting
     2 relevant in the report.                                       2 point being the union databases.
     3    Q And by that I think you're also referring to       3       I don't know that there's any quarrel about
     4 Table 5; is that correct, on page 9?                    4 that.
     5    A Table 5 would be one spot, yes. I'm -- I'm         5       MS. McCONNELL: Okay. Why don't we take a
     6 not saying it's the only spot, but we have information  6 break and come back. Do you want to take a lunch
     7 regarding union and nonunion elsewhere.                 7 break or do you want to go for a little bit longer?
     8    Q If we look at Table 5 -- I just want to            8       THE REPORTER: Do you want to go off the
     9 confirm that I understand the chart -- are you saying   9 record to discuss that?
    10 that 24 percent of nonunion members' checks are cashed 10       THE VIDEOGRAPHER: We are now going off the
    11 as opposed to 67 percent of union members?             11 record, and the time is 12:05 p.m.
    12    A That is the data that's been provided to me       12       (Lunch recess.)
    13 as well as to you.                                     13       THE VIDEOGRAPHER: We are now going back on
    14    Q Okay. Do you know why it is that the              14 the record, and the time is 12:44 p.m.
    15 nonunion members' cashed number is much lower than the 15 BY MS. McCONNELL:
    16 union members' cashed number?                          16    Q Okay. Mr. Nolte, did you devise the -- did
    17    A Yes.                                              17 you devise the 50-song study?
    18    Q Why?                                              18       MR. THOMAS: Objection; vague.
    19    A Because of the challenge in finding contact       19       THE WITNESS: I don't know what you mean by
    20 information and other information necessary before one 20 "devise."
    21 can lawfully cut a check in the United States.         21 BY MS. McCONNELL:
    22    Q Do you agree, then, what the unions don't         22    Q Did you set the parameters of the 50-song
    23 have that information for the vast majority of         23 study?
    24 nonmembers?                                            24    A By parameters, what I have in mind is the
    25    A Well, I'm not sure how you get to "the vast       25 sample size of 50. Is that what you're asking about?




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     1     Q We can start there.                                   1     Q Okay. What are the consequences of having a
     2     A I did not set the sample size of 50.                  2 poor sample selection?
     3     Q Okay. Did you provide any input on any other          3     A Well, I don't know what "poor" is so I -- so
     4 starting points for the study, including what -- what       4 I'm afraid I can't answer the question without knowing
     5 general group of titles to pull the 50 songs from?          5 what "poor" is. I could substitute my own definition
     6     A No.                                                   6 of "poor," but I don't know what you have in mind.
     7     Q Okay.                                                 7     Q What are the consequences of having a not
     8     A Well, and the no -- well, hold on a minute.           8 statistically significant sample selection?
     9 Your -- your question was compound. So the part that        9     A Then you cannot draw statistical inferences
    10 I was answering was the last half of your question,        10 expressed in terms of precisions and confidence
    11 not the first half. So I -- let me say the same thing      11 levels.
    12 a different way.                                           12     Q What are the consequences of having a sample
    13        I was not involved with the sample selection.       13 that is not representative of the whole?
    14 That would be a more precise way of answering what I       14     A Well, then -- then you would have what's
    15 was intending just a second ago.                           15 commonly called a sample error and so the
    16     Q How -- generally speaking, how would you             16 conclusions -- which, by the way, can happen even if
    17 design a statistical study?                                17 you got a statistically valid sample. In other words,
    18     A How would I?                                         18 you follow the rules you -- you could have a sample
    19     Q Yes.                                                 19 error, and the -- the effect of having a sample error
    20        MR. THOMAS: Objection; overbroad, vague,            20 is that your conclusions expressed in terms of
    21 outside the scope.                                         21 inferential statistics are incorrect.
    22        THE WITNESS: If -- and -- and the sentence          22     Q In your opinion, is it important for a sample
    23 starts with "if," so you may not need to do this, but      23 to be representative of the larger dataset from which
    24 if one decided that they needed to follow the rules of     24 it's drawn?
    25 inferential statistics, then one would need to have a      25     A Yes.
                                                       Page 119                                                        Page 121
     1 random sample and the sample size of that random            1     Q And is it important, in your opinion, to
     2 sample would be a function of the confidence level,         2 obtain a random sample?
     3 the precision intervals, and the variance within the        3     A A random sample is a requirement of -- of --
     4 population. And that would mathematically tell you          4 of any -- following any of the requirements of
     5 what the sample size needed to be so that you could         5 inferential statistics. So if you're going to express
     6 express conclusions using the science of inferential        6 your conclusions in a manner consistent with
     7 statistics.                                                 7 inferential statistics the sample must be randomly
     8 BY MS. McCONNELL:                                           8 selected.
     9     Q Is it correct that when you first set out to          9     Q Is it possible to have a sample that is
    10 do a statistical study you need to identify a              10 representative if it is not random?
    11 hypothesis?                                                11    A Yes.
    12     A Okay. I mean, yeah, you need to know what            12    Q How? How is it possible?
    13 you're testing, otherwise -- you're right, I mean,         13    A How?
    14 I'm -- I'm presuming that that's understood.               14    Q Uh-huh.
    15     Q Okay. Do you collect data and identify a             15    A Okay. Well, I'm -- I'm looking at my screen
    16 sample subset?                                             16 and in my screen I got four people and then a whole
    17     A You do use a sample which I think you're             17 bunch of people that aren't shown. But you're shown.
    18 calling a sample subset. So sure, a sample is a            18 Mr. Thomas is shown. The reporter is shown. And I'm
    19 subset of the entire population.                           19 shown. There's nothing random about those four
    20     Q What are the principles of sample selection?         20 observations.
    21     A Perhaps I haven't -- well, I probably don't          21       And by the way, it's also a pretty small
    22 understand your question. But I -- but I would refer       22 sample size. It's only four. Nevertheless, there are
    23 you to the earlier answer I gave you in terms of how       23 two women and two men. And so if we were to look at
    24 one would go about designing a -- a test if you wanted     24 this sample of -- nonrandom sample of four people and
    25 to follow inferential statistic requirements.              25 say, hey, what do you think the population of men




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     1 versus women are in the world, I'd say -- looking at         1 I -- you know, we were quarreling about, you know, my
     2 this, I'd say, well, it looks like 50/50.                    2 luck example with the four people that are on my
     3       Now, there's nothing random about it.                  3 screen. But let's say instead I say let's do a test.
     4 There's nothing proper about the sample size, but I          4    We want to figure out how many fingers each
     5 arrived at an absolutely correct answer.     And that's  5 human has. And so I say, okay, everyone put up their
     6 an example that I just did off the top of my head that   6 fingers and we'll count them and I haven't seen your
     7 illustrates what you were asking.                        7 fingers yet so I don't know what the answers are, but
     8     Q So is it just by luck, then, that it's             8 I can tell you I have ten fingers and I'm willing to
     9 representative if it's not random?                       9 wager that the other three people I was describing
    10     A No. No. It might be -- my example was             10 have ten fingers. So then I've got four observations
    11 probably luck. But when you look at the manner that 11 of ten fingers. And I would say, well, based on that,
    12 this -- the 50-title item was -- was selected, I would  12 I will extrapolate that humans have ten fingers.
    13 not say it was luck. I would say -- well, I would not 13          Now, there's nothing following inferential
    14 attribute it to luck.                                   14 statistics, but I don't think anybody is going to
    15     Q Okay. Generally speaking, is it accurate to       15 doubt the conclusion that humans have ten fingers.
    16 say that sample selection is important to ensure that   16 And that's an example of what -- how you could do that
    17 data is usable for the intended purpose?                17 without using inferential statistics.
    18     A If you're going to want to express your           18     Q Who devised the 50-song study?
    19 conclusions inferentially, then, yes. I -- I have not   19     A You said who devised it?
    20 drawn any conclusions using the tools of inferential    20     Q I did.
    21 statistics so in that sense the answer would be no.     21     A That assumes that there was a single person
    22 I'm not quarreling with the fact that someone might     22 that devised it so I -- I -- the Fund was certainly
    23 have done a sample in a different way, but that does 23 involved in coming up with that, and I'm sure they
    24 not mean that what you proposed a second ago is         24 would say I had some input.
    25 correct.                                                25     Q What input did you have?
                                                        Page 123                                                           Page 125
     1    Q You're talking specifically about the 50-song           1     A I had a conversation with Jenner & Block and
     2 sample again, I'm assuming. But if you're saying that        2 Fund representatives about what information the Fund
     3 you didn't use inferential statistics to come to your        3 had regarding what happens when they don't use the
     4 conclusions how are you confident that the 50-song           4 union data. And they -- this is my characterization.
     5 sample is representative?                                    5 I'm not trying to put words in anyone's mouth.
     6    A I've not -- I've not reached any conclusion             6       But the impression I got back was, golly,
     7 regarding it being representative. The Fund made the         7 that's an awful stupid question, why would we ever
     8 sample. The Fund indicated that in their mind it was         8 waste our time trying to figure out the impact of data
     9 random and in their mind it was sufficiently large to        9 that we know to be valuable and that we use every day
    10 accomplish its purpose. And so I did my work with the       10 of the week.
    11 results of that sample.                                     11       I said, well, because -- and I answered and
    12    Q Are you able to extrapolate results on the             12 said, well, that's because that's what the plaintiff
    13 larger track list based on the 50-song sample?              13 thinks you should be doing. They think either the
    14    A One can extrapolate it. You will lose the              14 union should be giving away the data for free or you
    15 opportunity to do so with the precision and confidence      15 should not be using it. And those are the two options
    16 parameter. So I've -- I've not expressed anything           16 that I think the -- the plaintiff is proposing.
    17 with the precision and confidence level because of          17       And my question is, have you ever really
    18 what you just mentioned. But, yeah, you certainly can       18 contemplated that, that as a possibility, and they
    19 extrapolate it, yes. You -- you don't need -- you           19 said, no, we just told you that was a stupid question.
    20 don't need to use inferential statistics to do an           20 I said, well, okay, but that's the stupid question
    21 extrapolation.                                              21 that the plaintiffs are asking so maybe we should try
    22    Q Why not?                                               22 to answer their question.
    23    A It's definitionally you don't. I mean, look,           23       And so they went off and did the 50-sample
    24 look, look, look. Let me give you an example.               24 test and it was -- I suspect I was the cause of it
    25       Let's say we go back -- and this is not luck.         25 initially, although they are the ones that -- that




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     1 initially did the sample and -- and did the work              1       If you were going to create an inferential
     2 because that's of course what they do for a living.           2 statistics study of these songs, how would you go
     3 And then they gave it back to me and I did the work           3 about doing that?
     4 that's reported in my report.                                 4
                                                                     A I would do the things that I described in
     5       So when you say who devised it, I did some of     5 response to the very first question on this line of
     6 the calculations at the end. And -- and I think I was   6 questioning where I described inferential statistics
     7 probably the guy who caused the thing to come up to     7 and how one goes about it.
     8 begin with and they were the ones that implemented the 8      Q Would you look to a single year or multiple
     9 research because they of course have the researchers    9 years?
    10 on staff and I don't research this and couldn't do it  10     A I have to give that some thought. What --
    11 near as fast as they can.                              11 you probably -- there's more than one acceptable way
    12    Q You are aware that there's several instances      12 of doing that. You could, for example, look at
    13 where the unions don't have session reports for tracks 13 payments in a -- in a particular year and then for
    14 and the Fund needs to do all the research by           14 purposes of reporting errors, go back and look at
    15 themselves, right?                                     15 life-to-death information. And there'd be nothing
    16    A I think what you're asking me is, is it true      16 improper about that.
    17 that the 100 percent of the nonfeatured performers are 17        You -- you could also look at a database that
    18 not covered by session reports and -- I think that's   18 has everything from the beginning of time and use that
    19 what you're asking me. And I think everybody's         19 as your starting point. So I'm not sure it's an
    20 acknowledged that that's the case.                     20 either/or situation. The question is whether whatever
    21    Q Okay. I don't need to know that it's true.        21 group you're using from which you select your samples,
    22 I don't need you to answer whether it's true or not    22 is that representative of the problem you're trying to
    23 because I know that it's true.                         23 solve.
    24       So my question to you is, were you aware of      24     Q Would it be more accurate to look at a
    25 the fact that the unions don't have session reports    25 sampling of songs over multiple years?

                                                          Page 127                                                         Page 129
     1 for all the nonfeatured performers that the Fund needs        1    A Not necessarily. It depends what you were
     2 to pay?                                                       2 trying to solve. So let's say, for example, that what
     3    A I'm sure it's in my report somewhere if --               3 you were saying, as -- as the plaintiff has said,
     4 if -- that -- that's a basic starting point for much          4 that, well, on a going-forward basis this -- this past
     5 of this dispute. So I -- I'm sure I could find                5 information is not as important as it used to be, so
     6 something in the report that says just that. But,             6 we -- we think that it's more important to look at it
     7 yes, I'm -- I was aware of that.                        7 on a going-forward basis. And plaintiff has certainly
     8     Q Were you consulted at all in the methodology      8 said that. Then if that were the case, then there'd
     9 of the study?                                           9 be reason to look at more recent data in making your
    10     A Well, I was not consulted on how to research.    10 sample.
    11 The folks at the Fund are very confident they know how 11     Q Can you think of any advantages to using only
    12 to research, and they did not ask me any questions     12 one year of data?
    13 about how to research.                                 13     A I just gave you an advantage.
    14     Q If you were going to create an ideal             14     Q You talked about --
    15 inferential statistic study of these songs, how would  15     A So I guess the answer's, yes, I just answered
    16 you go about doing that?                               16 that question.
    17       MR. THOMAS: Object to the form.                  17     Q Weren't you answering the question based on
    18       THE WITNESS: Well, you said "ideal." The         18 recent years. I said how about one year.
    19 whole point of inferential statistics is to not do     19     A Okay. You can substitute one year for recent
    20 something ideal. That's the -- so when you say ideal   20 years.
    21 inferential statistics, it's kind of like, well --     21     Q Okay. Footnote 12 on page 11 of your report,
    22 BY MS. McCONNELL:                                      22 you write, "The Fund's selection process started with
    23     Q Okay. Let me try it again.                       23 a list of 5,992 titles that had distributions in 2020
    24     A We're not communicating.                         24 and had Union session reports. Starting approximately
    25     Q Thank you.                                       25 halfway through this list, the largest fifty of the




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     1 next one hundred sequential titles were selected."         1     Q Okay. So what was done, then, by the Fund?
     2        So to start from, the Fund started with a           2     A The Fund did what this footnote 12 says.
     3 list of tracks that all had session reports from the       3     Q Okay. How was the list of 5,992 songs
     4 unions, right?                                             4 ordered?
     5     A That's what it says.                                 5     A My understanding, and it's not written here
     6     Q Do you know what the total amount of tracks          6 so I -- my recollection could be wrong, but my
     7 in the pool was that was whittled down to the 5,992?       7 understanding is that it was ordered by size so that
     8     A I -- I'm -- I don't understand your question.        8 the biggest item was first and the smallest item was
     9 If you're saying that if you went to the beginning of      9 second and so from the vantage point of the person
    10 time would you get a larger collection, the answer is     10 that was doing this, they wanted songs that were kind
    11 most certainly.                                           11 of typical. And typical meant halfway in the middle.
    12     Q Thank you.                                          12 And so that's how whoever decided to do this did that.
    13        Do you know what that number is?                   13     Q So what do you mean when you say "size"?
    14     A No.                                                 14 Size, the number of performers?
    15     Q Okay.                                               15     A In other words, the -- the titles with the
    16     A Although you could probably infer it. But           16 largest -- they were ordered -- the titles were
    17 the answer is, no, I don't know.                          17 ordered by dollar amounts of -- of -- hold on, I'm
    18     Q Okay. Is it the 136,000 number that was in          18 sorry, there's something happening here that -- I'm
    19 that interrogatory response that we looked at earlier?    19 sorry, excuse me.
    20     A It could be. That -- I mean, those --               20        THE WITNESS: I -- I apologize but there's a
    21 those -- those are titles and, similarly, the titles      21 problem that just arose. Can we take even just a
    22 in footnote 12 are -- they're both expressed in terms     22 minute?
    23 of titles.                                                23        MS. McCONNELL: Sure. We'll just wait here.
    24     Q Why didn't the Fund use the entire pool of          24        THE WITNESS: Yeah, I -- my apologies. This
    25 titles to determine which tracks were researched using    25 is not --

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     1 union data as opposed to other sources?                    1        THE VIDEOGRAPHER: Should we go off the
     2    A I'm sorry, someone's going to need to reread          2 record, Counsel?
     3 that question. Or let me give you a better answer. I       3        MS. McCONNELL: Sure.
     4 can give you an answer.                                    4        THE VIDEOGRAPHER: We are now going off the
     5       You're asking me some -- about someone else's        5 record, and the time is 1:06 p.m.
     6 state of mind, as I understand this question, so upon      6        (Recess.)
     7 reflection, even though I do not understand your           7        THE VIDEOGRAPHER: We are now going back on
     8 question and would need to have it reread, the answer      8 the record, and the time is 1:08 p.m.
     9 to the question, what is the Fund's state of mind, is,     9 BY MS. McCONNELL:
    10 I don't know because I'm not the Fund.                    10     Q Okay. Before we took our break, I asked you
    11     Q Well, you were consulted to do the sample,          11 what did you mean when you said size, and then I don't
    12 weren't you?                                              12 think you had finished your answer.
    13     A Yes, as I described before.                         13     A Okay. My understanding is that the Fund
    14     Q Right. Okay. So I'm asking you why didn't           14 obtained a -- a printout by title that was ordered by
    15 you use the entire pool of songs distributed in 2020      15 royalties to be distributed to nonfeatured performers.
    16 as opposed to whittling it down to 5,992 before then      16 So that the largest title obtaining -- was listed
    17 doing another sample of just 50?                          17 first. I say largest, the largest in terms of the
    18     A Well, first of all, I don't think your              18 dollars to be distributed was first, and the smallest
    19 question summarizes accurately what was done, but --      19 to be distributed was last.
    20 but the answer, ultimately, to your question is, you      20        I -- I don't actually have that report, but
    21 said why didn't you, and "you" I think refers to David    21 that was my understanding of what was being described.
    22 Nolte. So why didn't David Nolte do -- and then fill      22 And so the folks who made the sample wanted something
    23 in whatever your question.                                23 that was typical and so they went roughly to the
    24       And the answer is, David Nolte didn't do that       24 middle of the list.
    25 so you're asking the wrong fellow.                        25     Q Was it your suggestion to order the list



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     1 based on size?                                                     1 not accused anybody of lying and so when they said
     2     A I made no such suggestion.                                   2 that the -- they took everything that met their --
     3     Q Okay. And I think I might have asked you                     3 their sample parameters, I did not require that I --
     4 this. Forgive me.                                                  4 I -- I start from scratch.
     5       Do you know what fraction of the whole 5,992                 5 BY MS. McCONNELL:
     6 songs represent?                                                   6    Q Honestly, I don't know what you're even
     7       MR. THOMAS: Objection to the form.                           7 referring to about lying because I said nothing about
     8       THE WITNESS: Well, my understanding is that                  8 lying and I'm -- and now you're saying, "I did not
     9 the whole is the 5,992, so, in other words, they --                9 require that I start from scratch." So are you saying
    10 for whatever parameters that were identified they said            10 now that you did a different sample than the Fund?
    11 give us all of these. And that's what the starting                11 What do you mean when you're saying, "I did not
    12 point of the list was. So perhaps I don't understand              12 require that I start from scratch"?
    13 your question.                                                    13    A I'm sorry if I misunderstood your question.
    14 BY MS. McCONNELL:                                                 14 But I understood your question to say there's 6,000
    15     Q Yeah. Isn't the whole the total number of                   15 that they -- the Fund used but the real number's not
    16 tracks that were distributed on in 2020?                          16 6,000, the real number is whatever -- and then I said,
    17     A I -- I understood this to be a recent year.                 17 well, okay, I don't know where these new numbers come
    18 It was probably 2020, but I -- I couldn't even tell               18 from, but if someone's lying and there really wasn't
    19 you that.                                                         19 6,000, then under your hypothetical question that the
    20     Q Okay. Isn't the whole the total number of                   20 real number is more than twice what the Fund
    21 tracks that were distributed on in the year that they             21 representatives told me, then they must be lying.
    22 were using?                                                       22    Q No.
    23     A Where they had unions reports, yes. They --                 23    A I didn't -- you're right, I didn't make that
    24 they were -- see, the -- the whole idea was to figure             24 assumption. I didn't test it and -- and I didn't
    25 out what would happen with and without union session              25 catch them in a lie, if that's what you're accusing

                                                              Page 135                                                             Page 137
     1 reports. So given that definition of the problem, you              1 them of.
     2 had to further limit it to -- to titles with -- with               2     Q Yeah, we're obviously talking past each
     3 session reports.                                                   3 other. That's okay.
     4    Q Are you able to assume that the 5,992 songs                   4        Is the utility of this sample data to
     5 were representative of the total songs distributed in              5 determine what would happen with or without session
     6 that year?                                                         6 reports?
     7    A Are you asking me am I able to make that                      7     A That is what's being tested, yes.
     8 assumption?                                                        8     Q Okay. So in order -- and was it the point to
     9    Q Yes.                                                          9 extrapolate from this sample how it would work for the
    10    A I make no assumptions.                                       10 entire track list of songs in a given year?
    11    Q To determine what would happen with or                       11     A Yes, there's an extrapolation being done.
    12 without union session reports, would it matter if the             12     Q Okay. So isn't it important, then, to know
    13 5,992 is out of 10,000 tracks versus 30,000 tracks?               13 how many songs were distributed in that given year?
    14       MR. THOMAS: Objection; vague.                               14     A No, because it's being expressed as a
    15       THE WITNESS: I -- I maybe don't understand                  15 percentage. So if it's being expressed as a
    16 your question. But here -- here's what I think you're             16 percentage you could apply, or extrapolate, to use the
    17 asking me.                                                        17 word you were using, the percentage to a larger group
    18       The Fund reports roughly 6,000. It's 8 shy                  18 and it's still -- the percentage doesn't change.
    19 of 6,000. So there's 6,000 titles. And you're                     19     Q Okay. So what percentage of the total group
    20 saying, no, they're liars, it really wasn't 6,000, it             20 is 5,992?
    21 should have been some other number but I don't -- you             21     A 100 percent of whatever they were selecting
    22 gave two numbers in your question.                                22 from.
    23       If the Fund folks who were doing this are                   23     Q Okay. But how does that answer my question?
    24 lying, well, then, I would not condone lying, and then            24 What percentage of the total group of songs
    25 I would -- I'd want to know more about it. But I've               25 distributed in that year is 5,992?




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     1    A I don't have the number. Effectively what               1 included a current period, which was the -- the basis
     2 you're asking me is, is what -- well, how many               2 for initially looking at this, and then they had a
     3 nonunion -- or -- or how many tracks do not have union       3 life-to-death or origin-to-current period, or what --
     4 session reports, and the answer is, I don't know. I          4 however they labeled it, field. And within the 100
     5 could --                                                     5 they selected another field that had the largest life
     6     Q Okay --                                                6 to death. And that was their selection process.
     7     A I could -- I could ask based on the other              7       Now, again, I wasn't doing this, and I wasn't
     8 information that's in here, but I don't -- I don't           8 directing it either. I was -- I was told about it
     9 have that precise figure that I think you're seeking.        9 after it was done.
    10     Q What was the significance of starting, quote,         10    Q Okay. And you don't know why the year was
    11 approximately halfway down that list?                       11 limited to only 2020, right?
    12     A That was the explanation that was provided to         12    A You used the word "know" and so the answer
    13 me. I gave you at least on two prior answers the            13 is, I -- I do not know that because I wasn't the one
    14 rationale that was expressed that I understood it to        14 doing it.
    15 be. But I wasn't the one who did that.                      15    Q Right. You were told about it after it was
    16     Q Then the footnote, same footnote 12, says             16 done?
    17 that they used, quote, "The largest 50 of the next          17     A I'm sorry?
    18 100." And does largest mean dollar value, dollar            18     Q You said you were told about it after it was
    19 amount of distributions?                                    19 done, right?
    20     A Correct. So my -- look, and I apologize if            20     A Correct. The -- the sample was created and
    21 it wasn't well expressed. But my understanding was          21 the research was done and then I was told about the
    22 that this starting point was some current period of         22 results.
    23 distribution and the report had a year-to-date or a         23     Q Okay. Do you happen to know approximately
    24 life-to-date amount on it. And -- and that -- that          24 how many songs in that 50-song sample were by country
    25 may have been a function of -- of available data in         25 artists?

                                                        Page 139                                                           Page 141
     1 the database.                                                1     A So as a genre of music, country?
     2        I mean, frequently -- you know, we want to            2     Q Yes.
     3 work in an ideal world where everything is available         3     A I could not tell you.
     4 to us and it simply isn't. So using -- oftentimes            4     Q Do you know what percentage of overall --
     5 using current periods gets you a -- a more desirable         5 strike that.
     6 or a more accurate answer simply because of the              6        Do you know what percentage of tracks that
     7 constraints of the data.                                     7 the Fund pays are country tracks?
     8        But in any event, my understanding is that            8     A I could not tell you.
     9 the report that was run included life-to-death               9     Q Okay. Do you know whether the number of
    10 amounts, and so they were able to pick the larger of        10 country songs in the 50-song sample are under or
    11 those within the -- the sample, if you wish, the --         11 overweighted?
    12 the first sample.                                           12     A I have not done anything to address that.
    13    Q Okay. So if the -- if the 5,992 was                    13 I -- I know there's some that aren't country, but, you
    14 originally ordered in terms of largest to smallest, as      14 know, if you are telling me there's a
    15 you described, and then you go halfway down and then        15 disproportionately high country, I -- I haven't looked
    16 you pick the next 50, why does the note again say           16 at that.
    17 picking the largest 50 of the next 100? Wouldn't it         17     Q Okay. Are you aware of testimony in this
    18 necessarily be numbers 51 to 100 because the list was       18 case from Julie Sandell where she said that Nashville
    19 ordered by largest to smallest to begin with?               19 tracks skew heavily union?
    20    A Well, first of all, you really are asking the          20     A Yes. In fact, I may have even quoted that in
    21 wrong person. I -- I was not doing this, and I've           21 my report. But she said Nashville and I believe it
    22 told you that in response to probably every single          22 was Los Angeles as well are more lovely union.
    23 question. But I can give you my understanding.              23     Q She said that in her estimation 95 percent of
    24        My understanding is that there were the data         24 tracks from Nashville were recorded in union sessions.
    25 reported in this document or file, whatever it was,         25        Does that sound familiar?



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     1     A I don't recall the 95 percent, but, you know,               1 spreadsheet. And so as a result there was some things
     2 if you tell me that was the number -- she -- she                  2 that did not crossfoot. In other words, the -- the
     3 clearly said that -- that union penetration varies by             3 sum of the columns for musicians and vocalists did not
     4 location. And as I recall, she identified Nashville               4 foot the total. And I said, well, come on, you know,
     5 and Los Angeles as being more heavily union than                  5 what's going on here, how come they don't crossfoot.
     6 others locations.                                                 6 And it was because of the existence of this I'll call
     7     Q Okay. If the sample size overrepresented                    7 it third category of people involved that were doing
     8 Nashville tracks, wouldn't it overrepresent the role              8 both. And so the spreadsheet was changed to add that
     9 of union data?                                                    9 information and then it did -- and then it
    10     A Well, it's not possible to overweight the                  10 crossfooted.
    11 union data because the whole point of the test is to             11    Q Okay. So you didn't exclude those songs from
    12 evaluate the impact of having the union data versus              12 the sample, you just added another column?
    13 not having union data. Now, if you're starting                   13    A We added another column so that we had data
    14 without union data, then there's no point of --                  14 that crossfooted. And you can see that in the -- in
    15 there's no comparison that's possible.                           15 the summary tables as well as in my Exhibit 2.
    16       So you absolutely are weighting or -- or                   16    Q Okay. Why you did you need to calculate an
    17 drawing your sample from union tracks. That is --                17 error rate?
    18 that is a requirement of what's being tested.                    18    A Well, I wanted to to give some context to the
    19     Q Right. Because your 5,992 titles to start                  19 problem that existed and -- because otherwise it
    20 with are ones that have union session reports to begin           20 was -- even with a sample of 50, which I appreciate,
    21 with, right?                                                     21 you know, maybe you say it's too small, but even with
    22    A They have to have union session reports, yes.               22 50 you get kind of lost in the detail so I needed to
    23       MS. McCONNELL: Nico, maybe you can pull up                 23 provide some summary. And I did that in my Section B,
    24 the invoice again, on the fourth invoice, task                   24 as in boy, of -- of my conclusions.
    25 number 3, please.                                                25    Q Let's start with, what is an error rate?
                                                             Page 143                                                             Page 145
     1     Q So on this invoice that we previously looked                1     A It's just what those English words would --
     2 at, this is Nolte page 4, it says, "Fund provided a               2 would mean. It's a mistake or something you don't
     3 new version of the 50-song sample; rechecked Fulcrum's            3 want and a rate expressed as a percentage or amount.
     4 analysis to ensure there were no changes to the                   4     Q How do you calculate an error rate?
     5 underlying data that would alter the earlier                      5     A You could do it either as a percentage or an
     6 conclusion."                                                      6 amount.
     7       What was the new version of the 50-song                     7     Q But I mean, how -- what process do you go
     8 sample?                                                           8 through to calculate either the percentage or the
     9     A I'm having trouble reading. I'm just going                  9 amount?
    10 to go to a different copy so that I can read it.                 10     A You figure out how much it's wrong by and you
    11     Q Sure.                                                      11 can compare it to a total, which is exactly what I've
    12        I guess better stated, is Exhibit 2 to your               12 done here.
    13 report the new version?                                          13     Q Okay. So an error rate of 60 percent, is
    14     A Yes.                                                       14 that high in your experience?
    15     Q Okay. What --                                              15     A It's unacceptable. It's not just high. If
    16     A Yeah, I'm -- I'm having trouble finding the                16 you're doing audit testing and someone says, oh, you
    17 bill. But, look, I -- I can probably do it without               17 know, don't worry about that, it's only 60 percent
    18 looking at the bill.                                             18 error rate, you know, that doesn't pass the straight
    19        My -- my Exhibit 2 to my report is based on               19 test. Look, you can't have 60 percent error rates.
    20 the new version. You want to know what the old                   20 That -- that -- that just means you're -- it's a joke
    21 version was; is that the question?                               21 and -- and so you need to do better, way better than a
    22     Q Yes. What's the old version?                               22 60 percent error rate.
    23     A In the initial version, there are some                     23       So, yes, a 60 percent error rate is -- is
    24 artists that are both instrumentalists and vocalists             24 unacceptably high.
    25 and that did not get reflected on the original                   25     Q Do you know what the Fund researchers were



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     1 consulting when they limited themselves from not                1 useful in -- or it has information involving this
     2 looking at union data?                                          2 amount of royalties and -- and participants.
     3    A It is recorded in the detail spreadsheets. I               3     Q Did you ask the Fund to collect that database
     4 give you references to that in my report. But if you            4 summary that's referred to in footnote 10?
     5 wanted to see it -- that's why I gave you the                   5     A I appreciate that's a simple question. It
     6 references. So you could actually see what they were            6 might frustrate you that I'm not giving you a
     7 look at.                                                        7 yes-or-no answer.
     8     Q Did you look into whether there was an error              8         The -- I had a -- multiple conversations with
     9 rate even when the Fund researchers were looking at             9 Fund representatives and I was seeking information
    10 union data?                                                    10 regarding union versus not -- nonunion data and I was
    11     A There were no examples of that found. That's             11 asking for information that would provide insights in
    12 reported in my -- in my report. So the union data was          12 that regard. In that sense I did ask for it.
    13 never found to be unreliable.                                  13         Now, at the same time, they were responding
    14     Q Okay. Do you know if the Fund researchers                14 to your discovery, written discovery, and so there was
    15 who were taking part in this study did anything to             15 some things where people said, well, that's kind of
    16 check to see if the union data was reliable or not?            16 like what the plaintiffs want for this, or, it's, oh,
    17     A Well, the details that are contained in that             17 that's kind of like what was in the Blondell
    18 spreadsheet specifically identify that so that is one          18 litigation and we think we can get this, that or the
    19 of the fields that had to be completed and they did            19 next thing and would that be useful. And I said,
    20 complete it. I had a conversation with Fund                    20 sure, go ahead and give it to me if useful to -- for
    21 representatives after this was done and -- and that            21 whatever the issue, you know, the table has to be
    22 was again confirmed. So it's -- it was both in my              22 produced.
    23 conversations, but it's also contained in the written          23         So I did ask for this data but it doesn't
    24 document.                                                      24 necessarily make that my idea. It could have been
    25     Q Did any of the Fund researchers share with               25 your idea through written discovery. It could have

                                                           Page 147                                                          Page 149
     1 you that in the total pool of tracks there are errors           1 been the -- the idea of the Blondell litigation or it
     2 that are made even when using union data?                       2 could have been the idea of someone else on the board
     3    A I -- look, I highlighted in a footnote that,               3 or whatever that thought they wanted this information.
     4 you know, no data source is infallible. And that                4 I was -- basically I was asking a bunch of questions
     5 infallibility -- something does not have to be                  5 and the Fund was giving back to me the information
     6 infallible to be valuable. So I don't doubt for a               6 that they thought they had that was reliable.
     7 minute that in any information gathering process that           7     Q Okay. So you don't know one way or another
     8 a mistake is made. This is still done by humans. Can            8 if this spreadsheet was created because you asked the
     9 it be done by computers, computers can make mistakes            9 question or not?
    10 because the programs can make mistakes.                        10     A Well, they may have assembled it for that --
    11       But -- so it's -- but, no, no one has told me            11 the short answer is, I don't know. I -- I got these
    12 that the union data is unreliable or should not be             12 pieces of information, they were produced with
    13 used or had any meaningful error rate to them.                 13 production numbers on them and I've reported them
    14    Q On page 10 of your report, Table 6, you have              14 here.
    15 heading -- well, most of your headings in this chart           15     Q Okay.
    16 have some variation of "supported by union data" or            16     A I'm not telling you I had nothing to do with
    17 "not supported by union data."                                 17 it, but I also don't want to claim credit that it was
    18        As used here, what does "supported by union             18 my idea or -- or my invention.
    19 data" mean?                                                    19     Q We didn't get it until it was produced with
    20    A It means I'm summarizing the information                  20 your report which is why I'm asking you these
    21 that's on a production number that is in footnote 10.          21 questions. I'm really not trying to trick you. I'm
    22 So whatever is intended by that document is what I'm           22 just trying to figure out why it wasn't produced to us
    23 intending.                                                     23 in discovery beforehand. But that's okay.
    24        My understanding is that it's just what those           24     A Well, it -- maybe I'm -- maybe I deserve more
    25 English words are saying, that the union data is               25 credit than -- than I'm giving myself. I don't know.




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     1 I'm just telling you that the -- the information               1 know the distinction between this document with the
     2 gathering was an evolving process and I got the                2 production number and this other field.
     3 information that's summarized in this section of my            3         But I -- I do know that the error, the piece
     4 report.                                                        4 of the data that was unreliable was that the union
     5     Q Do you know if -- well, strike that.                     5 data was significantly underreported. And so -- which
     6       You mentioned the Fund's AS400 system. Do                6 means that the two bolded numbers on Table 6, assuming
     7 you know how the AS400 system tracks whether or not a          7 we're even starting with the same thing, are similarly
     8 participant allocation is supported by union data or           8 underreported.
     9 not?                                                           9    Q When it says "union data," are you talking
    10     A I understand there's a field in that database           10 about session report data, contact information or
    11 that exists but is not reliable. And -- and...                11 both?
    12     Q Yeah.                                                   12    A I'm talking about what's -- what is on this
    13     A So I mean, I -- I know there's been                     13 production number. It -- it's a piece of information
    14 discussion on that topic. But generally I'm not               14 that the Fund gave me.
    15 familiar with the detailed workings of that database.         15    Q Yeah, again, this is the first time we got
    16     Q Okay. And I think that testimony was from               16 this production number, is through you, so I have no
    17 Ms. Taub's 30(b)(6) deposition where she said that the        17 one else to ask these questions of, unfortunately, but
    18 AS400 system does have that field but it's not                18 you.
    19 reliable. Is that what you were referring to?                 19         So do you know one way or another whether the
    20     A She certainly told me the same thing outside            20 spreadsheet that was DEFS42028 is including
    21 of the deposition.                                            21 information from B-form session reports, contact info
    22     Q Okay. If the report was made, if -- if the              22 or both?
    23 report that's attached -- strike that.                        23    A I couldn't tell you.
    24       If the report that's referenced in                      24    Q Okay. On page 13 of your report -- okay.
    25 footnote 10 is created from unreliable data, doesn't          25     If you look at, I'm sorry, page 14 under A,
                                                          Page 151                                                             Page 153
     1 that make your Table Number 6 unreliable?                      1 you say, "Numerous businesses are based on the
     2     A Given -- given your "if" statement, sure.                2 accepted axiom that information is valuable and can be
     3 You're -- you basically said if -- if -- if Table 6 is         3 sold in market-based transactions."
     4 unreliable, isn't Table 6 unreliable?    The answer is,  4        What do you mean here when you say
     5 sure, it is. I -- it's -- I don't know how this was      5 "market-based"?
     6 created.                                                 6    A I'm referring to transactions that are not
     7    Q Okay.                                               7 between related parties.
     8    A But I -- I did get the information, and it          8    Q Okay. And the basis --
     9 provides the information that -- that's shown here.      9    A Let me express it another way. I'm using it
    10        The -- the unreliability, however, was that      10 the same way an appraiser would. An appraiser looks
    11 the union involvement or the union data was being       11 for market transactions in which to base an opinion
    12 significantly understated. So to the extent that        12 regarding fair market value. And so I'm adopting or
    13 Table 6 is impacted by this unreliable field, assuming 13 using the lingo of an appraiser.
    14 we're even talking about the same field, and I'm not    14    Q Okay. The businesses that you surveyed in
    15 sure we are, but if we were then all of these numbers 15 this section, including Facebook, Google, FICO, these
    16 for the unions should, in fact, be higher and which     16 are companies that are engaged in market competition;
    17 would kind of be going the wrong direction from the 17 is that correct?
    18 position the plaintiffs wish to advocate here.          18    A Well, if you want to look at the Justice
    19    Q Is that information based on something that        19 Department, they're probably not subject to enough
    20 Ms. Taub told you?                                      20 market competition, but I -- I -- I don't know if that
    21    A No. I'm just telling you that -- that I'm          21 really answers the question.
    22 just responding to your "if" questions. I was given     22        I would -- they're clearly for-profit
    23 this information. I'm not sure how it was compiled.     23 enterprises; whether they are monopolists and
    24 I do know that there was this other piece of data that 24 operating as monopolists is, I guess, a -- for someone
    25 Ms. Taub described as being unreliable, and I don't     25 else's litigation.




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     1    Q Would you agree that market competition is              1     Q Are you under the impression that the unions
     2 important for market-based transactions?                     2 have a monopoly over the session report data?
     3        MR. THOMAS: Objection; vague.                         3         MR. THOMAS: Object to the form.
     4        THE WITNESS: The whole notion of a market             4         THE WITNESS: I've not made that assumption.
     5 suggests that -- that there are buyers and sellers for       5 It -- it could be that -- that some of the recording
     6 whatever the good or service is. I don't know if             6 studios may have that data. The question is whether
     7 that's answering your question or not.                       7 they've kept it or whether they want to participate in
     8 BY MS. McCONNELL:                                            8 it. But I'm not aware of any other source. So
     9     Q It does.                                               9 they -- they might -- well, I guess the answer is,
    10        Other than the Fund, what is the market for          10 I -- I don't know whether anybody else has a copy of
    11 union data?                                                 11 some of them. But my understanding is, and what I've
    12     A Well, there's not much of a market, which is          12 reported in my report, is that the unions have the
    13 why this whole study and dispute exists. If there was       13 most complete collection and the most long-lasting
    14 a readily available market, then probably I wouldn't        14 collection available.
    15 have had an assignment and you wouldn't have a              15 BY MS. McCONNELL:
    16 lawsuit.                                                    16     Q Have you researched whether the record labels
    17     Q So who else are the unions selling this data          17 have a complete collection of this data?
    18 to?                                                         18     A The testimony in this matter is that they do
    19     A No one.                                               19 not have such data available and that the most
    20     Q Okay. So they're not competing with anyone            20 complete and available collection is from the unions.
    21 else for the sale of the data?                              21 And that's what the percipient testimony's been, which
    22        MR. THOMAS: Objection to form.                       22 I've read.
    23        THE WITNESS: Yeah, I'm not -- when you say           23     Q Do you recall who testified that way?
    24 they're not competing for -- it's their data so             24     A Boy, I think everybody did. I don't think
    25 they're not competing for their own data. But perhaps       25 anybody said otherwise. I mean, I didn't compile

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     1 I misunderstood your question.                               1 that, but it seemed to be a common theme between all
     2 BY MS. McCONNELL:                                            2 the union representatives and all the Fund
     3    Q Are there any other willing buyers for the              3 representatives. I don't think anybody said
     4 unions' data?                                                4 otherwise.
     5    A Oh, I'm sure if the union wanted to sell it,            5     Q Did you look at Dennis Dreith's testimony?
     6 oh, they -- I don't doubt for a minute that they could       6 It's on your list.
     7 sell their contact list. They've simply chosen not to        7     A I'm sorry -- Dennis Dreith -- oh, I'm sorry,
     8 do so, you know, and I'm not disagreeing with that.          8 I misunderstood. I've got some background noise.
     9 But the fact that they have not sold it does not mean        9 It's a busy day at my house today.
    10 that there's not a demand for it.                           10       Yes, I did look at his testimony, and it's
    11     Q Why have they chosen to sell it to the Fund?          11 included in the list on paragraph 5 on page 2.
    12     A Well, you're ask -- you're probably asking            12     Q Okay. Didn't he testify that there were
    13 the wrong person. I mean, I could -- my understanding       13 other sources of this data?
    14 is that the union, consistent with some of the              14      A I don't recall that, no.
    15 positions the plaintiff has taken, is aware of the          15      Q Okay.
    16 fact that it would behoove the unions and the union         16      A And if I'm wrong then -- then so be it. But,
    17 members to have this information available to the           17 no, I don't -- that's not my recollection.
    18 Fund, and therefore, they are making an exception to        18      Q Okay. Do you -- are you under the impression
    19 provide the information to the Fund because they --         19 that the data collected by the unions has intellectual
    20 the unions sees their purpose and the Fund's purpose        20 property protection?
    21 to be somewhat aligned.                                     21        MR. THOMAS: Object to the form. Vague.
    22       But I say that not because I'm a percipient           22        THE WITNESS: Well, yeah, I'm not sure I know
    23 witness or a member of the boards of unions or can          23 what you're referring to. It -- it's not -- look,
    24 read anybody's mind. You should really ask them why         24 I'll just go through the types of intellectual
    25 they did it.                                                25 property and -- and --




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     1 BY MS. McCONNELL:                                            1 with an algorithm and lookup table, the mechanics of
     2     Q Yeah.                                                  2 that are beyond my technical desire.
     3     A -- maybe that will answer your question. But           3    Q You mentioned that the unions don't share the
     4 I'm not suggesting that it's copyrighted. It's not --        4 data with anyone else. Are you aware that the unions
     5 I'm not suggesting it's patented, and I'm not                5 share the data with the pension funds?
     6 suggesting it's trademarked.                                 6       MR. THOMAS: Objection; I think it misstates
     7        Whether it constitutes a trade secret, I              7 his prior testimony.
     8 guess I'll let the lawyers argue. But it is                  8       But you can answer.
     9 confidential and not being shared with others and by         9       THE WITNESS: Well, there's at least once,
    10 virtue of that limited availability, the information        10 probably multiple times, when I specifically identify
    11 has value.                                                  11 that. So when -- this is not a revelation that is not
    12     Q Do you know how Facebook's data is protected?         12 already in my report.
    13 Meaning, do you know if Facebook's data has                 13       Now, it doesn't bother me at all that in
    14 intellectual property protections?                          14 connection with the payroll obligation the unions give
    15        MR. THOMAS: Objection; overbroad, vague.             15 to the pension plans the beneficiaries of the amounts
    16        THE WITNESS: Yeah, you're going quickly have         16 that the unions have collected for those -- those same
    17 me start expressing legal opinions, which I'm not           17 beneficiaries. I mean, it -- that would be an
    18 intending on doing, but my understanding is that            18 absolute requirement. And I identify that in my
    19 there's a specific federal act that involves                19 report.
    20 computerized data that I suspect Facebook would             20 BY MS. McCONNELL:
    21 suggest gives that data protection if someone were to       21     Q You mentioned that the data is given from the
    22 steal it.                                                   22 unions to the pension funds pursuant to collective
    23        Now, additionally, I'm sure Facebook has             23 bargaining. Do you know what the unions receive in
    24 internal policies, procedures with anybody having           24 return for the provision of the data?
    25 access to that data in which Facebook explains and          25     A They are fulfilling their mission to keep
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     1 gets written acknowledgments that -- that someone            1 their members employed and have retirement benefits.
     2 can't go out and start releasing this stuff. I mean,         2 What they receive is the member dues that -- and --
     3 that's how most companies deal with proprietary              3 and the member's permission to run those retirement
     4 information that's internal to their organization. I         4 plans.
     5 don't know that Facebook does that but I'd be shocked        5     Q Okay. I'll leave that one alone.
     6 if they didn't.                                              6        Do you think -- I think you answered this.
     7 BY MS. McCONNELL:                                            7        Do you think that the session reports are
     8     Q Are you --                                             8 eligible for patent protection? I think you said no,
     9     A So in that sense there's -- yeah, there is             9 right?
    10 some intellectual property protection.                      10     A I'm not expressing any legal opinions, but
    11     Q Are you aware that Facebook's algorithms are          11 I -- I would not expect them to be a patented item,
    12 patented?                                                   12 no.
    13     A Well, algorithms are different than the data.         13     Q Would you need to assume that they are a
    14 I -- I don't doubt for a second that they're --             14 patented item to use the Georgia-Pacific factors in
    15 they're either patents or copyrights on their               15 this case?
    16 software. That -- that I'd -- I'd be surprised if           16     A No.
    17 they weren't.                                               17     Q Why not? Let's start there.
    18     Q Are you under the impression that Facebook            18     A I would invite your attention to the
    19 sells their data or are you under the impression that       19 introductory paragraph to conclusion C, as in cat,
    20 Facebook gives access to others to their algorithms?        20 where this entire Georgia-Pacific analysis exists. In
    21     A You know, I'm not familiar with the mechanics         21 this introductory paragraph I observe what your
    22 of how they -- they do it. I -- I do know that the          22 question just asked and explain why it is that I'm
    23 business model allows them to collect fees for running      23 using the Georgia-Pacific factors.
    24 sponsored ads. I am pretty sure that Facebook               24     Q You say it's because its "used by analysts to
    25 controls that, but, you know, I -- whether it's done        25 address reasonable royalties with other forms of




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     1 intellectual property," right?                                1 appraiser say that that was a bad idea.
     2     A I do say that, yes.                                     2     Q Was it your idea to apply the Georgia-Pacific
     3     Q Okay. So are you saying that the session                3 factors to the facts of this case?
     4 reports fall under that umbrella of other forms of            4    A Yes.
     5 intellectual property?                                        5    Q And why did it make sense to you to apply
     6     A I'm not sure I know what you're referring to.           6 Georgia-Pacific to this case that doesn't involve
     7 Look, this information has value. If you want to              7 patents or intellectual property patent infringement?
     8 debate that, that's a different series of questions,          8    A I would invite your attention to the first
     9 but I don't think that's what you're asking here.             9 paragraph which introduces Section C. I already
    10       The value is for property that is                      10 referred you to that paragraph, and I believe the
    11 intellectual. It is not physical, right, it's not            11 answer remains unchanged.
    12 like a desk or a chair. So I'm valuing intellectual          12    Q And that is?
    13 property and I'm using Georgia-Pacific in order to           13    A What's in that paragraph.
    14 gain insights because that landmark case has been used       14    Q What is that?
    15 on a wide range of intellectual property matters             15    A Would you like me to read it?
    16 extending past patents, which was its initial purpose        16    Q I'd like you to answer the question,
    17 or point.                                                    17 actually.
    18     Q Okay. So you -- you're aware of courts that            18    A I just have. I've answered it now at least
    19 have used the Georgia-Pacific factors on other forms         19 three times. I'm happy to read it to you if you'd
    20 of intellectual property?                                    20 like me to.
    21     A I don't have any case cites. I -- I expect             21    Q Is it because you think that a reasonable
    22 there are. I can tell you that analysts such as              22 royalty rate can be crafted by using the
    23 myself will do that. And it's -- it's just a                 23 Georgia-Pacific factors?
    24 methodology.                                                 24    A I would not agree with that even in a patent
    25       I don't know what any courts have said that            25 context. A reasonable royalty rate can be crafted.

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     1 it's required and so I don't have any opinions or             1 I'm going to avoid the argument argument that's
     2 decisions for you that says it's required. But I -- I         2 contained in that word, but it could be crafted by
     3 myself and a wide range of other people have done it          3 using sound appraisal practices and principles. The
     4 and no one seems to complain that -- or state that            4 Georgia-Pacific case provides considerations that
     5 Georgia-Pacific factors are irrelevant to other forms         5 should be used in those appraisal practices and
     6 of intellectual property.                                     6 principles.
     7    Q Okay. Even -- even if other courts haven't               7     Q Why do you use the word "royalties" in that
     8 said it's required, have you seen or read other courts        8 first paragraph that you've drawn my attention to
     9 utilize the Georgia-Pacific factors for other forms of        9 three times?
    10 intellectual property?                                       10     A Because this service fee, to use the term
    11    A I am an appraiser. I am not a lawyer. I                 11 that the plaintiffs like to use, is in substance a
    12 formulate opinions based on appraisal standards. And         12 royalty. It's a royalty for use of information.
    13 I follow methodologies that are generally accepted by        13        MS. McCONNELL: Okay. Why don't we take a
    14 others in my field. So I do not look for court               14 quick five- to ten-minute break and then come back.
    15 decisions as the foundation for why something should         15        THE WITNESS: Is it -- is it five minutes or
    16 be done. I instead look to economic principles and           16 ten minutes?
    17 general acceptance within the field that I practice.         17        MS. McCONNELL: Let's say five.
    18     Q In your field of practice which has included           18        THE VIDEOGRAPHER: Okay. We are now going
    19 litigation consulting for many years, have you been          19 off the record. The time is 2:00 p.m.
    20 involved with or read about a case, nonpatent case           20        (Recess.)
    21 which used the Georgia-Pacific factors?                      21        THE VIDEOGRAPHER: We are now going back on
    22     A I've already told you, and I will repeat,              22 the record, and the time is 2:10 p.m.
    23 that I and others, and the others include opposing           23 BY MS. McCONNELL:
    24 witnesses, have used the Georgia-Pacific factors and I       24     Q Okay. I want to look at some of your
    25 don't think I've ever heard anyone who's a competent         25 analysis of the Georgia-Pacific factors which start on




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     1 page 21 of your report.                                    1    Q And then if you can look at factor 12 on
     2       For factor number 2, "The rates paid by the          2 page 25.
     3 licensee for use of other similar [intellectual            3       "The portion of the profit or selling price
     4 property]."                                                4 that is customary in the particular business or in
     5       You note that the Fund has no similar                5 comparable businesses."
     6 licenses or agreements, right?                             6       What are we looking for here typically in a
     7     A Yes, ma'am.                                          7 patent case or in other cases?
     8     Q Okay. So we don't have an example of other           8    A Well, this could apply to any sort of
     9 rates paid by the Fund for similar intellectual            9 property. What it basically says is if there's a
    10 property, right?                                          10 general understanding among industry participants that
    11     A Correct.                                            11 there's an industry rate, then -- then we can do that.
    12     Q Okay. On factor number 3, "The nature and           12 You don't see industry rates very often, although when
    13 scope of the license, such as whether it is exclusive     13 Georgia-Pacific first came out they -- they were more
    14 or nonexclusive, restricted or nonrestricted in terms     14 popular.
    15 of territory or customers."                               15       But if someone said, for example, and this
    16       Does the service agreement have any language        16 would be more like in a -- in a copyright or trademark
    17 related to whether -- well, A, whether it's a license,    17 situation, well, everybody in this industry pays
    18 and, B, whether it's exclusive or nonexclusive?           18 5 percent for this, and you say why 5 percent, well,
    19     A Well, the service agreement, as I recall,           19 that's because there's been so many 5 percent, nobody
    20 does not describe it as a license. I'm doing that         20 gets more 95 percent, so too bad, it's 5 percent.
    21 because of what I told you before, which is the           21       And if you have that sort of mentality within
    22 economic substance of it is a royalty for the license     22 an industry then this factor 12 would become
    23 of information.                                           23 controlling. But you see that less and less.
    24       And as for it being exclusive or                    24    Q And in this case you're not aware of any
    25 nonexclusive, I -- I don't think the union is             25 industry standard rates that are applicable?

                                                      Page 167                                                          Page 169
     1 prevented from giving the information to others.    So     1   A Agreed. That's what it says.
     2 in that sense it's -- it's a nonexclusive arrangement      2   Q Okay. Can you -- are you able to give an
     3 even if the union chooses not to license the data to    3 estimate of how many other cases you've used the
     4 others.                                                 4 Georgia-Pacific factors in?
     5     Q Would you agree that the services agreement       5      A I've used the Georgia-Pacific factors in
     6 is silent on exclusivity?                               6 every case involving a reasonable royalty on patents.
     7     A Okay. We can -- we can express it that way.       7 No exceptions. I've used reasonable --
     8     Q Great.                                            8 Georgia-Pacific -- well, let me back up a second.
     9        Factor 4. "The licensor's policy of              9        When -- when the question is a royalty rate,
    10 maintaining its [intellectual property] monopoly by    10 and it oftentimes is not, but if I've got a non-patent
    11 licensing the use of the [intellectual property] only  11 case where the remedy is a reasonable royalty, I
    12 under special conditions designed to preserve the      12 hesitate to say it's a hundred percent, but it's -- if
    13 monopoly."                                             13 it's not a hundred percent it's pretty close. But
    14        How are you able to apply that factor to this   14 again, I would only do that when the desired
    15 case?                                                  15 conclusion is expressed as a reasonable royalty rate.
    16     A Well, I will agree that some of these factors    16      Q Do you know how many cases you've used
    17 translate better than others when you get outside of a 17 Georgia-Pacific where patent law claims were not at
    18 patent context. This particular factor is focused on   18 issue?
    19 patents and translates and works better with patents. 19       A Well, boy, the answer -- I guess one answer
    20 Nevertheless, I've -- I've answered the question       20 would be no. Usually what happens on -- on like
    21 because I didn't want to, you know, say, well, I'm not 21 trademark cases, or even copyright cases, you end up
    22 going to worry about that one or...                    22 with lost profits or disgorgement as the primary
    23        So I -- I endeavored to go through all          23 remedy and so you -- you know, I've done hundreds of
    24 factors even if some, as this one is, is less directly 24 those cases. And you don't normally see reasonable
    25 applicable to non-patent property.                     25 royalty as -- as the -- as the remedy, the monetary




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     1 remedy that's being sought.                                  1 And -- and that's true across the board.
     2       So I can't tell you how many of those                  2     Q Which -- which companies, starting on page 14
     3 hundreds have expressed them as reasonable royalty but       3 of your report, charge percentages based on usage?
     4 I'm pretty sure that may be a hundred percent of them        4     A Well, I've already told you it really doesn't
     5 when they're expressed in that manner I've used              5 matter too much whether you do it as a percentage.
     6 Georgia-Pacific. I don't have a number of what that          6 I'm expressing it as a percentage here because that's
     7 is other than it's probably all of them.                     7 the way the agreement was crafted.
     8    Q You mentioned that you use Georgia-Pacific              8        But in any event, I'll be happy to go through
     9 when the desired conclusion is expressed as a                9 this and give you my -- my reactions.
    10 reasonable royalty rate. Wouldn't you agree that            10        The mailing list industry is not expressed as
    11 there are other alternatives for compensation for the       11 a percentage because the mailing list industry does --
    12 unions instead of what you call a royalty rate?             12 does not wish to risk share with their licensee. So
    13    A I probably don't understand your question.             13 this is an example of where the risk -- they're --
    14 But, for example, plaintiffs' contention is that it's       14 risk sharing's just the opposite of what happens here.
    15 for free and so I guess for free means you don't need       15        And the mailing list gets paid a flat fee for
    16 a royalty rate or anything else. So --                      16 a given size list so you could express that this --
    17    Q Couldn't it be --                                      17 the fee is at per unit or as a flat fee. But
    18    A -- I'd have to agree -- I'm sorry?                     18 generally, if it's a bigger list, it's going to get
    19    Q Couldn't it be a flat fee?                             19 more money so the per unit fee is going to be more
    20    A You can express royalties as a flat fee.               20 sensible.
    21 They're not as common, particularly with things that        21     Q Can I cut you off and go to number 2, I'm
    22 have proven their value. But if -- I've -- I've done        22 sorry, because you mentioned risk sharing, and I'm
    23 royalty valuations where it's been expressed as a flat      23 wondering what is the risk sharing that you were
    24 fee.                                                        24 describing in terms of the mailing list industry?
    25    Q Could you have a subscription fee model                25     A Well, the -- the mailing list industry says
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     1 instead of a royalty rate percentage?                        1 we're not going to charge you less if you don't
     2    A Well, depends on what the -- how the                    2 generate sales, it's your problem to generate sales,
     3 subscription fee is expressed, but I think what you're       3 so we're going to charge you an amount of money and we
     4 saying is that if you could say, well, we're going to        4 get the money whether you're successful or not.
     5 charge X cents per amount received per artist, or --         5     Q Okay. Sorry, I cut you off. You were going
     6 or per track, because that's how SoundExchange reports       6 to give more examples?
     7 it, I suppose you could do that.                             7     A Okay. Well, the next one is Google and
     8        You can express royalties in any form you             8 Facebook. Google, you know, I'm not familiar with --
     9 want, whether it's a flat fee, a per unit amount or          9 with the details of their pricing, and they're
    10 percentage amount. But ultimately the economics are         10 probably evolving, but most of what Google does, I
    11 all the same. Well, you know what, I -- they're not         11 believe, is on a -- a per impression basis. So you
    12 all the same. The risk sharing is different if you're       12 get paid for X number of impressions.
    13 dealing with a flat fee. But if you're dealing with         13       I -- I'm not telling you that Google doesn't
    14 a -- a per unit versus a percentage, you -- you get a       14 have other means of contracting. We probably could
    15 kind of -- you could end up in the same direction.          15 read about that in their annual report.
    16     Q Do any of the for-profit businesses that you          16       Facebook I'm guessing is the same way, but
    17 described in your report use a percentage-based             17 again, I'm not -- it's not important -- I'm trying to
    18 royalty rate?                                               18 answer your question, but it's not important to my
    19     A Well, some of them don't describe it as a             19 conclusions. But whatever the answer is you could
    20 royalty, but clearly there are some fees being paid as      20 probably get from the annual report.
    21 a percentage. I -- I would say all of them are based        21       Fair Isaac's has a -- as I understand it, a
    22 on quantity of some sort, so whether they express them      22 number of -- of license arrangements, but it's -- it's
    23 as a percentage, there's no question that the use of        23 all going to be based on -- on usage. So if -- if
    24 intellectual property or the fee for the use of             24 you're running more reports, you're going to charge --
    25 intellectual property increases as the usage goes up.       25 get charged for money. And I just don't know how




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     1 their contracts are expressed. But again, I'm sure               1 been too quick on that. When you said "rejected," I
     2 that you -- you could probably read a paragraph in the           2 thought I knew what you meant and maybe I didn't.
     3 annual report if that was of primary significance to             3 Maybe I was just too quick.
     4 you. It, by the way, was not a primary significance              4       When you said "rejected," what I interpreted
     5 to me.                                                           5 that question to be was, was it not allowed by the
     6        Nielsen runs most of their contracts unique               6 Court to be presented as admissible evidence. Is that
     7 to a -- a user. So if you contact Nielsen, they want             7 what you meant?
     8 to know what are you going to use it for and who are             8     Q Either you were not allowed to testify
     9 you and how many reports are you going to get and then           9 because the Court found that Georgia-Pacific did not
    10 they give you pricing. Again, though, it's based on             10 apply or the Court said Georgia-Pacific did not apply?
    11 anticipated usage and who you are.                              11     A None of those circumstances arose.
    12     Q It's not based on the profits that you are                12     Q Okay. We've said it a few times, but you --
    13 anticipating to get from usage?                                 13 you compared the provision of data to the Fund to a
    14     A Oh, yeah, absolutely. One of the things                   14 license, correct?
    15 that's interesting about all of these is that none of           15     A Yes.
    16 them do the -- the people who -- who are getting the            16     Q Is there a term for the license?
    17 fee, you know, are -- are they changing the fee based           17       MR. THOMAS: Object to the form.
    18 on, you know, whether you're successful or not. So --           18       THE WITNESS: I -- I'm not aware of a term as
    19 and -- and -- and that's -- that's the -- the genesis           19 I think you're -- you're typically reporting it. I
    20 of the comment that I've got later in the report.               20 think the parties are anticipating that the agreement
    21        So Google doesn't say we're only going to                21 will continue until it's amended.
    22 charge you if you're successful in making a sale. We            22 BY MS. McCONNELL:
    23 give you the impression, you pay for it, whether you            23     Q Okay. If the Fund terminated the services
    24 can make a sale or not is your problem. And the same            24 agreement, does the Fund have an obligation to return
    25 thing's true I think for pretty much all of these.              25 the data that it has received from the unions?

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     1       Nielsen, for example, you know, doesn't talk               1     A You know what, I'm going to leave that for
     2 to you about whether the ad is -- is effective or not.           2 the next plaintiff and defendant on that lawsuit. I
     3 They simply tell you how many viewers there are.                 3 mean, it -- it -- it would almost certainly be a -- a
     4     Q Right.                                                     4 lawsuit. I don't think you can grab someone's
     5     A So the -- the credit union -- I'm sorry, the               5 information, use it into perpetuity, and say, oh, by
     6 credit reporting folks, again, they -- they have                 6 the way, we're -- you know, we're not going to pay you
     7 different ways of coming up with contracts. I was not            7 anymore.
     8 summarizing that. I'm sure it's in their publicly                8       But if -- if -- if someone says that that's
     9 traded items, but I'm -- I'm quite sure that it's a              9 the poor drafting of an agreement, then that's fine,
    10 function of -- of volume.                                       10 I'll leave that for the next lawsuit.
    11       LexisNexis, which is effectively number 6, is             11     Q Okay. So if -- if someone says that the
    12 a usage-based service, by and large. If you have a              12 provision of the data was actually a sale of data and
    13 very large law firm or very large user, you can come            13 now the Fund owns the session reports that were
    14 up with a flat fee for the year, but then it's subject          14 transmitted to it, then you would say they don't have
    15 to renegotiation every year based on the -- the usage           15 an obligation to return it?
    16 again.                                                          16     A Oh, I -- no, hold it. I -- I didn't say
    17       The title companies in number 7 are actually              17 that. Well, look, first of all, I think -- I think
    18 percentage-based. The larger transactions get higher            18 ultimately you're asking me to interpret a contract.
    19 fees. And that's just the way that industry works.              19 And I'm not doing that.
    20       So now I've run through the companies. I --               20       What I'm doing is saying what is a reasonable
    21 I hope that was helpful to you.                                 21 fee for what's been provided. And what I'm telling
    22     Q It was. Thank you.                                        22 you is a reasonable -- the 3 percent that the parties
    23       Has your application of the Georgia-Pacific               23 came up with is a reasonable fee for a continued
    24 factors been rejected in any case?                              24 relationship.
    25     A No. Well, hold on, you know what, I may have              25       Now, if the Fund is able to say we're going



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     1 to keep your data and not have to pay you because              1 word "royalty," we can put in the word "service fee,"
     2 there was an oopsy somewhere, and we're going to hold          2 if that's the only thing that's differentiating the
     3 you to that oopsy, even though that clearly was not            3 parties. I'm not sure it's going to change anything.
     4 the intentions of the parties, that does not change my         4       I'm -- I'm simply describing it as -- as a
     5 conclusion.                                                    5 royalty and as a license because that is the language
     6       The conclusion under that set was someone                6 of business that is typically used for this type of
     7 meaning the Fund is taking advantage of an oopsy by            7 transaction. If you or the other parties or the Court
     8 the part of the unions. And -- and the fact that --            8 decide that they don't want to use that language, I
     9 that something -- something may be an oopsy does not           9 don't think -- I'm quite sure it doesn't matter.
    10 change its economic value. So my conclusions are not          10    Q When you use a patent without a license you
    11 oriented to what is legally permissible under a               11 can be sued for infringement, right?
    12 contract. It is instead what is a reasonable value in         12    A You can.
    13 consideration for what's been exchanged between the           13    Q And that's the same for copyright and
    14 parties.                                                      14 trademark?
    15    Q Haven't you interpreted the contract by                  15    A You can.
    16 calling it a license?                                         16    Q So no matter how you come into possession of
    17    A No.                                                      17 those assets you can be restricted by law for using
    18    Q There's nowhere in the contract that says                18 them without permission, right?
    19 that it's a license, right?                                   19    A That's correct.
    20    A I don't have to call it a license. Look,                 20    Q And that's why you need to license the asset?
    21 I'm -- I'm simply saying that there is methodologies          21 So that you don't get sued?
    22 available for coming up with an economic answer or a          22    A Well, maybe that's the way a lawyer would
    23 valuation conclusion and -- and we can look at that by        23 express it. But that's not how I would express it. I
    24 realizing that this is expressed as a percentage.             24 would express it that if you owned someone else's
    25        I don't know that you would change the answer          25 property you should pay fair value for it. And -- and

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     1 at all if someone said, I'm going to give a ruling             1 not because you're going to get sued, but because it's
     2 that says the word "license" has to be omitted from            2 the right thing to do.   But whatever. If -- if -- if
     3 Nolte's report. It's just a ruling, says "redacted."           3 you know, if -- if your reason is that don't have to
     4 Nolte can call it something else, but he can't call it         4 do the right thing, you just have to do what's not --
     5 a license. He can call it a kibitzer bong. So we're            5 what you have to do to not get sued, then, okay.
     6 going to call -- you can't call it a license, he can           6
                                                                     Q Here we go.
     7 call it whatever he wants, if it's a kibitizer bong,           7 Okay. If the Fund found the unions' data by
     8 fine.                                                   8 the side of the road, would any similar restrictions
     9        I think I could rewrite the report, take out     9 apply?
    10 the word "license," insert the word "kibitzer bong"    10     A I don't know what you mean by "similar," but
    11 and I'm not sure any conclusions are going to be       11 I would tell you this. If something is a secret, it's
    12 changing because my conclusions are economically       12 someone's personal private property, and they find it
    13 based, not based upon on a legal interpretation of the 13 by the side of the road, and they don't have the right
    14 word "license."                                        14 to use it, it should be returned.
    15     Q Doesn't it need to be a license for you to       15        Now, this may get back to, oh, well, I can
    16 say that the unions are entitled to a royalty for use  16 use I and not get sued, it's like, okay, fine, if
    17 of it?                                                 17 that's the way you want to conduct your life, that's
    18     A Again, you know, I -- I've done numerous         18 fine. But I'm telling you that if you use someone's
    19 assignments where I've looked at the reasonableness of 19 property and you don't own it and don't have
    20 royalties. I've -- and I'm -- I'm -- that's how these  20 permission to use it the right thing to do is return
    21 types of agreements are oftentimes expressed.          21 it.
    22        But if someone says, no, no, no, you can't      22     Q If the person who owns the property hasn't
    23 call it a royalty, it has to be a service fee, if you  23 done anything to protect it and they've left it on the
    24 don't call it a service fee, then it can't be right.   24 side of the road or they've posted it on Reddit,
    25 Fine. Run through the report, we can take out the      25 wouldn't you agree that there is no protection for




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     1 that data and the person can use it without feeling         1 Q Data?
     2 any sort of moral sadness or feeling like they're           2 A -- that you might want to consume.
     3 going to be sued?                                       3     Q Data?
     4      A Well, being sued and feeling moral sadness       4     A What's that?
     5 are two different things.                               5     Q Including data?
     6      Q I know. That's why I said "or."                  6     A You know, I've already told you that the use
     7      A But in any event, I do understand that as        7 of the world "royalty" was not important to me. If
     8 a -- as a legal requirement that someone seeking trade  8 you wanted to call this a subscription and so we have
     9 secret protection has to make efforts to keep it a      9 a subscription fee of 3 percent, I wouldn't quarrel
    10 secret. And so the question comes up of what happens 10 with that. I think I told you before we could call
    11 if someone steals it. A disenfranchised employee, a    11 the license a kibitzer bong, so I sure don't care if
    12 hacker, someone else.                                  12 you call it a royalty subscription.
    13        Now, you said left on the side of the road.     13        I'm -- I'm -- I'm -- my conclusions don't run
    14 Well, how did it get left on the side of the road, is  14 to the names. The names are -- are just there to help
    15 because, you know, it was in someone's car and they    15 communicate. What -- what matters is -- is the
    16 opened the door and something fell out and it was an   16 3 percent reasonable.
    17 accident, does that mean that -- you know, look, I'll  17     Q Do you know if LexisNexis has the ability to
    18 let people who want to fight over lawsuits on that.    18 demand the return or destruction of any information
    19        But I'm telling you that the secret has value   19 downloaded from its site after a user's subscription
    20 as long as its use is restricted and if you don't own  20 expires?
    21 it, the right thing to do is either pay for it or      21     A I'm sure they don't.
    22 return it.                                             22     Q Okay. Have you heard of IMDbPro?
    23        MS. McCONNELL: I'm just going to move that 23          A Yes.
    24 strike that response because I have no idea what you   24     Q Are you aware that that is a
    25 were answering.                                        25 subscription-based service where you pay a flat fee

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     1    Q But in your report you talk about law firms'           1 per month?
     2 arrangements with LexisNexis. To your knowledge, do         2    A Okay. If you say so. Yeah, I haven't looked
     3 law firms license information from LexisNexis or do         3 at the pricing of IMDbPro for a while.
     4 they have a subscription to use LexisNexis?                 4    Q Okay. Are you aware of a website called
     5     A In the context that you just raised it, I             5 baseball-reference.com?
     6 would view those two terms as synonymous. If -- I           6    A Baseball-reference?
     7 don't really care whether someone calls it a                7    Q Yes.
     8 subscription or a license. It has the same economic         8    A No.
     9 impact.                                                     9    Q Okay. I'll represent to you that that's
    10     Q Okay. Are you aware of other data services           10 another monthly subscription-based service where you
    11 companies that are subscription-based?                     11 can access statistics from baseball players from the
    12     A Sure.                                                12 minor leagues to the major leagues.
    13     Q Can you give some examples?                          13        Have you heard of that before?
    14     A Subscriptions typically refer to a recurring         14    A Still haven't heard of it, but -- but --
    15 fee that is paid for, you know, whatever you've got.       15    Q Okay.
    16 Subscription businesses are -- are very much in vogue      16    A So my prior answer stands.
    17 now so you see lots of -- of businesses that are           17    Q Why didn't you look into web sites like
    18 selling products as subscriptions.                         18 IMDbPro or baseball-reference.com when you were
    19       Subscriptions first started in the print and         19 creating your report?
    20 publishing business where you bought a subscription to     20    A I suppose I could have. If -- if someone
    21 a magazine or a subscription to a newspaper and that       21 said that instead of looking at these other businesses
    22 newspaper or magazine would show up periodically. But      22 that I describe in Section A of my report I could
    23 now you can buy almost anything on a monthly or            23 include other lesser-known businesses to substantiate
    24 periodic service plan. So food or -- or almost             24 the position that information is valuable and can be
    25 anything --                                                25 sold or licensed or subscribed to, whatever word you




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     1 want to use, I could do so.                                      1          MR. THOMAS: Objection; calls for legal
     2       I did tell you in response to an earlier                   2 conclusion.
     3 question that I stopped conclusion A when I did                  3          THE WITNESS: Yeah, and I -- I -- I think
     4 because I thought the point was made and I didn't want           4 that's -- that's -- you're -- you're asking me to come
     5 to beat a dead horse. But there are no doubt hundreds            5 up with a hypothetical that -- that I'm not sure is
     6 of other businesses that get paid for information that           6 yet described in the records.
     7 people want.                                                     7          But the records that I'm aware of indicate
     8     Q You agree that LexisNexis does not charge                  8 that the unions continue to provide information. The
     9 more if a law firm is profitable or if a law firm is             9 union contracts continue to be important in terms of
    10 not profitable, correct?                                        10 their position in the creation of music and that the
    11     A Agreed.                                                   11 unions are, in fact, continuing to provide value.
    12     Q Okay. So meaning they don't increase their                12          If -- if they don't provide value, then --
    13 subscription price because they know that this                  13 you know, you asked me a question about the term of
    14 plaintiff's firm is doing very well this year,                  14 the agreement, then -- then maybe the term would need
    15 correct?                                                        15 to be revisited.
    16     A Well, I don't run LexisNexis, but what you                16          But I do have tables in my report that
    17 said is my understanding.                                       17 suggest that the union data continues to have
    18     Q Perfect.                                                  18 relevance and importance and -- and a significant
    19       You state that the current service fee                    19 volume to indicate that your hypothetical is not
    20 structure presents a no-risk situation. And that's on           20 realistic in the facts and circumstances that actually
    21 page 26 of your report.                                         21 exist.
    22       Isn't there a risk that the Fund is                       22 BY MS. McCONNELL:
    23 overpaying for the data and services that are being             23    Q On page 14 of your report you say, in the
    24 provided by the unions?                                         24 first full paragraph under A, the last sentence under
    25     A If you wish to express it that way, sure.                 25 that paragraph, "Under this incorrect notion, the

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     1 That is not what that comment is -- is dealing with.             1 unions should not be compensated for either their past
     2 It's dealing with a -- a different issue that I've               2 efforts, or for proportionate current cost of the
     3 described to you earlier.                                        3 unions' operations that are required for the
     4     Q And what's that?                                           4 incremental efforts to be incurred."
     5     A Well, it's the subject of -- of whether                    5         Do you know how much the unions' past efforts
     6 the -- you know, we're going to charge you a fee                 6 cost?
     7 regardless of whether SoundExchange gives you any                7     A No.
     8 money or not. So if for whatever reason SoundExchange            8     Q Are you -- are you able to put a dollar value
     9 stops giving you money or the law -- or whatever, the            9 on it?
    10 law changes, then you're not -- you, the Fund, are not          10     A If someone wanted me to accept that
    11 stuck charging a fee that was calculated or                     11 assignment, I think I have the competence and ability
    12 contemplated on a different basis.                              12 to do so. But -- but if you're asking me have I done
    13       The percentage fee is less risky than another             13 it yet or tried to do it yet, the answer's no.
    14 sort of way of denominating the fee.                            14     Q Do you know what the incremental cost of the
    15     Q Okay. So you're expressing the risk as the                15 unions' current efforts are?
    16 Fund not receiving any money, then the unions won't             16     A That would not be relevant to a proper answer
    17 receive any money, right?                                       17 so I did not do that.
    18     A I was looking at it from the Fund's                       18     Q In order to figure out what the incremental
    19 perspective, yes. The -- the Fund is not in a                   19 costs are, you would need to know how much effort the
    20 situation where they've increased fixed overhead that           20 unions were putting in to respond to requests, right?
    21 would have to be paid regardless of what monies they            21     A Yes.
    22 get from SoundExchange.                                         22     Q You say in the next paragraph that, "Numerous
    23     Q But isn't it true that the Fund is obligated              23 compensation arrangements are based on a percentage of
    24 to pay the 3 percent fee to the unions regardless if            24 an underlying transaction."
    25 they get any information from the unions?                       25        Would you agree that money managers,



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     1 contingency lawyers, IntellAgents, are paid a               1 to make certain that the property gets sold before
     2 percentage of an underlying transaction because they        2 their -- their listing period expires and they lose
     3 add value to the transaction?                               3 the transaction to another Realtor. So the Realtor
     4     A Well, that's certainly what those service             4 would much rather have a percentage commission of a
     5 providers suggest, and their clients and customers          5 slightly smaller price than to try to get the top
     6 must agree.                                                 6 dollar.
     7     Q Would you agree that it is a Realtor's goal           7       Anyone who's worked with experienced Realtors
     8 to increase the amount of money a homeowner will get        8 for a long while realizes this. They would gladly
     9 for selling his house?                                      9 have more money, but they don't want to sacrifice the
    10     A That is a common myth. But, no, I don't              10 existence of a commission entirely because they were
    11 think that's actually correct.                             11 trying to seek the last extra dollar of sales price.
    12     Q Why not?                                             12    Q Is it your opinion that the amount of money
    13     A Why not what?                                        13 paid to each Fund beneficiary has increased because
    14     Q Why wouldn't a Realtor representing a                14 the unions are able to send across a session report?
    15 homeowner want to increase the value a homeowner gets      15       MR. THOMAS: Object to the form. Vague.
    16 for selling his house?                                     16       THE WITNESS: You made a statement. I was
    17     A Well, what you -- those -- the two statements        17 waiting for your question.
    18 you've made are not mutually exclusive. If all other       18 BY MS. McCONNELL:
    19 things being equal -- well, you want to shake your         19     Q Is it your opinion that the amount of money
    20 head no, you know, that's fine, roll your eyes and         20 paid to each Fund beneficiary has increased because
    21 shake your head. What's your next question? I              21 the unions are able to send across a session report?
    22 don't -- I don't need to take this either. Go ahead.       22     A That is not my primary opinion. What you
    23       What's your next question? You don't like            23 said may be true, but that is not the primary opinion.
    24 this answer, and I'm getting insulted by your              24       The primary opinion is that the union data
    25 appearance and shaking your head and rolling your          25 allows more accurate payments be made to a larger

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     1 eyes, so go ahead, what's your next question?               1 group of people and that that allows the Fund to
     2    Q You actually do have to answer my questions,           2 accomplish its mission in a way that would otherwise
     3 Mr. Nolte, so we can keep going or we can stop the          3 not be possible.
     4 deposition now. It's up to you.                             4    Now, it is highly likely that what you said
     5     A We -- we can keep going, but I don't need the     5 is also true, but that is not the primary basis for
     6 reactions that were just happening. But I'll tell you   6 the -- the conclusions that I've reached.
     7 what, I'll -- I'll answer the question, but -- but      7     Q So you do think that the amount of money paid
     8 there's some level of decorum would be appreciated.     8 to each Fund beneficiary has increased because of the
     9     Q You know what, timeout really quick.              9 unions' data?
    10       MS. McCONNELL: I just want to put on the         10        MR. THOMAS: Objection; vague, overbroad.
    11 record that this witness has been extremely rude to me 11        THE WITNESS: That is a possibility, but that
    12 all day and I've been sitting here and taking it and   12 is not the primary opinion. The primary opinion
    13 anyone who wants to read this transcript and -- and    13 involves the accuracy of amounts that have been paid
    14 hear what has been going on all day, I would very much 14 versus the total amount that's paid.
    15 welcome them to do that.                               15        Look, look, that's not a complex thing.
    16       But I'm not going to let you tell me that I      16 Let's say someone decides we don't want to pay the --
    17 am being rude to you. It's almost 3 o'clock. I've      17 the 3 percent fee but why don't we just take all the
    18 had it with this deposition. So let's just finish it   18 money and give it to Mr. Risto. Nobody gets anything
    19 and be done because I -- I really don't want to        19 else, Mr. Risto gets everything, and we'll cut out all
    20 continue this for another day. So let's do that.       20 that research department. We'll certainly cut out the
    21     Q Answer my question.                              21 3 percent legal fee. We'll cut out all -- all this
    22     A Your question was, why wouldn't a Realtor        22 other stuff and won't the total amount of money paid
    23 want a higher price, and the answer is, they would     23 specifically to Mr. Risto increase. And the answer
    24 want a higher price if everything else would be kept   24 is, of course.
    25 alone. But, in fact, what a Realtor really wants is    25        But that's not the objective and mission of



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     1 the Fund. And, you know, so the fee doesn't have to                1 manner in which the -- the transaction's been
     2 be reasonable because it increases the -- the amount               2 documented, but I've not been asked to do that either.
     3 paid. It -- it might in fact do that, but that's not               3 BY MS. McCONNELL:
     4 the primary reason why the fee is reasonable.                      4    Q Did you find that the services agreement
     5        MS. McCONNELL: I'm going to move to strike                  5 transaction was documented professionally and
     6 as nonresponsive.                                                  6 comprehensively?
     7    Q Are the beneficiaries of the Fund entitled to                 7       MR. THOMAS: Same objections; asked and
     8 their money from the Copyright Act -- strike that.                 8 answered.
     9        Fund beneficiaries are entitled by the                      9       THE WITNESS: I gave you my best answer a
    10 Copyright Act to their royalty percentages whether or             10 minute ago. You must think you want a different
    11 not the unions locate them, right?                                11 answer. I -- I don't think there's any disagreement
    12        MR. THOMAS: Objection to the form. Calls                   12 regarding what the document says. If I'm wrong then
    13 for a legal conclusion.                                           13 let me know. But I -- I haven't read a bunch that --
    14        THE WITNESS: I do think it calls for a legal               14 that said we don't understand the meaning of -- of
    15 conclusion. The -- the question arises as to what                 15 this agreement.
    16 happens if a nonfeatured performer simply cannot be               16       So in that sense I'm not aware of anything
    17 located. The Fund has recently taken steps to ensure              17 that says that the document does not comprehensively
    18 that monies are distributed in some -- what -- what               18 state what the intentions of the parties were.
    19 the Fund believes are a fair and equitable manner                 19 BY MS. McCONNELL:
    20 consistent with the public reporting that they've                 20    Q Do you know whether there was any evaluation
    21 done. Maybe that conflicts with what you've just                  21 of the, your words, intellectual property that was
    22 said, maybe it doesn't, but it -- that's outside the              22 being sold at the time of the services agreement was
    23 scope of my opinion.                                              23 adopted?
    24        MS. McCONNELL: Okay. Nico, the next one,                   24    A I've read this -- the deposition testimony on
    25 please, the article. And I think this is Exhibit 5.               25 this point, and I -- it's not my testimony. So I'm

                                                              Page 195                                                       Page 197
     1        (Exhibit 5 marked.)                                         1 not sure I know what you're asking me.
     2        MS. McCONNELL: It's in the chat and then                    2     Q Do you want me to rephrase the question?
     3 it's going to be shared.                                           3     A Well, if -- if my answer was not adequate, by
     4        MR. BRANCOLINI: Sorry, Mariana, is this the                 4 all means, do so.
     5 article you wanted?                                                5     Q Did you find that there was any evaluation of
     6        MS. McCONNELL: Steps in Evaluating                          6 the intellectual property that was being sold at the
     7 Intellectual Property.                                             7 time the services agreement was adopted?
     8        MR. BRANCOLINI: Sorry, I put the wrong                      8        MR. THOMAS: Objection; vague.
     9 article in.                                                        9        THE WITNESS: There was quite a bit of
    10 BY MS. McCONNELL:                                                 10 discussion about how this was evaluated in the
    11      Q Have you seen this article before?                         11 depositions that plaintiffs took.
    12      A Yes.                                                       12 BY MS. McCONNELL:
    13      Q Okay. Do you know who wrote it?                            13     Q Which deposition are you referring to?
    14      A Well, it may have gone through revisions, but              14     A Well, I think all of them. I mean, you or
    15 the initial authoring I was involved in. I don't                  15 your cocounsel were taking the depositions so you've
    16 recall whether I had help or not.                                 16 asked and got answers for whatever the process was.
    17      Q Okay. The first subheading is, "Get Legal                  17        I'm well aware that you have at least one
    18 Advice." It goes on to say, "Any transaction must be              18 expert report that criticizes that process. I am not
    19 documented professionally and comprehensively."                   19 criticizing the process, and I'm not saying the
    20        Did you find that the services agreement                   20 process was good either. My work falls outside the
    21 transaction was documented professionally and                     21 process of the initial evaluation.
    22 comprehensively?                                                  22     Q Okay. To prepare your report did you consult
    23        MR. THOMAS: Object to the form. Outside the                23 anyone about the language of the relevant sections of
    24 scope of the expert opinion.                                      24 the Copyright Act?
    25        THE WITNESS: I have not criticized the                     25     A You'd asked that question before.



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     1       No, I did not. Now, however, I believe my                 1 unique. So we don't have any situation of where
     2 definition of the assignment was oriented to comply             2 others were -- where the unions were selling this
     3 with the Copyright Act, but that's not the way it was           3 information. If the unions were selling this
     4 articulated.                                                    4 information otherwise, then the assignment would be
     5       MS. McCONNELL: I think Nico might be -- oh,               5 easy. And I've just got done telling you it's not
     6 here -- oh, you're on it. Okay. Great.                          6 easy because you don't have that type of beginning
     7    Q So the next section of this article is titled              7 situation.
     8 "Understand the Markets Being Served."                          8    Q Are you aware that in their testimony Jon
     9       In preparing your report did you undertake an             9 Joyce and Bruce Bouton expressed some dissatisfaction
    10 analysis of the markets being served?                          10 that the service fee was getting too high in the most
    11     A Well, allow me to read this because I haven't            11 recent years?
    12 read it in a decade. So hold on.                               12       MR. THOMAS: Objection; mischaracterizes the
    13     Q Sure.                                                    13 testimony in those depositions. So lacks foundation.
    14     A All right. So I read the paragraph or two,               14       THE WITNESS: I have told you on multiple
    15 however you want to count it. It's -- under that               15 occasions that the depositions that I've reviewed are
    16 heading. I don't believe anything there conflicts              16 listed in my report. And if they're not listed in my
    17 with anything I've done here. Obviously this is a              17 report, I haven't reviewed them.
    18 general article that covers a wide range of                    18       I suspect you've asked me a couple times
    19 intellectual property. It's not tailored to the                19 about these individuals and I've told you that I have
    20 situation that exists here. But nevertheless, I don't          20 not read their depositions. So as a result, I have no
    21 see anything that conflicts.                                   21 basis for agreeing or disagreeing with your
    22     Q In our case what is the nature and size of               22 characterization of what they said.
    23 the market being served?                                       23 BY MS. McCONNELL:
    24     A As the report identifies, and I can highlight            24    Q Okay. For purposes of this question, assume
    25 where, if that's valuable to you, I repeatedly state           25 that they did say that in their deposition. Would

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     1 that the Fund has a need for this information and that          1 that impact the analysis you provided in your report?
     2 the unions have not provided this information to                2    A And what I think you're saying is that they
     3 anyone else save, you know, with the exception of               3 thought the fee was originally fine but it may not be
     4 making certain that pension obligations are -- have             4 fine in more recent years.
     5 been handled consistent with -- with what everybody's           5     Q Yes.
     6 understanding was from the very beginning. So that              6     A Well, we still have to deal with the issue of
     7 this assessment is not and cannot be based on either            7 whether the Fund gets to continue to use the data that
     8 industry rates, established royalty rates or other              8 they put in a large database. You had asked me about
     9 things that would make the assignment easy.                     9 that earlier and I predicted a possible dispute if the
    10       Now, just because an assignment is not easy              10 Fund wants to take that position. But the deal wasn't
    11 does not mean that it's -- the answer is wrong or that         11 arranged -- well, look, the answer to that is, I -- I
    12 the answer has to be zero. But the market -- this              12 don't know their state of mind. And if someone wants
    13 is -- this is not an assessment that is based on other         13 to renegotiate the deal, they, I suppose, could do
    14 market participants.                                           14 that.
    15    Q Did -- in our case did you consider the price             15     Q Did you give any consideration in your report
    16 that customers were willing to pay?                            16 to the potential for new competition in the market?
    17    A Well, the -- the pricing is certainly                     17     A Well, you haven't described in your question
    18 important if you're dealing with something that's              18 what this new competition is. I suspect that you're
    19 going to be sold to the marketplace or a general range         19 referring to more digital formulations of music that
    20 of customers. So in this article, for example, if              20 may not require what has in the past been more
    21 someone says, I want to sell a new type of candy bar           21 traditional approach. And I -- I am aware of that.
    22 with a special, you know, secret menu to it, we can            22 You'll note that the data in my tables shows
    23 evaluate what the marketplace for candy bars are.              23 information by year so that one can see the extent, if
    24       But the unions are not offering this to                  24 at all, that trends have changed.
    25 others and the Fund's need for this information is             25     Q And I think you say in your report, on



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     1 page 20, "For recently-produced digital music, there       1    A Are you asking me why the parties agreed to
     2 are fewer artists to discover."                            2 3 percent?
     3       Is that what you are referring to?                   3    Q No. Why do you think a 3 percent fee is
     4     A I'm -- I'm sorry, I -- I don't know to which         4 reasonable as opposed to a different number?
     5 you're referring, but that -- that does not                5    A Well, 3 percent was the fee that I was asked
     6 necessarily surprise me. I probably do say it, but I       6 to evaluate the reasonableness of.    The parties had
     7 wasn't following your language.                            7 agreed to that 3 percent fee years before I was
     8     Q Okay. If I represent to you that the union           8 employed.
     9 pension funds have a more accurate and complete            9    Q Would a 4 percent fee be reasonable?
    10 repository of the same information that the unions do,    10    A That was not my assignment and not the deal
    11 would that alter your analysis?                           11 so I didn't conduct an assignment based on 4 percent.
    12     A If the union pension funds are providing that       12 I conducted an assignment based on 3 percent.
    13 information to the Fund, sure, I suppose, if you could    13    Q Okay. As used here in conclusion number 3,
    14 get the information from another source and it's more     14 does reasonable refer to reasonable from the Fund's
    15 reliable or more accurate, then -- and the -- and the     15 perspective or reasonable from the unions'
    16 pension funds want to act in competition to the           16 perspective?
    17 unions, you know, that -- that -- I don't know what       17    A Okay. Now I -- I really should follow your
    18 that impact is.                                           18 question because you've -- you're quoting something
    19       I -- I did not consider the possibility that        19 specific and I don't know what you're quoting. I'm
    20 the pension funds would -- would do what you just         20 not quarreling with it. I just -- I just don't know
    21 suggested. In fact, you didn't say they'd do it           21 where you are. You say number 3.
    22 either. You just gave me a hypothetical, well, if the     22    Q Yeah.
    23 information exists.                                       23    A What page?
    24       Maybe -- maybe another way of answering the         24    Q Page 13.
    25 question is, the fact that the information exists         25    A 13:
                                                      Page 203                                                  Page 205
     1 doesn't matter.    The information that matters is, is     1   Q Summary of conclusions number 3.
     2 can you actually get it.   And so what -- what I        2      A Okay. I am looking at the fee as to what
     3 actually added in the answer I just gave that the       3 would occur between a negotiation from the -- between
     4 pension funds might actually cut a deal to do that and 4 the union and the Fund with both parties acting
     5 if that were the case, then -- then I'd have a new      5 reasonable. It is not an amount of money -- by the
     6 piece of information to consider.                       6 way, this comes up in every single reasonable royalty
     7     Q Okay. So your -- let's find it first. Hold        7 engagement. This is not the fee that anybody wants to
     8 on.                                                     8 pay. It's not the fee that the Fund would want to pay
     9         Okay. If you look on page 13 of your report     9 or the union would want to receive. It is a fee that
    10 where you have your "Summary of Conclusions."          10 would be reasonably negotiated between two parties who
    11         Conclusion number 3 says, "Multiple economic 11 are cooperating and willing to do a transaction. So
    12 factors relating to the attributes and use of the      12 it's from both of their perspectives.
    13 unions' data support the reasonableness of the         13      Q Would it be accurate to say that your
    14 3 percent fee."                                        14 analysis in this case would not be transferable to any
    15         Based on your analysis of the Georgia-Pacific 15 other percentage figure?
    16 factors, isn't it more accurate to say that the        16         MR. THOMAS: Objection to the form.
    17 3 percent fee is not unreasonable?                     17         THE WITNESS: I -- I think what you're asking
    18     A Yeah, I don't know -- maybe -- I don't know      18 me   is could you take this same report and replace the
    19 if it's important or not, but I -- I was not following 19 3 percent with a different number?
    20 your starting point for that question. But -- so       20 BY MS. McCONNELL:
    21 putting aside the first part that I didn't follow,     21      Q Yeah.
    22 your question is, was my conclusion that the fee was 22        A I would not encourage you to do that. So,
    23 not unreasonable. That is not my conclusion.           23 for example, I've not concluded that the fee of
    24 Although that conclusion would also be true.           24 15 percent would be reasonable. And that's what I
    25     Q Okay. Would a -- why 3 percent?                  25 think you just asked me. Can you -- can you




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     1 substitute a new number, and the answer is no, you        1 on a percentage basis. And I have no quarrel with
     2 can't substitute a new number. The engagement was         2 that.
     3 done based on 3 percent.                                  3     Q If you look back on page 13 for number 3, you
     4       Now, if someone said they wanted 2 percent,         4 say, "See Section C below."
     5 that would be an easy discussion, nobody would -- you     5         And then if you look at Section C, those are
     6 know, nobody on the plaintiff side would disagree with    6 the Georgia-Pacific factors?
     7 the 3 percent turning into 2 percent. But I certainly     7       Is there anything --
     8 would not allow anyone to use my report by increasing     8    A Yes, ma'am.
     9 that number.                                              9    Q Is there anything in those Georgia-Pacific
    10    Q Is it your opinion that a percentage-based          10 factors that specifically looks to 3 percent as
    11 fee is in the best interest of the beneficiaries of      11 opposed to any other percentage?
    12 the Fund?                                                12       MR. THOMAS: Objection; vague.
    13    A When you say "best interest," that probably         13       THE WITNESS: Yes, there are. You may not
    14 implies some sort of a legal standard and I would want   14 see them directly. I mean, if you want I'll go
    15 to make sure I understood what that legal standard       15 through this. It will be -- end up being tedious.
    16 was. I don't quarrel with the idea that one could        16       But every time I refer to earlier sections of
    17 change the manner in which this fee were calculated      17 the report, what I'm referring to are tables and data
    18 and if you did change the manner in which the fee was    18 assemblages that exist earlier in the report that are
    19 calculated, there might be winners and losers.           19 being incorporated by reference in the Georgia-Pacific
    20       Let's -- let's say someone said that we want       20 factors. And that's how it occurs.
    21 you to charge X amount of dollars or cents per           21 BY MS. McCONNELL:
    22 participant as a direct deduction from their check.      22    Q But which tables discuss 3 percent as the
    23 Even if the fee remained identical, the allocation of    23 appropriate percentage as opposed to a different
    24 that fee would change. The people with larger checks     24 percentage?
    25 would pay a proportionately smaller amount. The          25    A Well, I don't know that there's any tables
                                                     Page 207                                                            Page 209
     1 smaller participants would pay proportionately a          1 that -- that say if it's -- in fact, there are no
     2 greater amount. You have winners and losers. And          2 tables that say if it's 4 percent, here's how this
     3 that -- that's simply a matter of the math.               3 would change. I told you that the 3 percent was part
     4       I'm suggesting that 3 percent in total was          4 of the definition of the assignment. So all of the
     5 reasonable. I've put aside the fact that if you           5 work was done with that starting definition of the
     6 denominated a fee in some other way you might -- you      6 assignment.
     7 would get a different answer perhaps. And I say           7     Q Can you identify any specific areas of your
     8 different answer, I mean different answer when applied    8 report that would no longer be accurate if the
     9 to an individual participant.                             9 3 percent figure was changed to a higher figure?
    10     Q And when you say denominated a fee in some         10     A Well, the actual raw data might not change --
    11 other way, are you including like a flat fee?            11 actually, that's not true. There are places where --
    12     A Well, it -- it would include that. And so          12 where I do percentage comparisons. So, for example,
    13 the example I just gave, in fact, was a flat fee. So     13 this is just an example, it's not the entire thing.
    14 if someone says, we want to charge -- I'm going to       14         Table 2, there is a column for the union fee
    15 make up a number. This has nothing to do with            15 as a percent of total administrative costs. Well, if
    16 reality -- but every check that gets cut takes a         16 the fee were larger, those percentages would change.
    17 deduction of $1 for -- that it's paid to the union for   17 That's -- that's not the only example, but that is an
    18 the rights of their -- their information.                18 example of a table that is specifically impacted by
    19       There'd be winners and losers under that           19 the 3 percent amount.
    20 arrangement. And by virtue of there being winners and    20     Q Are any of the Georgia-Pacific factor
    21 losers, I'll let someone else figure out if that's in    21 analysis tied to 3 percent an opposed to any other
    22 the best interest of the group as a whole. I'm           22 percent?
    23 relating the fee in total, not how it's allocated to     23       MR. THOMAS: Objection; asked and answered.
    24 individual participants. I understand the way it's       24       THE WITNESS: The entire assignment was tied
    25 allocated to individual participants is on a per -- is   25 to 3 percent, so -- I thought I had told you that




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     1 before.                                                          1    Q Have you analyzed how much it would cost for
     2 BY MS. McCONNELL:                                                2 the Fund to replicate the unions' data?
     3    Q If you were advising the Fund about whether                 3    A Well, that's -- that's the whole problem.
     4 to enter into an agreement with an unrelated third               4 They can't. This -- that's why I told you earlier,
     5 party, how much would you advise them to spend on the            5 this is not a cost-based decision, and when you tried
     6 data?                                                            6 to make it a cost-based decision, I twice, in two
     7         MR. THOMAS: Objection; calls for                         7 different questions, told you that that's not the
     8 speculation, outside the scope.                                  8 basis for the conclusion.
     9       THE WITNESS: You are asking me to speculate                9       The basis of the conclusion is, the union
    10 because I wasn't there at the time. I wasn't                    10 simply -- I mean, I'm sorry, the Fund simply can't do
    11 negotiating with the unions. And I don't know --                11 its job accurately unless it has this data. And until
    12 yeah, I -- look, at the risk of being obvious, the              12 they solve that problem -- you know, this is -- this
    13 Fund would want to pay as little as possible and                13 is not a cost-based problem. It's an accuracy-based
    14 unions would want to be paid more. That's no                    14 problem.
    15 different than the existence of the -- how buyers and           15    Q You told us earlier you're -- you don't know
    16 sellers behave all the time.                                    16 if the record labels would be willing to sell the
    17       So in your hypothetical where I'm                         17 data, right?
    18 representing the Fund, the question is, you know,               18    A No, I don't know that I told you that. I
    19 could we try to get the unions down. And I've not               19 told you that there's been no evidence in this case,
    20 done that assignment and I wasn't there at the time             20 of which I'm aware, that suggests that they would.
    21 and I do think it would be speculating for me -- to             21       Now, I am well aware that your experts,
    22 ask me to assume that I was, you know, you know, there          22 multiple experts, have asserted that this information
    23 eight years ago, or whatever it was, when I wasn't.             23 is available free of charge. That has not been
    24 BY MS. McCONNELL:                                               24 supported by any evidence in the record. It's not
    25     Q After doing the research for this report have             25 been supported by any footnotes. There's been no

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     1 you been able to put together any sort of advice on              1 details given other than a bald assertion that that
     2 how much the Fund should pay for this data?                      2 was the case. And so I -- I don't know that -- I'm
     3    A The Fund is paying 3 percent. If Fund wishes                3 not aware of these labels being willing to do that.
     4 to continue to use that data, the Fund believes that             4 If you think they can, or your experts think they can,
     5 it would be a travesty for them to stop using the                5 it would be helpful to provide more details.
     6 data, and my report and the work of the Fund                     6    Q Have you looked into whether the record
     7 demonstrates aptly that the accuracy of the payments             7 labels are willing to sell the data or not?
     8 would be disastrously impacted if the unions' data               8    A What I did instead, which is maybe a way of
     9 weren't being used.                                              9 saying yes, is that I asked the folks at the Fund
    10         So I think with that background in mind your            10 whether this is something that they've considered, and
    11 starting point is, what would I suggest the Fund do,            11 they said absolutely, and we cannot get the same sort
    12 and the answer is, I think you ought to continue with           12 of information from the record labels. If we could
    13 the deal you have because you're apparently pretty              13 get it cheaper, then we'd have a basis for some
    14 happy with it.                                                  14 alternatives that are currently not in front of us.
    15    Q Are you aware of any facts to indicate that                15       They specifically said, and this is not
    16 the unions would refuse to accept a lower percentage 16 surprising, that the labels simply don't have a need
    17 than 3 percent?                                                 17 to keep this information for the long historical
    18    A I don't know that I have facts one way or the 18 periods that are needed here. And -- and that would
    19 other. I don't know whether that's been attempted     19 not surprise me. For the reason the record labels
    20 recently.                                             20 kept the information, keeping this data for these
    21    Q Have you analyzed -- oh, sorry, were you         21 very, very long periods of time would be out of -- it
    22 done?                                                 22 would be unusual and out of the ordinary.
    23    A Yeah, I just -- I -- I -- I don't know. I        23    Q You mentioned that you asked the folks at the
    24 mean, if -- at some point maybe people want to try to 24 Fund whether they've looked into whether the record
    25 renegotiate the arrangement.                          25 labels sell the data. Who are the folks at the Fund




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     1 that you spoke to?                                            1 participation and not others?
     2     A You know, a lot of conversations merge                  2    A That is exactly not what the Fund is doing.
     3 together so I could be wrong on this, but I believe           3 The Fund is not taking money from one group of
     4 that conversation occurred in one in which Ms. Taub           4 participants to pay for future generations.      They are
     5 and Ms. Sandell were involved.      But I -- I could be       5 instead saying a percentage reduction is reasonable
     6 wrong.                                                        6 and appropriate because it significantly improves the
     7    Q Have you -- well, strike that.                           7 accuracy of the information and is a modest charge
     8       Couldn't the Fund implement an                          8 relative to the rest of the amounts that are
     9 electronic-type system at the type of recording to            9 appropriately being charged to these participants.
    10 collect session data for all tracks recorded in 2021         10         It is a pay-as-you-go system, which is
    11 and going forward?                                           11 exactly the opposite of, let's invest millions of
    12    A You're asking me whether such a system is               12 dollars of someone else's money that -- of the current
    13 technologically feasible?                                    13 participants' money so that future generations could
    14    Q Yeah.                                                   14 impact it.
    15    A I suspect it is.                                        15       Look, if Mr. Risto wants to personally fund
    16    Q In the course of preparing your report did              16 this, I think he should talk to the Fund.But I'm
    17 you consider what the cost of doing something like           17 quite sure that Mr. Risto doesn't want to personally
    18 that would be for the Fund?                                  18 pay for it, and I don't know anybody else that's
    19    A I did consider that.                                    19 waiting in that line.
    20    Q Okay. How much do you think a system like               20    Q I don't know -- I don't know -- know why
    21 that would cost?                                             21 you're including that in your answer because I'm not
    22    A Well, I don't have a number. I do know that             22 sure --
    23 there's an issue of -- of basically investment               23    A Because it's relevant. I'll --
    24 capital, that such a system would likely cost                24    Q No, it's not.
    25 millions. I don't have an exact number. But it's --          25    A -- tell you why, because it's absolutely
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     1 it's -- this is not petty cash. And so who's going to         1 relevant. You want to know why I'm telling you?
     2 pay for it.                                                   2 Because it is absolutely relevant to this. You said,
     3       The Fund is effectively a passthrough                   3 isn't this the same, and the answer is, it is nowhere
     4 vehicle. It gets money and it's supposed to pay that          4 close to the same. This is night-and-day difference.
     5 money to others. I don't think there's a provision            5 Night and day are not the same. They might both
     6 where the Fund gets to say, you know what we'd like to        6 involve you, the Earth, but that doesn't make them the
     7 do, I'm sure you guys won't mind, we're going to take         7 same.
     8 multiple millions of your dollars and we're just not          8       And the notion of pay-as-you-go now is not
     9 going to give it to you, and the reason we're not             9 the same as taking millions of dollars from people now
    10 going to give it to you is we're going to invest in          10 to benefit future people that haven't yet been
    11 this really slick computer system, you'll love it, and       11 identified. And if you think they're the same, fine,
    12 the guys later who aren't getting -- who aren't              12 I'm not going to be able to convince you.
    13 participating right now, they're going to like it a          13
                                                                     Q No, that's fine, I --
    14 lot because it will save money later and you're going        14
                                                                     A Because they're not the same. And that
    15 to pay for it now.                                     15 was -- and that was the question you asked, aren't
    16       I don't want to be the one responsible for       16 these the same.
    17 that recommendation because that would -- that would   17     Q I'm just wondering where you are got into
    18 be generating your next lawsuit. And so I don't know   18 attacking Mr. Risto in that answer.
    19 how the Fund's going to do that. It -- it may be       19     A I'll tell you why. Because someone has got
    20 technologically feasible but that does not mean it's   20 to fund this millions of dollars and the guy who is
    21 practical.                                             21 proposing that is you through Mr. Risto. So if -- you
    22    Q Isn't that what the Fund is doing now, giving     22 know, if Mr. Risto thinks it's a great idea to spend
    23 $1.5 million approximately per year to the unions for  23 millions of dollars, go ahead and propose it to the
    24 maybe data that goes back to 1940 that you've shown us 24 Court, I guess, but I don't know who's going to pay
    25 helps some people get their participant --             25 for it.




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     1    Q Don't you agree that the fee continues to get           1 not looked at the unions' financial statements, and I
     2 paid to identify future beneficiaries?                       2 don't know if this information's available but I -- it
     3    A You said -- I think your question misstated,            3 would not surprise me that the fee being paid to the
     4 but I think what you meant is the Fund gets paid.            4 unions is not necessary to reimburse for current
     5 And, yes, the Fund continues to get paid, the research       5 period incremental cost. And I've never suggested
     6 efforts continue. I summarize those efforts in my            6 that in my report.
     7 report.                                                      7       However, the only thing I'm adding is that
     8    Q No, I -- I don't think so.                              8 this cost exercise should not be done on a single year
     9       So the service fee continues to get paid so            9 even under Mr. Crabtree-Ireland's answer.
    10 that the unions can provide session reports for future      10 BY MS. McCONNELL:
    11 payments; isn't that right?                                 11    Q Do you believe that the services fee as
    12    A No.                                                    12 currently structured is profitable for the unions?
    13    Q Okay.                                                  13       MR. THOMAS: Same objections.
    14    A I mean, look, they may benefit the future,             14       THE WITNESS: Well, the -- the word
    15 too. I mean, once the information's in the database,        15 "profitable" -- I'm an accountant and -- and -- by
    16 the Fund does not have to do it again. But the              16 training and so I -- I know that different people use
    17 research efforts are being done in response to monies       17 the words "profits" in different ways. And we would
    18 being received now that have to be distributed now.         18 need to clarify what we mean by profits in order to
    19    Q Okay. I'd like to show you a section of                19 give an appropriate and complete answer to your
    20 Mr. Crabtree-Ireland's deposition that was taken in         20 question.
    21 the Blondell case.                                          21       I mean, you know, you'd get a different
    22       MS. McCONNELL: Nico, if you can put it up,            22 answer if you address it year by year versus beginning
    23 please, on the screen.                                      23 of time. You'd get a different answer on whether you
    24       Okay. Mr. Crabtree-Ireland was asked, "Was            24 use incremental versus some fully loaded cost measure.
    25 the intent for this to just recoup the unions' cost or      25 The bottom line, though, is, I haven't done any of

                                                        Page 219                                                        Page 221
     1 for this to actually be a profitable, you know, for          1 those calculations.
     2 the unions to make a profit on this?"                        2 BY MS. McCONNELL:
     3        And his answer is, "Oh, God, no. It was to            3    Q Other than incremental cost, what other ways
     4 recoup the unions' costs, recognizing that these might       4 of doing a profitability analysis are there?
     5 fluctuate and, you know, fairly significantly                5    A Well, look, the only reason I mention
     6 depending upon the demand from the Fund for                  6 incremental cost is because that's what your experts
     7 information and not wanting to spend a whole bunch of        7 and -- and your -- your motions have suggested. No
     8 time and money on tracking that in a very granular           8 one actually does accounting on incremental cost in
     9 way.                                                         9 that fashion. So if you ask an accountant, was this
    10        "So the intention was to come up with away           10 profitable or not, no one who's -- is -- who's
    11 that would, you know, reasonably track the costs, not       11 competent is going to say, well, on incremental basis
    12 generate revenue for the union, but also not have the       12 it's profitable. I mean -- so accountants typically
    13 union subsidizing the operation of the Fund through         13 are using fully loaded costs when they answer that
    14 the services that they were providing to the Fund."         14 question.
    15    Q Do you think that the service fee as                   15    Q What does that mean? What does "fully loaded
    16 currently structured merely recoups the unions' costs?      16 costs" mean?
    17       MR. THOMAS: Objection; lacks foundation,              17    A It's what any -- well, just so you
    18 outside the scope.                                          18 understand, if you got -- never mind. You don't have
    19       THE WITNESS: I have not done such a                   19 any experts on accounting. All right. Never mind.
    20 calculation. To do that calculation properly, one           20 I'm sorry. I was going to refer you to your experts,
    21 would need to go back to the very beginning of the          21 but I guess that won't work.
    22 earliest session reports that were generated. One           22     Q I have you here.
    23 would need to address the storage and archival costs.       23     A Never mind. Never mind. Never mind. Forget
    24 It would be a very difficult assignment.                    24 it. I'm -- I'm sorry.
    25       Now, in terms of the current periods, I've            25        Here's what it means. When you're looking at



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     1 fully absorbed costs, it's the -- the opposite of               1 intellectual property. And I would not -- I have
     2 incremental costs. It is looking at activities and              2 never valued intellectual property -- with only one
     3 allocating costs to that activity for those costs that          3 exception, which I can go through if you want. With
     4 benefit those activities. So the issues generally               4 that one exception, which I'm happy to discuss with
     5 comes up of one of overhead.                                    5 you, I never valued intellectual property based on
     6        So to fully absorb -- to -- to produce fully             6 costs, and I've never seen any competent appraiser
     7 absorbed costs you have to take overhead and allocate           7 value intellectual property based on cost.
     8 it to whatever the underlying production or activity            8       So when you talk about, well, how do you do
     9 is.                                                             9 this, you make it sound like there's a methodology for
    10        You also have an issue of what time periods             10 something that doesn't happen. No one competent does
    11 are involved. If you're dealing with incremental               11 what your -- what your question presupposes. And so
    12 costs, you can narrow that down to a very, very thin           12 the answer is, you don't do it.
    13 sliver of time, but of course nobody who's a real              13    Q We -- we started this, your words, rabbit
    14 accountant would do that. What they do instead is              14 hole because we were talking about how do you figure
    15 they would look at the entire period of time that --           15 out if something is profitable or not, and you said
    16 that generated activities of for which -- or -- or             16 can look at the amount that is brought in for -- for
    17 that contributed to whatever it is that you're talking         17 the data as opposed to the fully loaded costs.
    18 about.                                                         18       And what I gathered was fully loaded costs
    19        So, for example, if you're looking at session           19 include overhead, right?
    20 reports, you'd say, okay, during what period of time           20    A Look, look, the only reason you -- I was
    21 were the session reports being generated. And the              21 talking about fully loaded costs is because it's in
    22 answer is, well, they go back to the beginning of the          22 contrast to incremental costs. Incremental costs is
    23 union. And they say, well, okay, then that's the               23 wrong even if you wanted to base it on cost.
    24 relevant period of time to address the costs. And you          24       Now, I'm not suggesting you base it on cost.
    25 have to address the overhead during that entire                25 I'm suggesting just the opposite. But if for some

                                                           Page 223                                                         Page 225
     1 period.                                                         1 reason someone says no, no, no, you really, really,
     2       So it's a very long-running analysis that                 2 really got to do it on cost, then you have to do
     3 looks at total costs, which is the exact opposite of            3 something that no one, including the plaintiffs'
     4 the incremental costs that some of your experts have            4 experts have done in this matter. You cannot base it
     5 suggested.                                                      5 on incremental costs. You have to base it on fully
     6     Q How do you take into account the fact that                6 loaded costs.
     7 the unions were performing these activities for their           7       I'm not suggesting -- and then you started
     8 own purposes since the beginning of time?                       8 asking me, you know, how do you get around this
     9     A Well, the way I've accounted for it is by                 9 problem or that problem on fully loaded costs and how
    10 treating it as a piece of information that needs to be         10 have you done it in the past, I don't do this on past
    11 reasonably compensated for the value that it delivers.         11 assignments. You're not supposed to do it at all.
    12 It is not a cost-based analysis. I've never suggested          12    Q If we are to assume that the parties to the
    13 it was. I was answering your questions, but just               13 services agreement are only allowed to incur
    14 because I was answering a question didn't mean I was           14 reasonable incremental costs, does the agreement meet
    15 suggesting you do that.                                        15 that standard?
    16     Q So if you were going to do a fully absorbed              16       THE WITNESS: Madam Reporter, would you
    17 cost analysis and you said you go back to the                  17 reread that question again?
    18 beginning of the union, looking at overhead costs, I'm         18       (Record read.)
    19 saying, how then do you factor in the fact that the            19       THE WITNESS: I don't understand your
    20 unions have been collecting this information for their         20 question. I mean, that's not what the agreement says
    21 own purposes since the beginning of the union?                 21 and when you say they're only allowed to incur
    22     A Look, look, at some point there's a limit to             22 incremental costs, that states a predicate that is not
    23 how far we should go down this rabbit hole. What I             23 possible.
    24 really told you is that no one, no one means no one,           24 BY MS. McCONNELL:
    25 no one competent uses costs as the basis for valuing           25    Q If the Copyright Act only allows the parties



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     1 to this case to incur reasonable incremental costs,                 1
                                                                       It involves the footnote 12 involving how the
     2 does the services agreement meet that standard?                     2 samples were actually selected.
                                                                                                    And I gave you my
     3       MR. THOMAS: Objection; that calls for a           3 understanding and I -- this footnote comes from
     4 legal conclusion.                                       4 Ms. Sandell's description of it. But I'm told that
     5       THE WITNESS: Well, that is not my                 5 this may not have been artfully expressed, maybe by
     6 understanding. But nevertheless, I have not expressed   6 me, maybe by Ms. Sandell.
     7 any legal opinions. My opinions instead are what        7       But in any event, the -- what Ms. Sandell
     8 would be a reasonable cost. It is not a reasonable      8 really did was take the first 50 transactions from
     9 incremental cost. I've told you that that would be      9 what she considered a random starting point. So my
    10 wrong. I can spend as much time as you want            10 answers involving the existence of the highest 50
    11 explaining why.                                        11 transactions from a group of 100 is actually not what
    12 BY MS. McCONNELL:                                      12 Ms. Sandell did. At least that's what Mr. Sullivan
    13     Q Well, I just want to clarify --                  13 told me. And so I wanted to correct that because I
    14     A And if -- if you're saying that the law says     14 want you to have accurate information.
    15 you need to do it wrong, then I'd say, boy, that's     15    Q Okay. And again, you were not directing the
    16 surprising because normally people who write laws      16 step-by-step process for conducting this 50-song
    17 aren't that stupid.                                    17 sample, right?
    18     Q We -- in your answer you said your opinions      18    A Correct.
    19 are what would be a reasonable cost, but your opinions 19    Q Okay. And now you're saying that
    20 are what would be a reasonable value, right?           20 Ms. Sandell -- strike that.
    21     A You know what, that -- that's fair. But --       21       How were the 5,992 titles ordered?
    22 and I -- and I use the word "cost" in probably a       22    A By dollar amount. There was no change in
    23 shorthand way. I would invite your attention to the    23 that.
    24 description of the assignment, and it's articulated,   24    Q Okay.
    25 is the reasonable amount the funds pay. And I          25    A The only change is that instead of saying
                                                               Page 227                                                       Page 229
     1 shorthanded that to a reasonable cost of what the Fund              1 I've got this starting point and I'm going to take 50
     2 is paying. And -- and if that was confusing to you,                 2 of the next highest 100 -- the 50 highest of the next
     3 you have my apologies.                                              3 100, it really should have been, I just took the next
     4         MS. McCONNELL: Okay. Let's take a break.                    4 50.
     5 Ten minutes.                                                        5    Q Okay. Got it.
     6         MR. THOMAS: Okay.                                           6       Okay. So my question was, have you performed
     7         THE VIDEOGRAPHER: We are now going off the                  7 an evaluation of the services purportedly provided by
     8 record, and the time is 3:43 p.m.                                   8 the unions to the Fund?
     9         (Recess.)                                                   9    A I'm not sure I know what you mean.
    10         THE VIDEOGRAPHER: We are now going back on                 10       MR. THOMAS: I'm going to object to the form
    11 the record, and the time is 3:55 p.m.                              11 as vague.
    12 BY MS. McCONNELL:                                                  12       But go ahead.
    13     Q Have you performed evaluation of the services                13       MS. McCONNELL: Okay.
    14 purportedly provided by the unions to the Fund?                    14    Q So are you aware that in the services
    15     A Ms. McConnell, I want to answer that                         15 agreement there's -- I'll call them two categories of
    16 question, and I promise you I will, but I -- I didn't              16 things purportedly being provided by the unions to the
    17 want to -- there was something I wanted to alert you               17 Fund. There's the data, which includes session
    18 to and I'm worried that I'm going to forget a second               18 reports, B-forms and membership date. And then
    19 time.                                                              19 another classification of services which includes the
    20         There was an answer that I gave that                       20 represent -- quote, representation of fund interests
    21 accurately and honestly reflected my state of mind,                21 of different performing rights societies.
    22 but Mr. Sullivan said that it was not factually                    22       Were you aware of that?
    23 accurate and -- so because it's not factually                      23    A Okay. You're asking about the services?
    24 accurate, even if it was my state of mind, I want to               24    Q Correct.
    25 make certain that it is fixed.                                     25    A I'm aware of the services. I identify the



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     1 services in my report.   I have not attributed any         1 with that?
     2 explicit value to those services.                          2       THE WITNESS: Mr. Thomas, I think that was
     3    Q Okay. We've talked now about the four                 3 directed to you because I --
     4 conclusions that are on page 13.                           4       MR. THOMAS: Well, I think it was -- it might
     5       Are there any other conclusions that we           5 have been directed to you in the first instance,
     6 haven't talked about today?                             6 whether that's a sufficient amount of time for you.
     7     A Well, we've talked about my report, and           7 It's acceptable to me. We've done it on the all the
     8 everything I have is in my report.                      8 depositions. If that gives you enough time to review
     9     Q Okay. And for the bases of your opinions,         9 it, then it's fine by me.
    10 everything you have is in your report, correct?        10        THE WITNESS: That's fine. I'll -- I'll do
    11     A Yes, I believe so. And -- and specifically       11 whatever the -- the circumstances of this case desire.
    12 the portion of Rule 26 that I think you were referring 12        MS. McCONNELL: All right.
    13 to is Roman numeral XII -- II, which is on page 1.     13        THE VIDEOGRAPHER: Okay. This concludes the
    14     Q Just to confirm.                                 14 video deposition of David Nolte. We are now going off
    15       If you haven't done a valuation of the           15 the record, and the time is 4:03 p.m.
    16 services portion of the services agreement, it's your  16
    17 opinion that the data exchange portion of the services 17
    18 agreement is worth the 3 percent; is that correct?     18
    19     A Yes, I'm not suggesting that the unions don't 19
    20 have to do the services, and I'm not suggesting that   20
    21 the services do not have value. I am simply saying I 21
    22 had -- I did not explicitly put extra value on the     22
    23 services so that they were kind of like an additional  23
    24 thing that was helpful to the Fund, but the conclusion 24
    25 is not based on those services.                        25

                                                      Page 231                                                             Page 233
     1     Q Understood.                                          1       DECLARATION UNDER PENALTY OF PERJURY
     2        MS. McCONNELL: Okay. I am finished with             2
     3 your deposition. I obviously cannot make a big show        3       I, DAVID NOLTE, do hereby certify under
     4 of handing you a check at the end of deposition like       4 penalty of perjury that I have read the foregoing
     5 maybe you would have done over a year ago but I have       5 transcript of my deposition taken on Tuesday,
     6 your W9 and I will get a check sent to you for your        6 April 27, 2021; that I have made such corrections as
     7 $625 an hour for 7 hours; is that fair?                    7 appear noted herein in ink, initialed by me; that my
     8        THE WITNESS: Yes, that's fine. Thank you.           8 testimony as contained herein, as corrected, is true
     9        MR. THOMAS: Yeah, I think we're right at            9 and correct.
    10 sort of 7 hours total time and that's -- that's fine      10
    11 and -- and we'll calculate it the same way for yours,     11       Dated this _____ day of ____________, 2021,
    12 Mariana, so that will work fine.                          12 at _______________________________.
    13        MS. McCONNELL: Perfect.                            13
    14        On the record, or whatever, Mr. Nolte, if you      14
    15 wanted to send me wire instructions to pay you, that      15
    16 would be faster obviously than me sticking a check in     16                  ____________________________
    17 the mail or FedEx so it's up to you and your counsel      17                  DAVID NOLTE
    18 but let me know. You can shoot me an e-mail.              18
    19        THE WITNESS: You know, First-Class Mail is         19
    20 fine. I don't want to put you through the extra cost      20
    21 of going through that. So just -- just go -- go send      21
    22 it via Express mail and -- and I appreciate that.         22
    23        MS. McCONNELL: Okay. We've been doing              23
    24 30 days to review and then 10 days for your counsel to    24
    25 notify us of any corrections. Do you have any issue       25




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                                                             Page 234
     1            DEPOSITION ERRATA SHEET
     2
     3 Page No._____ Line No._____
     4 Change:_______________________________________________
     5 Reason for change:____________________________________
     6 Page No._____ Line No._____
     7 Change:_______________________________________________
     8 Reason for change:____________________________________
     9 Page No._____ Line No._____
    10 Change:_______________________________________________
    11 Reason for change:____________________________________
    12 Page No._____ Line No._____
    13 Change:_______________________________________________
    14 Reason for change:____________________________________
    15 Page No._____ Line No._____
    16 Change:_______________________________________________
    17 Reason for change:____________________________________
    18 Page No._____ Line No._____
    19 Change:_______________________________________________
    20 Reason for change:____________________________________
    21
    22
    23 ____________________________          __________________
    24 DAVID NOLTE                   Dated
    25

                                                             Page 235
     1                CERTIFICATE
     2
     3       I, SHARI BOLTON, Certified Shorthand
     4 Reporter, No. 9291, do hereby certify that prior to
     5 the commencement of the examination, the Deponent was
     6 duly remotely sworn by me to testify to the truth, the
     7 whole truth and nothing but the truth.
     8
     9       I DO FURTHER CERTIFY that the foregoing is a
    10 verbatim transcript of the testimony as taken
    11 stenographically by me at the time, place and on the
    12 date hereinbefore set forth, to the best of my
    13 ability.
    14
    15       I DO FURTHER CERTIFY that I am neither a
    16 relative nor employee nor attorney nor counsel of any
    17 of the parties to this action, and that I am neither a
    18 relative nor employee of such attorney or counsel, and
    19 that I am not financially interested in the action.
    20
    21       ______________________________________
    22       SHARI BOLTON
    23       Certified Shorthand Reporter, No. 9291
    24
    25       Dated:_______________________________



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                   EXHIBIT 4
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  13
  14
                                  UNITED STATES DISTRICT COURT
  15
                                CENTRAL DISTRICT OF CALIFORNIA
  16
  17
     KEVIN RISTO, on behalf of himself           CASE NO. 2:18-CV-07241-CAS-PLA
  18 and all others similarly situated,
                         Plaintiff,              CLASS ACTION
  19
  20                v.                           PLAINTIFF’S FIRST SET OF
                                                 INTERROGATORIES TO
  21 SCREEN ACTORS GUILD-                        DEFENDANTS
     AMERICAN FEDERATION OF
  22 TELEVISION AND RADIO
     ARTISTS, a Delaware corporation;
  23 AMERICAN FEDERATION OF
     MUSICIANS OF THE UNITED
  24 STATES AND CANADA, a California
     nonprofit corporation; RAYMOND M.
  25 HAIR, JR, an individual, as Trustee of
     the AFM and SAG-AFTRA Intellectual
  26 Property Rights Distribution Fund;
     TINO GAGLIARDI, an individual, as
  27 Trustee of the AFM and SAG-AFTRA
     Intellectual Property Rights Distribution
  28 Fund; DUNCAN CRABTREE-
       00511648-1                                               PLAINTIFF’S FIRST SET OF
                                                 1
                                                        INTERROGATORIES TO DEFENDANTS
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   1 IRELAND, an individual, as Trustee of
     the AFM and SAG-AFTRA Intellectual
   2 Property Rights Distribution Fund;
     STEFANIE TAUB, an individual, as
   3 Trustee of the AFM and SAG-AFTRA
     Intellectual Property Rights Distribution
   4 Fund; JON JOYCE, an individual, as
     Trustee of the AFM and SAG-AFTRA
   5 Intellectual Property Rights Distribution
     Fund; BRUCE BOUTON, an
   6 individual, as Trustee of the AFM and
     SAG-AFTRA Intellectual Property
   7 Rights Distribution Fund; and DOE
     DEFENDANTS 1-10,
   8
                   Defendants.
   9
  10
       PROPOUNDING PARTY:            KEVIN RISTO
  11
       RESPONDING PARTY:             SCREEN ACTORS GUILD-AMERICAN
  12
                                     FEDERATION OF TELEVISION AND RADIO
  13
                                     ARTISTS, AMERICAN FEDERATION OF
  14
                                     MUSICIANS OF THE UNITED STATES AND
  15
                                     CANADA, RAYMOND M. HAIR, JR, TINO
  16
                                     GAGLIARDI, DUNCAN CRABTREE-IRELAND,
  17
                                     STEFANIE TAUB, JON JOYCE, and BRUCE
  18
                                     BOUTON
  19
       SET NO.:                      ONE
  20
  21
  22
  23
  24
  25
  26
  27
  28
       00511648-1                                             PLAINTIFF’S FIRST SET OF
                                                 2
                                                      INTERROGATORIES TO DEFENDANTS
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   1                TO    DEFENDANTS          SCREEN       ACTORS       GUILD-AMERICAN
   2 FEDERATION OF TELEVISION AND RADIO ARTISTS, AMERICAN
   3 FEDERATION OF MUSICIANS OF THE UNITED STATES AND
   4 CANADA, RAYMOND M. HAIR, JR, TINO GAGLIARDI, DUNCAN
   5 CRABTREE-IRELAND, STEFANIE TAUB, JON JOYCE, and BRUCE
   6 BOUTON AND TO THEIR ATTORNEYS OF RECORD:
   7                You are hereby requested, pursuant to the Federal Rules of Civil Procedure,
   8 Rules 33, to respond, under oath, to the following set of interrogatories within 30
   9 days. Pursuant to Federal Rule of Civil Procedure Rule 26(e), Defendants have a
  10 duty to supplement or correct any disclosure or response to these Interrogatories in a
  11 timely manner if she learns that any disclosure or response is incomplete or
  12 incorrect.
  13                                          DEFINITIONS
  14                1.    “ALL” shall be construed as “any or all” or “each and all,” as the
  15 context requires, so that each Interrogatory shall be construed broadly, rather than
  16 narrowly, to bring within the scope of each Interrogatory that might otherwise be
  17 construed to be outside its scope.
  18                2.    “BETWEEN” shall be construed as “between or among,” as the
  19 context requires, so that each Interrogatory shall be construed broadly, rather than
  20 narrowly, to bring within the scope of each Interrogatory that might otherwise be
  21 construed to be outside its scope.
  22                3.    “CLASS” refers to the Class definition set forth in the First Amended
  23 Complaint: “All persons and entities, their agents, successors in interest, assigns,
  24 heirs, executors, trustees, and administrators who are and/or were non-featured
  25 musicians and non-featured vocalists.”
  26                4.    “CLASS MEMBER” refers to any persons or entities who fall within
  27 the scope of the aforementioned CLASS.
  28                5.    “EACH” and “every” shall both be interpreted in the most inclusive
       00511648-1                                                        PLAINTIFF’S FIRST SET OF
                                                      3
                                                                 INTERROGATORIES TO DEFENDANTS
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   1 light and shall include “each and every.”
   2                6.    “FUND” refers to the AFM and SAG-AFTRA Intellectual Property
   3 Rights Distribution Fund.
   4                7.    “IDENTIFY” with respect to any Computer System, shall require
   5 YOU to provide: (i) the name of the Computer System; (ii) the operating system on
   6 which the Computer System runs; (iii) the brand, model, configuration, and location
   7 of the server running the Computer System (iv) the dates during which the
   8 Computer System was in operation; and (v) whether the Computer System is
   9 accessible.
  10                8.    “IDENTIFY” with respect to any individual, shall require YOU to
  11 provide: (i) the person’s full name; (ii) the person’s present or last known residential
  12 address and telephone number; (iii) the person’s present employment position and
  13 business affiliation; and, (iv) the person’s present or last known business address
  14 and telephone number.
  15                9.    “PLAINTIFF” as used herein shall refer to Plaintiff Kevin Risto.
  16                10.   “ROYALTY” or “ROYALTIES” refers to any monies received by the
  17 AFM and SAG-AFTRA Intellectual Property Rights Distribution Fund that have
  18 been generated by or are attributable to the performances of non-featured musicians
  19 and/or vocalists pursuant to 17 U.S.C. § 114(g).
  20                11.   “SERVICES AGREEMENT” refers to the Data Purchase and
  21 Services Agreement between the American Federation of Musicians of the United
  22 States and Canada, AFL-CIO-CLC, the Screen Actors Guild – American Federal of
  23 Television and Radio Artists, and the AFM and SAG-AFTRA Intellectual Property
  24 Rights Distribution Fund entered into on or about July 24, 2013, including any later
  25 amendments or modifications thereto or restatements thereof.
  26                12.   “SERVICE FEE” refers to the 3% payment set forth in paragraph 6 of
  27 the SERVICES AGREEMENT.
  28                13.   “TRUST AGREEMENT” refers to the AFM and AFTRA Intellectual
       00511648-1                                                        PLAINTIFF’S FIRST SET OF
                                                      4
                                                                 INTERROGATORIES TO DEFENDANTS
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   1 Property Rights Distribution Fund’s Agreement and Declaration of Trust entered
   2 into on September 16th, 1998, including any later amendments or modifications
   3 thereto or restatements thereof
   4                14.   “UNIONS” as used herein refers collectively to the Screen Actors
   5 Guild-American Federation of Television of Radio Artists (“SAG-AFTRA”) and
   6 American Federation of Musicians of the United States and Canada (“AFM”),
   7 including, as applicable, any predecessor unions.
   8                15.   “YOU” and “YOUR” as used herein shall refer to the Defendant
   9 responding to the request and any of its parents, predecessors, other affiliates,
  10 successors, or subsidiaries, including officers, directors, employees, partners, agents,
  11 consultants, or any other person acting or purporting to act on behalf of such
  12 entities.
  13                                         INSTRUCTIONS
  14                1.    Whenever appropriate, the singular form of a word shall be interpreted
  15 in the plural, or vice versa. All verb tenses shall be interpreted to include past,
  16 present and future tenses. The terms "and" as well as "or" shall be construed either
  17 disjunctively or conjunctively as necessary to bring within the scope of these
  18 Interrogatories any relevant information that might otherwise be construed to be
  19 outside of their scope.
  20                2.    YOU must provide the factual information responsive to these
  21 interrogatories that is available, even if the information is within the knowledge or
  22 possession of your attorneys. See, e.g., Hickman v. Taylor, 329 U.S. 495, 504 (1947)
  23 ("A party clearly cannot refuse to answer interrogatories on the ground that the
  24 information sought is solely within the knowledge of his attorney.")
  25                3.    If you elect to respond to any of these Interrogatories by producing
  26 DOCUMENTS pursuant to Federal Rule of Civil Procedure 33(d) and any of the
  27 responsive DOCUMENTS are available as electronically stored information, such
  28 as, but not limited to, e-mails or spreadsheets, then Defendant requests that YOU
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                                                      5
                                                                 INTERROGATORIES TO DEFENDANTS
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   1 produce them in a searchable PDF format, or, if spreadsheets, in a Microsoft Excel
   2 format. If the electronically stored information is stored in a voice or sound format
   3 only, then Defendant requests that YOU produce it on a CD-ROM or DVD.
   4                4.    Pursuant to Federal Rules of Civil Procedure Rule 26(e), YOU have a
   5 duty to supplement or correct any disclosure or response to these Interrogatories in a
   6 timely manner if Plaintiff learns that any disclosure or response is incomplete or
   7 incorrect.
   8                5.    None of the interrogatories below is intended to be, or shall be construed
   9 as, an admission of any fact.
  10                6.    Each Interrogatory shall be answered separately by each DEFENDANT.
  11                7.    If any portion of an Interrogatory response is withheld under a claim of
  12 privilege or other ground, state that it is being withheld and explain why, including a
  13 description of the Information withheld in accordance with Fed. R. Civ. P. 26(b)(5).
  14                8.    If the answer to all or any part of any Interrogatory is not presently
  15 known or available, include a statement to that effect and furnish any information
  16 presently known or available.
  17                9.    If any Interrogatory or any part of any Interrogatory cannot be
  18 answered in full, answer to the fullest extent possible with an explanation of why a
  19 complete answer is not provided.
  20                10.   Each Interrogatory herein shall be answered independently and not with
  21 reference to any other Interrogatory for purposes of limitation.
  22                11.   These Interrogatories are continuing in nature pursuant to Federal Rule
  23 of Civil Procedure 26(e), and therefore require YOU to furnish supplemental
  24 responses whenever YOU discover additional facts responsive to the Interrogatories.
  25                                       INTERROGATORIES
  26 INTERROGATORY NO. 1:
  27                IDENTIFY EACH CLASS MEMBER by stating their name, mailing
  28 address, email address, and telephone number.
       00511648-1                                                          PLAINTIFF’S FIRST SET OF
                                                        6
                                                                   INTERROGATORIES TO DEFENDANTS
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   1 INTERROGATORY NO. 2:
   2                IDENTIFY ALL persons and entities, their agents, successors in interest,
   3 assigns, heirs, executors, trustees, and administrators who are and/or were non-
   4 featured musicians and non-featured vocalists BETWEEN July 22, 2013 and the
   5 present.
   6 INTERROGATORY NO. 3:
   7                IDENTIFY ALL persons and entities, their agents, successors in interest,
   8 assigns, heirs, executors, trustees, and administrators who have received
   9 ROYALTY distributions from the FUND from July 22, 2013 to the present.
  10 INTERROGATORY NO. 4:
  11                On an annual basis, separately state the total ROYALTIES collected or
  12 received by the FUND since 2013.
  13 INTERROGATORY NO. 5:
  14                On an annual basis, separately state the total ROYALTIES paid to members
  15 of the CLASS from the FUND since 2013.
  16 INTERROGATORY NO. 6:
  17                On an annual basis, separately state the total ROYALTIES received by the
  18 FUND and not paid to members of the CLASS since 2013.
  19 INTERROGATORY NO. 7:
  20                On an annual basis, separately state the amounts paid from the FUND to
  21 SAG-AFTRA since 2013.
  22 INTERROGATORY NO. 8:
  23                On an annual basis, separately state the amounts paid from the FUND to
  24 AFM since 2013.
  25 INTERROGATORY NO. 9:
  26                If YOU contend that ALL ROYALTIES owed to the CLASS have been
  27 paid to the beneficiaries of the FUND, state ALL facts that support that contention.
  28
       00511648-1                                                      PLAINTIFF’S FIRST SET OF
                                                     7
                                                               INTERROGATORIES TO DEFENDANTS
Case 2:18-cv-07241-CAS-PLA Document 123 Filed 06/21/21 Page 122 of 162 Page ID
                                  #:4445



   1 INTERROGATORY NO. 10:
   2                If YOU contend that the SERVICE FEE is a reasonable charge for the
   3 services provided by the UNIONS, state ALL facts that support that contention.
   4 INTERROGATORY NO. 11:
   5                Set forth the benefits conferred upon UNION members as a result of the
   6 SERVICES AGREEMENT.
   7 INTERROGATORY NO. 12:
   8                Set forth the benefits conferred upon non-UNION members as a result of the
   9 SERVICES AGREEMENT.
  10 INTERROGATORY NO. 13:
  11                If YOU contend that the FUND is entitled to use ROYALTIES to pay for the
  12 services set forth in the SERVICES AGREEMENT, state ALL facts that support
  13 that contention.
  14 INTERROGATORY NO. 14:
  15                If YOU contend that the FUND was entitled to enter into the SERVICES
  16 AGREEMENT, set forth all authority that supports that contention.
  17 INTERROGATORY NO. 15:
  18                IDENTIFY ALL individuals involved in the negotiation of the TRUST
  19 AGREEMENT.
  20 INTERROGATORY NO. 16:
  21                IDENTIFY ALL individuals responsible in the negotiation of the
  22 SERVICES AGREEMENT.
  23 INTERROGATORY NO. 17:
  24                Describe ALL actions by the FUND to avoid conflicts of interest
  25 BETWEEN the parties to the SERVICES AGREEMENT.
  26 INTERROGATORY NO. 18:
  27                Set forth ALL reasons why the FUND decided to cease mailing of the AFM
  28 & SAG-AFTRA Annual Report to the FUND’s beneficiaries in 2013.
       00511648-1                                                       PLAINTIFF’S FIRST SET OF
                                                     8
                                                                INTERROGATORIES TO DEFENDANTS
Case 2:18-cv-07241-CAS-PLA Document 123 Filed 06/21/21 Page 123 of 162 Page ID
                                  #:4446



   1 INTERROGATORY NO. 19:
   2                IDENTIFY ALL individuals who prepared the FUND’s Annual Reports
   3 from 2013 to the present.
   4 INTERROGATORY NO. 20:
   5                Set forth how much the UNIONS charge other performing rights
   6 organizations for the services set forth in the SERVICES AGREEMENT.
   7 INTERROGATORY NO. 21:
   8                State ALL facts supporting YOUR contention that the CLASS is not
   9 sufficiently numerous to treat this case as a class action.
  10 INTERROGATORY NO. 22:
  11                State ALL facts supporting YOUR contention that the CLASS is not
  12 ascertainable.
  13 INTERROGATORY NO. 23:
  14                State ALL facts supporting YOUR contention that common questions of law
  15 or fact do not predominate over any individual questions in this case.
  16 INTERROGATORY NO. 24:
  17                State ALL facts supporting YOUR contention that PLAINTIFF’s claims are
  18 not typical of the claims of the CLASS.
  19 INTERROGATORY NO. 25:
  20                State ALL facts supporting YOUR contention that PLAINTIFF will not
  21 adequately represent the CLASS.
  22 INTERROGATORY NO. 26:
  23                State ALL facts supporting YOUR contention that PLAINTIFF’s counsel
  24 will not adequately represent the CLASS.
  25 INTERROGATORY NO. 27:
  26                State ALL facts supporting YOUR contention that a class action is not the
  27 superior method of adjudicating this case.
  28
       00511648-1                                                      PLAINTIFF’S FIRST SET OF
                                                     9
                                                               INTERROGATORIES TO DEFENDANTS
Case 2:18-cv-07241-CAS-PLA Document 123 Filed 06/21/21 Page 124 of 162 Page ID
                                  #:4447



   1 INTERROGATORY NO. 28:
   2                State ALL facts supporting YOUR contention that CLASS MEMBERS
   3 have or had knowledge of the SERVICE FEE.
   4 INTERROGATORY NO. 29:
   5                State ALL facts supporting YOUR contention that CLASS MEMBERS
   6 approved of the SERVICE FEE.
   7 INTERROGATORY NO. 30:
   8                IDENTIFY ALL individuals who decided to implement the SERVICE
   9 FEE.
  10
       DATED: February 22, 2019             KIESEL LAW LLP
  11
  12
                                            By:
  13
                                              PAUL R. KIESEL
  14                                          MARIANA A. MCCONNELL
  15
                                            JOHNSON & JOHNSON LLP
  16
                                              NEVILLE L. JOHNSON
  17                                          JORDANNA G. THIGPEN
                                              DANIEL B. LIFSCHITZ
  18
  19                                        Attorneys for Plaintiff and the Class
  20
  21
  22
  23
  24
  25
  26
  27
  28
       00511648-1                                                  PLAINTIFF’S FIRST SET OF
                                               10
                                                           INTERROGATORIES TO DEFENDANTS
Case 2:18-cv-07241-CAS-PLA Document 123 Filed 06/21/21 Page 125 of 162 Page ID
                                  #:4448



   1                                       PROOF OF SERVICE
   2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
   3       At the time of service, I was over 18 years of age and not a party to this
     action. I am employed in the County of Los Angeles, State of California. My
   4 business address is 8648 Wilshire Boulevard, Beverly Hills, CA 90211-2910.
   5       On February 22, 2019, I served true copies of the following document(s)
     described as PLAINTIFF’S FIRST SET OF INTERROGATORIES TO
   6 DEFENDANTS on the interested parties in this action as follows:
   7                                 SEE ATTACHED SERVICE LIST
   8        BY MAIL: I enclosed the document(s) in a sealed envelope or package
     addressed to the persons at the addresses listed in the Service List and placed the
   9 envelope for collection and mailing, following our ordinary business practices. I am
     readily familiar with Kiesel Law LLP's practice for collecting and processing
  10 correspondence for mailing. On the same day that the correspondence is placed for
     collection and mailing, it is deposited in the ordinary course of business with the
  11 United States Postal Service, in a sealed envelope with postage fully prepaid.
  12       I declare under penalty of perjury under the laws of the United States of
     America that the foregoing is true and correct and that I am employed in the office
  13 of a member of the bar of this Court at whose direction the service was made.
  14                Executed on February 22, 2019, at Beverly Hills, California.
  15
  16
                                                       Maria Basey
  17
  18
  19
  20
  21
  22
  23
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  26
  27
  28
       00511648-1                                                         PLAINTIFF’S FIRST SET OF
                                                       1
                                                                  INTERROGATORIES TO DEFENDANTS
Case 2:18-cv-07241-CAS-PLA Document 123 Filed 06/21/21 Page 126 of 162 Page ID
                                  #:4449



   1                                       SERVICE LIST
           Kevin Risto, et. al. v. Screen Actors Guild-American Federation Of Television
   2              And Radio Artists, et. al.; Case No. 2:18-cv-07241-CAS-PLA
   3
   4 Andrew J. Thomas                             Attorneys for All Defendants
     Andrew G. Sullivan
   5 JENNER & BLOCK LLP
     633 West 5th Street, Suite 3600
   6 Los Angeles, CA 90071
     Telephone: (213) 239-5100
   7 Facsimile: (213) 239-5199
     Emails: ajthomas@jenner.com
   8         agsullivan@jenner.com
   9 Devi M. Rao                                  Attorneys for All Defendants
     JENNER & BLOCK LLP
  10 1099 New York Ave, NW, Suite 900
     Washington, D.C. 20001
  11 Telephone: (202) 639-6000
     Facsimile: (202) 639-6066
  12 Email: drao@jenner.com
  13 Neville L. Johnson                           Attorneys for Plaintiff and the Class
     Douglas L. Johnson
  14 Jordanna G. Thigpen
     JOHNSON & JOHNSON LLP
  15 439 North Canon Drive, Suite 200
     Beverly Hills, California 90210
  16 Telephone: 310-975-1080
     Facsimile: 310-975-1095
  17 Emails: njohnson@jjllplaw.com
             djohnson@jjllplaw.com
  18         jthigpen@jjllplaw.com
  19
  20
  21
  22
  23
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  27
  28
       00511648-1                                                   PLAINTIFF’S FIRST SET OF
                                                 2
                                                            INTERROGATORIES TO DEFENDANTS
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                   EXHIBIT 5
Case 2:18-cv-07241-CAS-PLA Document 123 Filed
                                 Julie        06/21/21 Page 128 of 162 Page ID
                                         Sandell
                                  #:4451

      1                   UNITED STATES DISTRICT COURT
      2                 CENTRAL DISTRICT OF CALIFORNIA
      3                              ---oOo---
      4    KEVIN RISTO, on behalf of
           himself and all others
      5    similarly situated,
      6                        Plaintiffs,
      7          vs.                              No.
                                                  2:18-cv-07241-CAS-PLA
      8
           SCREEN ACTORS GUILD-AMERICAN
      9    FEDERATION OF TELEVISION AND
           RADIO ARTISTS, a Delaware
     10    corporation; AMERICAN
           FEDERATION OF MUSICIANS OF THE
     11    UNITED STATES AND CANADA, a
           California nonprofit
     12    corporation, et al.,
     13                        Defendants.
     14    ______________________________/
     15                   Wednesday, December 9, 2020
     16                                 - - -
     17                Remote videotaped deposition of JULIE
     18    SANDELL, conducted with the witness located in
     19    Studio City, California, commencing at 9:07 a.m.,
     20    before me, Gina V. Carbone, a Registered Merit
     21    Reporter, California Certified Realtime Reporter,
     22    California Certified Shorthand Reporter No. 8249.
     23                                 - - -
     24                    GOLKOW TECHNOLOGIES, INC.
                       877.370.3377 ph | 971.591.5672 fax
     25                          deps@golkow.com



    Golkow Litigation Services                                            Page 1
Case 2:18-cv-07241-CAS-PLA Document 123 Filed
                                 Julie        06/21/21 Page 129 of 162 Page ID
                                         Sandell
                                  #:4452

      1                  REMOTE APPEARANCES OF COUNSEL

      2

      3

      4    For the Plaintiff KEVIN RISTO:

      5         KIESEL LAW LLP

      6         By:   NICHOLAS BRANCOLINI, ESQ.

      7               MARIANA A. McCONNELL, ESQ.

      8         8648 Wilshire Boulevard

      9         Beverly Hills, California 90211

     10         (310) 854-0812

     11         brancolini@kiesel.law

     12         mcconnell@kiesel.law

     13

     14

     15    CO-COUNSEL:

     16         JOHNSON & JOHNSON

     17         By:   DANIEL B. LIFSCHITZ, ESQ.

     18         439 N. Canon Drive, Suite 200

     19         Beverly Hills, California 90210

     20         (310) 975-1095

     21         dlifschitz@jjllplaw.com

     22

     23

     24

     25    //



    Golkow Litigation Services                                            Page 2
Case 2:18-cv-07241-CAS-PLA Document 123 Filed
                                 Julie        06/21/21 Page 130 of 162 Page ID
                                         Sandell
                                  #:4453

      1    REMOTE APPEARANCES (continued)

      2

      3

      4    For the Defendants:

      5         JENNER & BLOCK

      6         By:   ANDREW J. THOMAS, ESQ.

      7               ANDREW G. SULLIVAN, ESQ.

      8               ANNA LYONS, ESQ.

      9         633 W. 5th Street, Suite 3600

     10         Los Angeles, California 90071

     11         (213) 239-5155

     12         ajthomas@jenner.com

     13         agsullivan@jenner.com

     14         alyons@jenner.com

     15

     16    ALSO PRESENT:      ALEX KLYUSNER, videographer

     17

     18                               --oOo--

     19

     20

     21

     22

     23

     24

     25




    Golkow Litigation Services                                            Page 3
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                                 Julie        06/21/21 Page 131 of 162 Page ID
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                                  #:4454

      1                                 - - -

      2               THE VIDEOGRAPHER:       We are now on the

      3    record.    My name is Alex Klyusner, I'm a

      4    videographer for Golkow Litigation Services.

      5    Today's date is December 9th, 2020 and the time is

      6    9:07 a.m.

      7               This remote video deposition is being held

      8    in the matter of Kevin Risto versus Screen Actors

      9    Guild, et al. for the U.S. District Court, Central

     10    District of California.        The deponent is Julie

     11    Sandell.

     12               All parties to this deposition are

     13    appearing remotely and have agreed to the witness

     14    being sworn in remotely.        Due to the nature of

     15    remote reporting, please pause briefly before

     16    speaking to ensure all parties are heard completely.

     17               Will counsel please identify themselves.

     18               MS. McCONNELL:      Mariana McConnell from

     19    Kiesel Law for plaintiff and the class.

     20               MR. BRANCOLINI:      Nico Brancolini from

     21    Kiesel Law on behalf of plaintiff and the class.

     22               MR. LIFSCHITZ:      Daniel Lifschitz on behalf

     23    of plaintiff and the class from Johnson & Johnson.

     24               MR. THOMAS:     Andrew Thomas from Jenner &

     25    Block on behalf of the defendants and the witness.



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      1               MR. SULLIVAN:      Andrew Sullivan from Jenner

      2    & Block on behalf of all defendants and the witness.

      3               THE VIDEOGRAPHER:       Okay.   The court

      4    reporter is Gina Carbone and will now please swear

      5    in the witness.

      6               THE REPORTER:      I'm sorry.     Ms. Lyons was, I

      7    think, introducing herself but we couldn't hear her.

      8               And Mr. Sullivan, you're on mute as well.

      9               MR. SULLIVAN:      Apologies.

     10               If Anna is having difficulty joining, I'll

     11    identify her and say that Anna Lyons from Jenner &

     12    Block on behalf of all defendants and the witness is

     13    also present.

     14                            JULIE SANDELL,

     15        called as a witness, having been duly sworn,

     16                       testified as follows:

     17                   EXAMINATION BY MS. McCONNELL

     18    BY MS. McCONNELL:

     19          Q.   Good morning, Ms. Sandell.

     20          A.   Good morning.

     21          Q.   Could you please state and spell your full

     22    name for the record.

     23          A.   Julie Sandell, J-U-L-I-E, S-A-N-D-E-L-L.

     24          Q.   Okay.    Thank you.     So before we get started

     25    with the substance of questions, I want to go over



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      1          Q.   Okay.    That's fine.

      2               You haven't been involved in any of the,

      3    I'll call them, like, budgetary decisions on

      4    updating the AS400 or anything like that?

      5          A.   No.

      6          Q.   Was that a no?      Sorry.

      7          A.   No.

      8          Q.   You told us about collecting the emails and

      9    putting them in folders.        Did you at any time count

     10    how many email requests you found from the Fund

     11    researchers to the union?

     12          A.   No.   It was --

     13          Q.   And -- sorry?

     14          A.   It was thousands.

     15               (Reporter clarification.)

     16    BY MS. McCONNELL:

     17          Q.   Did you notice whether there were more

     18    requests to local AFM chapters or local SAG-AFTRA

     19    chapters?

     20          A.   No.

     21          Q.   Okay.    I think that was all just

     22    background, so now I'll get into my deposition

     23    questions.

     24               Just by way of figuring out your background

     25    and expertise, did you attend college?



    Golkow Litigation Services                                           Page 31
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                                 Julie        06/21/21 Page 134 of 162 Page ID
                                         Sandell
                                  #:4457

      1          A.   Yes.

      2          Q.   Where did you go?

      3          A.   Cal State Northridge.

      4          Q.   And did you obtain a degree?

      5          A.   Yes.

      6          Q.   And what was that degree in?

      7          A.   Radio, TV and film.

      8          Q.   Did you go to graduate school?

      9          A.   No.

     10          Q.   What was your most recent position prior to

     11    working for the Fund?

     12          A.   I worked for Bonnie Raitt.

     13          Q.   What year did you start -- what did you do

     14    for Bonnie Raitt?

     15          A.   I managed her properties.

     16          Q.   When did you start working at the Fund?

     17          A.   September of 2009.

     18          Q.   What was your first position at the Fund?

     19          A.   Research associate.

     20          Q.   And generally what were the duties of your

     21    position as a research associate?

     22          A.   To research the titles, to find the

     23    nonfeatured performers, and to answer phones and

     24    work with the participants.         And I was the primary

     25    person that did the unclaimed and did the outreach



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                                 Julie        06/21/21 Page 135 of 162 Page ID
                                         Sandell
                                  #:4458

      1               MS. McCONNELL:      Yeah.    I didn't like how I

      2    asked it the first time anyway, so....

      3          Q.   At any point in time up until today, were

      4    you asked to collect any data showing the number of

      5    times a nonfeatured performer was identified due to

      6    a union effort as opposed to Fund effort?

      7               MR. THOMAS:     Same objections.

      8               THE WITNESS:      That's kind of a confusing

      9    question to me.

     10    BY MS. McCONNELL:

     11          Q.   You told us about the different sources

     12    that the Fund can look at to identify nonfeatured

     13    performers on tracks, and I'm wondering has anyone

     14    ever asked you to segregate whether the Fund has

     15    identified a performer due to something that the

     16    union has provided the Fund, as opposed to an online

     17    resource like Discogs or AllMusic?

     18          A.   Well, that would be too time consuming.            It

     19    wouldn't be worth it.

     20          Q.   Why wouldn't it be worth it?

     21          A.   Because our objective is to research the

     22    title correctly to the best of our ability and get

     23    it as right as right can be with all of our sources.

     24    We don't really think about it that way.

     25          Q.   All right.     You don't -- you don't have --



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                   EXHIBIT 6
         Case 2:18-cv-07241-CAS-PLA Document 123 Filed 06/21/21 Page 137 of 162 Page ID
                                           #:4460
                                                                                      Fulcrum Financial Inquiry LLP
                                                                                      707 Wilshire Boulevard, Suite 2050
                                                                                      Los Angeles, CA 90017

                                                                                      (213) 787-4100
                                                                                      www.fulcrum.com


               February 17, 2020

               Andrew J. Thomas, Esq.
               Andrew Sullivan, Esq.
               Jenner & Block LLP
               633 West 5th Street, Suite 3600
               Los Angeles, CA 90071-2054

               Gentlemen:

               Enclosed is Fulcrum's third billing in connection with Kevin Risto, (as class representative) vs.
               Screen Actors Guild - American Federation Of Television And Radio Artists, American Federation of
               Musicians of the United States and Canada, AFM and SAG-AFTRA Intellectual Property Rights
               Distribution Fund, et al. (USDC, Central District of California Case No. 2: 18-cv-07241-CAS). This
               billing covers services for one and a half month period from January 1, 2021 through February 15,
               2021. If you or others require additional information, I will be happy to provide it.

               In accordance with our engagement letter, this bill is due immediately and is delinquent if not paid
               by March 17, 2021. However, in accordance with the engagement letter, I would appreciate the
               Fund's review and approval ( email is OK) of the attached bill before issuance of my expert report,
               which is currently scheduled for completion on March 8, 2021. Please contact me if this approval
               and/or payment commitment cannot be met.

               I would appreciate payment through electronic means. If you prefer to send a physical check, it
               would be best to send this to my home office (see my August 25 email for the address), as
               physical mail sent to Fulcrum's downtown office is being forwarded by the USPS, and we are
               finding this to be both slow and not reliable. Fulcrum's electronic payment information follows:

                     Bank:   Farmers & Merchant Bank
                             315 N. Harbor Boulevard, Fullerton, CA 92832
                             714-578-1945
                     Bank ABA #    122201198
                     Account Name: Fulcrum Financial Inquiry LLP
                     Account#
                     SWIFT#

               It is a pleasure to assist you on this matter. Please let me know if we can be of further assistance.
               My direct telephone number is 213-787-4111.

               Very truly yours,
               Fulcrum Financial Inquiry LLP


               By:
                     David Nolte

               "Give me a lever long enough and a fulcrum on which to place it and I shall move the world"
                                                                                                   Archimedes




Confidential                                                                                                    NOLTE00000001
         Case 2:18-cv-07241-CAS-PLA Document 123 Filed 06/21/21 Page 138 of 162 Page ID
                                           #:4461
                                                                                       Fulcrum Financial Inquiry LLP
                                                                                       707 Wilshire Boulevard, Suite 2050
                                                                                       Los Angeles, CA 90017

                                                                                       (213) 787-4100
                                                                                       www.fulcrum.com
               February 17, 2020

               Andrew J. Thomas, Esq.
               Andrew Sullivan, Esq.
               Jenner & Block LLP
               633 West 5th Street, Suite 3600
               Los Angeles, CA 90071-2054

                                                            INVOICE

                For professional services rendered in connection with Kevin Risto/ (as class
                representative) vs. Screen Actors Guild - American Federation Of Television
                And Radio Artists/ American Federation of Musicians of the United States and
                Canada/ AFM and SAG-AFTRA Intellectual Property Rights Distribution Funct
                                                                                                        $18,375
                et al. (USD4 Central District of California Case No. 2:18-cv-07241-CAS)
                incurred from January 1, 2021 through February 15, 2021. The bill was
                calculated as follows:

                      Personnel                Hours            Rate               Total
                      David Nolte                29.4            625             $18,375
                      All out-of-pocket costs have been absorbed (not billed)

                      Total                                                     $18,375

               The above time was incurred on the following tasks:

               1. Read and considered the January 20, 2021 deposition of Stefanie Taub, and the exhibits
                  thereto

               2.   Read and addressed the notes prepared by Ms. Taub in connection with her January 20, 2021
                    deposition

               3.   Reviewed and addressed the SO-title sample of information performed by the Fund's research
                    personnel

               4.   Read and address Plaintiff's written discovery responses, dated February 12, 2021

               5.   Telephone consultations on January 11, January 14, and January 26, and February 1, 2011

               6.   Updated Fulcrum's dralt report, and provided the same to legal counsel on February 10


               If you have any questions regarding this invoice, please contact David Nolte at 213-787-4111.

               Due and payable immediately. Delinquent if not paid by March 17, 2021. However, in
               accordance with the engagement letter, please review and approve this bill before
               Fulcrum's current report is finalized (scheduled for March 8, 2021).

               Fulcrum's Taxpayer Identification Number is -




Confidential                                                                                                 NOLTE00000002
         Case 2:18-cv-07241-CAS-PLA Document 123 Filed 06/21/21 Page 139 of 162 Page ID
                                           #:4462
                                                                                      Fulcrum Financial Inquiry LLP
                                                                                      707 Wilshire Boulevard, Suite 2050
                                                                                      Los Angeles, CA 90017

                                                                                      (213) 787-4100
                                                                                      www.fulcrum.com


               March 17, 2020

               Andrew J. Thomas, Esq.
               Andrew Sullivan, Esq.
               Jenner & Block LLP
               633 West 5th Street, Suite 3600
               Los Angeles, CA 90071-2054

               Gentlemen:

               Enclosed is Fulcrum's fourth billing in connection with Kevin Risto, (as class representative) vs.
               Screen Actors Guild - American Federation of Television and Radio Artists, American Federation of
               Musicians of the United States and Canada, AFM and SAG-AFTRA Intellectual Property Rights
               Distribution Fund, et al. (USDC, Central District of California Case No. 2: 18-cv-07241-CAS). This
               billing covers services for the period from February 16 through March 15, 2021. If you or others
               require additional information, I will be happy to provide it.

               In accordance with our engagement letter, this bill is due immediately and is delinquent if not paid
               by April 16, 2021. Please contact me if this approval and/or payment commitment cannot be met.

               Consistent with what occurred with Fulcrum's earlier invoices, I would appreciate payment through
               electronic means. If you prefer to send a physical check, it would be best to send this to my
               home office (see my August 25 email for the address), as physical mail sent to Fulcrum's
               downtown office is being forwarded by the USPS, and we are finding this to be both slow and not
               reliable. Fulcrum's electronic payment information follows:

                     Bank:  Farmers & Merchant Bank
                             315 N. Harbor Boulevard, Fullerton, CA 92832
                             714-578-1945
                     Bank ABA #     122201198
                     Account Name: Fulcrum Financial Inquiry LLP
                     Account#
                     SWIFT#

               It is a pleasure to assist you on this matter. Please let me know if we can be of further assistance.
               My direct telephone number is 213-787-4111.

               Very truly yours,
               Fulcrum Financial Inquiry LLP

                       i)~1~,--
               By:    /';;
                     David Nolte




               "Give me a lever long enough and a fulcrum on which to place it and I shall move the world"
                                                                                                   Archimedes




Confidential                                                                                                    NOLTE00000003
         Case 2:18-cv-07241-CAS-PLA Document 123 Filed 06/21/21 Page 140 of 162 Page ID
                                           #:4463
                                                                                         Fulcrum Financial Inquiry LLP
                                                                                         707 Wilshire Boulevard, Suite 2050
                                                                                         Los Angeles, CA 90017

                                                                                         (213) 787-4100
                                                                                         www.fulcrum.com
               March 17, 2020

               Andrew J. Thomas, Esq.
               Andrew Sullivan, Esq.
               Jenner & Block LLP
               633 West 5th Street, Suite 3600
               Los Angeles, CA 90071-2054

                                                              INVOICE

                For professional services rendered in connection with Kevin Risto/ (as class
                representative) vs. Screen Actors Guild - American Federation of Television
                and Radio Artists/ American Federation of Musicians of the United States and
                Canada/ AFM and SAG-AFTRA Intellectual Property Rights Distribution Funct
                                                                                                         $29,750
                et al. (USD4 Central District of California Case No. 2:18-cv-07241-CAS)
                incurred from February 16 through February 15, 2021. The bill was
                calculated as follows:

                      Personnel                Hours            Rate               Total
                      David Nolte                32.2            625             $20.125
                      Brian Nolte                25.0            385               9,625
                      All out-of-pocket costs have been absorbed (not billed)

                      Total                                                     $29,750

               The above time was incurred on the following tasks:

               1. Performed analysis to provide the following tallies of data associated with unique songs (i.e.,
                  there is no duplication where data was provided across multiple years):

                    a. Count of performances documented with and without Union session repots
                    b. Count of participants in songs documented with and without Union session repots
                    c. Total contributions from songs documented with and without Union session repots;

               2.   Performed analysis on the SO-song sample provided by client to calculate the number of
                    participants and the gross dollar amounts incorrectly distributed without the benefit of Union
                    data;

               3. The Fund provided a new version of the SO-song sample; rechecked Fulcrum's analysis to
                  ensure there were no changes to the underlying data that would alter the earlier conclusion;

               4.   Read/scanned the following depositions:

                    a. Crabtree-Ireland (two days)
                    b. Hair (two days)
                    c. Dreith;

               5.   Reviewed the amended interrogatory responses submitted by the Fund and the Unions;




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               6. Initial research regarding the cost percentages of other music royalty reporting organizations;

               7. Telephone consultations with legal counsel and Fund personnel on March 3, 2021 and March
                  4, 2021;

               8. Created exhibits that support Fulcrum's conclusions, for inclusion in Fulcrum's report;

               9.   Updated Fulcrum's dralt report for all of the previously-described steps;

               10. Updated report to include production numbers on documents produced;

               11. Various additional communications with counsel;

               12. Reviewed comments received on Fulcrum's report, and finalized Fulcrum's March 8, 2021
                   report and associated exhibits;




               If you have any questions regarding this invoice, please contact David Nolte at 213-787-4111.

               Due and payable immediately. Delinquent if not paid by April 16, 2021.

               Fulcrum's Taxpayer Identification Number is -




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                   EXHIBIT 7
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                                       #:4466




From: Mariana A. McConnell <Mcconnell@kiesel.law>
Sent: Monday, June 14, 2021 10:53 AM
To: A.J. Thomas <ajthomas@jenner.com>; Andrew Sullivan <agsullivan@jenner.com>; Anna Lyons
<alyons@jenner.com>
Cc: Paul R. Kiesel <kiesel@kiesel.law>; Nicholas Brancolini <Brancolini@kiesel.law>; Daniel Lifschitz
<dlifschitz@jjllplaw.com>; Neville Johnson <njohnson@jjllplaw.com>
Subject: Risto ‐ Sandell Deposition

Hello,
We would like to get the Sandell deposition scheduled on either Wednesday or Thursday of this week since our MILs are
due on Monday. Please let us know asap.

Thanks.
Mariana




                                                             1
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                   EXHIBIT 8
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                                        #:4468




From: Sullivan, Andrew G. <AGSullivan@jenner.com>
Sent: Wednesday, June 16, 2021 7:40 AM
To: Mariana A. McConnell <Mcconnell@kiesel.law>
Cc: Thomas, Andrew J. <AJThomas@jenner.com>; Lyons, Anna K. <ALyons@jenner.com>; Paul R. Kiesel
<kiesel@kiesel.law>; Nicholas Brancolini <Brancolini@kiesel.law>; Daniel Lifschitz <DLifschitz@jjllplaw.com>; Neville
Johnson <njohnson@jjllplaw.com>
Subject: Re: Risto ‐ Sandell Deposition


Mariana,



In our view, the Court has rejected Plaintiff’s position that the Sandell declaration and related testimony
should be excluded, and has determined that any prejudice Plaintiff has suffered as a result of the timing can
be remedied by a short deposition. As explained in prior briefing, the final results of the 50 title exercise could
not have been disclosed during the discovery period because they did not exist then. Defendants’ prior
briefing also corrected Plaintiff’s inaccurate assertion—repeated in your email below—that Ms. Sandell is
opining on “conclusions” drawn from the 50 title exercise.



Defendants can make Ms. Sandell available for deposition from 1‐3pm on either June 25 or June
28. Defendants will work to identify another mutually agreeable time for Ms. Sandell’s deposition if this
timing does not work for Plaintiff.



Regards,

Andrew


         On Jun 15, 2021, at 8:42 AM, Mariana A. McConnell <Mcconnell@kiesel.law> wrote:


         External Email – Exercise Caution
         Andrew,


                                                            1
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 Defendants’ failure to disclose the study during discovery is just one reason why it should be excluded.
 The study is also inherently flawed and not relevant, the study is highly prejudicial, misleading, and a
 waste of time, and Ms. Sandell is not qualified to architect or perform a study or report on its
 conclusions, among other deficiencies. So, no, we do not agree that taking her deposition moots any
 motion in limine.
 We have three options:
     1. You present Ms. Sandell on Wednesday or Thursday and we file a Motion in Limine on Monday
     2. You present Ms. Sandell on a later date and agree to an alternate briefing schedule on this
         Motion
     3. You do not present Ms. Sandell this week and do not agree on an alternate briefing schedule,
         and we will file a Motion on Monday explaining your failures to the Court and providing another
         reason to exclude the study.

 Let us know as soon as possible which option you decide.

 Mariana

 From: Andrew Sullivan <AGSullivan@jenner.com>
 Date: Tuesday, June 15, 2021 at 8:25 AM
 To: "Mariana A. McConnell" <Mcconnell@kiesel.law>
 Cc: "A.J. Thomas" <AJThomas@jenner.com>, Anna Lyons <ALyons@jenner.com>, "Paul R.
 Kiesel" <kiesel@kiesel.law>, Nicholas Brancolini <Brancolini@kiesel.law>, Daniel Lifschitz
 <DLifschitz@jjllplaw.com>, Neville Johnson <njohnson@jjllplaw.com>
 Subject: Re: Risto ‐ Sandell Deposition


 Mariana,


 Consistent with Judge Snyder’s order on the motion for summary judgment, we will make Ms.
 Sandell available for a two‐hour deposition. In our view, this opportunity to depose Ms. Sandell
 eliminates any possible prejudice to Plaintiff and thus moots any motion in limine Plaintiff
 might file to exclude Ms. Sandell from testifying about the 50 title exercise and related
 documentation. We will reach out to Ms. Sandell regarding her availability for a deposition, but
 we cannot guarantee that she will be available this week.

 Thanks,
 Andrew



         On Jun 14, 2021, at 10:53 AM, Mariana A. McConnell <Mcconnell@kiesel.law>
         wrote:

         External Email – Exercise Caution
         Hello,
         We would like to get the Sandell deposition scheduled on either Wednesday or
         Thursday of this week since our MILs are due on Monday. Please let us know asap.



                                                    2
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                                  #:4470
            Thanks.
            Mariana




 Andrew G. Sullivan
 Jenner & Block LLP
 633 West 5th Street
 Suite 3600, Los Angeles, CA 90071 | jenner.com
 +1 213 239 2263 | TEL
 +1 213 618 6890 | MOBILE
 AGSullivan@jenner.com
 Download V-Card

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                      AGREEMENT AND DECLARATION OF TRUST

                                        AFM and SAG-AFTRA
                           Intellectual Property Rights Distribution Fund

                                              Established
                                           September 16, 1998

                                         Amended and Restated
                                            July 26, 2012


            THIS AGREEMENT AND DECLARATION OF TRUST is made and entered into as
    of the 16th day of September, 1998, and is amended and restated as of July 26, 2012, in the City
    of New York, State of New York, by and between the American Federation of Musicians of the
    United States and Canada, AFL-CIO-CLC ("AFM") and the Screen Actors build - American
    Federation of Television and Radio Artists ("SAG-AFTRA"), hereinafter jointly known as the
    Unions.

                                                  Preamble

            WHEREAS, this Agreement and Declaration of Trust was originally established as
    of the 16th day of September, 1998, in the City of New York, State of New York, by and
    between the AFM and the American Federation of Television and Radio Artists ("AFTRA");
    and

           WHEREAS AFTRA merged with the Screen Actors Guild ("SAG") effective March
    2012, and the merged unions are now constituted as SAG-AFTRA; and

            WHEREAS, the Trustees now desire to amend and restate the Agreement and
    Declaration of Trust to reflect the merger of AFTRA into the merged union SAG-AFTRA, as
    well as to incorporate other amendments that the Trustees have made from time to time; and

            WHEREAS, the Unions or their designated entities obtain and distribute to artists
    royalties and remuneration that are created by U.S. or foreign law and that are appropriate for
    collective administration; and

            WHEREAS, the Unions have entered into a Reciprocal Agreement and an Annex for
    the Distribution of Record Rental Royalties Collected in Japan, pursuant to which they will
    receive and distribute record rental remuneration payable to non-featured instrumentalists
    and vocalists under the law of Japan; and

             WHEREAS, the Unions have entered into other such agreements for the receipt and
    distribution of royalties or remuneration for the benefit of their members and other performing
    artists in the United States and Canada, and will continue to enter into such agreements; and

          WHEREAS, to accomplish this purpose the Unions established a trust fund known as
    the AFM and AFTRA Intellectual Property Rights Distribution Fund for receiving and

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     distributing royalties and remuneration; and

            WHEREAS, the trust fund formerly known as the AFM and AFTRA Intellectual Property
     Rights Distribution Fund shall now be known as the AFM and SAG-AFTRA Intellectual
     Property Rights Distribution Fund; and

            WHEREAS, the Unions desire to restate the tenns and conditions under which the said
     Fund is to-be established and administered,

            NOW, THEREFORE, in consideration of the premises, it is mutually understood
     and agreed as follows:

                                                   Article I
                                                  Definitions

    Section I. UNIONS. The term "Unions" as used herein shall mean the American
    Federation of the Musicians of the United States and Canada, AFL-CIO-CLC, and the Screen
    Actors' Guild — American Federation of Television and Radio Artists.

    Section 2. AFM. The tent). "AFM" as used herein shall mean the American Federation of
    Musicians of the United States and Canada, AFL-CIO-CLC.

    Section 3. SAG-AFTRA. The term "SAG-AFTRA" as used herein shall mean the Screen Actors
    Guild — American Federation of Television and Radio Artists, or, prior to March 2012, the
    American Federation of Television and Radio Artists.

    Section 4. AGREEMENT AND DECLARATION OF I RUST. The term "Agreement and
    Declaration of Trust" as used herein shall mean this instrument including any amendments hereto and
    modifications hereof.

    Section 5. FUND. The term "Fund" as used herein shall mean the AFM and SAG-AFTRA
    Intellectual Property Rights Distribution Fund.

    Section 6. AGREEMENT FOR THE RECEIPT AND DISTRIBUTION OF REMUNERATION. The
    term "agreement for the receipt and distribution of remuneration" as used herein shall mean any
    agreement entered into by the AFM, SAG-AFTRA or the Unions with a collecting society, rights
    organization or other appropriate entity to receive royalties or remuneration held by that entity and to
    distribute such royalties and remuneration to eligible artists.
    Section 7. ARTISTS. The tam "artists" as used herein shall mean instnimental musicians and
    vocalists.

                                                 Article II
                                              Creation of Fund

    Section I. ESTABLISHMENT OF FUND. The AFM and AFTRA Intellectual Property Rights
    Distribution Fund, which was established on September 16, 1998. is hereby amended and restated as
    the AFM and SAG-AFTRA Intellectual Property Rights Distribution Fund, to be used for the

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     purpose set forth in this Agreement and Declaration of Trust.

     Section 2. GENERAL PURPOSE. The Fund shall be a trust fund and shall be used for the purpose
     of receiving and distributing royalties or remuneration to artists in accordance with such agreements for
     receipt and distribution of remuneration as are entered into by the Unions with the relevant collecting
     societies, rights organizations or other appropriate entities. The Fund shall further provide the means for
     financing the expenses of the Trustees and the operation and administration of the Fund, in accordance
     with thisAgreementand Declaration of Trust:The Fund-is intended-to satisfythe requirementsofsection
     501(c)(6) of the Internal Revenue Code and shall be construed in all respects consistently with section
     501(c)(6).

                                                     Article 111
                                                     Trustees

     Section 1. AFM AND SAG-AFTRA 1RUS FEES. The operation and administration of the Fund
     shall be the joint responsibility of six Trustees, three appointed by the AFM, of which no fewer than
     one shall be a rank-and-file representative, and three appointed by SAG-AFTRA, of which no fewer than
     one shall be a rank-and-file representative.

     Section 2. TERM OF IRUS PEES. Each Trustee shall continue to serve as such until his or her
     death, incapacity, resignation, or removal by the appointing Union. Each Union may remove or
     replace its Trustee at will.

     Section 3. SUCCESSOR TRUS LEES. Each Union shall appoint its successor Trustees.

     Section 4. FORM OF NO I ICATION. In case any Trustee shall be removed, replaced, or
     succeeded, a statement in writing by the relevant Union shall be sufficient evidence of its action,
     when forwarded to the Fund and to the remaining Trustees. Any resignation shall be evidenced in
     writing and forwarded by registered mail to the Fund and the remaining Trustees, and shall not be
     effective for two months following the date of mailing unless a successor Trustee has been
     appointed.

                                               Article IV
                               Powers, Duties and Obligations of Trustees

    Section 1. PROPERTY AND ASSISTANCE. The Trustees are authorized and empowered to lease or
    purchase such premises, materials, supplies and equipment, and to hire, employ and retain such legal
    counsel, investment advisor, administrative, accounting, actuarial, clerical and other assistants or
    employees as in their discretion they may fmd necessary or appropriate in the performance of their duties.

    Section 2. CONS IRUCTION OF AGREEMENT. TheTrustees shall have power to construe the
    provisions of this Agreement and Declaration of Trust and the terms used herein, and any construction
    adopted by the Trustees in good faith shall be binding upon the AFM, SAG-M*1RA, and artists claiming
    benefits under the Fund.

    Section 3. GENERAL POWERS. The Trustees are hereby empowered, in addition to other such powers
    as are set forth herein or conferred by law:


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      A.     To establish and administer the Fund on behalf of artists who may be entitled to payments
             pursuant to agreements for the receipt and distribution of remuneration entered
             into by the AFM, SAG-AFTRA or the Unions and determined by the Trustees to
             be appropriate for administration by the Fund.

      B.     As to each agreement for the receipt and distribution of remuneration
             recommended by the AFM, SAG-AFTRA or the Unions, to decide whether or not to
             administer the agreement through the Fund.

      C.     As to each agreement for the receipt and distribution of remuneration which is to be
             administered through the Fund, to establish governing rules and procedures for the
             distribution that are consistent with the relevant agreement.

      D.     As to each agreement for the receipt and distribution of remuneration which is to
             be administered through the Fund, to pay all expenses necessary to the establishment,
             administration and operation of the agreement out of the receipts generated by the
             agreement.

     E.      To enter into any and all contracts and agreements for car ying out the terms of this
             Agreement and Declaration of Trust and for the administration of the Fund and do all
             acts as they, in their discretion, may deem necessary and advisable.

     F.      To compromise, settle, arbitrate, and release claims or demands in favor of or against
             the Fund or the Trustees on such terms and conditions as the Trustees may deem
             advisable.

     G.      To establish and accumulate as part of the Fund a reserve or reserves, adequate, in the
             opinion of the Trustees, to carry out the purposes of the Fund.

     H.      To pay out of the Fund all real and personal property taxes, income taxes and other
             taxes of any and all kinds levied or assessed under existing or future laws upon or in
             respect to the Fund or any money, property, or securities forming a part thereof.

             To make appropriate allocations of common administrative expenses and
             disbursements shared or to be shared with any other Plan or Fund, or among the various
             agreements for the receipt and distribution of remuneration.

     J.     To receive contributions, payments, distributions or transfers from any source whatsoever
            to the extent permitted by law.

     K.      To establish advisory committees composed of AFM and SAG-AFTRA
             representatives and/or other artists or artists' representatives, and to set forth the
             duties and functions of the members of such advisory committees.

     L       To do all acts, whether or not expressly authorized herein, which the Trustees
             may deem necessary or proper for the protection of the property held hereunder.
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      NL         To establish such bank account or accounts as the Trustees deem necessary in
                 their discretion, including escrow accounts pending the adoption of distribution
                 rules governing the administration of an agreement for the receipt and
                 distribution of remuneration.

      N.         To do all acts, whether or not expressly authorized herein, which the Trustees may
                 deem necessary to accomplish the general objective of distributing remuneration to
                 eligible artists m the most efficient and economical manner.

      0.         To purchase or obtain from the AFM, SAG-AFTRA, the AFM and Employers'
                 Pension Fund, the AFTRA Health and Retirement Funds, the Phonograph
                 Manufacturers' Special Payments Fund, the Motion Picture Special Payments
                 Fund or any commercial source any data helpful for the identification and
                 location of artists eligible for remuneration or the identification of recorded or
                 other peifothiances covered by an agreement for the receipt and distribution of
                 remuneration.

      P.          To invest the assets of the Fund with care, skill, prudence and diligence under
                 circumstances then prevailing that a prudent person, acting in a like capacity and
                 familiar with such matters, would use in the conduct of an enterprise of a like
                 character and with such aims, without regard to state law restrictions on
                 investments.

    Section 4. COMPENSATION. The Trustees shall not receive compensation for the
    performance of their duties.

    Section 5. PERSONAL LIABILITY. Neither the Trustees nor any individual or successor
    Trustee shall be personally answerable or personally liable for any liabilities or debts of the
    Fund contracted by them as Trustees, or for the non-fulfillment of contracts, but the same
    shall be paid out of the Fund and the Fund is hereby charged with a first lien in favor of such
    Trustee for indemnification for any amounts paid out by any such Trustee for any such liability
    and for indemnification against any liability of any kind which the Trustees or any of them may
    incur hereunder; provided, however, that nothing herein shall exempt any Trustee from liability
    arising out of his own willful misconduct, bad faith or gross negligence, or entitle such Trustee to
    indemnification for any amounts paid or incurred as a result thereof.

            The Trustees and each individual Trustee shall not be liable for any error of judgment
    or for any loss arising out of any act or omission in the execution of their duties so long as
    they act in good faith and without gross negligence; nor shall any Trustee, in the absence of his
    own willful misconduct, bad faith or gross negligence, be personally liable for the acts or
    omissions (whether performed at the request of the Trustees or not) of any other Trustee, or of
    any agent or attorney elected or appointed by or acting for the Trustees.

             The Trustees shall be fully protected in acting upon any instrument, certificate, or paper
    believed by them to be genuine and to be signed or presented by the proper person or persons, and shall
    be under no duty to make any investigation or inquiry as to any statement contained in any such writing,
    but may accept the same as conclusive evidence of the truth and accuracy of the statements contained
    therein.

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           Neither the AFM nor SAG-AFTRA shall in any way be liable in any respect for any of the
    acts, omissions or obligations of the Trustees, individually or collectively.

           The Trustees may from time to time consult with legal counsel and shall be fully protected in acting
    upon such advice of counsel to the Fund as respects legal questions.

    Section 6. BOOKS OF ACCOUNT. The Trustees shall keep true and accurate books of account
    and records of all then• transactions, which shall be audited at least annually by a certified public
    accountant selected by the Trustees. Such audits shall be available at all times for inspection
    by the AFM and SAG-AFTRA.

    Section 7. EXECUTION OF DOCUMENTS. The Trustees may authorize and designate an
    employee or agent of the Fund to execute any notice or other instrument in writing.

    Section 8. DEPOSIT AND WITHDRAWAL OF FUNDS. All moneys received by the Trustees
    hereunder shall be deposited by them in such bank or banks as the Trustees may designate for
    that purpose, and all withdrawals of moneys from such account or accounts shall be made only
    by checks signed by the Trustees, except that the Trustees may, in their discretion, designate
    and authorize an employee or agent of the Fund to sign checks upon such separate and
    specific bank account or bank accounts as the Trustees may designate and establish for such
    purpose.

    Section 9. SURETY BONDS. The Trustees and any employees of the Trustees who are
    empowered and authorized to sign checks as aforesaid shall each be bonded by a duly
    authorized surety company in such amounts as may be determined from time to time by the
    Trustees. Each such employee employed by the Trustees who may be engaged in handling
    moneys of the Trust Fund shall also be bonded by a duly authorized surety company in the
    same manner. The cost of the premium on such bonds shall be paid out of the Fund.

                                             Article V
                 Selection of Remuneration Systems to Be Administered by the Fund

    Section I. ACCEPTANCE FOR ADMINISTRATION THROUGH THE FUND. As to each
    agreement for the receipt and distribution of remuneration entered into by the AFM, SAG-
    AFTRA, or the Unions jointly, and referred by one of them to the Trustees for their
    consideration, the Trustees, in their sole discretion, may decide whether or not the agreement is
    appropriate for administration through the Fund. An agreement will be accepted for
    administration through the Fund only if the Trustees, voting in accordance with Article VII,
    Section 3, agree to accept it. The refusal of the AFM or SAG-AFTRA to accept an agreement for
    administration by the Fund shall not be subject to arbitration. The acceptance of an agreement for
    administration by the Fund shall be in writing.
    Section 2. HOLDING MONEY PENDING ACCEPTANCE FOR ADMINISTRATION. The
    Fund may hold moneys received pursuant to an agreement for the receipt and distribution of remuneration
    in an escrow account pending the Trustees' decision whether to accept the agreement for administration
    through the Fund. If the Trustees refuse acceptance, the moneys will be returned with any interest
    accumulated thereon and minus any administrative costs incurred to the AFM, SAG-AFTRA or the Unions
    jointly in accordance with the agreement for the receipt and distribution of remuneration.

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     Section 3. CONTINUATION OF ADMINISTRATION. Once an agreement for the receipt and
     distribution of remuneration has been accepted for administration through the Fund, it shall
     continue to be administered through the Fund until such time as the Trustees, voting in accordance
     with Article VII, Section 3, agree that such administration is no longer appropriate. If the
     Trustees, voting in accordance with Article VII, Section 3, disagree over whether continued
     administration is appropriate, they will attempt to resolve their difference on the matter. If they
     cannot resolve their• difference on the matter, they agree to submit the dispute to mediation
     administered-bythe American Arbitration Association. If mediation fails to resolve the dispute, the
     agreement for the receipt and distribution of remuneration shall be discontinued for administration
     through the Fund upon the vote of the Trustees for one Union, voting in accordance with Article VII,
     Section 3.
                                                Article VI
                                    Plan of Payments and Distributions

    Section 1. PAYMENTS. The Trustees shall have full authority to deteiinine all questions of
    the nature and amount of payments to be provided to artists consistent with the relevant agreements
    for the receipt and distribution of remuneration.
    Section 2. ELIGIBILITY FOR PAYMENTS. The Trustees shall have full authority to determine
    eligibility requirements for payments, consistent with the relevant agreements for the receipt and
    distribution of remuneration, and to adopt rules and regulations setting forth the same, which shall
    be binding on the artists.
    Section 3. METHOD OF PROVIDING PAYMENTS. The payments shall be provided and
    maintained by such means as the Trustees in their sole discretion shall determine.

    Section 4. WRITTEN PLAN OF PAYMENTS AND DISTRIBUTIONS. The detailed basis upon
    which payments are to be made pursuant to each agreement for the receipt and distribution of
    remuneration shall be specified in writing by appropriate action of the Trustees subject, however,
    to such changes or modifications by the Trustees from time to time as they in their discretion may
    determine. All such changes or modifications shall similarly be specified in writing by appropriate
    resolution of the Trustees.

    Section 5. DE ILRMINING CLAIMS FOR PAYMENTS. The Trustees shall have full authority to
    determine all claims for payments, provided that they may delegate to the duly designated
    administrators of the Fund authority to determine such claims initially. The administrators' initial
    determination shall be submitted to the Trustees for final determination. An individual who
    believes that he or she has been adversely affected by the administrators' or Trustees'
    determinations regarding payment of benefits may submit a written appeal to the Trustees. The
    decision of the Trustees shall be final.


                                               Article VII
                                     Meetings and Decision of Trustees

    Section 1. MEETING OF TRUSTEES. Meetings of the Trustees shall be held at such place or
    places as may be agreed upon by the Trustees.

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     Section 2. ACTION BY IRUS FEES WITHOUT MEETING. The Trustees may also take action in
     writing without a meeting.

     Section 3. AGREEMENT OF THE TRUSTEES. All actions of the Trustees shall be by
     agreement, with the AFM Trustees casting one vote, and the SAG-AFTRA Trustees casting one vote. In
     the event that any matter presented for decision cannot be decided because of a failure of agreement, the
     matter may be submitted for arbitration in accordance with Article VIII.

     Section 4. MINUTES OF MEETINGS. The Trustees shall keep minutes of all meetings but such
     minutes need not be verbatim.

                                                     Article VIII
                                                     Arbitration

     Section 1 APPLICATION OF THIS ARTICLE. A Trustee may apply to the American Arbitration
     Association in the area where the Fund maintains its principal office for the designation of an arbitrator
     who will decide any disputes between the Trustees or any other matter submitted to arbitration in
     accordance with the provisions of Article VII, Section 3. The decision of the arbitrator shall be final
     and binding. Decisions to accept an agreement for the receipt and distribution of remuneration for
     administration through the Fund, pursuant to Article V, Section 1, shall not be subject to arbitration.
     Section 2. EXPENSES OF ARBITRATION. The cost and expense incidental to any arbitration
     proceeding, including the fee, if any, of the impartial arbitrator, shall be a proper charge against the
     Fund and the Trustees are authorized and directed to pay such charges.


                                                    Article IX
                                          Execution of Trust Agreement

    Section 1. COUNTERPARTS. This Trust Agreement may be execute in counterparts.

                                                 Article X
                                         Amendment to Trust Agreement
    Section 1. AMENDMENT BY TRUSTEES. This Agreement and Declaration of Trust may be
    amended in any respect from time to time by the Trustees, provided that each amendment shall be duly
    executed in writing by the Trustees and annexed hereto. The Trustees shall have full discretion to fix the
    effective date of any amendment.
                                                   Article XI
                                               Termination of Trust
    Section 1. BY THE TRUSTEES. This Agreement and Declaration of Trust may be terminated
    by an instrument in writing executed by the Trustees when there is no longer in force and effect
    an agreement for the receipt and distribution of remuneration which is accepted for
    administration by the Fund.

    Section 2. PROCEDURE ON TERMINATION. In the event of the termination of this Agreement
    and Declaration of Trust, the Trustees shall apply the Fund to pay or to provide for the payment

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     of any and all obligations of the Fund and shall distribute and apply any remaining surplus in such
     a manner as will in their opinion best effectuate the purpose of the Fund; provided, however, that
     no part of the corpus or income of said Fund shall be used for or diverted to purposes other than
     for the benefit of the artists eligible for benefits under the agreements for the receipt and
     distribution of remuneration administered by the Fund, or the administrative expenses of the
     Fund or other payments in accordance with the provisions of the Fund.

     Section 3. NOTIFICATION-OFTERIVffNA110ErUpon termination of thFuntfithTrustees
     shall notify each necessary party, and the Trustees shall continue as Trustees for the purpose of
     winding up the affairs of the Trust.

                                                      Article XII
                                                Miscellaneous Provisions

    Section 1. GOVERNING LAW. This Agreement and Declaration of Trust shall be construed
    under the laws of the State of New York applicable to contracts made and to be perfoimed within
    the County and State of New York (without regard to any conflict of laws provision), and venue
    for any dispute arising under this Agreement and Declaration of Trust shall be in New York.

    Section 2. NOTIFICATION TO 1RUSIEES. The address of each of the Trustees shall be that stated
    on the signature page of this Agreement and Declaration of Trust. Any change of address shall be effected
    by written notice to the Trustees.

    Section 3. SEVERABILITY. Should any provision in this Trust Agreement or in the rules and regulations
    adopted thereunder be deemed or held to be unlawful or invalid for any reason, such fact shall not
    adversely affect the provisions contained therein unless such illegality shall make impossible or impractical
    the functioning of the Trust and the Plan, and in such case the appropriate parties shall immediately adopt a
    new provision to take the place of the illegal or invalid provision.

    Section 4. VESTED RIGHTS. No artist or any person claiming by or through such artist, including the
    artist's family, dependents, beneficiary and/or legal representative, shall have any right, title or interest in or to
    the Fund or any property ofthe Fund or any part thereof except as may be specifically determined by the
    Trustees.

    Section 5. ENCUMBRANCE OF PAYMENTS. No moneys, property or equity, of any nature
    whatsoever, in the Fund, or policies or benefits or moneys payable .therefrom, shall be subject
    in any manner by any artist or person claiming through such artist to anticipation, alienation, sale,
    transfer, assignment, pledge, encumbrance, garnishment, mortgage, lien or charge, and any
    attempt to cause the same to be subject thereto shall be null and void.

    Section 6. EXPENSES OF THE TRUSIEES. All expenses of the Trustees incurred in the
    performance of their duties may be chargeable to the Fund at the discretion of the Trustees. All
    other expenses incurred pursuant to Article IV hereof shall be paid by the Fund.

    Section 7. NO EMPLOYER CONTRIBUTIONS PERMTTTED. The Fund shall not accept
    contributions from any employer or association of employers who employ artists represented by the AFM or
    SAG-AFTRA, and shall not enter into agreements for the receipt and distribution of remuneration with

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    such employers or associations of employers.



   IN WITNESS HEREOF, in accordance with Article X, the Trustees sign this Agreement and
   Declaration of Trust, which amends and restates the original agreement and declaration of trust. The
   Trustees, by affixing their signatures at the end of this Agreement and Declaration of Trust, agree to
   accept the trusteeship and act in their capacity strictly in accordance with the provisions of this
   Agreement and Declaration of Trust.




   Raymond M. Hair, Jr., AFM           Date              Duncan Crabtree-Ireland, SAG-AFTRA Date
   1501 Broadway, Suite 600                              5757 Wilshire Boulevard, 7th Floor
   New York, NY 10036                                    Los Angeles, CA 90036




   Sam Folio, AFM                      Date              Stefanie Taub, SAG-AFTRA                Date
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   Bruce Bouton, AFM                   Date              Jon Joyce, S G                         Date
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      such employers or associations of employers.



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      Agreement and Declaration of Trust.




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                                  #:4483




   such employers or associations of employers.



   IN WITNESS HEREOF, in accordance with Article X, the Trustees sign this Agreement and
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   Raymond M. Hair, Jr., AFM                             Duncan Crabtree-Ireland, SAG-AFTRA Date
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   Bruce Bouton, AFM                  Date               Jon Joyce, SAG-AFTRA                     Date
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        RESOLUTION TO AMEND AGREEMENT AND DECLARATION OF TRUST
                   TO PROVIDE FOR ALTERNATE TRUSTEES


          WHEREAS, the Agreement and Declaration of Trust of the AFM and SAG-AFTRA
  Intellectual Property Rights Distribution Fund, as Amended and Restated on July 26, 2012,
  ("Agreement and Declaration of Trust") does not provide for Alternate Trustees; and

         WHEREAS, an expansion of the Board of Trustees to include the option to appoint
  Alternate Trustees will be beneficial for the efficient operation of the Board of Trustees; and

         WHEREAS, Article X, Section 1 authorizes the Trustees to amend the Agreement and
  Declaration of Trust and to fix the effective date of the amendment;

        NOW BE IT THEREFORE RESOLVED that, effective July 27, 2015, Article III of the
  Agreement and Declaration of Trust shall be amended to read as follows:

                                                 Article III
                                                 Trustees

  Section 1. AFM AND SAG-AFTRA I RUS PEES The operation and administration of the Fund
  shall be the joint responsibility of six Trustees, three appointed by the AFM, of which no fewer than
  one shall be a rank-and-file representative, and three appointed by SAG-AFTRA, of which no fewer than
  one shall be a rank-and-file representative.

  Section 2. AFM AND SAG-AFTRA ALTERNA 1E IRUS FEES. The AFM and SAG-AFTRA shall
  each have the option of appointing up to two Alternate Trustees. Alternate Trustees shall not be
  empowered to vote on any matter except hi the event that one or more Trustees (i) abstain from voting on
  any matter before the Board of Trustees due to a conflict of interest or (ii) are absent from a meeting. In
  such a case, the Alternate Trustee shall be entitled to the vote otherwise exercised by the abstaining or
  absent Trustee(s) and shall be entitled to take any other discretionary action on the matter without the
  involvement of the conflicted or absent Trustee(s). When acting in the place of a Trustee, the powers,
  duties, responsibilities and protections of a Trustee described in this Agreement and Declaration of Trust
  shall apply to the Alternate Trustee. An Alternate Trustee's expenses may be chargeable to the Fund in
  accordance with Article XII, Section 6 only when the Alternate Trustee attends a meeting or otherwise acts
  in the place of a Trustee.

  Section 2. TERM OF TRUSTEES. Each Trustee or Alternate Trustee shall continue to serve as
  such until his or her death, incapacity, resignation, or removal by the appointing Union. Each
  Union may remove or replace its Trustee or Alternate Trustee at will.

  Section 3. SUCCESSOR TRUSTEES. Each Union shall appoint its successor Trustees or
  Alternate Trustees.

  Section 4. FORM OF NOTIFICATION. In case any Trustee or Alternate Trustee shall be
  removed, replaced, or succeeded, a statement in writing by the relevant Union shall be sufficient
  evidence of its action, when forwarded to the Fund and to the remaining Trustees and Alternate
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     Trustees. Any resignation shall be evidenced in writing and forwarded by registered mail to the
     Fund and the remaining Trustees and Alternate Trustees, and in the case of a Trustee, shall not be
     effective for two months following the date of mailing unless a successor Trustee has been
     appointed.


            Approved and executed this 27th day of July 2015.


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     Raymond M. Hair, Jr., AFM           Date
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                                                            Duncan Crabtree-lreland, SAG-AFTRA Date
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     New York,     10036            7/ 2 7/                 Los Angeles, CA 90036


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     Sam Folio, AFM                      Date               StefargTauK SAG- •                     Date
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